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 1
                                                            THE HONORABLE BRIAN A. TSUCHIDA
 2

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 4

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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8   CHRISTOPHER J. HADNAGY, an individual;                 No. 2:23-cv-01932-BAT
     and SOCIAL-ENGINEER, LLC, a
 9   Pennsylvania limited liability company,                DECLARATION OF MARK CONRAD IN
                                                            SUPPORT OF PLAINTIFFS’ RESPONSE
10                  Plaintiffs,                             TO DEFENDANTS’ MOTION FOR
     v.                                                     SUMMARY JUDGMENT
11
     JEFF MOSS, an individual; DEF CON
12   COMMUNICATIONS, INC., a Washington
     corporation; and DOES 1-10; and ROE
13   ENTITIES 1-10, inclusive,

14                  Defendants.

15          I, Mark Conrad, declare under penalty of perjury under the laws of Washington State as

16   follows:

17          1.      I am one of the attorneys representing Plaintiffs Christopher Hadnagy and Social-

18   Engineer, LLC.

19          2.      I am over the age of 18, and competent to testify to the matters set forth herein; and

20   make this declaration of my own personal knowledge.

21          3.      Attached hereto as Exhibit 1 is a true and correct copy of Case 2:22-cv-03060-WB,

22   Dkt. 15, filed September, 7, 2022, the joint report.

23          4.      Attached hereto as Exhibit 2 is a true and correct copy of DEFCON00000275 –

      DECLARATION OF MARK CONRAD IN SUPPORT OF                                   Frey buck
      PLAINTIFFS’ RESPONSE TO DEFENDANTS’                                 1200 FIFTH AVENUE, SUITE 1900
      MOTION FOR SUMMARY JUDGMENT - Page 1                                       SEATTLE, WA 98101
                                                                          P: (206) 486-8000 F: (206) 902-9660
          Case 2:23-cv-01932-BAT            Document 101       Filed 03/14/25        Page 2 of 388




 1   DEFCON00000277, a signal conversation titled ‘DEF CON Weekly Call’, including Jeff Moss

 2   and Kevin Sugihara.

 3          5.      Attached hereto as Exhibit 3 is a true and correct copy of the deposition transcript

 4   of Jeff Moss, dated July 31, 2024.

 5          6.      Attached hereto as Exhibit 4 is a true and correct copy of DEFCON000161 –

 6   DEFCON00000181, a signal conversation between Jeff Moss and Maxie Reynolds.

 7          7.      Attached hereto as Exhibit 5 is a true and correct copy of the deposition transcript

 8   of Jeff Moss, dated January 3, 2025.

 9          8.      Attached hereto as Exhibit 6 is a true and correct copy of DEFCON00000785, Def

10   Con’s organization chart.

11          9.      Attached hereto as Exhibit 7 is a true and correct copy of the deposition transcript

12   of Neil Wyler, dated November 14, 2024.

13          10.     Attached hereto as Exhibit 8 is a true and correct copy of the deposition transcript

14   of Christopher Hadnagy, dated January 28, 2025.

15          11.     Attached hereto as Exhibit 9 is a true and correct copy of the deposition transcript

16   of Maxie Reynolds, dated September 27, 2024.

17          12.     Attached hereto as Exhibit 10 is a true and correct copy of SE_001469 –

18   SE_001482, Maxie Reynolds’ Employment Agreement with Social-Engineer, LLC .

19          13.     Attached hereto as Exhibit 11 is a true and correct copy of SE_000348, an email

20   with the subject line ‘Re_Computer Setup’. Maxie Reynolds offers to sell her laptop to the

21   company for $1.

22          14.     Attached hereto as Exhibit 12 is a true and correct copy of Plaintiffs’ Exhibit 15 of

23   Reynolds’ deposition, an email with the title ‘Re: Wouldn’t’.

      DECLARATION OF MARK CONRAD IN SUPPORT OF                                   Frey buck
      PLAINTIFFS’ RESPONSE TO DEFENDANTS’                                 1200 FIFTH AVENUE, SUITE 1900
      MOTION FOR SUMMARY JUDGMENT - Page 2                                       SEATTLE, WA 98101
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 1          15.     Attached hereto as Exhibit 13 is a true and correct copy of Plaintiffs’ Exhibit 17 of

 2   Reynolds’ deposition, an email with the title ‘Re: Untitled Mindful Scammer Project’. This email

 3   includes an attachment, SE_001072, titled ‘MR_Untitled Mindful Scammer_053021.pdf’.

 4          16.     Attached hereto as Exhibit 14 is a true and correct copy of SE_000402, an email

 5   with the title ‘Re: Resignation’.

 6          17.     Attached hereto as Exhibit 15 is a true and correct copy of Plaintiffs’ Exhibit 23 of

 7   Reynolds’ deposition, an email with the title ‘Re: Return of Company Equipment’.

 8          18.     Attached hereto as Exhibit 16 is a true and correct copy of, SE_000120-

 9   SE_000139, a text message conversation between Christopher Hadnagy and Neil Wyler.

10          19.     Attached hereto as Exhibit 17 is a true and correct copy of DEFCON00000160,

11   Plaintiffs’ Exhibit 22 of Reynolds’ deposition, an email with the title ‘Re: Code of Conduct

12   Violations’.

13          20.     Defendants have never produced any Def Con policies or procedures related to

14   investigations, in discovery.

15          21.     Attached hereto as Exhibit 18 is a true and correct copy of Defendants’ Initial Rule

16   26 Disclosures, dated November 21, 2023.

17          22.     Attached hereto as Exhibit 19 is a true and correct copy of FINCHER000001 –

18   0000011, a signal conversation between Michele Fincher and Jeff Moss.

19          23.     Attached hereto as Exhibit 20 is a true and correct copy of a letter from Perkins

20   Coie re objections to the Michele Fincher subpoena, dated November 14, 2024.

21          24.     Attached hereto as Exhibit 21 is a true and correct copy of the deposition transcript

22   of Cat Murdock, dated October 24, 2024.

23          25.     Attached hereto as Exhibit 22 is a true and correct copy of DEFCON0000251 -

      DECLARATION OF MARK CONRAD IN SUPPORT OF                                   Frey buck
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 1   DEFCON00000262, a signal conversation between Jeff Moss and Cat Murdock.

 2          26.    Attached hereto as Exhibit 23 is a true and correct copy of the deposition transcript

 3   of Alethe Denis, dated September 19, 2024.

 4          27.    Attached hereto as Exhibit 24 is a true and correct copy of the deposition transcript

 5   of Jessica Levine, dated September 24, 2024.

 6          28.    There has been no statement written by Jessica Levine, produced in discovery.

 7          29.    Attached hereto as Exhibit 25 is a true and correct copy of the deposition transcript

 8   of Samanatha Gamble, dated January 15, 2025.

 9          30.    Attached hereto as Exhibit 26 is a true and correct copy of SE_000657 –

10   SE_000662, Def Con’s Transparency report, banning Hadnagy, as well as previous notable bans.

11          31.    Attached hereto as Exhibit 27 is a true and correct copy of DEFCON00000001 –

12   DEFCON00000067, Jeff Moss’ basecamp communications.

13          32.    Attached hereto as Exhibit 28 is a true and correct copy of DEFCON000346 -

14   DEFCON00000383, a signal conversation between Jeff Moss and Neil Wyer.

15

16

17   I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE STATE OF

18   WASHINGTON THAT THE FOREGOING IS TRUE AND CORRECT.

19

20                 DATED this 14th day of March 2025 in Seattle, Washington.

21                                        FREY BUCK,

22
                                          By:              ____
23                                        Mark Conrad, WSBA #48135

      DECLARATION OF MARK CONRAD IN SUPPORT OF                                  Frey buck
      PLAINTIFFS’ RESPONSE TO DEFENDANTS’                                1200 FIFTH AVENUE, SUITE 1900
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                                                                         P: (206) 486-8000 F: (206) 902-9660
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 1
                                     CERTIFICATE OF SERVICE
 2
            The undersigned certifies under the penalty of perjury according to the laws of the United
 3   States and the State of Washington that on this date I caused to be served in the manner noted
 4   below a copy of this document entitled DECLARATION OF MARK CONRAD IN

 5   SUPPORT OF PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION FOR

     SUMMARY JUDGEMENT on the following individuals:
 6

 7    David Perez, WSBA #43959
      Matthew J. Mertens (Pro Hac Vice)
 8    Lauren A. Trambley (Pro Hac Vice)
      Perkins Coie LLP
 9    1201 Third Avenue, Suite 4900
      Seattle, Washington 98101
10    dperez@perkinscoie.com
      mmertens@perkinscoie.com
11    ltrambley@perkinscoie.com

12   [ ]    Via USPS
     [X]    Via Electronic Mail
     [X]    Via Electronic Filing (CM/ECF)
13

14
            DATED this 14th day of March 2025 at Seattle, Washington.
15
                                                                     ____________
16                                                       Amber Holmes, Legal Assistant
17

18

19

20

21

22

23

      DECLARATION OF MARK CONRAD IN SUPPORT OF                                 Frey buck
      PLAINTIFFS’ RESPONSE TO DEFENDANTS’                               1200 FIFTH AVENUE, SUITE 1900
      MOTION FOR SUMMARY JUDGMENT - Page 5                                     SEATTLE, WA 98101
                                                                        P: (206) 486-8000 F: (206) 902-9660
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                         Exhibit 1
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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    CHRISTOPHER J. HADNAGY, individually
    and on behalf of SOCIAL-ENGINEER, LLC,

                    Plaintiff,
                                                       2:22-cv-03060-WB
           v.

    JEFF MOSS, and
    DEF CON COMMUNICATIONS, INC.,

                    Defendants.


       JOINT REPORT OF RULE 26(f) MEETING AND PROPOSED DISCOVERY PLAN

           In accordance with Federal Rule of Civil Procedure 26(f) and the Court’s September 2,

    2022 Notice of Preliminary Pretrial Conference (Dkt. 14), counsel for the parties conferred on

    September 7, 2022, and submit to Chambers the following report of their meeting for the Court’s

    consideration. 1

     1.     Discussion of Claims, Defenses, and Relevant Issues.

                •      Factual background relevant to Plaintiff’s claims.

            In short, Plaintiff Christopher J. Hadnagy is the founder and CEO of Plaintiff Social-

Engineer, LLC, a Pennsylvania Limited Liability Company. As set forth at length in their Complaint,

suddenly and without warning, in or around January of 2022, Defendants Jeff Moss and DEF CON

COMMUNICATIONS, INC., informed Plaintiff Hadnagy that neither he nor Plaintiff Social-

Engineer could attend, contribute to, or participate at Defendants’ annual hacker conference in Las



1
  As a threshold issue, Defendants Jeff Moss and Def Con Communications dispute that personal
jurisdiction is appropriate over them in the Eastern District of Pennsylvania; intend to move to
dismiss the Complaint based on, among other things, lack of personal jurisdiction; and reserve all
rights to challenge personal jurisdiction over Defendants notwithstanding the submission of this Rule
26(f) report as required by the Court’s September 2 Notice.
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Vegas, Nevada, (hereinafter referred to as “the Event”) despite a longstanding positive history.

         This ban on Plaintiffs’ attendance, contribution, and participation was based on alleged

violations of Defendant DEF CON’s Code of Conduct (COC), and effectively excluded Plaintiffs

from the Event indefinitely. Defendants provided no evidentiary support or explanation regarding

their abrupt termination of Plaintiffs’ participation at the Event, and it is Plaintiffs’ position that

Defendant Moss, individually and acting on behalf of Defendant DEF CON, with knowledge and

intent, falsely alleged that Plaintiffs violated the Code of Conduct to replace Plaintiffs’ SEVillage at

the Event with another “village” targeted to similar topics but organized and hosted by others. It is

believed and therefore averred that these “others” included a disgruntled former employee of

Plaintiffs, who played a key role in the orchestration of Plaintiffs’ takedown.

         After the ban, Defendants disseminated via the DEF CON website a vague Transparency

Report referencing alleged violations of the COC. Due to the vague but troubling statements made

by Defendants, many have assumed that Plaintiff Hadnagy perpetrated some sort of sexual assault

and/or sexual harassment, thus leading to the ban. Plaintiffs have alleged that certain high-profile

clientele received Defendants’ false statements, innuendo, and implications concerning Plaintiffs in

the Eastern District and understood them to be harmful to Plaintiffs’ reputation(s).

            •     Factual background relevant to Defendants’ defenses.

         Each year, Defendant Def Con Communications (“Def Con”) hosts one of the largest and

 most influential information and computer security conferences in the country. The event, known

 as Def Con, is the preeminent industry gathering of “hackers” and draws tens of thousands of

 attendees annually. Defendants are standard-bearers in the hacking community.

         In late 2021, an ex-employee of Plaintiff Social-Engineer LLC (“Social-Engineer”)

 approached Defendant Def Con through a third party. The ex-employee described to the third

 party a campaign of abusive, harassing, and controlling behavior by Plaintiff Chris Hadnagy
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 precipitated by her decision to leave Social-Engineer. The third party reached out to Plaintiff

 Hadnagy, who corroborated the ex-employee’s assertions in key respects but offered post-hoc and

 factually unsatisfactory explanations for his conduct. Defendant DEF CON then connected with

 at least half a dozen other members of the hacking community who described similar inappropriate

 conduct by Plaintiff Hadnagy.

         Plaintiff Hadnagy’s misconduct gravely concerned Defendant DEF CON, especially since

 (among other things) Plaintiff Hadnagy had personally confirmed the ex-employee’s allegations.

 Defendant Def Con took seriously, and continues to take seriously, its position as the host of the

 preeminent event in the hacking industry. Defendant Def Con did not want to provide a platform

 to an individual engaging in the kind of behavior in which Plaintiff Hadnagy had admittedly and

 unapologetically engaged. Accordingly, on February 9, 2022, Defendant Def Con released the

 following statement announcing Plaintiff Hadnagy’s ban from subsequent Def Con conferences,

 which constitutes the entirety of the alleged defamation in this case:

       We received multiple [code of conduct] violation reports about a DEF CON Village
       leader, Chris Hadnagy of the SE Village. After conversations with the reporting
       parties and Chris, we are confident the severity of the transgressions merits a ban from
       DEF CON.

         The statement above is true and, as discovery and motion practice will demonstrate, cannot

 support Plaintiffs’ defamation-related and tortious-interference-related causes of action.

           •      Plaintiffs’ primary issues, threshold issues, and issues on which to conduct
                  discovery.

         From Plaintiffs’ perspective, as a threshold issue, Plaintiffs presume (and have been

informed by opposing counsel) that Defendants intend to dispute, inter alia, personal jurisdiction.

Plaintiffs disagree with regard to an alleged lack of personal jurisdiction and reserve the right to

oppose any and all arguments to the same set forth in Defendants’ anticipated Motion(s) to

Dismiss Plaintiffs’ Complaint.
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          Plaintiffs’ primary issues are those set forth in Counts I through V of Plaintiffs’

Complaint, and include, but are not limited to, the following:

            •      Whether or not Defendants published false statements with knowledge of their
                   falsity, and/or reckless disregard for the truth, and did so intentionally and/or
                   recklessly, willfully, and with actual malice and in blatant disregard of
                   Plaintiffs’ rights, to portray Plaintiff Hadnagy, specifically, including to falsely
                   accuse him of what could only be despicable conduct, in order to harm his
                   reputation and cause him and Plaintiff Social-Engineer other harms.
            •      Whether or not Plaintiffs have suffered severe and irreversible harm as a direct
                   and proximate result of Defendants’ defamatory statements and their
                   publication of the same.
            •      Whether or not Defendants intentionally interfered with Plaintiffs’ contractual
                   relationships with actual and prospective clientele.
            •      Whether or not Defendants tortiously interfered with Plaintiffs’ contractual
                   relationships with actual and prospective clientele.
            •      Whether or not Defendants’ statements have been widely publicized to the tech
                   community as well as the general public, and as such, Defendants placed
                   Plaintiffs before the public in a false light.
            •      Whether or not Defendants’ conduct to date has been both extreme and
                   outrageous.
            •      Whether or not Plaintiff Hadnagy has suffered emotional and psychological
                   distress as a direct and proximate result of Defendants’ conduct.

          Plaintiffs intend to conduct written discovery on the following issues: Information and

documentation pertaining to the alleged COC violations, including but not limited to instances of

alleged harassment, that led to Plaintiffs’ ban from the Event, i.e. Defendants’ allegation that they

are insulated from liability as “truth” is their defense; Identities of any and all fact witnesses with

information regarding the alleged COC violations that led to Plaintiffs’ ban from the Event so that

relevant deposition testimony can be conducted; Information regarding the publication of

February 9, 2022 Transparency Report including author, source of information set forth in Report,

method of dissemination, and its intended recipients; Information re: solicitation of participants

in Event; Information and/or documentation regarding the corporate formalities, if any, exercised

by Defendant DEF CON; Communications exchanged by and between Plaintiffs and Defendants

at all times relevant hereto; etc.


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          Plaintiffs also intend to conduct depositions, including the deposition of Defendant

Moss, subsequent to receipt and review of Defendants’ responses to Plaintiffs’ Interrogatories and

Requests for Production of Documents. Additional witnesses may be identified throughout the

course of written discovery and subsequently noticed.

             •    Defendants’ primary issues, threshold issues, and issues on which to conduct
                  discovery.

         The first threshold issue is the lack of personal jurisdiction over Defendants in the Eastern

 District of Pennsylvania. Plaintiffs’ conclusory jurisdictional allegations in Paragraphs 22 and 23

 of the Complaint lack legal and factual merit and are insufficient to establish personal jurisdiction

 over Defendants, who are residents of Washington with very limited contact with the Eastern

 District of Pennsylvania.

         The second threshold issue is that Plaintiffs’ alter ego allegations against Defendant Jeff

 Moss in his individual capacity lack merit, are conclusory, and cannot support claims against

 Defendant Moss separate and apart from the claims against Defendant DEF CON.

         Even if the Court moves beyond the threshold issues, Plaintiff’s claim still fails because

 (1) every part of the allegedly defamatory statement is true; (2) Plaintiffs’ tortious inference claim

 lacks merit because, among other reasons, Defendants lacked any intent to interfere with any of

 Plaintiffs’ contracts, and any interference with Plaintiffs’ contracts was not improper; and (3) even

 accepting Plaintiffs’ allegations as true, no reasonable factfinder could conclude that Defendants’

 conduct meets the extremely high bar in Pennsylvania for intentional infliction of emotional

 distress.

         Turning to discovery, this case should not reach the discovery stage, as there is not personal

 jurisdiction over Defendants in the Eastern District of Pennsylvania and Plaintiffs’ claims are not

 colorable. However, if Defendants’ forthcoming motion to dismiss is not granted, Defendants

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 intend to conduct discovery on, among other topics, Plaintiff Hadnagy’s conduct towards the ex-

 employee who sought help from the third party to stop Plaintiff Hadnagy’s campaign of

 harassment against her; Plaintiff Hadnagy’s conduct towards other ex-employees; Plaintiff

 Hadnagy’s conduct towards others in the hacking industry; and Plaintiffs’ alleged damages.

 Defendants will need this information in discovery to prepare motion(s) for summary judgment

 and demonstrate, among other things, that (1) there is no genuine issue of material fact as to the

 truth of Defendant DEF CON’s February 9, 2022, statement about Plaintiff Hadnagy, and (2)

 Plaintiffs’ damages claims are not colorable.

           •      Plaintiffs’ likely motions and their timing.

         None at this time. Plaintiffs reserve the right to file any and all motions reasonable and

necessary throughout litigation without creating an undue delay to the parties and the Court.

           •      Defendants’ likely motions and their timing.

         As alluded to above, Defendants intend to file a motion to dismiss on October 11, 2022,

 challenging personal jurisdiction and the legal sufficiency of Plaintiffs’ claims. If this motion is

 denied, Defendants intend to file a motion for summary judgment at the close of discovery.

  2.     Initial and Informal Disclosures.

         The parties agree that, in light of the jurisdictional issue and privacy concerns raised by

 certain non-party witnesses, initial disclosures should wait until after the Court decides the

 jurisdictional issue. Counsel for Plaintiffs and Defendants therefore request to postpone the

 exchange of initial disclosures until seven (7) business days of the Court’s Order ruling on

 Defendants’ Motion(s) to Dismiss.

  3.     Formal Discovery.

         The parties have discussed the scope of discovery and scale of this case and we do not

 foresee the need to go beyond the maximum number of Interrogatories and depositions prescribed
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by the Federal Rules of Civil Procedure.

          That being said, the parties have discussed and agree that factual discovery (including

written discovery and depositions) can be completed within one hundred and forty-five (145) days

from receipt of an Order ruling on Defendants’ Motion(s) to Dismiss. The parties have further

agreed that any and all dispositive motions should be filed within thirty (30) days of the factual

discovery deadline, with responses due twenty (20) days thereafter. Furthermore, Defendants

request thirty (30) days after Plaintiffs’ expert witness report deadline in which to file Defendants’

expert witness report(s), if any.

  4.      Electronic Discovery.

          Counsel for Plaintiffs is in receipt of Defendants’ standard e-discovery/electronically

stored information (ESI) protocols and is in the process of reviewing the same. Counsel intend to

reach an agreement as to how they will conduct e-discovery, if necessary, prior to the Rule 16

Conference, and shall advise the Court of that agreement at said Conference.

  5.      Expert Witness Disclosures.

          Defendants do not believe expert witness testimony is necessary or appropriate in this

matter.

          Plaintiffs may require expert witness testimony, i.e. regarding Plaintiffs’ purported

damages, and will provide opposing counsel with information regarding any such expert witness,

as well as a copy of any report(s) to be admitted, on or before Plaintiffs’ expert report deadline as

established by this Honorable Court.

  6.      Early Settlement or Resolution.

        Defendants do not see any prospect of settlement at this time given the procedural and

substantive issues with the Complaint. Defendants will reassess the prospect of early resolution after

the Court’s ruling on Defendants’ forthcoming motion to dismiss challenging (among other things)

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the lack of personal jurisdiction over Defendants.

        Plaintiffs are open to settlement discussions now and in the future.

  7.     Trial Date.

         Both Plaintiffs and Defendants can be ready for trial within three hundred (300) days after

 receipt of an Order ruling on Defendants’ Motion(s) to Dismiss.

  8.     Other.

         N/A.

  Date: September 7, 2022

        Respectfully Submitted:

 By: _/s/ Ashley A. Zingaretti__________                 By: _/s/ Jonathan L. Cochran_______
     Ashley A. Zingaretti                                    Jonathan L. Cochran
     COMITZ LAW FIRM, LLC                                    John S. Stapleton
     46 Public Square                                        LeVAN STAPLETON SEGAL
     Wilkes-Barre, PA 18701                                  COCHRAN LLC
     570-829-1111                                            One Liberty Place
     azingaretti@comitzlaw.com                               1650 Market Street, Suite 3600
                                                             Philadelphia, PA 19103
 Counsel for Plaintiff, Christopher J.                       215.261.5210
 Hadnagy, Individually and on behalf of                      jcochran@levanstapleton.com
 Social-Engineer, LLC
                                                             David Perez (admitted PHV)
                                                             PERKINS COIE LLP
                                                             1201 Third Avenue
                                                             Suite 4900
                                                             Seattle, Washington 98101-3099
                                                             206.359.6767
                                                             DPerez@perkinscoie.com

                                                             Matthew Mertens (admitted PHV)
                                                             PERKINS COIE LLP
                                                             1120 NW Couch Street, 10th Floor
                                                             Portland, Oregon 97209-4128
                                                             503.727.2199
                                                             MMertens@perkinscoie.com

                                                         Counsel for Defendants Jeff Moss and
                                                         DEF CON Communications, Inc.
                                                     8
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                DEF CON Weekly Call                             CD
           Read More                        Edited 04:34

                            Fri, Mar 29

                  The Washington State court just
                  ruled on our Hadnagy lawsuit,
                  dismissing a bunch of claims, but
                  leaving a few pending
                  amendments. Over all very good
                  for us.


                  Now we can finally move along to
                  the actual merits of the case.


                  https://www.courtlistener.com/
                  docket/68094183/hadnagy-v-
                  moss/


                  @Darington Forbes Lets get a
                  lawsuit update post ready next
                  week.                                  15:20 CO

                   ©

           Kevin Sugihara

           Hadnagy's counsel also withdrew?
 /'r   \
           am i reading that right?                  15:23


                  No he had some local council
                  covering for him until his out of
                  state lawyer could get permission
                  to practice in Wa                      15:23 c®


                                                                     DEFCON00000275
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                    DEF CON Weekly Call                                3

               Kevin Sugihara   Fri, Mar 29

               ah okay 15;23


                     His ability to collect legal fees
                     should he prevail disappeared with
                     that ruling. 4s                            15:25 g©

               Kevin Sugihara

               very nice, hopefully this just goes
               away soon                             15:26
       ', ./




                     Oh no it is going to get spicy with
                     discovery, but now that we know
                     what we are actually arguing over
                     we can start planning. He has until
                     the 22nd of next month to amend
                     those three causes with facts or
                     they go away.                              15:28 C©



               Kevin Sugihara

               "and he was likened to the 'Harvey
               Weinstein' of the information
                                                           ii
               security industry in a public post
                                                       15:31

                                                           4

               this is fun document lol. well best
               of luck with it, hopefully it can at
               least be handled now.                15:32
 /"    X




 \,s   ,.S




                                                                            DEFCON00000276
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   00
           DEF CON Weekly Call                                            o


                          Sat, Mar 30


  Darington Forbes

    You

    The Washington State court just
    ruled on our Hadnagy lawsuit, dismi...

  Interesting read. Gives a lot of
  insight into the story Hadnagy is
  telling himself and his counsel. It's
  gotten pretty Earth2 over there.
                                                         05:43



                                                                          DEFCON00000277
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                                Jeff Moss
                              July 31, 2024

· · · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · ·WESTERN DISTRICT OF WASHINGTON AT SEATTLE

______________________________________________________________

CHRISTOPHER J. HADNAGY, an· · · · · · )
individual; and SOCIAL-ENGINEER,· · · )
LLC, a Pennsylvania limited· · · · · ·)
liability company,· · · · · · · · · · )
· · · · · · · · · · · · · · · · · · · ) No. 2:23-cv-01932-BAT
· · · · · · · · · · ·Plaintiffs,· · · )
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JEFF MOSS, an individual; DEF CON· · ·)
COMMUNICATIONS, INC., a Washington· · )
corporation; and DOES 1-10; and· · · ·)
ROE ENTITIES 1-10,· · · · · · · · · · )
· · · · · · · · · · · · · · · · · · · )
· · · · · · · · · · ·Defendants.· · · )
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· · · · · · VIDEO-RECORDED DEPOSITION OF JEFF MOSS

· · · · · · · · · · · · ·July 31, 2024

· · · · · · · · · · ·Seattle, Washington




· · Reporter:· John M. S. Botelho, CCR, RPR



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·1· · · · · So, for example, when we're at Caesars

·2· · ·Entertainment, there would be a lot of people walking

·3· · ·around in Goon shirts that actually were representing

·4· · ·interests of the event space or the hotel or the food

·5· · ·service vendor or the network provider.· But to fit in

·6· · ·with the conference and to be able to move around, we

·7· · ·essentially badge them.· You know, we made them look

·8· · ·like us so they could move around the conference.

·9· · · · · There would be Goons that are more senior.· They

10· · ·have more years of experience.· They have more

11· · ·responsibility.· And then there might be some Goons

12· · ·that are -- never helped out before at all, right?

13· · ·They're starting their very first time, and they --

14· · ·they just want to help with the conference.

15· · · · · So there's a spectrum.

16· Q· How does one become a Goon?

17· A· I still don't know.· It's largely word of mouth.· Some

18· · ·of these departments -- well, departments are largely

19· · ·responsible for their own hiring and firing -- or not

20· · ·hiring and firing, but, you know, like, attracting

21· · ·talent, attracting the Goons, managing who can work,

22· · ·who can't work, and then submitting their -- their list

23· · ·of who's going to work in their department that year.

24· Q· What do you mean "departments"?

25· A· So inside DEF CON, we probably have 30 -- maybe 30


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·1· · ·departments that exist during -- well, they exist

·2· · ·year-round, but their sole focus is to be responsible

·3· · ·for a certain part of the conference.

·4· Q· And so if they -- so if there's a department that is

·5· · ·putting on part of the conference, they can set forth a

·6· · ·list of individuals that they want named as Goons?

·7· A· Correct.

·8· Q· And then how does DEF CON go about making them Goons?

·9· A· Well, ultimately, it's the responsibility of the

10· · ·department leader.· So -- so, for example, I'll just

11· · ·pick human registration.

12· · · · · When -- when a person comes to pick up their badge

13· · ·to enter the conference, the human registration

14· · ·department is responsible.· So they'll have a giant

15· · ·stack of badges.· They'll have a large group of

16· · ·temporary workers handing out the badges.

17· · · · · And so the department leader would say, Okay.                  I

18· · ·think I'm going to handle 20,000 people over X number

19· · ·of days.· I don't want the line to be longer than half

20· · ·an hour.· I'm going to need 20 temps.· I'm going to

21· · ·need eight Goons.· I'm going to need two shifts.· I'm

22· · ·going to need -- and they do the math, and they say,

23· · ·Okay.· I'm going to need 30 people, or whatever.

24· · ·Whatever it is they come up with.· And I might need a

25· · ·bunch of temporary helpers, and I'm going to need --


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·1· · ·you know.

·2· · · · · So my team, my department's going to need, you

·3· · ·know, five hotel room nights to put them in the hotel

·4· · ·room.· And I'm going to need 30 Goon packs.· You know,

·5· · ·Goon badges, shirts, food credits, hotel room nights,

·6· · ·whatever.

·7· · · · · And then that goes in a spreadsheet.· And we say,

·8· · ·Okay.· That department's allocated 30.

·9· Q· So you mention the human registration department.

10· A· Mm-hmm.

11· Q· Who heads up that department for DEF CON?

12· A· I'm trying to remember.· It's changed around a little

13· · ·bit.· I can see his face, but I can't see his name.

14· · · · · "CStone" is his handle.· I want to say it's

15· · ·CStone.

16· Q· You're saying "CStone"?

17· A· Letter "C," S-t-o-n-e.

18· Q· And so CStone is the head of the human registration

19· · ·department?

20· A· He might be the head of the inhuman registration, but I

21· · ·think it's human registration.

22· Q· And what's his affiliation with DEF CON?

23· A· He's the head of human registration.

24· Q· Is he -- does DEF CON contract with him to take on that

25· · ·role?


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·1· A· I'm not -- I'm trying to think.· Like -- so -- so DEF

·2· · ·CON's a for-profit corporation, so we cannot accept

·3· · ·volunteers.· If you have a volunteer at your conference

·4· · ·that you're not paying and you're a for-profit company,

·5· · ·you're violating IRS tax code, right?· That's illegal.

·6· · · · · So everybody that works at DEF CON as a Goon is,

·7· · ·under the tax code, I think it's called an in-kind

·8· · ·barter something or other.· It's whatever the tax code

·9· · ·category is for what we do.· But it's not a volunteer,

10· · ·'cause that would not be legal.

11· · · · · So as part of that, we -- we don't have a contract

12· · ·signed with -- it's not like a musician where you'll

13· · ·perform these three duties and show up at 9:00, right?

14· · ·It's much more you agree to follow our code of conduct.

15· · ·We have a Goon code of conduct.· You'll follow our

16· · ·rules and, you know, and run your department.

17· · · · · And so that's basically how it goes.

18· Q· So each of the Goons is an in-kind barter --

19· A· Whatever the tax code.

20· · · · · · · · · · · · MR. MERTENS:· Let him finish his

21· · ·question.

22· · · · · · · · · · · · THE WITNESS:· Sorry.· Sorry.

23· · · · · · · · · · · · THE REPORTER:· "In-kind barter..."

24· · ·Mr. Conrad.

25· · · · · · · · · · · · MR. CONRAD:· Well, okay.· Strike


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·1· · · · · Does that make sense?

·2· A· Yeah, if I understand your question, the answer is,

·3· · ·Goon departments self-generate.· But there's a long

·4· · ·history of, say, you Goon in the network department and

·5· · ·you do that for two or three years, and you might say,

·6· · ·Oh, this is interesting, but I want to go help out with

·7· · ·registration.

·8· · · · · So they might go to registration, say, Hey, I'm

·9· · ·getting tired of the networking team.· Do you have any

10· · ·openings in your human registration team?

11· · · · · Or the head of human registration might say, Hey,

12· · ·three of my -- my people are retiring this year or they

13· · ·can't do it next year.· I need three more people.

14· · ·Anybody want to come to my department?

15· · · · · So we might have Goons that have worked at DEF CON

16· · ·for 20 years, but they might have been in six, seven

17· · ·different departments.· So while they might have

18· · ·started in one and got nominated and brought into one,

19· · ·as long as they have a good work ethic and there's, you

20· · ·know, no complaints and they -- they do what they say

21· · ·they're going to do, other departments are happy to

22· · ·take them or move them around.

23· Q· And are there people that are supervising the Goons?

24· A· The department leaders are responsible for their

25· · ·department.


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·1· · ·predict when something might come up or why it might

·2· · ·change, so we -- we have to be really flexible, and we

·3· · ·have to be really accommodating.

·4· Q· So some of these department leads, it's not just that

·5· · ·they're working day of conference, but they're doing a

·6· · ·bunch of work leading up to the conference year-round?

·7· A· Some might.· Most don't.· Most get really busy in the

·8· · ·month before.· But say, for example, I mention the arts

·9· · ·and entertainment and getting these artists.· They know

10· · ·that they have to put the call out for artists four

11· · ·months in advance, right?· So they might put the call

12· · ·out.· Then they might just sit around for a month,

13· · ·waiting for the things to come in.· Then they might

14· · ·spend some time reviewing them, and then they sit

15· · ·around for a while.· They don't really get busy, you

16· · ·know, until the event, but there's things they have to

17· · ·do in advance to get ready.

18· · · · · Department leaders are in-kind, whatever, barter,

19· · ·but they also get paid an additional fee.· So, for

20· · ·example, a department leader might get, say, $2,000 for

21· · ·being the number one.· And their number two might get a

22· · ·thousand dollars or something.· And this is primarily

23· · ·to help them with their costs at the show.

24· · · · · You know, departments also get a budget to --

25· · ·let's say they want to create a thank-you gift for all


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·1· · ·basically -- like, my best use of time at the

·2· · ·conference is to be available to help put out a fire.

·3· · ·So if there's a fire going on, that's what I'm focused

·4· · ·on.

·5· · · · · If there's not a fire going on, I'm maybe

·6· · ·introducing speakers, meeting with department leaders,

·7· · ·meeting with the hotel or the property.· Maybe I'm

·8· · ·reviewing what happened in the previous day.· Normal

·9· · ·kind of, you know, see and be seen by all the different

10· · ·departments.· Say "hi."· Make sure everything's

11· · ·working.· And then be available for any kind of

12· · ·emergency approval of spend of money or an extension of

13· · ·hours of -- let's say the temporary workers need to

14· · ·extend their hours by -- you know, that has a big

15· · ·financial impact, and that needs to be kind of

16· · ·approved.· So...

17· Q· And one of the things that I wanted to ask about is,

18· · ·I've seen the term "villages" used.

19· A· Mm-hmm.

20· Q· And then you've been using the term "departments."

21· A· Mm-hmm.

22· Q· Are those the same thing?

23· A· Two different things.

24· Q· Can you explain it to me?

25· A· So on the operational side, the side of DEF CON that --


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·1· · ·the structures that facilitate the operation of the

·2· · ·conference, that would be departments.· On the side of

·3· · ·those who create content, things that attendees will

·4· · ·see, experience, that's sort of on the content side.

·5· · ·So villages would be on the content side.

·6· Q· And how does DEF CON determine what the differing

·7· · ·villages are?

·8· A· Well, they largely self-select villages.· Just like I

·9· · ·described to you how there might be a call for artists

10· · ·to perform music, it'd be a call to who wants to run a

11· · ·village, right?· Or someone might come to us and say,

12· · ·We want to do a village on physical security.

13· · · · · And so we have an application process.· People

14· · ·submit all their ideas.· We review them.· We look at

15· · ·how much space we have.· We look at how much cost there

16· · ·is.· You know, there's a bunch of factors we weigh, and

17· · ·in the end, we allocate space and accept or reject

18· · ·villages.

19· Q· Do they have to pay?

20· A· Who?

21· Q· Villages.

22· A· No.

23· Q· Are they paid?

24· A· No.

25· Q· And the screening process that you're kind of talking


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·1· · ·know you broke into the computer and read that file.

·2· · ·'Cause that's the only way you would know what's in

·3· · ·that file.

·4· · · · · So that might score you some points.· You've

·5· · ·captured that flag.· That flag's worth ten points.· And

·6· · ·over the duration of the contest, teams would score

·7· · ·points.· And then the best teams would win:· First,

·8· · ·second, and third.

·9· · · · · This concept of a Capture the Flag contest

10· · ·originated at DEF CON.· Now it's worldwide.· There's

11· · ·national contests.· There's an unlimited number of

12· · ·Capture the Flag contests.· But it all originally

13· · ·started at DEF CON.· And so we're considered sort of

14· · ·the originator.· We might not have the most technically

15· · ·awesome contest on a specific area, but we are the most

16· · ·prestigious because we were the originators.· Because

17· · ·we want the best competitors to play, they get the most

18· · ·number of black badges.

19· Q· One of the other kind of terms that I've seen is the

20· · ·Wall of Sheep?

21· A· Mm-hmm.

22· Q· Can you tell me about that?

23· A· It's one of the villages.· I think they go by the name

24· · ·"Packet Hacking."· The Packet Hacking Village now.· But

25· · ·in the early days, they went -- they were the Wall of


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·1· ·Sheep.· They -- they're one of the oldest groups.· And

·2· ·they predate the concept, I think, of villages.· We

·3· ·didn't invent this villages idea till after they'd been

·4· ·around.

·5· · · · So when they were around originally, what they did

·6· ·is they -- so this is the early days of the Internet

·7· ·and early days of security.· And a lot of wireless

·8· ·network activity was not protected, in the sense that

·9· ·you could monitor what people were doing online.

10· · · · And so to raise awareness, they had this Wall of

11· ·Sheep where they would monitor the network for what

12· ·they could hear.· And if they determined that you were

13· ·doing something insecurely, they would write on, like,

14· ·a -- they had a paper, like, plate like you find at a

15· ·picnic.· Picnic plate.· And they'd write -- they

16· ·obfuscate it so they didn't reveal any personal

17· ·information, but they'd reveal something like -- like,

18· ·somebody's logging in to Microsoft.· Somebody's logging

19· ·in to whatever.· And they'd put it up on a wall.

20· · · · And then people would walk by the wall and look at

21· ·it and be, like, Oh, look.· Somebody insecurely tried

22· ·to connect to Microsoft, for example.· Somebody did

23· ·whatever.· And it was sort of this tongue-in-cheek name

24· ·and shame:· Oh, let's see who's making security

25· ·mistakes.· And then they'd get written up.


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·1· · · · · And as the years progressed and networks got more

·2· · ·and more secure, Wall of Sheep -- there was much less

·3· · ·defined.· And so it wasn't really interesting anymore.

·4· · ·So they pivoted from Wall of Sheep to Packet Hacking

·5· · ·Village.· And so they turned to more about teaching

·6· · ·people how to monitor the network and look for problems

·7· · ·and find malware or -- but people love that.· It was

·8· · ·like a visual representation, and it captured the

·9· · ·imagination of a lot of people.

10· Q· Are they still projecting kind of people who are doing

11· · ·things unsecured on the network?

12· · · · · · · · · · · · MR. MERTENS:· Object to the form.

13· · · · · · · · · · · · THE WITNESS:· I don't know.· I know

14· · ·they want to.· And I know, every year, they complain

15· · ·there's less and less to find.· 'Cause everything's

16· · ·encrypted nowadays.· So...

17· Q· (By Mr. Conrad)· What are some of the biggest security

18· · ·threats that occur at DEF CON?

19· · · · · · · · · · · · MR. MERTENS:· Object to the form.

20· · · · · · · · · · · · THE WITNESS:· What -- you have to

21· · ·try to clarify that.

22· · · · · Security threats to who, to what?

23· Q· (By Mr. Conrad)· To attendees.

24· · · · · · · · · · · · MR. MERTENS:· Object to the form.

25· Q· (By Mr. Conrad)· In terms of vulnerabilities to let's


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·1· · ·say criminal hacking.· Is that a significant threat at

·2· · ·DEF CON?

·3· A· I mean, it's a -- it's a big conference in Las Vegas.

·4· · ·So you have all the normal threats of people going to

·5· · ·Las Vegas for conferences, right?· From scam taxi

·6· · ·drivers to bartenders overcharging and underpouring.

·7· · ·Locals roofie'ing people at the locals -- you know,

·8· · ·it's, like, normal conference problems.

·9· · · · · Is that kind of what you were getting at?

10· Q· Sure.

11· · · · · I guess what I'm getting at also is, you know,

12· · ·some of -- when I'm looking up information about DEF

13· · ·CON, some of what I've seen talks about turning your

14· · ·phone --

15· A· Oh.

16· Q· -- Bluetooth off or your Wi-Fi off and things of that

17· · ·nature.

18· A· Right.· Right.· Yeah.· Network hygiene stuff.· Yeah.

19· · ·I'm aware there's a lot of older articles talking about

20· · ·all the things you have to do to protect yourself at

21· · ·DEF CON.

22· Q· Why do you say "older articles"?

23· A· So you know that example I gave you about Wall of

24· · ·Sheep, about how just the products got better, the

25· · ·phone system got better, wireless got better, just


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·1· · ·Sorry to interrupt you.

·2· Q· It's okay.

·3· A· Yeah.

·4· Q· So is there any policy or procedure about documenting

·5· · ·an investigation into what actually occurred there?

·6· A· Yes.

·7· Q· Can you tell me about what that policy or procedure is?

·8· A· So I'm going from memory.· I don't have it memorized.

·9· · ·But the SOC collects incident reports for everything

10· · ·that happens on shift every day.· So, for example, if

11· · ·there was a drunk and disorderly and the hotel had to

12· · ·walk someone back to their room, if the SOC was

13· · ·involved in that, they might say, Drunk and disorderly,

14· · ·you know, at 1 in the morning at the music concert.· We

15· · ·called the hotel.· Hotel walked the guy back to the

16· · ·room.

17· · · · · And so we would have it documented of incidents.

18· · ·And we do that largely to understand what are the

19· · ·trends.· Are there a lot of dunk and disorderlies?

20· · ·Well, then maybe we need to figure out a way to have

21· · ·less of those.· Are they always happening in one area

22· · ·or one time of day?· Well, then maybe something's wrong

23· · ·with that room or whatever.

24· Q· And the incident reports, the SOC department members

25· · ·fill those out?


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·1· A· I'm trying to think where I would even go.

·2· · · · · The types of complaints I heard were mostly just

·3· · ·around how difficult it was to work with Chris, not --

·4· · ·like -- like what I said, overly aggressive lobbying

·5· · ·for more resources.· But, I mean, he's not the only

·6· · ·village organizer that aggressively tries to get more

·7· · ·resources.

·8· Q· So nothing else that was reported to you that --

·9· A· That I can recall.

10· · · · · Sorry for interrupting.

11· Q· It's okay.

12· · · · · Prior to 2021, there was nothing reported to you

13· · ·regarding Chris that would have potentially been a code

14· · ·of conduct violation?

15· A· No, not that comes to mind.

16· Q· Does DEF CON encourage people to make reports in a

17· · ·timely fashion?

18· · · · · · · · · · · · MR. MERTENS:· Object to the form.

19· · · · · · · · · · · · THE WITNESS:· I don't know.· Define

20· · ·"timely."

21· · · · · We encourage people to make reports.

22· Q· (By Mr. Conrad)· At or around the time that an incident

23· · ·occurs?

24· A· Just any time.

25· · · · · I mean, ideally it's right then when it happens.


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·1· A· -- keep going.

·2· Q· Sure.

·3· · · · · So who is this individual that you're talking

·4· · ·about involved in Project Unicorn?

·5· A· I don't want to get her name wrong, but it was in

·6· · ·documents we provided you.

·7· Q· Documents.· DEF CON documents?

·8· A· Documents that my counsel forwarded to you in

·9· · ·discovery.· Or no?

10· · · · · · · · · · · · MR. MERTENS:· I got to clarify --

11· · · · · · · · · · · · THE WITNESS:· Yeah, I'm getting --

12· · · · · · · · · · · · MR. MERTENS:· -- that --

13· · · · · · · · · · · · THE WITNESS:· -- it wrong.

14· · · · · · · · · · · · MR. MERTENS:· -- he -- he's talking

15· · ·about our interrogatory response.

16· · · · · · · · · · · · MR. CONRAD:· Okay.

17· Q· (By Mr. Conrad)· So do you have any idea of the name of

18· · ·this individual?

19· A· I would have to look it up in our interrogatory

20· · ·response.· Otherwise, I'm just going to recall one of

21· · ·five names, and it could be wrong.

22· Q· So this phone call that was organized, is there any

23· · ·documentation of the phone call?

24· A· Besides the time that it happened?· No.

25· Q· What do you mean, "Besides the time that it happened"?


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·1· A· Well, I mean, we created a dial-in account, so we

·2· · ·probably have the record of when we created a dial-in

·3· · ·for the meeting.· There's probably a record of that

·4· · ·somewhere.· But that was -- that was just one.· If you

·5· · ·want to hear the others, I can tell you more.

·6· Q· Yeah, we'll get there.

·7· A· Okay.

·8· Q· So the dial-in account, you think that there might be a

·9· · ·record of that?

10· A· Of the dialing?· I think so.

11· Q· What system did you use for that?

12· A· I cannot remember.

13· · · · · Years ago, we used a voice-only company.· We -- we

14· · ·stopped using them, and now we've moved to, I think,

15· · ·Zoom.· So I think we stopped using that platform, like,

16· · ·two years ago.· So I don't even know if our account is

17· · ·still active.· But I'm betting that was our system.

18· Q· So it was a phone call, not a Zoom call?

19· A· Correct.

20· Q· And how was the phone number for the dial-in account

21· · ·given to the people that were supposed to dial in?

22· A· It was given to Maxie.

23· Q· Who gave the phone number to Maxie?

24· A· I did.· Or I don't know if I -- I don't know if I did

25· · ·or Neil did, Grifter did, or -- but I know -- I


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·1· · ·shouldn't say I know.· I'm pretty confident that we

·2· · ·generated the dial-in information and it was shared

·3· · ·with Maxie.· I don't specifically remember.· It might

·4· · ·be in some message.· But we shared it with Maxie, and

·5· · ·then Maxie distributed it to whatever the group was

·6· · ·that she said had stories.· And...

·7· Q· And the dial-in number, you believe that this was given

·8· · ·to Maxie in written form?

·9· A· In a text message.· I mean, it had to have been copy

10· · ·and pasted.

11· Q· Whose text message?

12· A· I don't recall.· But I'm guessing, as I said earlier,

13· · ·mine or Neil.· I don't know who else would have -- I

14· · ·mean, I couldn't recall who else might have shared it

15· · ·with her, so...

16· Q· So you said that you had Signal messages with her.

17· · · · · Do you also have text messages with Maxie

18· · ·Reynolds?

19· A· No.

20· Q· So you wouldn't have shared the dial-in through text

21· · ·message with Maxie Reynolds?

22· A· Correct.

23· Q· Would it have been shared in the Signal messages with

24· · ·her?

25· A· The dial-in?· That's the only place I can ima- -- if I


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·1· · · · · What's her last name again?

·2· A· Ensign.

·3· Q· -- Ensign was on the phone call.· And Neil Wyler was on

·4· · ·the phone call?

·5· A· Right.· So we all heard all the stories together.

·6· Q· And those are all the individuals from the DEF CON side

·7· · ·of things?

·8· A· Correct.

·9· Q· Do you know if any of those individuals took any notes

10· · ·or have any records regarding the phone call?

11· A· I don't -- I don't know -- I don't remember anybody

12· · ·saying, "I took great notes."· I don't -- I don't

13· · ·remember anybody saying that.

14· Q· Did you ever ask?

15· A· I don't know.

16· · · · · I don't know.· It probably would have been to our

17· · ·advantage to have detailed notes, but -- but we don't

18· · ·have detailed notes, so probably nobody took them, or

19· · ·else we'd have them.

20· Q· Why do you think it would be to your advantage to have

21· · ·detailed notes?

22· A· Because they're terrible fucking stories about Chris's

23· · ·behavior, and I would love to have them documented.

24· Q· Are they documented anywhere?

25· A· Yes.


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·1· Q· Where?

·2· A· You have to ask my counsel.

·3· Q· Are you aware if DEF CON has any records that document

·4· · ·the stories that took place in that phone call?

·5· A· Our counsel has records.· I do not.

·6· · · · · Does that make sense?· Did I say that correctly?

·7· · ·I'm not sure the correct...

·8· · · · · · · · · · · · MR. MERTENS:· Can we go off the

·9· · ·record for just a second?

10· · · · · · · · · · · · MR. CONRAD:· Sure.

11· · · · · · · · · · · · THE VIDEOGRAPHER:· Please stand by.

12· · · · · We're going off the record.· The time is 1:35 p.m.

13· · · · · · · · · · · · · · · ·(Pause in proceedings.)

14

15· · · · · · · · · · · · THE VIDEOGRAPHER:· We are back on

16· · ·the record.· The time is 1:37 p.m.

17· Q· (By Mr. Conrad)· So just for purpose of the record, we

18· · ·had a discussion off the record clarifying that when

19· · ·I'm asking about documentation, that I'm not talking

20· · ·about DEF CON's discovery responses to interrogatories.

21· · ·I'm requesting and asking about any records that DEF

22· · ·CON may have that evidence the phone call that took

23· · ·place that we're discussing.

24· · · · · So with that clarification in mind, Jeff, does DEF

25· · ·CON have any record that evidences the phone call that


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·1· · ·you're describing that took place?

·2· A· Just what I've previously stated.

·3· Q· Which is what?

·4· A· The -- there's probably a record somewhere of the

·5· · ·dial-in.

·6· Q· Other than that, there's no other record?

·7· A· Well, there's -- I mean, the recollections of all the

·8· · ·employees and the people that were on the call.· And

·9· · ·whether any of those people took notes, I'm unaware.

10· Q· Do you think at this point in litigation, that you

11· · ·would be aware of whether they took notes or not?

12· A· My employees --

13· · · · · · · · · · · · MR. MERTENS:· Object to the form.

14· · · · · Go ahead.

15· · · · · · · · · · · · THE WITNESS:· My employees, I would

16· · ·know.· We'd ask them to give us all the information.

17· · · · · · · · · · · · MR. CONRAD:· And --

18· · · · · · · · · · · · THE WITNESS:· But if somebody else

19· · ·on the call took notes, I'm unaware.

20· Q· (By Mr. Conrad)· And have you ever had any discussions

21· · ·with Marc Rogers or Neil Wyler or Darington or Melanie

22· · ·about whether they took notes?

23· A· No.

24· Q· And, in fact, you turned over Neil Wyler's text

25· · ·messages with my client?


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·1· A· So I believe I said Michele Fincher, Maxie, Cat

·2· · ·Murdock.· And I believe there's one other.

·3· Q· And what did Michele Fincher report to you?

·4· A· Report to me.· You mean on the call?

·5· Q· On the call.

·6· A· I believe on the call, she didn't talk a lot.· What she

·7· · ·did was provided support for the others who had worked

·8· · ·for Chris who were talking.· So it felt like she was

·9· · ·giving them space, and much like she must have done

10· · ·when she worked with Chris, like letting them know that

11· · ·she was there for them.· She was vested in the outcome

12· · ·of this.· She wanted us to believe them and to listen

13· · ·to them, for them to be heard.· And then she would

14· · ·speak up every once in a while to, like, back up what

15· · ·somebody said or maybe mention about the years that

16· · ·somebody worked there or not.

17· · · · · So someone of her credibility and her experience,

18· · ·in my personal interactions with her, essentially

19· · ·vouching for everybody on that call, was really

20· · ·powerful.

21· Q· Did she report to you any code of conduct violations on

22· · ·the phone call?

23· A· Not on the phone call, no.

24· Q· And you mentioned Cat Murdock.

25· A· Mm-hmm.


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·1· Q· So she was another person on the phone call; is that

·2· · ·right?

·3· A· Correct.

·4· Q· And did Cat Murdock report any code of conduct

·5· · ·violations on the phone call?

·6· A· She reported plenty of things that would be a violation

·7· · ·of the code of conduct.

·8· Q· And what were they?

·9· A· I would have to look at our interrogatory response.

10· · ·'Cause otherwise, I'm going to just misremember

11· · ·somebody else's code of conduct violation statements.

12· Q· But the information -- is it fair to say that the

13· · ·information that's contained in your interrogatory

14· · ·responses is information that you've also gathered

15· · ·after this post was made?

16· A· I'd say --

17· · · · · · · · · · · · MR. MERTENS:· Object to the form.

18· · · · · Go ahead.

19· · · · · · · · · · · · THE WITNESS:· It's probably a

20· · ·combination.· Like a synthesis.

21· Q· (By Mr. Conrad)· So you don't remember what information

22· · ·you had -- strike that.

23· · · · · At -- at the time that this post was made on

24· · ·February 9th, 2022 --

25· A· Mm-hmm.


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·1· Q· So Grifter was -- Neil Wyler was telling you about his

·2· · ·conversations with Chris?

·3· A· Correct.

·4· Q· You then had the phone call with these individuals that

·5· · ·we've talked about?

·6· A· Correct.

·7· Q· And then you got the Apple receipts from Maxie

·8· · ·Reynolds?

·9· A· Correct.

10· Q· And that is the information that you had that supported

11· · ·your publishing of this February 9 --

12· A· Well, we also had --

13· Q· -- 2022, report?

14· · · · · · · · · · · · MR. MERTENS:· Let him finish --

15· · · · · · · · · · · · THE WITNESS:· Yeah.

16· · · · · · · · · · · · MR. MERTENS:· -- finish his

17· · ·questions.

18· · · · · · · · · · · · THE WITNESS:· Yeah.

19· · · · · · · · · · · · MR. MERTENS:· Object to the form.

20· · · · · Go ahead.

21· · · · · · · · · · · · THE WITNESS:· Okay.

22· · · · · Don't forget we also had Neil Grifter's personal

23· · ·account of his being called a pedophile by Chris.· So

24· · ·we had this prior experience from one of Chris's good

25· · ·friends relaying the story as well.


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·1· Q· (By Mr. Conrad)· Okay.· Anything else?

·2· A· I think that's mostly it.

·3· Q· So the -- the ban says that "after conversations with

·4· · ·the reporting parties," and that's the Signal messages

·5· · ·that you've had with Maxie Reynolds?

·6· A· That would be her e-mail maybe as a code of conduct

·7· · ·violation report.· She e-mailed in the conversations

·8· · ·Maxie had with Grifter.· And then the conversations

·9· · ·that we had on the group call with other people beyond

10· · ·Maxie.

11· Q· Okay.· So the conversations.· So when you're saying

12· · ·"after conversations with the reporting parties,"

13· · ·you're including Neil's conversations that he's had

14· · ·with Maxie in that?

15· A· I think we were trying to capture in here the totality

16· · ·of all of our conversations.· Like, in our experience,

17· · ·all the information we've gathered, here, based on this

18· · ·information, we've come to this conclusion.

19· Q· And in making that determination, you are considering

20· · ·Neil Wyler as DEF CON in terms of what his

21· · ·communications are?

22· · · · · · · · · · · · MR. MERTENS:· Object to the form.

23· · · · · Go ahead.

24· · · · · · · · · · · · THE WITNESS:· I don't -- I don't

25· · ·know what that means.· I believe --


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·1· · · · · · · · · · · · MR. CONRAD:· Well --

·2· · · · · · · · · · · · THE WITNESS:· I believe Neil.· Neil

·3· · ·told a credible story, and I believe him because of his

·4· · ·long history with Chris.· I don't know what particular

·5· · ·hat he was wearing at that moment.

·6· Q· (By Mr. Conrad)· Well, it says, "We received multiple

·7· · ·code of conduct violation" --

·8· A· Right.

·9· Q· -- "reports," right?

10· A· Correct.

11· Q· So who from DEF CON received those reports?

12· A· Darington, myself, Melanie, Neil, CJ, when we were on

13· · ·the group call.· We all heard things that were

14· · ·violations of the code of conduct report.

15· Q· Okay.· So --

16· A· Or code of conduct.

17· Q· So all those people are DEF CON?

18· · · · · · · · · · · · MR. MERTENS:· Object to the form.

19· · · · · · · · · · · · THE WITNESS:· All what people?

20· Q· (By Mr. Conrad)· The people you've just listed.

21· A· Are DEF CON.· Well, I mean, like, Melanie is a

22· · ·contractor.· Darington's a full-time employee.

23· · · · · But I guess the way I thought of it was like we

24· · ·have people on our side, the DEF CON side, trying to

25· · ·figure out what to do, and then there are these sort of


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·1· · ·reporting parties that were trying to tell us their

·2· · ·story and their experiences with Chris, and those were

·3· · ·kind of the two sides on that call.

·4· Q· And you said after conversations with the reporting

·5· · ·parties and Chris.

·6· A· Mm-hmm.

·7· Q· Who from DEF CON had conversations with Chris about the

·8· · ·alleged code of conduct violations?

·9· A· You have the text messages from Neil.

10· Q· And did Neil know that he was representing DEF CON in

11· · ·those conversations with Chris?

12· · · · · · · · · · · · MR. MERTENS:· Object to the form.

13· · · · · · · · · · · · THE WITNESS:· I believe so.· Because

14· · ·the very beginning of his conversation, when he's

15· · ·talking with Chris -- I believe it was when he was

16· · ·talking with Chris -- it was that he was contacted by

17· · ·Maxie because of his affiliation with DEF CON, and he

18· · ·could speak with DEF CON.

19· · · · · So from the very beginning, I believe Maxie

20· · ·approached him because of his DEF CON and Black Hat

21· · ·connections.· So when Neil received that communication,

22· · ·he absolutely believed that he was carrying a message

23· · ·for DEF CON, because that's why he was approached.

24· Q· (By Mr. Conrad)· And you -- you named Chris in this

25· · ·transparency report.


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·1· · ·Chris violated.· The reason we created a transparency

·2· · ·report is to try to hold ourselves accountable to that

·3· · ·code of conduct.· If we didn't have a transparency

·4· · ·report, how would the community ever know if we're

·5· · ·following up on any of our commitments?

·6· · · · · So absolutely we had to name him, because we had

·7· · ·to show that we were living up to our commitments under

·8· · ·this code of conduct.

·9· Q· Why couldn't you have banned him without naming him?

10· A· We could have, but we decided not to.

11· Q· How many other people have you named when you've banned

12· · ·them from DEF CON?

13· A· On the transparency report, there's, I believe, three

14· · ·others.· But before the transparency report existed, I

15· · ·couldn't tell you how many.· But since the transparency

16· · ·report existed, it's these three.

17· Q· And who are the three?

18· A· If I remember correctly, it's Captain Crunch, Morgan --

19· · ·I'm pronou- -- I -- I don't -- cannot pronounce his

20· · ·last name -- and Jake Appelbaum.

21· Q· So the three people that you have previously banned are

22· · ·Jake Appelbaum, A-p-p-l-e-b-a-u-m; John Draper,

23· · ·D-r-a-p-e-r, aka Captain Crunch; and Morgan

24· · ·M-a-r-q-u-i-s B-o-i-r-e, Marquis Boire?

25· A· I think so.


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·1· Q· Those are the three people you've named now?

·2· A· Correct.

·3· Q· And the three people that you've previously named, each

·4· · ·one of them had allegations of sexual misconduct

·5· · ·against them; is that true?

·6· · · · · · · · · · · · MR. MERTENS:· Object to the form.

·7· · · · · · · · · · · · THE WITNESS:· Among other things,

·8· · ·yes.

·9· Q· (By Mr. Conrad)· But that -- the allegations of sexual

10· · ·abuse or sexual misconduct were the most prevalent

11· · ·reasons for banning them, right?

12· · · · · · · · · · · · MR. MERTENS:· Object to the form.

13· · · · · · · · · · · · THE WITNESS:· Maybe.· I think it was

14· · ·the totality of their behavior, the reports that were

15· · ·coming -- well, each one's a different case.· But the

16· · ·totality of the reporting combined with the nature of

17· · ·the accusations was more than enough.· But there was a

18· · ·number of accusations.

19· Q· (By Mr. Conrad)· Jake Appelbaum had allegations that he

20· · ·was sexually abusing people, right?

21· A· I believe so.

22· Q· And that was the reason that DEF CON banned him?

23· A· I think we banned him -- yeah, I mean, absolutely when

24· · ·those came to light.· Yes, we don't want him at DEF

25· · ·CON.· Absolutely.· But there's more behavior than just


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·1· · ·in the speculation that it was sexual in nature by

·2· · ·indicating that it was not sexual in nature, right?

·3· A· No.· Incorrect.

·4· Q· What's incorrect about that?

·5· A· I was speculating should we.· I wasn't saying it would

·6· · ·be a good idea to do.· So I was asking the group should

·7· · ·we add something.· And what I was thinking about at the

·8· · ·time was, I believe some people were speculating about

·9· · ·rape.· We never got any complaint about rape.· But we

10· · ·did get complaints about unwanted kissing, weird pubic

11· · ·hair stuff, getting people to reveal when they had

12· · ·their menstruation, men approaching underage women in

13· · ·Victoria's Secrets and asking bra sizes.· Like, that's

14· · ·sexual, and that's weird.· But that's not rape.

15· · · · · That's something -- and so there's a reason why we

16· · ·didn't pursue this and we don't go any further on this

17· · ·idea.· Because we quickly realized we're not experts on

18· · ·necessarily the various "degrations" of what's sexual

19· · ·and what's not.· And if we make a statement that says

20· · ·it wasn't sexual in nature and the person that was

21· · ·unwantingly kissed by Chris on the forehead says, "No,

22· · ·that's sexual," okay, we're not going to get into that

23· · ·argument.

24· · · · · So we -- we thought about this briefly and then

25· · ·realized, like, no, if Chris wants to make a statement,


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·1· · ·in nature, and we just left it at that.· And if people

·2· · ·want to speculate, they can speculate.

·3· Q· (By Mr. Conrad)· You mentioned that someone had accused

·4· · ·Chris of kissing them on the forehead?

·5· A· Correct.

·6· Q· When did you get that accusation?

·7· A· I believe the inappropriate behavior was -- I couldn't

·8· · ·tell you if it was on the call or if it was after the

·9· · ·fact.

10· · · · · I want to say it was on the call, but I'm not a

11· · ·hundred percent sure.

12· · · · · It was a work trip that Mr. Hadnagy had with an

13· · ·employee.· But on that group call, there were a lot of,

14· · ·you know, ex-employees telling stories about

15· · ·Mr. Hadnagy on work trips, and so I might have them

16· · ·conflated.

17· Q· So you're not sure?

18· A· Yeah.· It's mentioned in that third interrogatory

19· · ·response.

20· Q· Do you remember who made that allegation?

21· A· I would have to look at the response.

22· Q· Well, in response to this suggestion --

23· A· Mm-hmm.

24· Q· -- Melanie also says that you should all wait a bit,

25· · ·right?


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·1· A· Yes.

·2· Q· And that if Chris wants to clear the record about his

·3· · ·violation, he's welcome to do so.· We've had -- we have

·4· · ·said nothing to imply it was sexual in nature.· The

·5· · ·code of conduct covers a lot of different

·6· · ·possibilities.

·7· A· Correct.

·8· Q· You go on to say on February 10th, "Good point.· If

·9· · ·Chris wants to say something to clarify it, he could

10· · ·say it wasn't sexual, and we wouldn't contradict him."

11· · · · · Is that what you said?

12· A· Correct.

13· · · · · If he wanted to make a clarifying statement and if

14· · ·the statement was factual, we wouldn't contradict him.

15· · ·If he made an inaccurate statement, then we would

16· · ·correct him.

17· Q· So if Chris had made a clarifying statement saying,

18· · ·"Hey, infosec community, just know that my ban was not

19· · ·for anything that was sexual in nature," you would not

20· · ·have contradicted him on that?

21· A· I don't know about that.· Had he said, "My ban was not

22· · ·for raping or sexual abuse," sure.· We wouldn't have

23· · ·contradicted him on that.

24· Q· But your February 10th post prior to that has in quotes

25· · ·"a not-sexual in nature code of conduct violation."


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·1· · ·of my management techniques is I ask this group or any

·2· · ·group a lot of questions, and this is me prompting them

·3· · ·to explore this question.· And if you look below, they

·4· · ·responded, and we explored this question.· And in the

·5· · ·end, we didn't do it.

·6· Q· (By Mr. Conrad)· One of the things in this follow-up

·7· · ·post that you say, though, is that if Chris wants to

·8· · ·say something to clarify, he could say it wasn't

·9· · ·sexual, is what you said, right?

10· A· Correct.

11· · · · · I should have -- in hindsight, I should have used

12· · ·more words and specified, if he said something that was

13· · ·factual around it not being sexual abuse or assault or

14· · ·rape, then we wouldn't correct him.· But I guess I was

15· · ·thinking in shorthand at that time.

16· · · · · The intention was, at any moment, Chris could say

17· · ·something, and if it was factual, we wouldn't

18· · ·contradict him.· That would probably have been a better

19· · ·way for me to say it.

20· Q· Can you flip to Page 53.

21· · · · · You see your post from February 25th.

22· A· Yep.

23· Q· And you're asking Grifter, Marc, Wednesday if anyone's

24· · ·talking with --

25· A· I think it's pronounced "Alethe."


                U.S. Legal Support | www.uslegalsupport.com                208
                                                                                 YVer1f
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                                   Jeff Moss
                                 July 31, 2024

·1· Q· And in it you say, "During our investigation, we spoke

·2· · ·directly with Mr. Hadnagy about claims of his

·3· · ·violations of our code of conduct.· He confirmed his

·4· · ·behavior and agreed to stop.· Unfortunately, the

·5· · ·behavior did not stop."

·6· A· Correct.

·7· Q· When did you speak directly with Mr. Hadnagy about the

·8· · ·claims of his violations of code of conduct?

·9· A· I believe that was second day Grifter was talking to

10· · ·him in text messages -- you can see that -- where Chris

11· · ·says they'll stop.· Maxie was happy.· They're going to

12· · ·go their separate ways.· And then it did not stop.

13· Q· And did you speak with Chris about all of the

14· · ·allegations or just the ones involving Maxie?

15· A· You would have to ask Grifter specifically what he

16· · ·covered.· I'm only aware of what was in the text

17· · ·message thread and Neil relaying that there was so many

18· · ·people on the call with complaints and that Chris was

19· · ·already guessing four or five of them, like he was

20· · ·somehow aware that there was this large number of

21· · ·people with allegations against him.

22· · · · · · · · · · · · MR. MERTENS:· Mark, can you hold

23· · ·your questions for ten seconds?

24· · · · · · · · · · · · MR. CONRAD:· Sure.

25· · · · · · · · · · · · MR. MERTENS:· Thanks.· We don't need


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                                     Jeff Moss
                                   July 31, 2024

·1· ·Errata Sheet

·2

·3· ·NAME OF CASE: Hadnagy vs Moss

·4· ·DATE OF DEPOSITION: 07/31/2024

·5· ·NAME OF WITNESS: Jeff Moss

·6· ·Reason Codes:

·7· · · · 1. To clarify the record.

·8· · · · 2. To conform to the facts.

·9· · · · 3. To correct transcription errors.

10· ·Page _____ Line ______ Reason ______

11· ·From ____________________ to ____________________

12· ·Page _____ Line ______ Reason ______

13· ·From ____________________ to ____________________

14· ·Page _____ Line ______ Reason ______

15· ·From ____________________ to ____________________

16· ·Page _____ Line ______ Reason ______

17· ·From ____________________ to ____________________

18· ·Page _____ Line ______ Reason ______

19· ·From ____________________ to ____________________

20· ·Page _____ Line ______ Reason ______

21· ·From ____________________ to ____________________

22· ·Page _____ Line ______ Reason ______

23· ·From ____________________ to ____________________

24

25· · · · · · · · · · · · · · ·_______________________


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                         Exhibit 4
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                                          8 Feb 2022



                              Hey Maxie it's Jeff Moss, I got this
                              number from Grifter.                      17:24 c©


                Hey Jeff

                How you going? 17:35


                        Doing OK! I wanted to catch you up
                        and also ask you for a copy or some
                        proof that you own your laptop. Chris
                        has said his company owns it and that
                        seems easy to verify.                           17:41


                No problem at all — I've got the receipt
                for the laptop among some other
                documentation. It'll take me about an
                hour and a half to get that to you as
                I'm not home right now. But will send
                tonight.

                In the meantime, here's the letter I sent
                to him. The first paragraph deals with
                the laptop issue


                 DOCX
                        signal-2022-02-08-174555.docx
                        1.6 MB


                                                                17:45


Confidential                                                                      DEFCCN00000161
               Case 2:23-cv-01932-BAT   Document 101    Filed 03/14/25   Page 57 of 388


                                         8 Feb 2022

                   That looks good enough. Are you free
                   for a quick call?                                             17;48


        Yep — go ahead                   17:55



                                                       Ok hang on. 17:59C0



                          % Outgoing voice call • 18:03




        I'm going through a bit of a poor
        reception area — do you mind if I call
        you back in 5?                                                   18:19


                                                                                     Sure

                      Can I can you back after talking with
                      Mel?                                                       18:20 C0


        Even better!             18:21




Confidential                                                                         DEFCCN00000162
               Case 2:23-cv-01932-BAT                                    Document 101   Filed 03/14/25                                Page 58 of 388
                       7:02                                   .1
                                                                              8 Feb 2022
                                          13 Messages
                < Back         Follow up on your let...


                                   Chris claimed this was not at Black Hat,
                         but rather at a conference in the UK. Person
                         asked Chris to translate the class to brail, Chris
                         priced it out and it was about $2K, person did the
                         class but was unhappy and offered a full refund.


                         #4 Student had an issue with how Chris treated
                         an employee at Black Hat. Made light jokes
                         against her appearance and that she had gotten
                         her job by virtue of her looks.


                                   Chris says the person was the one joking
                         about this, but is aware of the student who was
                         made uncomfortable


                 Based on the generally horrible behavior part, we are
                 going to take action. We’re working on a formal response
                 to Chris now. But fully appreciate if you want to move on
                 from this personally.


                 Regards,
                 Steve




                 Information Classification: General


                 See More




                                                        <h
                                                             19:0



                                                                                           Billing Address:

                         Items to be Picked Up

                         Available Jan 9.

                         We'll notify you when these items are ready.
                                                                                           Subtotal                                 S3.S05.00

                                                                                           Free Shipping                                 $0.00

                                                                                           Estimated Tax                              $360.91

                                                                                           Order Total                              £4,165.91



                                              16-inch MacBook Pro - Space
                                              Gray
                                                                                                      I Gray
                                                                                                        With the following configuration:
                                              With the following configuration:
                                                                                                         2.4GHz 8-core 9th-generation
                                                                                                         Intel Core <9 processor, Turbo Boost
                                              2.4GHz 8-core 9th-generation                               up to 5.0GHz

                                              Intel Core i9 processor, Turbo Boost                       AMD Radeon Pro 5500M with 4G8 ol

                                                                                                         GDDRS memory

                                              up to 5.0GHz                                               64GB 2666MHz DDR4 memory

                                                                                                         1TB SSD storage

                                              64GB 2666MHz DDR4 memory                                   16-inch Retina display with True Tone

                                                                                                         Four Thunderbolt 3 ports
                                              AMD Radeon Pro 5500M with 4GB of                           Touch Bar and Touch ID


                                              GDDR6 memory                                               Backlit Keyboard - US English

                                                                                                         Accessory Kit

                                              1TB SSD storage
                                                                                                         i?.', i




                   It doesn't quite prove it because
                  there's no serial number but I'm
                  working on finding a more concrete
                  record of the transaction J?                                                                20:19


Confidential                                                                                                                                      DEFCCN00000163
                            Case 2:23-cv-01932-BAT                                   Document 101   Filed 03/14/25   Page 59 of 388




     Store. Below is a copy of your service record.



                                                    Apple Third Street Promenade
                                                                                     <
                                                                                     8 Feb 2022


    lius Bar Work Authorization




                                         Product Information

                                         Warranty Status: Out of Warranty (OW)

                                         Model: MacBook Pro (16-inch, 2019)

                                         Date of Purchase: Dec 30, 2019
                                         Serial No: C02ZWA27MD6T




    ter working with apple support because the computer is locked.



    ichine it shows passcode.
    :k screen.
    he camera, minor scratches on the enclosure
    that because of the firmware lock we will need:




    he informations above




                                                                    Customer
                                            Price        Amount Due ^qb

    EL1                                    $0.00                  $0.00
       Total (Tax not included)            $ 0.00                 $ o.oo


    licable taxes. Taxes will be calculated at the time of payment.




     reverse side of this page will apply to the service of the product identified



    as a result of the service it is my responsibility to make a backup copy of my
     for service;

    corruption of the data on my product during service, and
                                                                   20:36
           or equivalent to new in reliability and performance.




                                                                                         Got it, thank you!                 20:42 C0



           Apple are sending me an email now
            (on phone with them). I'll send it when
            I get it. Thanks again!                                                                                   20:44




Confidential                                                                                                                     DEFCCN00000164
               Case 2:23-cv-01932-BAT                                                                                                 Document 101    Filed 03/14/25    Page 60 of 388
                                                                                 INVOICE        RECEIPT



               Dear    Apple Customer,
                                                                                                                                             9 Feb 2022
               laaax    you       for   a hopping       at    the Apple       store t


               If you       have already paid for your purchaae.                           please retain thi» invoice              receipt
               for your       records.

               If you need to set
               yctur remittance.             /


               Invoice Number t


                                                             11"
               invoice Date:
               Web    Order    Number:
               Rafdrpncd          Date :
               Amount       Due:



               Customer Hl



               Sold to:
                              sr    Number:


                                                             Sr”
               Matthew Miller
                                                                                                               Apple Century
                                                                                     City

               USA




               Than Product                Product      Description                  Total   Total   Cnlt
                    Number                                                           ordered Shipped Price
                                           HST   16.0    SPACE GRAT                  1       I       1,799.00              •3,799.00
                                           SerUlNo.:          (    C02EMA27MDST       1
                                           fteeyele     Pee
                                           6.00                                                  6. 00


               Subtotal
               Tar                                    ’13:3
               Shipping       Charges
               TOTAL        USD                       «, 143.91
               Questions? CallL    -   - or visit https://wwv.apple.com/cont4ct/
               Salesperson Corintact Entry Date Ship Date Routing
                                                   12/21/19              12/26/19         UPS




               sales    I    Returns        Policies:             h t tp i / J www . appl a . coni/ ah p/open / K el espo1 icies




                                                                                                              07:50



                                                                      All done. Now to wait and see.                                                                       20:56 C®


                                                                            0 Post DEF CON 29
                                                                                                   (Updates between DC 29 and DC 30) Transparency Report


                                                                                                  We received multiple CoC violation reports about a DEF CON Village leader -
                                                                                                  Chris Hadnagy of theSE Village. After conversations with the reporting parties   •
                                                                                                  and Chris, we are confident the severity of the transgressioris merits a ban
                                                                                                  from DEF CON.



                                                                                                  We have also taken the rare action to disband the DEF CON Group 0CG4 '4
                                                                                                  Code of Conduct violations by the group’s primary Point of Contact and
                                                                                                  subsequent mishandling of the event left us without confidence in the group's
                                                                                                   leadership




                                                                      This is what is public:

                                                                         Let me know if you have any
                                                                         questions. I emailed Chris a response
                                                                         so everything is complete on our end.
                                                                         Sorry it took so long for us to
                                                                         investigate and conclude.                                                                         21:09 C©


Confidential                                                                                                                                                                           DEFCCN00000165
               Case 2:23-cv-01932-BAT   Document 101       Filed 03/14/25      Page 61 of 388

                                        11 Feb 2022

        I'd say that announcement is pretty
        insane.                                                           13:58



                                                     Chris claims are crazy.

                                           as          Christopher Hadnagy
                                           f           @humanhacker         FOLLOWS YOU




                                           Obviously many of you have questions - as do I
                                           and my team. The problem is someone has
                                           made accusations about me, but DEF CON has
                                           NOT me told what they are or presented any
                                           evidence to support them. DEF CON's code of
                                           conduct addresses harassment and
                                           discrimination,... 1/3



                                                          U                             -r              o




                                                       12 Feb 2022 at 05:47 via Twitter Web App



                                                                  tl 4      U 12       Q 36


                                                ,    Christopher Hadnagy @hu...              12/2/22, 05 47
                                                I'   and I can say with 100% certainty that no one
                                                     has ever come to me with accusations of
                                                     harassment or discrimination - not a single
                                                     person. We will continue to try and get
                                                     information and release it as we can. 2/3



                                                ,    Christopher Hadnagy @hu...              12/2/22, 05 47
                                                P All we can ask is that you wait for details and
                                                     facts before jumping to conclusions. Thank
                                                     you. 3/3




                       Hard to talk to someone in bad faith.
                                                                                         18:20 C0


Confidential                                                                                      DEFCCN00000166
                Case 2:23-cv-01932-BAT   Document 101   Filed 03/14/25   Page 62 of 388
                                                                   EM 33L.I
                                         12 Feb 2022

               DC couldn't have handled it better.
               Chris couldn't have handled it worse.
                                                                     07:13



                         It's pretty crazy the master SE came
                         across so DARVO                                      07:13 c®


               Especially when his original statement
               was from an organization meant to
               help victims without question...                          07:14


                      How has it been from your end or what
                     you are hearing? I'm not connected to
                     the same networks you are.                               07:16 (7@


               I have not heard news of any lawsuits. I
               have heard he had a large meeting
               with the IFL and some of his social
               engineer teammates. He is saying he
               was not informed and that I tricked
               Grifter ... Currently I think he is putting
               some of this on Grifter and me. I don't
               think he can mention you and remain
               credible.

Confidential                                                                         DEFCCN00000167
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                                         12 Feb 2022

               how are you? Do you feel anxious or
               righteous or anything...?                        07:22


                        I mean from the network of other
                        people who came forward for our call.
                        I've seen many mentions or allusion to
                        things we were not aware of. I hope it
                        encourages others to come forward.

                          We expect legal action from Chris so
                          have our legal team all spun up just
                          waiting for it arrive.                        07:24 g©


               Network — nothing new 07:26


                        It's lame to try and put it on Grifter but
                        he needs a scapegoat.

                        I was surprised about the amount of
                        support we got from the community, I
                        was expecting more 50/50 both
                        sideism                                         07:28 g©


               It blew me away. 07:31


                               I think it has calmed down I'm not
                               seeing much anymore.                     07:32 g©


Confidential                                                                      DEFCCN00000168
               Case 2:23-cv-01932-BAT                                  Document 101   Filed 03/14/25   Page 64 of 388
                                                                        25 Feb 2022

               Not sure if this is news to you or
               important but:
                     11:34 -f


                <
                                             nt
                                             Melhe
                                                               J



                    Okay so. I checked. And this is
                    rubbish.


                    ©deviantollam @DAkacki
                    ©RegGBIinker @cillic @delcon

                    Thought I'd share, I have heard from
                    credible sources that investigators
                    ©InnocentOrg have been asked to
                    investigate/OSINT the people
                    ©humanhacker suspects of being a

                    complainant. THIS IS STALKING AND
                    HARASSMENT OF VICTIMS

                         BruceHornsbysBigToe
                    £ twitterxem
                    They aren't. And that's from an an
                    extremely credible source.

                    I've decided it's time to put distance
                    between me and them but I'm doing
                    so slowly and quietly.

                    Their lack of response damages me
                    and my reputation and since I can't
                    influence a response they are really
                    leaving me not much choice.


                    I was also told by a source inside DC
                    that Jeff was the only person who got
                    ail the victim statements and Jeff
                    made this decision and wrote the
                    announcement himself after Chris
                    said he was leaving DC and would not
                    return this year following the
                    allegations. And that's like nothing
                    you heard from me hahaha but that's
                    the truth as best I understand it. Jeff
                    is solely responsible for the decision
                    presented as defcons and it happens
                    after Chris said he would voluntarily
                    leave DC and take SEV elsewhere.

                    That's what I've been sitting on for
                    weeks so massive frieNDA there. But
                    I'm frustrated on all sides of this shit
                    show. Frustrated is an
                    understatement



                 GJ      O'                                        ©
                O A              «Pa»
                                                               o



               That's a screenshot of a screenshot.

               No need to reply.                                          08:41



                                        That's Althe making stuff up?                                     08:42 C©



               No idea. I don't speak with her. But I
               believe she is close to chris                                                     08:44


Confidential                                                                                                       DEFCCN00000169
               Case 2:23-cv-01932-BAT      Document 101           Filed 03/14/25   Page 65 of 388
                                                         Alethe



                                Okay so. I checked. And this is
                                rubbish.


                                @deviantollam @DAkacki
                                @RegGBIinker @cillic @defcon
                                Thought I’d share, I have heard from
                                credible sources that investigators
                                @lnnocentOrg have been asked to

                                investigate/OSINT the people
                                @humanhacker suspects of being a
                                complainant. THIS IS STALKING AND
                                HARASSMENT OF VICTIMS

                                     BruceHornsbysBigToe
                                6    twitter.com


                                They aren't. And that's from an an
                                extremely credible source.

                                I've decided it's time to put distance
                                between me and them but I'm doing
                                so slowly and quietly.

                                Their lack of response damages me
                                and my reputation and since I can't
                                influence a response they are really
                                leaving me not much choice.


                                I was also told by a source inside DC
                                that Jeff was the only person who got
                                all the victim statements and Jeff
                                made this decision and wrote the
                                announcement himself after Chris
                                said he was leaving DC and would not
                                return this year following the
                                allegations. And that's like nothing
                                you heard from me hahaha but that's
                                the truth as best I understand it. Jeff
                                is solely responsible for the decision
                                presented as defcons and it happens
                                after Chris said he would voluntarily
                                leave DC and take SEV elsewhere.


                                That's what I've been sitting on for
                                weeks so massive frieNDA there. But
                                I'm frustrated on all sides of this shit
                                show. Frustrated is an
                                understatement



Confidential                                                                                   DEFCCN00000170
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                                         25 Feb 2022

                         Thanks for the heads up as you know
                         we have quite a team on this, but in a
                         sense, yes, as the CEO I do make the
                         final decision. If you don't mind, what
                         audience was she speaking to?
                                                                       08:47 C©



                She was talking one on one to another
                woman that Chris had bullied (the one
                he wrote the Linkedln article about).
                                                                  08:52



                                   Ok I missed his Linkedln article.
                                                                         10:07 C@



                It would have benefitted him to release
                this sooner because it's not shit, it's
                also not true, but when has that
                mattered.

                If a response from you is necessary, I
                hope you've got people of sound
                judgment around you.                             23:33


                          I think our only response would be to
                          restate in light of Chris's statement
                          that we stand by our original
                          assessment.                                  23:35


Confidential                                                                      DEFCCN00000171
               Case 2:23-cv-01932-BAT   Document 101   Filed 03/14/25   Page 67 of 388
                                         25 Feb 2022

                         He wants to ignore the Black Hat
                         removal and draw us into a point for
                         point battle he confuse people with,
                         but it doesn't change the facts of what
                         he has done.


                         Curious on your advice.                         23:41 CO


                                         26 Feb 2022


                 — you've taken action and will not
                 reverse it.


                 — He is gaslighting you.


                 — Giving a statement will lead to more
                 short term noise and, frankly speaking,
                 chaos for both sides (DC and Chris —
                 none of us— "the victims"— have been
                 outed yet).


                 The long term probable outcome of
                 doing nothing on your side will likely
                 lead to speculation and ultimately a
                 dent in your (DC's) reputation, as the
                 collective ire and imagination of the
                 internet is truly, astoundingly corrupt.
                 Your silence this week will be what
                 ILF's...

Confidential                                                                        DEFCCN00000172
               Case 2:23-cv-01932-BAT   Document 101   Filed 03/14/25    Page 68 of 388
               Your silence this 26 Feb 2022 ' what
               ILF's was last week — a breeding
               ground for speculation.


               I would seek to make a statement with
               BH.


               Your silence allows him to control the
               narrative and he is capitalizing on that
               — I think his confidence is rebuilding.
               He's rewriting history in his head again
               and pushing it forward as fact.                          00:08


                       BH didn't want to make a statement at
                       the onset so I don't expect they would
                       want to now. Nothing has changed for
                       them so while that would be a great
                       move I don't see it happening unless
                       something changes.


                       Good observations, the gravity is
                       always to feed the monsters and Sat
                       more on social media.


                       We will be thinking through things
                       once people have slept, always
                       appreciate your thoughts                             00;17 <3©

Confidential                                                                         DEFCCN00000173
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                                         28 Feb 2022

                         Hey Maxie do you think the reason
                         there are no stories is because no one
                         knows a reporter to trust? Or there is
                         no desire to get their stories out?
                                                                            11:04 GO



                 I think there's a huge desire to bet the
                 stories out. No one is the group seems
                 willing to trust reporters AND they
                 can't let go of the fear that if chris
                 finds out they've talked to the press,
                 he'll retaliate.

                 I've talked to two reporters, but don't
                 have any information on a story!                   11:11


                         OK if you need advice on what
                         reporters are trustworthy we have
                         interactions with many over the years.
                         We want to respond to Chris but don't
                         want to give him anything to spin so
                         silence is the best option currently. If
                         anything were published from
                         someone else's voice that gives us
                         something to point to.

                          Our ban is a ban and he can't talk us
                          out of that, it's more about not letting
                          him spin his lies.

Confidential                                                                           DEFCCN00000174
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                                         28 Feb 2022


                  Alright, let's see what happens in the
                  press                                           11:29

                                                                        4=

                          I believe we know a trustworthy
                          reporter who reached out to us willing
                          to talk to people on background if that
                          helps some people.                                 11:32 c©


                  Can I screen shot just v’ that
                  message to send to the group — I
                  think, maybe, coming from you it holds
                  weight?                                               11:51


                            Ok let me get specifics from Melanie
                            first. Hang on.                                  11:59 c®


                  Excellent. 11:59


                          Let's set up a call for this Sunday
                          evening and we can explain to
                          everyone you want to invite what our
                          strategy is, that protecting them is our
                         #1 priority and answer any questions.
                          That should help reduce any
                          speculation.                                       13:21 C®



                  I'll pass it on. Thanks.        13:21




Confidential                                                                             DEFCCN00000175
               Case 2:23-cv-01932-BAT
                                   T    Document
                                        TT.      101 ft
                                            TIlf £!•!•] Filed 03/14/25  Page 71 of 388
                                                                  II •roes

                           conferem 28 Feb 2022 ,t up and I'll get
                           you details later this week.                  13:23 C©



                                           3 Mar 2022



                              It will be Sunday 16:00 Pacific Time
                              Zone                                       17:30 C0


                                           5 Mar 2022



                  Will someone send a link or number
                  tomorrow?                                     15:53



                                I'll send it to you in just a moment,
                               sorry a bit behind.                       16:35 C0



                                   Conference dial-in number:
                                   1-206-858-8066 code 999664
                                                                         21:59 C0


                                           6 Mar 2022



                           Just getting ready to start call              16:01 C0




                  You're cutting in and out. And I can't
                  get off mute to tell you.                      16:29



                           Thanks for pulling the group togeth
                           for the call.                                 17:02^


Confidential                                                                        DEFCCN00000176
               Case 2:23-cv-01932-BAT              Document 101      Filed 03/14/25   Page 72 of 388
                              7:02                                          Il

                                                       13 Messages
                      < Back               Follow up on your let...
                                     til   ivj   W M




                                                  Chris claimed this was not at Black Hat,
                                but rather at a conference in the UK. Person
                                asked Chris to translate the class to brail, Chris
                                priced it out and it was about $2K, person did the
                                class but was unhappy and offered a full refund.


                                #4 Student had an issue with how Chris treated
                                an employee at Black Hat. Made light jokes
                                against her appearance and that she had gotten
                                her job by virtue of her looks.


                                                 Chris says the person was the one joking
                                about this, but is aware of the student who was
                                made uncomfortable


                        Based on the generally horrible behavior part, we are
                        going to take action. We’re working on a formal response
                        to Chris now. But fully appreciate if you want to move on
                        from this personally.


                        Regards,
                        Steve




                        Information Classification: General


                        See More




                                                                                      0


Confidential                                                                                      DEFCCN00000177
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                           Jeff Moss Volume II
                             January 03, 2025

· · · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · · · ·WESTERN DISTRICT OF WASHINGTON

· · · · · · · · · · · · · ·AT SEATTLE



·CHRISTOPHER J. HADNAGY, an· · · · · · )
·individual; and SOCIAL-ENGINEER,· · · )
·LLC, a Pennsylvania limited· · · · · ·)
·liability company,· · · · · · · · · · )
· · · · · · · · · · · · · · · · · · · ·) No. 2:23-CV-01932-BAT
· · · · · · · · · · · Plaintiffs,· · · )
· · · · · · · · · · · · · · · · · · · ·)
· · · · · · · · · vs.· · · · · · · · · )
· · · · · · · · · · · · · · · · · · · ·)
·JEFF MOSS, an individual; DEF CON· · ·)
·COMMUNICATIONS, INC., a Washington· · )
·corporation; and DOES 1-10; and· · · ·)
·ROE ENTITIES 1-10,· · · · · · · · · · )
· · · · · · · · · · · · · · · · · · · ·)
· · · · · · · · · · · Defendants.· · · )


· · · ·VIDEO-RECORDED DEPOSITION OF JEFF MOSS, VOLUME II

· · · · · · · · ·1201 Third Avenue, Suite 4900

· · · · · · · · · · · Seattle, Washington

· · · · · · · · · · · · ·January 3, 2025

· · · · · · · · · · · · · ·10:04 a.m.




Reporter:· Eva P. Jankovits, CCR
· · · · · ·CCR No.:· 1915



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                                 January 03, 2025

·1· · · ·Q.· ·Well, what do you consider an employee of Def

·2· ·Con?

·3· · · · · · ATTORNEY MERTENS:· Object to form.

·4· · · ·A.· ·Whatever the IRS tells me an employee is.

·5· · · ·Q.· ·(By Attorney Conrad)· Is there anyone else

·6· ·that you --

·7· · · ·A.· ·Yeah.· So we also -- I think there's some

·8· ·people missing here.· Let me see.· It doesn't seem

·9· ·right.· One, two, three, four, five -- well, scratch

10· ·Tom.

11· · · · · · Neil, Nikita.· Oh, Darrington you don't have

12· ·on here.

13· · · ·Q.· ·No, Darrington was the first one I listed.

14· · · ·A.· ·Oh, sorry.

15· · · ·Q.· ·It's okay.

16· · · ·A.· ·And right around that time -- I'd have to

17· ·look -- there was also Cot, who does the servers, but --

18· ·and then we have some contractors that we use year after

19· ·year, but they're not -- they're not employees.

20· · · ·Q.· ·Okay.· And out of employees of DEF CON, who

21· ·would be most knowledgeable about the reports of code of

22· ·conduct violations related to Chris Hadnagy?

23· · · · · · ATTORNEY MERTENS:· Object to form.

24· · · ·A.· ·Say it again.

25· · · ·Q.· ·(By Attorney Conrad)· So out of the --


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                                 January 03, 2025

·1· · · ·A.· ·Out of these.

·2· · · ·Q.· ·Out of DEF CON's --

·3· · · ·A.· ·Mm-hm.

·4· · · ·Q.· ·-- employees, including yourself, who would be

·5· ·most knowledgeable about the reports of code of conduct

·6· ·violations related to Chris Hadnagy?

·7· · · · · · ATTORNEY MERTENS:· Object to form.

·8· · · ·A.· ·It would be me.

·9· · · ·Q.· ·(By Mr. Conrad)· And at the time that the

10· ·transparency report was posted in February of 2022 --

11· · · ·A.· ·Mm-hm.

12· · · ·Q.· ·-- what were the conferences that DEF CON was

13· ·operating?

14· · · ·A.· ·Well, conferences would be -- 2022, it would

15· ·be just Las Vegas, but we were trying to operate

16· ·training, a training side business.

17· · · ·Q.· ·Sounds like that hadn't been up and running at

18· ·the time of the transparency report; is that right?

19· · · ·A.· ·No.· Let me see.· '22, '23, '24.· It would

20· ·have -- might have just started that year or the year

21· ·after.· It might have started the year after.· We might

22· ·have been planning it that year.· I'd have to go back

23· ·and look at the calendar because I think this is our

24· ·third year of trying the training.

25· · · ·Q.· ·And Chris Hadnagy and Social Engineer, they


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·1· ·pretty wild.· And so it would not surprise me if there

·2· ·were strippers at them, but it wasn't in the event

·3· ·space.

·4· · · ·Q.· ·Got it.· So it was -- it was an area that DEF

·5· ·CON had rented from Caesars?

·6· · · ·A.· ·Well, back then it was pre-Caesars, but right.

·7· ·It would have been -- you get a bundle of space.· You're

·8· ·buying out all the space, and so then you try to figure

·9· ·out how do we use all the space.· And so if we had

10· ·something that could be used for a party at night, we

11· ·would go to the community and say, "Anybody want to

12· ·throw a party in here?"

13· · · ·Q.· ·And the party would be coordinated with DEF

14· ·CON?

15· · · ·A.· ·Well, we would say this is the space you get.

16· ·And the rules were from the event spaces, obviously no

17· ·under age alcohol drinking, no drugs.· And the way that

18· ·was all maintained is the hotel, or whoever, their

19· ·bartenders, their licensed bartenders would be in the

20· ·room selling.· So it wouldn't be our liability if there

21· ·was drinking there.· It would be all on the -- on the

22· ·venue and the licensed bartenders.

23· · · ·Q.· ·And when's the last time a party where

24· ·strippers were allowed took place?

25· · · · · · ATTORNEY MERTENS:· Object to form.


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·1· · · ·A.· ·I wouldn't say "allowed" because they never --

·2· ·parties never came to us and say we want to have a

·3· ·stripper party and we said great.· It was more like a

·4· ·party got out of control, and somebody in the room

·5· ·called strippers, and they showed up and they're

·6· ·performing.· And the last time that happened, I think --

·7· ·I'm trying to remember, because I remember getting a

·8· ·call about it and we -- we had to shut it all down

·9· ·because it got too rowdy.· It was like -- you know, it

10· ·was like in the decades ago, but I'm trying to think

11· ·like -- probably 20 years ago.· It was a long time ago

12· ·because it at a Caesars property, I don't believe.                I

13· ·believe it was at, like -- I -- I don't know.· Maybe --

14· ·maybe -- I can't remember.· But it was a long time ago.

15· · · ·Q.· ·(By Attorney Conrad)· This is space that DEF

16· ·CON had the ability to control who was allowed to use

17· ·it?

18· · · ·A.· ·Right.

19· · · ·Q.· ·Was there any -- ever any action taken against

20· ·any individuals that allowed women or men or whatever

21· ·gender they identify with to take off their clothes at

22· ·DEF CON?

23· · · ·A.· ·I -- you mean like if somebody wants to walk

24· ·in from the pool with their shirt off or something?

25· · · ·Q.· ·No.· Like in this instance that we're talking


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                                  January 03, 2025

·1· ·Errata Sheet

·2

·3· ·NAME OF CASE: Hadnagy vs Moss

·4· ·DATE OF DEPOSITION: 01/03/2025

·5· ·NAME OF WITNESS: 2 Transcript

·6· ·Reason Codes:

·7· · · · 1. To clarify the record.

·8· · · · 2. To conform to the facts.

·9· · · · 3. To correct transcription errors.

10· ·Page _____ Line ______ Reason ______

11· ·From ____________________ to ____________________

12· ·Page _____ Line ______ Reason ______

13· ·From ____________________ to ____________________

14· ·Page _____ Line ______ Reason ______

15· ·From ____________________ to ____________________

16· ·Page _____ Line ______ Reason ______

17· ·From ____________________ to ____________________

18· ·Page _____ Line ______ Reason ______

19· ·From ____________________ to ____________________

20· ·Page _____ Line ______ Reason ______

21· ·From ____________________ to ____________________

22· ·Page _____ Line ______ Reason ______

23· ·From ____________________ to ____________________

24

25· · · · · · · · · · · · · · ·_______________________


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       Cot                            Riverside                      Fox
       Infrastructure                 Discord DEVOPS Lead            Discord DEVOPS Second



       Mar
       Art Director



       Tom
       Project Manager



       Will
       Director of Special Projects



       Neil                           Medic
       Design and Defacement          Defacement Lead




                                      Adam_915
                                      DCG Lead
        irington
       ar
         icial Media
       Soc
                                      Silk
                                      Video Lead




                                      Brian                          Daria
                                      SMERCH Lead                    SMERCH Second




                                      Dani                           Hannah
                                      Vendor Lead                    Vendor Second

       Janet
       Director of Finance

                                      cstone                         Mark
                                      Human Reg Lead                 Human Reg Second




                                      Major                          Buttersnatcher
                                      QM Lead                        QM Second




                                      Log
                                      Parties Lead
       Kevin
       Sales & Sponsorships,
       Director
                                      Polybi
                                           lius
                                           liters Lead
                                      Exhibit

Jeff
CEO

                                      ANullValue                     |2wke
                                      Hacker Tracker Lead            Hacker Tracker Second




                                      Aster                          Esteban
                                      Inhuman Reg Lead               Inhuman Reg Second




                                      Cannibal                       ASTCell
                                      Photo Lead                     Photo Second




                                                                     Krisz Klink
                                                                     A&E Second
                                      chrisAM
                                      A&E Lead
                                                                     Zebbler Studios
                                                                     A&E Content Creator




                                                                     Ada Zebra
                                                                     SOC Hotline Lead



                                                                     Deelo
                                                                     SOC Chief of Staff

                                      CJ
                                      SOC Lead
                                                                     tacitus
                                                                     SOC Second



                                                                     Wham
                                                                     SOC Floor Operations
                                                                     Lead




                                                                     Heisenberg                  Harold
                                                                     Demo Labs Lead              Demo Labs Second

                                      Grifter
                                      C&E Lead

                                                                     Secove                      Kaybz
                                                                     C&E Second                  C&E Third


       Nikita
       Director ofContent&
       Coordination                                                                              Eric/Bia Lewis
                                                                                                 DC NextGen Lead
                                      Hony
                                                                     Paydreaux
       JeffM.                                                        Vi llages/Co m mu n ities
                                      Vi llages/Com munities Lead
       Legal                                                         Second
                                                                                                 Delchi
                                                                                                 HD A Lead




                                      Matt                           RORO                        Katie
                                      Policy Lead                    Policy Lead                 Policy Second




                                      Mark                           Joel                        Archangel
                                      Dispatch Lead                  Dispatch Second             Dispatch Thi
                                                                                                            >ird




                                      LittleBruzer                   LittleRoo
                                      NFO Lead                       NFO Second




                                      Monika                         Wednesday
                                      Press Lead                     Press Second




                                      PWCrack                        Pasties
                                      Speaker Ops Lead               Speaker Ops Second




                                      PWCrack                        Shaggy                      Alex
                                      CFP Lead                       CFP Second                  CFP Submissions Lead




                                      Sinderz                        Binarybuddah
                                      Workshops Lead                 Workshops Second




                                      Sparky                         Mac
                                      NOC Lead                       NOC Second




                                      Videoman                       skw33k
                                      DCTV Lead                      DCTV Second




                                                                                                                                    DEFCON00000785
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                         Exhibit 7
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   Hadnagy, et al. v. Moss, et al.                                  Neil Wyler

                                                                      Page 1
                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
     ______________________________________________________
     CHRISTOPHER J. HADNAGY, an    )
     individual; and               )
     SOCIAL-ENGINEER, LLC, a       )
     Pennsylvania limited          )
     liability company,            )
                                   )
                 Plaintiffs,       )
                                   )
        vs.                        ) No. 2:23-cv-01932-BAT
                                   )
     JEFF MOSS, an individual;     )
     DEF CON COMMUNICATIONS,       )
     INC., a Washington            )
     corporation; and DOES 1-10;   )
     and ROE ENTITIES 1-10,        )
     inclusive,                    )
                                   )
                 Defendants.       )
     ______________________________________________________

            VIDEO-RECORDED VIDEOCONFERENCE DEPOSITION OF

                           NEIL WYLER
     ______________________________________________________

                          9:03 a.m. (Pacific Time)
                                 KAYSVILLE, UTAH
        (All participants appeared via videoconference.)


     DATE TAKEN:        NOVEMBER 14, 2024
     REPORTED BY: LORRIE R. CHINN, RPR,
     Washington Certified Court Reporter No. 1902
     Oregon Certified Court Reporter No. 97-0337


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     Hadnagy, et al. v. Moss, et al.                                Neil Wyler

                                                                     Page 64
 1     allegations?

 2            A.    Well, I talked to him and I said like, "Look,

 3     Dude, she just wants this to stop.           Like she said she's

 4     not going to go like, you know, after you or try to

 5     gather a bunch of people together."           And he's like,

 6     "Well, that -- I don't believe that.           Like I don't

 7     believe her."

 8                  And I was like, "She just wants this to stop,

 9     so like stop."        And he was like, "Well, I'm in the

10     right here, you know."          And I think -- so between

11     that -- between the call with -- I didn't know Maxie,

12     had never met her before.         I had never spoken with her

13     before.      So between the call with her and with Chris

14     like I Googled her to see like, you know, who she was.

15                  And I said to Chris on the call, I said like,

16     "Look, Dude, from an optics standpoint alone, you are

17     admitting that you're harassing this woman.             And you

18     are a 50-year-old man who, you know, is six-foot plus,

19     270 pounds.       And she is a 30-year-old girl who looks

20     like she stepped out of a magazine.           You're going to

21     lose."      Like I was like, "You're going to lose."          I was

22     like, "There's just no scenario where I feel like you

23     come out winning here."

24                  And he said, "I don't give a shit."         He was

25     like, "I'm not doing anything wrong."           And he was like,


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                                                                     Page 116
 1     like it's weird to know like that your boss is a boob

 2     guy or that -- and that he's made comments about it

 3     to -- you know, to staff, which is --

 4            Q.    Did those individuals say whether it made them

 5     feel uncomfortable?

 6            A.    Yeah, they were clearly made uncomfortable by

 7     it.

 8            Q.    Did anyone complain that Chris would tell

 9     women that he was in to Asians?

10                          MR. CONRAD:   Object to form.

11            A.    I didn't hear anything specific -- or I don't

12     recall anything specific in that regard.               I mean, I

13     will say like, you know, obviously so you mentioned

14     like Michele.        Like Michele worked with Chris for

15     years.      And like she didn't have a handle, so Chris

16     gave her a handle.          And her handle was Sultry Asian,

17     which I thought it was kind of a weird choice, but all

18     right.

19                  But, yeah, I think that was kind of one of the

20     things that was -- I don't know -- a theme with Chris

21     was that he was always like, "Oh, when it comes to

22     social engineering" -- and this is something he said in

23     his classes, and I heard him saying in it the villages

24     and on podcasts and different stuff like that where he

25     says, "When you're doing social engineering, you should


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                                                                      Page 117
 1     never use intimidation or sex to complete your, you

 2     know, objective."

 3                  But he says those things, but then has an odd

 4     habit of hiring attractive women to work for his

 5     company, right?         And it's like, okay, if you're not

 6     using sex, then why are you choosing these like

 7     attractive women always to go out and do these

 8     engagements?

 9                  And so it's just like -- again, it's just not

10     true, right, the statement that you shouldn't do it.

11     And I've done several panels with Chris or podcasts

12     with Chris where like to liked to have me come on a

13     panel with him or whatever whenever we talked about

14     like the ethics of social engineering or red teaming

15     really.

16                  And he liked it because he would play the card

17     of like, "Well, you should be ethical in this way, this

18     way, this way."         And I disagree.     When you're on a red

19     team exercise, I believe that you should do anything

20     that's necessary to reach your goal, including using

21     sex or intimidation.            And I don't mean having sex with

22     somebody when I say that.           I mean, like flirting with

23     or like using your looks to try to get like if I am --

24     to get past security or whatever.

25                  So if I'm doing a job for a company and they


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                                                                    Page 118
 1     hire me and they want to see if I can break into their

 2     data center and I know that the security guard at the

 3     data center loves brunettes, well, then I'm sending a

 4     brunette, right?         Like I just -- like I just think

 5     that's just smart.          That's part of the job.     Like we're

 6     going to go, and we've got this pretty brunette.              And

 7     we're going to send her, and she's going to say, "Hi, I

 8     forgot my badge" or blah, blah, blah or whatever it is

 9     and try to get through whatever it is.

10                  And I -- and I know that at least at some

11     level Chris believes that too, but he always took the

12     position publicly that he didn't, that you shouldn't do

13     things like that.         But then it's like, you know, then

14     you hire like, you know, attractive women to go and

15     send them on these engagements.          And it's like, oh,

16     they just happen to be very good looking.              They just

17     happen to be above average looks or, you know,

18     exceptionally good looking, and that's who you're

19     hiring, you know.

20                  And so -- but I did enjoy those -- those

21     ethical debates with Chris because he was very adamant

22     that you shouldn't do those things, and I was like, you

23     know, no, you 100 percent should.          Because if you are

24     coming up and against an attacker and especially an

25     advanced attacker or a Nation-state attacker, they're


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     Hadnagy, et al. v. Moss, et al.                                 Neil Wyler

                                                                     Page 119
 1     going to send the attractive brunette because they have

 2     a job to do.

 3                  So if you're not doing that, I'm of the

 4     opinion that you're not doing a full, complete job for

 5     your customer.        But, like I say, Chris was very adamant

 6     that that was not a thing you should use.              And then he

 7     had questions in his classes that dealt with sex.               He

 8     had attractive women who worked for him.               He gave them

 9     names like Sultry Asian.        Like he told them how good

10     they looked in their clothes.         Like he, you know, made

11     comments about whether he was a boob or butt guy.               He

12     like, you know, did all of these things, but then said

13     like, oh, but when you're doing these things, you need

14     to be ethical about this, that, or whatever.              And it's

15     just like, well, you can't say one thing and then do

16     another thing and then just claim that that's not --

17     again, I just don't think that's very honest.              It's

18     not -- yeah.

19            Q.    Got it.     Did anyone share stories about Chris

20     yelling or screaming at people during villages at DEF

21     CON?

22            A.    So there were several people who said as

23     volunteers that they had been -- or as former employees

24     or whatever that at the village or that they would --

25     that he had yelled at them or come unglued kind of in


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     Hadnagy, et al. v. Moss, et al.                                   Neil Wyler

                                                                       Page 244
 1            A.    But did I -- I'll ask you a question in return

 2     then.     At any point during today in my statement about

 3     Chris and our disagreement at DEF CON 20, did I say

 4     that he violated a code of conduct with me in having

 5     that conversation?          I did not.    Did I say that Chris

 6     was banned or it was considered as part of the DEF CON

 7     ban for Chris because of the interaction that I had

 8     with Chris at DEF CON 20?         I did not.

 9                  What I said was when somebody said that they

10     had an interaction with Chris where he shouted at them,

11     screamed profanity at them, that I had had my own

12     experience like that with Chris that took place at DEF

13     CON 20.      But I didn't say that Chris' behavior at DEF

14     CON 20 was a factor in the ban that took place, you

15     know, a little less than three years ago.

16                  So you're misconstruing those two things and

17     trying to combine timelines there, and that's not what

18     happened.      What I said was I believed them because I

19     had experienced it in the past, not I believed them

20     because it had happened last month.

21            Q.    So when you brought up the DEF CON 20

22     incident, that wasn't something that you were reporting

23     to DEF CON that was part of the reports to DEF CON --

24            A.    It was never --

25            Q.    -- as part of the code of conduct?


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                                                                        Page 245
 1            A.    It was never reported to DEF CON.             It was

 2     never a code of conduct violation.               Chris and I had a

 3     conversation, like I said, 90 minutes after it

 4     happened.      We gave each other a hug.           I told him I

 5     loved him and that I would break his jaw.                  Like it

 6     was -- like it was totally -- like we put it behind us.

 7     Like we hugged it out.           We laughed about it for years.

 8     It was not something that was ever a consideration

 9     about the code of conduct.              I forgave Chris for that,

10     and I still forgive Chris for that.               I do not forget

11     that it happened.

12                          MR. DEAN:     Lorrie, a belated objection.

13     Misstates testimony.            Lacks foundation.      I didn't want

14     to interrupt you, Neil.           Go ahead.

15            A.    Yeah.

16            Q.    Well, you saw Mr. Dean showing you requests

17     for admission where DEF CON is asking Mr. Hadnagy to

18     admit those things in this lawsuit, right?

19            A.    Admit what things?

20            Q.    Admit that he called you a pedophile on this

21     date, right?

22            A.    Sure, yeah.        Yeah.   Oh, sorry.     Yes, Lorrie.

23     Yes.

24            Q.    Yeah.    So why are those things getting brought

25     up now from DEF CON 20?


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                                                                     Page 262
 1     other -- you go on and you say, "Roger that.              I know

 2     I've said it before but I still think we should update

 3     the transparency report to say it wasn't anything

 4     sexual in nature and that it was bullying and

 5     harassment of a non-sexual nature," period?

 6            A.    Right.

 7            Q.    "Because all of the rumor mill stuff is making

 8     it seem like it was sexual.           Which if he points to that

 9     and says Defcon wasn't clear, might actually give him a

10     leg to stand on in terms of defamation," period.

11                  Did I read that correctly?

12            A.    You did, yes, correct.

13            Q.    And then you also put in there "Or that he was

14     only targeting women."          What --

15            A.    Correct.

16            Q.    -- do you mean by that last comment, "Or that

17     he was only targeting women"?          Was that that he was or

18     wasn't doing that?

19            A.    Because that's kind of -- again, that was

20     the -- like where I say there, "The rumor mill stuff is

21     making it sound like this was like sexual," right?                And

22     I wanted it to be clear that there was no sexual

23     assault that took place here.          Like he wasn't touching

24     anybody.      Like you just mentioned, was there like

25     inappropriate touching, anything like that, or that


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                                                                     Page 263
 1     this was something where it was like he was targeting

 2     women, like that this was something where it was women.

 3                  Because that wasn't the case.         We had had a

 4     call with, you know, again, the 16 people and plus the

 5     people who weren't -- who were on the call but not on

 6     the screen.       And there were men there, right?         And so

 7     this wasn't something where I felt like this is a thing

 8     where Chris targets women.

 9                  Again, if you want to go all the way back to

10     DEF CON 20 and the situation that I had with Chris, I

11     am also not a woman, right?           But it did happen.      And so

12     my thing was I was like I don't want this to be

13     something that like people think like Chris was like

14     predatory like towards women or had sexually assaulted

15     or touched somebody inappropriately or anything like

16     that.

17                  And so you can see a little further down, I

18     think it's starting to peek out.           It's says -- like,

19     well -- Jeff is like, well, "It's tricky because what

20     if a sexual allegation comes out?           I've heard about a

21     lot of touchy touchy."

22                  So I hadn't heard those things, and so I don't

23     have any evidence of Chris, you know, touching anyone.

24     And if somebody had said those things to Jeff, then

25     they said them to Jeff, but they didn't say them to me.


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                                                                    Page 264
 1     And so maybe like -- I don't know.           They're like, oh,

 2     there was a lingering hug.         I don't know.       We're a very

 3     huggy group.       Hackers all hug each other when we see

 4     each other.       And so maybe somebody didn't like that.

 5                  But, again, in my experience with Chris -- and

 6     I was around him quite a bit -- I just -- I didn't see

 7     inappropriate touching.         I didn't -- I never saw

 8     anything that would in any way show that he would

 9     attempt to sexually assault somebody.           I just -- I feel

10     as strongly about that as I do the comments about like

11     the accusations of like racism and like trans phobia,

12     those types of things.          I just never -- and never saw

13     that thing.       Like he never even made a joke to me about

14     something like that.

15                  Like -- and we were friends for a really long

16     time, so I think, you know -- yeah, I just -- I think I

17     would have had some indication.          I just never had.       And

18     so that was the thing that was troubling to me.              I

19     wanted it to be clear because, again, this is somebody

20     that I cared about who was now getting dragged on the

21     internet.      And he had done wrong.      There were things

22     that he had done wrong.         And he should have made amends

23     for those things, and he should have taken

24     accountability for them.

25                  And he didn't, and I was disappointed in him


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                                                                    Page 265
 1     because of that.         And I didn't like the dishonesty, but

 2     I also -- I didn't think that he should take -- he

 3     should take it on the chin for stuff he didn't do,

 4     right?      And so when people were accusing him of things

 5     he didn't do and that I don't think he had the capacity

 6     to do as a person, that bothered me.           And so I wanted

 7     it to be clear, and it just wasn't.           It wasn't made

 8     clear.

 9            Q.    On the phone call that DEF CON had with the

10     accusers --

11            A.    Yeah.

12            Q.    -- in September, there was never an allegation

13     brought up in that phone call regarding inappropriate

14     touching?

15            A.    Not that I can recall.      I think it would have

16     stuck out to me if somebody would have said something

17     like that.       And I just -- not that I can recall.

18            Q.    And there was nothing suggested in that phone

19     call that Chris was violent towards someone?

20            A.    No.   No.    With words, but not with

21     physicality, right?

22            Q.    What about with a knife or anything like that?

23            A.    With a knife?      I don't recall.    I don't know.

24     Yeah, I don't recall any conversation about a knife.                 I

25     mean, if it happened, I would have saw something shiny


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                                                                     Page 266
 1     and wasn't paying attention, but not to my

 2     recollection.

 3            Q.    Were you paying --

 4            A.    That was three years ago, and I purposefully

 5     didn't write it down.           Like I purposefully was like I

 6     don't -- it was not hard to hear these things about

 7     your friend, right, so...

 8            Q.    Is that something you think you would have

 9     remembered?

10            A.    I imagine I would have.       Like the only -- I

11     think the only thing I can say is that like if people

12     want to say, oh, touchy touchy; oh, he did this; oh,

13     blah, blah, blah, blah, I think if you wanted to look

14     at that and try to paint it with a brush of malice,

15     then you could, right?          Like Chris is kind of a touchy

16     person, but with people that he's comfortable with and

17     as a friend.       He's just like a -- he's just that way.

18     Like I say, big hugs.           You know, when we're having a

19     conversation and we're disagreeing and laughing, like

20     he'll give you a shove and be like "Get out of here,"

21     blah, blah, blah.

22                  And if you were somebody who didn't like to be

23     touched, maybe that would be off-putting to you.               It

24     was never off-putting to me.          I always knew it was like

25     out of, you know, love and out of jest and like humor.


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                                                                     Page 269
 1     funny.      But it's -- not everybody has the same sense of

 2     humor.      So what is funny to one person may be

 3     threatening or inappropriate to another.               And you

 4     really have to know where the right place to do that is

 5     and isn't.

 6            Q.    So the phone call that you had in September

 7     with the accusers, you don't remember anyone raising

 8     any issues or concerns about him having a knife and

 9     threatening someone with it?

10            A.    You're really focused on this knife, Mark.

11     And I don't -- again, I've said it countless times at

12     this point.       I don't have any recollection of him ever

13     having a knife or threatening somebody with a knife.

14     I've never seen Chris actually violent.            I've never

15     ever seen Chris like violent.         I don't believe it's in

16     his nature.

17            Q.    Did --

18            A.    And so like you can ask me about the knife 30

19     other ways, and every time I'm going to say I don't

20     have any recollection of a knife thing.            I could see

21     him making a joke about it because that's the kind of

22     sense of humor he had, but it would have been a joke.

23            Q.    And in terms of the phone call with the

24     accusers, did you ever hear any allegations that he had

25     thrown a phone at anyone?


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                                                                     Page 278
 1            Q.    And then the people who were making

 2     accusations, Maxie Reynolds?

 3            A.    Again, I didn't write down all of their names

 4     on purpose, so I don't have a list of names for you.

 5            Q.    Okay.    Do you remember any names?

 6            A.    Again, I mentioned Snow was there.          I

 7     mentioned that Michele was there.           There were folks

 8     that Jake already mentioned.           Like I don't have a list

 9     of names for you.         I'm sorry.

10            Q.    Do you know if Cat Murdock was there?

11            A.    I believe she was.

12            Q.    Do you remember if someone named Jessica

13     Levine was there?

14            A.    I don't know who that is, so...

15            Q.    So that was not someone that you remember

16     getting a report of a code of conduct violation for?

17            A.    I just don't know who it is.        So if she was

18     there, I wouldn't have recognized her.             And if she

19     didn't put her name underneath her screen, I wouldn't

20     know who she was by sight.        So I can't tell you that.

21     It doesn't mean she wasn't there.           It just means that I

22     don't know who she is, and so I couldn't pick her out

23     if you put her in front of me.

24            Q.    Do you remember if Samantha Gamble was there?

25            A.    I don't recall.    And I didn't know her at the


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                                                                    Page 306
 1     less than a week kind of tells you the scope of what we

 2     were dealing with here.

 3            Q.    Is there a goon code of conduct?

 4            A.    A goon -- yeah, it's the code of conduct.

 5     It's on the website, yeah.

 6            Q.    There's not a separate one for goons?

 7            A.    No.

 8            Q.    And what's your pay like with DEF CON for all

 9     of the work that you do for them?

10            A.    So goons are volunteers.      The only people who

11     are paid by DEF CON is department heads, and department

12     heads get -- I think it's $2500 or $2000 like for

13     basically just like a thank you.          Like Jeff used to

14     send it at Christmas like with a Christmas card, but I

15     think it just was easier to hand them to people in Las

16     Vegas.      And so it just became like here's your thing.

17                  But, yeah, but that's it.       And it's only

18     department heads.         So of the hundreds of staff that are

19     there, it's like a small stipend basically for helping

20     out.     Because we put in -- if you were to tally it up,

21     that would probably be a dollar an hour or something

22     ridiculous because we put in hundreds of hours into the

23     creation of DEF CON.

24                  We start planning it immediately following the

25     last one.      And, yeah, it's an ongoing thing all year


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                                                                       Page 307
 1     long.     We have planning calls fairly frequently,

 2     including with the creators, village organizers, and

 3     stuff where now we're having them weekly every Friday.

 4     We have a call with the DEF CON staff and the DEF CON

 5     creators just to kind of catch them up on where things

 6     are and how things are going.

 7                  And then it's just kind of a lot of

 8     administrative work.            Like it's a lot of time spent

 9     organizing what people need, as far as like when they

10     get on-site, how many projectors will they need?                 How

11     many tables and chairs and table drapes?                 Like the

12     dumbest stuff like to run what is a highly technical

13     conference, you have to get into some pretty dumb

14     things, like how many water coolers need to be in the

15     contest area and how far they need to be spaced and do

16     we have enough -- you know, what are the heights for

17     the pipe and drape that need to be in there?                Are we

18     getting the right type, and how will that affect the

19     sound?

20                  Like all of those things take a significant,

21     significant amount of time.           Every year there are

22     multiple of us, and I'm one of them who I'm like, "This

23     is going to be my last year," right?             Like you say,

24     "It's too much work.            This is going to be my last

25     year."


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                                                                      Page 308
 1                  And then you go to the conference, and you see

 2     the attendees having a really great time, and you see

 3     the fun that they're having as they compete in the

 4     contests or when you see somebody pick a lock for the

 5     first time and that like look on their face when they

 6     do it.      And you're like, "Damn it.         I'm going to do

 7     this forever," right?           Like it's a great thing to be a

 8     part of, and I love it.

 9            Q.    Because it brings in a good amount of revenue

10     every year, right?

11            A.    Yeah.

12                          MR. DEAN:     Object to form.

13            A.    I would say it does.        It's an expensive

14     conference to run.          You know, Jake ain't cheap.        But

15     beyond legal costs, there's also significant,

16     significant insurance costs, the cost of the venue

17     itself, food and beverage costs that we have to meet

18     minimums for, all of the different artwork, the

19     different equipment.            We bring in truckload after

20     truckload after truckload of equipment, and that has to

21     be rotated out and replaced.

22                  A fair amount is broken, you know, from year

23     to year, so there's -- it's a very expensive conference

24     to put on.       I actually think because of the short

25     timeline that it took us to move to the Las Vegas


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                                                                      Page 316
  1                              REPORTER'S CERTIFICATE

  2

  3                I, LORRIE R. CHINN, the undersigned Certified Court

  4      Reporter, pursuant to RCW 5.28.010 authorized to administer

  5      oaths and affirmations in and for the State of Washington, do

  6      hereby certify:

  7                That the sworn testimony and/or remote proceedings, a

  8      transcript of which is attached, was given before me at the

  9      time and place stated therein; that any and/or all witness(es)

 10      were duly sworn remotely to testify to the truth; that the

 11      sworn testimony and/or remote proceedings were by me

 12      stenographically recorded and transcribed under my

 13      supervision, to the best of my ability; that the foregoing

 14      transcript contains a full, true, and accurate record of all

 15      the sworn testimony and/or remote proceedings given and

 16      occurring at the time and place stated in the transcript; that

 17      a review of which was not requested; that I am in no way

 18      related to any party to the matter, nor to any counsel, nor do

 19      I have any financial interest in the event of the cause.

 20                WITNESS MY HAND AND DIGITAL SIGNATURE this 25th day

 21      of November, 2024.

 22

 23      ______________________________
         LORRIE R. CHINN, RPR, CCR
 24      Washington State Certified Court Reporter No. 1902
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                         Exhibit 8
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                                                                           Page 1
                     UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON
                              AT SEATTLE

      CHRISTOPHER J. HADNAGY, an
      individual; and SOCIAL-ENGINEER,
      LLC, a Pennsylvania limited
      liability company,
               Plaintiffs,
      v.                                  NO. 2:23-cv-01932-BAT
      JEFF MOSS, an individual, DEFCON
      COMMUNICATIONS, INC., a Washington
      corporation; and DOES 1-10; and
      ROE ENTITIES 1-10, inclusive,
               Defendants.
      __________________________________/


           VIDEOTAPED DEPOSITION OF CHRISTOPHER HADNAGY


      * PORTIONS OF TESTIMONY ARE DESIGNATED CONFIDENTIAL
        AND ARE SEALED UNDER SEPARATE COVER. *




      DATE TAKEN:                    January 28, 2025

      TIME:                          10:03 a.m. to 5:39 p.m.

      PLACE:                         Legal Realtime Reporting
                                     1640 East Livingston Street
                                     Orlando, Florida 32803

      REPORTED BY:                   TARA K. SLOCUM, RPR, CRR, CSR,
                                     and Notary Public State of FL




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                                                                          Page 8
 1      about an hour.

 2             Q      Did you meet with anyone else?

 3             A      I did not.

 4             Q      Did you discuss this deposition with

 5      anyone else?

 6             A      I discussed it with my other two lawyers,

 7      Tim Mallony and Chris Riklas.

 8             Q      Understood.

 9                    We have heard some about your background,

10      what you do.         I know you work for Social Engineer.

11      But I keep seeing in emails you refer to yourself as

12      a human hacker.         What is a human hacker?

13             A      We audit companies for the human side of

14      security.      So we test their employees'

15      susceptibility to things like phishing e-mails,

16      phishing phone calls, phishing text messages, and

17      then come up with educational processes to help them

18      defend against that.

19             Q      I have heard the term that human hackers

20      are professional liars.         Do you agree or disagree

21      with that statement?

22             A      I would disagree with that statement.

23             Q      Why?

24             A      From -- well, from a professional side,

25      our goal is not to lie to people, but to audit their


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                                                                       Page 109
 1      comments until you showed them, Mr. Dean.                 So they

 2      didn't know those comments.          So there is no reason

 3      why that would draw them to go make complaints about

 4      me because they did not know those comments existed,

 5      so I will not agree to that statement.

 6             Q      (By Mr. Dean) Exhibit 17 Mr. Nishi told

 7      you it was inappropriate to make Asian references in

 8      the workplace, correct?

 9             A      In 2015, yes.

10             Q      And you could at least understand

11      conceptually why Asian people like Ms. Fincher might

12      make a complaint, or make her experiences known to

13      you during a meeting with DEFCON regarding the

14      comments you made about Asian people?

15                    MR. CONRAD:      Object, form.

16             A      So in 2015 to 2022, you are telling me she

17      had no complaints, and all of a sudden you want me

18      to agree that something that was brought up in 2015

19      that we spoke about she is now bringing to a

20      conference?

21             Q      (By Mr. Dean) You don't see how that could

22      be -- that could affect your reputation making Asian

23      comments in the workplace?

24             A      I already agreed to that one.

25             Q      Yeah.    You can see how someone might want


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                                                                         Page 110
 1      to make a complaint about that?

 2                    MR. CONRAD:         Object, form.

 3             A      I can see if someone wanted to make a

 4      complaint, that they should definitely do it to the

 5      appropriate place.             All of these things you brought

 6      up, what do they have to do with DEFCON?                  What does

 7      a workplace dispute have to do with a conference

 8      that runs the world's largest hacker conference

 9      where people run around in mohawks, and getting

10      drunk, and doing drugs, and going to stripper

11      parties, what do my workplace conflicts have to do

12      with DEFCON.

13             Q      (By Mr. Dean) So you can't understand how

14      your workplace conflicts might give you a bad

15      reputation?

16                    MR. CONRAD:         Object, form.

17             A      I do understand how workplace conflicts

18      can give someone a bad reputation.

19             Q      (By Mr. Dean) And you can't understand how

20      15 people might have claims or complaints they want

21      to make about you based on how they were treated

22      while you were employed with them?

23                    MR. CONRAD:         Object, form.

24             A      Absolutely not.         Having sat through all

25      the depositions, every one of them either lied or


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                                                                         Page 111
 1      misrepresented the truth.             So, no, I will not agree

 2      to that.

 3             Q      (By Mr. Dean) You can't understand that

 4      people who had a negative experience with your

 5      conference and your homework assignments would come

 6      forward and make a code of conduct violation?

 7                    MR. CONRAD:         Object, form.

 8             A      In 2016, he did make a complaint, from my

 9      understanding.        And we -- he also came to me and

10      personally talked to me about his feelings about the

11      inappropriate language in the class.              I apologized

12      to him, which he also noted in that e-mail that I

13      apologized to him.             And then it was over from 2016

14      to 2022 when he came out of the woodwork again

15      because the mob on the Internet went wild.

16             Q      (By Mr. Dean) So, yeah, I am not talking

17      about Mr. Vaughan.             I am talking about how other

18      individuals -- you can't understand how other

19      individuals -- let me back up.

20                    Is Mr. Vaughan the only person to attend

21      your training?

22             A      No, I did anywhere from five to eight

23      trainings a year from 2010 until 2022.

24             Q      And we've already seen two people who have

25      complained about those trainings, right, the


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                                                                         Page 119
 1      case.       Then I know there were more e-mails

 2      back-and-forth in the subsequent days.

 3              Q      So you said there were more e-mails

 4      back-and-forth after the subsequent days.                   What do

 5      you recall happening next after you essentially

 6      wished her well?

 7              A      It was the laptop coming back, the promise

 8      of that.       She promised she mailed it to Spencer that

 9      week.       It never came.        We kept asking her for the

10      tracking number so we could track it if it got lost.

11      We were worried if it got lost with UPS.                  She kept

12      promising to provide the tracking number, and

13      didn't.       Then and after the third time of her

14      promising that it was getting mailed back, her book

15      was released, a book that I worked with her on, The

16      Art of the Attack.             And in that book, were pictures

17      from an active federal case with ILF that would have

18      made that case nullified.             We would have lost

19      justice for a 13-year-old girl.             So I did freak out

20      at that point, and I asked Ryan to lock her laptop

21      because it was a corporate laptop with corporate

22      software on it.        So we locked it.       And that is when

23      e-mail exchanges got more heated because -- and

24      100 percent I could be missing little pieces in

25      there.       We are talking about 2021 here.             So I could


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     Hadnagy, et al. v. Moss, et al.                          Christopher Hadnagy

                                                                         Page 120
 1      be missing little tidbits of pieces.            And I don't

 2      have the timeline right in front of me.

 3                    And then we were e-mailing back-and-forth

 4      about, you know, the picture.           I pulled my support

 5      from all of her media that I had gotten her.                 I

 6      canceled all her interviews that I set up for her.

 7      I had notified any conferences that we had

 8      recommended her at that I was pulling my

 9      recommendation.         And I threatened to report her

10      because she had Government data on her computer,

11      which was now stolen property since she no longer

12      worked for Social Engineer.

13             Q      Threatened to report her to who?

14             A      The client is                                , a

15      Federal Government client.           And she had over 1,200

16      e-mail addresses and phone numbers and names of the

17      targets that we were asked to audit on her desktop.

18             Q      Got it.     I want to kind of take this

19      piece-by-piece.

20                    So your testimony is that you essentially

21      wished Ms. Reynolds well, and asked for her to

22      return her laptop?

23             A      Yes.

24             Q      And then Ms. Reynolds said she would?

25             A      Yes.


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                                                                       Page 121
 1             Q      And you followed up and said, hey, where

 2      is the laptop?

 3             A      Yes.

 4             Q      And she said I will send it to you?

 5             A      Yes.

 6             Q      You followed up again saying give me the

 7      tracking number, so that would be the third time?

 8             A      Yes.

 9             Q      And then she still didn't give it to you?

10             A      Correct.

11             Q      And then a couple days later her book was

12      released?

13             A      A book was released.

14             Q      And the book contained a picture from an

15      ongoing investigation?

16             A      From an investigation that we had handed

17      into the FBI.         So it wasn't ongoing, but not our

18      case, it was now a Federal case.

19             Q      Okay.     So let's kind of pause there.           I

20      want to talk about the book.

21                    Did you help edit or review Ms. Reynolds'

22      book prior to it being released?

23             A      I did.     I helped her get the contract.             I

24      helped her with the ideas, a little bit of the

25      writing, and I was her editor.


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                                                                       Page 188
 1      don't recall.

 2                    What do you recall about this first

 3      conversation with Grifter on August 26th, 2021?

 4              A     That he told me he was coming to me as a

 5      friend because Maxie had gathered some ex-employees

 6      to go to Black Hat and to DEFCON with complaints

 7      about bullying and harassment.

 8              Q     So your testimony that you said earlier is

 9      that Grifter told you verbally on this call that he

10      does not represent DEFCON in any of those?

11              A     Yes, and he also typed it.

12              Q     Again, I disagree with you on that.              But

13      my question is pointed to just verbally in this

14      call.

15                    Your testimony is Grifter told you he does

16      not verbally represent DEFCON for this conversation?

17              A     Yes.

18              Q     You heard Mr. Wyler or Grifter's testimony

19      regarding this conversation?

20              A     I did.

21              Q     And do you agree or disagree with his

22      narrative of the conversation?

23                    MR. CONRAD:      Object, form.

24              A     I cannot remember it all.        So you would

25      have to give me specific.


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                                                                        Page 189
 1             Q      (By Mr. Dean) Sitting here today, is there

 2      anything you recall about Mr. Grifter's testimony

 3      that you believe was mistaken regarding this

 4      August 26 call?

 5                    MR. CONRAD:      Object, form.

 6             A      Yes.

 7             Q      (By Mr. Dean) What?

 8             A      Multiple things.       One, he claims that I

 9      admitted fault to whatever these claims are.                   He

10      claims that he did represent DEFCON, even though he

11      clearly stated multiple times that he did not.                      He

12      stated that -- Grifter may be one of the most solid

13      security people I know in this industry.                It's

14      shocking to me that he can't wrap his head around

15      the idea that a corporate laptop needs to be locked

16      when an employee has not returned it with data on

17      it.    That to me has been maybe the shocking thing to

18      hear him talk about it, that it was not -- like he

19      didn't get that.         That's just common practice in any

20      industry.      I am sure if that is a corporate laptop,

21      if you left Perkins and Coie, they are not going to

22      let you walk away with it.           So that's just common

23      practice.      So those things that I do remember from

24      his testimony I disagree with.

25                    And I also disagree with his recollection


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     Hadnagy, et al. v. Moss, et al.                          Christopher Hadnagy

                                                                       Page 190
 1      of the events when he was setting up a stripper

 2      party in my children's CTF room.

 3             Q      When you called him a pedophile, that

 4      example?

 5             A      I never called him a pedophile.

 6             Q      What happened?

 7             A      We had our kids' event, and we had games

 8      that we were setting up for the next morning because

 9      it was going to start off really early.                So we had

10      all these little paper games and bags and stuff

11      around the room.         And Grifter comes in and tells me

12      that DEFCON has designated my room to hold the

13      DEFCON stripper party at night.           And I told him,

14      look, my thing is already set up for kids.                 And he

15      said it's not my call.         It's DEFCON's call.          They

16      own the room.        The can use it however they want.

17      And I said the only person that would want to hold a

18      stripper party in a room where children are going to

19      be crawling on the floor the next day is a

20      pedophile.

21             Q      So who is it that you were referring to a

22      pedophile?      If it wasn't Grifter, was it Geoff Moss?

23             A      I wasn't referring to anyone.            I was

24      making a general comment that anybody who would

25      agree with that, I would classify as someone who is


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                                                                        Page 192
 1      inappropriate?

 2                    MR. CONRAD:      Object, form.

 3             A      At the time moment, I was upset.             So I

 4      think we all say some dumb things when we are

 5      emotional.      I mean, right now in a calmer state of

 6      mind, it wasn't the best usage of words.                But

 7      Grifter came up to me maybe an hour later, pulled me

 8      aside, told me he didn't appreciate me yelling at

 9      him, and we hugged it out, and I apologized.                   And

10      that was in, gees, 2016, '17 maybe.            And it never

11      came up again ever until all of this stuff.                   So he

12      obviously had forgiven and forgot about it.

13             Q      (By Mr. Dean) Do you think it was

14      professional or unprofessional to act like that in

15      response to Neil telling you there was an event that

16      night?

17                    MR. CONRAD:      Object, form.

18             A      If you have ever been to DEFCON, DEFCON is

19      not a professional environment.           So I don't even

20      know if that question fits.          Because there was not.

21      DEFCON is not a professional conference.                Very

22      little professional things happen at DEFCON.                   It's

23      Sodom and Gomorrah.

24             Q      (By Mr. Dean) So you don't hold yourself

25      out to be professional no matter what environment


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                                                                       Page 195
 1      This is over a dozen.          You just volunteered multiple

 2      names yourself.        So you know this is an issue.            Do

 3      you recall that conversation?          It was only a couple

 4      days into us talking; do you see that?

 5             A      Yes.

 6             Q      And then you responded, I know people who

 7      are making false accusations, yes, none at DEFCON,

 8      just in business and life; do you see that?

 9             A      Yes.

10             Q      So I want to know, does that refresh your

11      recollection regarding the initial conversations

12      that you had with Grifter regarding allegations that

13      were being made?

14             A      I wish I can say it brought everything

15      back to memory.        But from what it sounds like, is

16      that he was telling me that there was a dozen people

17      that were anonymous coming to DEFCON with complaints

18      about me.

19             Q      Do you recall asking Neil or Grifter, was

20      it this person, or this person, or that person?

21             A      Yes, I mean, I think like most people in

22      industries that have a name, I had enemies.

23             Q      And who were you asking Grifter if it was?

24             A      If it was Maxie and Cat.        I believe Rachel

25      Tobac was one I asked, Stephanie Carruthers for


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     Hadnagy, et al. v. Moss, et al.                            Christopher Hadnagy

                                                                         Page 196
 1      sure, and her husband JC.             I think those were the

 2      people I mentioned at that time.

 3             Q       Did you offer your opinion on what had

 4      happened in those situations, and why you felt like

 5      there was nothing wrong?

 6             A       Yes.

 7             Q       What did you say with respect to Maxie?

 8             A       I told him that Maxie wanted to use her

 9      personal laptop.          Big mistake on our part by saying

10      yes.       But we had to own it, according to her

11      employment contract.           She can only use a machine

12      that we own.          She sold us her machine for one

13      dollar.       And then she willingly installed our

14      corporate software on it, allowing us to control

15      that laptop.          And that's all written in e-mail, all

16      that you were given.

17                     Then I explained that she told us she was

18      going to Scotland to take care of her ailing father;

19      that ended up being a lie.             She signed multiple

20      contracts that broke her employment contract.                    She

21      then stole a Federal property picture from ILF using

22      it in her book.          And when she took her laptop to

23      Apple, it got erased.           So I explained to him the

24      truth behind all the things that she had

25      misconstrued.


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                                                                       Page 197
 1             Q      Did you tell Grifter about how you

 2      canceled -- about how you got pod casts canceled,

 3      book deals canceled -- not book deals -- publishing

 4      deals, and television production deals canceled, or

 5      tried to get them canceled?

 6             A      I told him -- I didn't get the publishing

 7      deal canceled.        It was paused until she rewrote it.

 8      But I did tell him that I pulled all of my support.

 9      Even though two pod casts didn't cancel her, I

10      pulled my personal support.          I had my name removed

11      from her book.        I had my company and my nonprofit

12      removed from her book.         And that I had -- yeah, that

13      I stopped supporting her on the pod casts and other

14      things like that.

15             Q      When you say I stopped supporting her,

16      does that mean that you told Grifter that you

17      reached out to the pod cast people to say I am

18      pulling my support, don't have her on the pod cast?

19             A      I think -- I think we did talk about that,

20      if I recall, because I think I mentioned I had a

21      conversation with Jack Rhysider, who is the owner of

22      Dark Net Diaries.         I do -- I do think I recall

23      telling him specifics that I had reached out to the

24      people that I had introduced her to, and pulled my

25      support verbally with them.


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                                                                         Page 198
 1             Q      You also mentioned Rachel Tobar (sic) was

 2      discussed on that conversation.             What did you say to

 3      Mr. Wyler about Ms. Tobar?

 4             A      Tobac.

 5             Q      Tobac.

 6             A      T-o-b-a-c.

 7                    Rachel is a very opportunistic person.                  So

 8      if you are riding high, she's right next to you

 9      riding your tailcoat.            And when you are in the

10      gutter, she's willing to throw dirt on you.                   So I

11      had made an assumption that if Maxie gathered a

12      bunch of people to go against me, that she might be

13      part of that group.            That was a wrong assumption

14      from what I understand from all these depositions

15      that she was not part of the group that Maxie got.

16             Q      And what did you say about Rachel Tobac to

17      Grifter?

18             A      Oh, I don't recall.         Probably what I just

19      told you.      But I don't actually remember my exact

20      words.     I think in this particular instance, I just

21      named people that I had assumed were part of the

22      enemy group.       So I didn't say anything about them.

23      I just named them saying, did Maxie get Cat?                   Did

24      Maxie get Stephanie?            JC?   Rachel?   Those kind --

25      that was the list of people that I thought would be


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     Hadnagy, et al. v. Moss, et al.                           Christopher Hadnagy

                                                                        Page 199
 1      part of the group that she could get to.

 2              Q      You keep calling them the enemy group.

 3      Why do you keep calling them the enemy group?

 4              A      Have you seen what has happened to my

 5      life?       That's the group of friends.

 6              Q      Yeah, I have.       And I think everything that

 7      was published was exactly true.            So if you want to

 8      ask my opinions on that, you are not going to like

 9      my answers.       But the best part is I don't have to

10      answer questions in depositions.            You do.

11              A      That's great.

12              Q      So what I want to know is why you keep

13      referring to them as the enemy group?

14                     MR. CONRAD:       Object, form.

15              A      Once again, what has happened to my life

16      would not make them friendlies.            They have ruined my

17      nonprofit.       They have ruined my career.            They have

18      ruined my business.            I have had people tell me to

19      commit suicide and live stream it because of a

20      conference banning.            These people are -- I don't

21      know how else to refer to them.            They are the enemy

22      group.       They have single handedly gone out and tried

23      to destroy my life, not just from a business stance.

24              Q      (By Mr. Dean) So these people are the

25      enemy group because they made complaints about the


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                                                                        Page 239
 1             A      Yes.

 2             Q      You say, so I can answer for each here.

 3      And if we need to talk, we can try to get a time

 4      that works; is that right?

 5             A      Correct.

 6             Q      So the purpose of this e-mail was to kind

 7      of give your version of the events of the

 8      complaints -- or some of the complaint that you were

 9      aware of, correct?

10             A      Yeah, I had not been told by DEFCON what

11      the complaints were at all.            The only one I knew was

12      Maxie from Grifter.            I didn't know what all the rest

13      of them were.        But Black Hat was able to schedule a

14      call with Ryan, Shane and myself.            And during that

15      call, they didn't bring up Maxie at all.                 They

16      brought up these four accusations that you see here

17      in this e-mail.        So I had made an assumption that

18      these are the same stories that were being told to

19      Black Hat -- or I am sorry -- to DEFCON, and that's

20      what they were basing their decisions on.

21             Q      And you wanted to address some of the

22      accusations that you believed or assumed were the

23      same, right?

24             A      Correct.

25             Q      This is kind of your version of those


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                                                                       Page 313
 1                        C E R T I F I C A T E

 2     STATE OF FLORIDA:

 3     COUNTY OF ORANGE:

 4
 5          I, TARA K. SLOCUM, CRR, RPR, CSR No. 8587 and Notary
       Public, certify that I was authorized to and did
 6     stenographically report the deposition of CHRISTOPHER
       HADNAGY; that a review of the transcript was requested, and
 7     that the foregoing transcript is a true and accurate record
       of my stenographic notes.
 8
            I FURTHER CERTIFY that I am not a relative, employee,
 9     attorney, or counsel of any of the parties, nor am I a
       relative or employee of any of the parties' attorney or
10     counsel connected with the action, nor am I financially
       interested in the action.
11
              DATED this 20th day of February 2025.
12
13
14
15
16
17
18
19
20                             _________________________

21                               TARA K. SLOCUM

22                               Certified Realtime Reporter

23                               Registered Professional Reporter

24                               California Certified Shorthand Reporter

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                         Exhibit 9
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Maxie Reynolds                                               September 27, 2024

                                                                         Page 1
                       UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WASHINGTON
      -------------------------------------------------------
                                   )
       CHRISTOPHER J. HADNAGY;     )
       SOCIAL-ENGINEER,            )
                                   )
                     Plaintiffs,   )
                                   )
          vs.                      ) No. 2:23-cv-01932-BAT
                                   )
       JEFF MOSS; and DEF CON      )
       COMMUNICATIONS, INC.,       )
                                   )
                     Defendants.   )
                                   )
      -------------------------------------------------------
          VIDEOTAPED VIDEOCONFERENCE DEPOSITION UPON ORAL
                            EXAMINATION

                                       OF

                                MAXIE REYNOLDS

      -------------------------------------------------------

                    Los Angeles, California (Via Zoom)




      DATE:      September 27, 2024
      REPORTED REMOTELY BY:       Douglas Armstrong, RPR
                                  Washington CCR No. 3444



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Maxie Reynolds                                                  September 27, 2024

                                                                           Page 77
  1    uncomfortable?
  2                   ATTORNEY CONRAD:     Object.      Form.
  3            A.     They made me feel way more than
  4    uncomfortable.         They made me feel extremely anxious and
  5    nervous and like boxed in.          So it made me feel more
  6    than uncomfortable.
  7            Q.     (By Attorney Mertens) Did you feel afraid?
  8            A.     Yeah.
  9                   ATTORNEY CONRAD:     Form.
 10            A.     I did feel afraid.       I think he has a pattern
 11    of intimidation, and people who were once good
 12    employees are bad people, not just employees, bad
 13    people as soon as they've left.             So, yeah, I did.
 14            Q.     (By Attorney Mertens) Who is Neil Wyler?
 15            A.     He is a well-known individual within the
 16    cybersecurity industry.          I think he's mainly on the
 17    defensive side of security.
 18            Q.     And at some point in late August or early
 19    September of 2021, did you reach out to Mr. Wyler
 20    regarding Mr. Hadnagy's behavior towards you?
 21            A.     I did.
 22            Q.     Why?
 23            A.     I'd heard that Neil or Grifter was fair and
 24    professional and nice, and I found those things to be
 25    true.        And I went to him because of those things, and


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Maxie Reynolds                                                  September 27, 2024

                                                                           Page 78
  1    he has or had, at least, a personal relationship with
  2    Chris.       So I went to him to try to sort of find a way
  3    to, like, calm Chris down.          I didn't really know how
  4    else to do that.
  5                   I wasn't going to call Chris and say, like,
  6    "You need to lay off me a little bit," and I didn't
  7    know who else to call.         I couldn't call Ryan, who I
  8    actually think is really fair and responsible too,
  9    because he was very much under Chris' influence.                    So I
 10    was given Grifter or Neil as a person who might be able
 11    to do that, and I went to him.
 12            Q.     (By Attorney Mertens) Who, for the record, is
 13    Ryan, Ms. Reynolds?
 14            A.     Ryan MacDougall was Chris' COO at the company
 15    for some amount of time.
 16            Q.     And did you eventually have a conversation
 17    with Mr. Wyler about Mr. Hadnagy's actions towards you?
 18            A.     Yes.
 19            Q.     Can you tell me -- well, let's start with
 20    this.
 21                   What form was that conversation in?              Was it
 22    face-to-face?         Was it a phone call?       A video call?
 23    Message exchange?         How did that conversation take
 24    place?
 25            A.     It was a phone call.


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Maxie Reynolds                                                  September 27, 2024

                                                                          Page 193
  1            Q.   Ms. Reynolds, you've quoted yourself as one
  2    of your generation's most accomplished social
  3    engineers; is that true?
  4                 ATTORNEY MERTENS:         Object to form.
  5            A.   Is it true that I have said that, or is it --
  6    or is it true?
  7            Q.   (By Attorney Conrad) Have you said that?
  8            A.   I believe that is written someplace, yes.
  9    I'm laughing not because it's funny, but because it's
 10    embarrassing.
 11            Q.   And part of social engineering is your
 12    ability to manipulate people in order to benefit
 13    yourself at their detriment; is that right?
 14                 ATTORNEY MERTENS:         Object to form.
 15            A.   No.   I don't think that is right.
 16            Q.   (By Attorney Conrad) What's not right about
 17    that?
 18            A.   Social engineering isn't about manipulating
 19    someone for an outcome.         It is simply about how you
 20    present yourself.       It doesn't have to be a negative
 21    outcome.
 22            Q.   Part of what you're trained on is to be able
 23    to expertly manipulate people?
 24            A.   No.   There's no -- what do you mean by
 25    "manipulate people"?


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                                                                           Page 198
  1    around January 2022; is that right?
  2            A.   Yeah.
  3            Q.   And, in fact, your employment agreement is
  4    dated January 2020, but it doesn't have an exact date
  5    on it?
  6            A.   Yeah.      I think that's right.
  7            Q.   And the employment agreement, I'm going to
  8    mark this as Plaintiff's Exhibit 13.               It's SE 1469.
  9                 (Exhibit No. Plaintiff 13 marked for
 10                  identification.)
 11            Q.   I believe you were previously shown this
 12    document, Ms. Reynolds, but this is the employment
 13    agreement that you signed with Social-Engineer; is that
 14    right?
 15            A.   Yes.    It looks that way.
 16            Q.   Did you read it?
 17                 ATTORNEY MERTENS:          Object to form.
 18            A.   At the time, did I read it?             Now or at the
 19    time?
 20            Q.   (By Attorney Conrad) At the time.
 21            A.   At the time of signing, yes, I did.
 22            Q.   And, in fact, you did sign it.                You signed it
 23    Maxie -- is it Lowden?
 24            A.   Yeah.
 25            Q.   So you're familiar with its terms?


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                                                                          Page 199
  1          A.     Yes.
  2          Q.     And when you first began at Social-Engineer,
  3    there was some discussion about the equipment that you
  4    would be using in terms of what type of computer and
  5    when and how you would use it, headsets, things to that
  6    extent, correct?
  7                 ATTORNEY MERTENS:         Object to form.
  8          A.     Are you saying that that is part of the
  9    contract, or are you just saying, "Here's your
 10    contract, and, also, did you have these discussions?"
 11          Q.     (By Attorney Conrad) I'm saying here's your
 12    contract, and you're having these discussions?
 13          A.     Can you be -- can you reword that for me?
 14          Q.     Well, you previously testified about this
 15    issue regarding originally a computer was given to you
 16    by Social-Engineer; is that right?
 17                 ATTORNEY MERTENS:         Object to form.
 18          A.     Yeah.
 19          Q.     (By Attorney Conrad) And do you remember what
 20    type of computer that was?
 21          A.     I think it was a Windows machine.               I don't
 22    know if it was like Lenovo.            I'm not sure.        I just know
 23    it wasn't a Mac.
 24          Q.     You didn't enjoy that machine; is that right?
 25          A.     Correct.     Yeah.


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  1    from you to Ryan MacDougall dated January 10, 2020, at
  2    the very bottom here.         And in it, you say, "Hi, Ryan.
  3    Well, I just completely re-set up my computer this
  4    week, and we can work through the rest together on
  5    Friday if we aren't chock-a-block?              Also, will I just
  6    email you and Chris acknowledging that for as long as I
  7    work for SECOM, it is not considered my personal
  8    computer, and I forgo the option of using it as such?
  9    Do you want to buy it from me for a dollar with the
 10    caveat that I can buy it back in the event of
 11    termination?"
 12                 Do you see that?
 13          A.     No, I don't.      I can only see -- I remember it
 14    as such, but I can't see that on my screen for some
 15    reason.
 16          Q.     Weird.
 17          A.     Okay.      And then if you scroll, then, yes, I
 18    can see that second -- like, "Well, I just completely
 19    re-set up."      I can see that.
 20          Q.     Okay.      Well, take a look at it, and let me
 21    know if I read that accurately.
 22          A.     Yes.
 23          Q.     Okay.      So you had initially introduced the
 24    idea that while you worked for SECOM, this would not be
 25    your personal computer, and you would forgo the option


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                                                                           Page 206
  1    of using it as such; is that right?
  2            A.   Yes.
  3            Q.   How are you able to draw on --
  4            A.   I don't know.       I have no idea.
  5            Q.   Am I being hacked?
  6            A.   Yes.
  7            Q.   But, really, you don't know how you just
  8    were able to --
  9            A.   I don't know how.          I don't, but that's really
 10    odd.
 11            Q.   This has been a concern about taking this
 12    case on.     I'll say that.       All right.       So weird.
 13                 So, I mean, you initially suggested the idea
 14    of SECOM essentially buying the computer from you and
 15    it not being your personal computer back in August of
 16    2020?
 17            A.   Yeah.
 18            Q.   And you're saying that there was never any
 19    follow-up with Chris about how this would be handled?
 20            A.   No.
 21            Q.   And then, ultimately, you did re-set up your
 22    computer and download the SECOM software?
 23            A.   Yes.
 24            Q.   Okay.      I'm going to stop sharing my screen.
 25                 You talked with Mr. Mertens about what I


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                                                                         Page 208
  1          A.     Yeah.
  2          Q.     (By Attorney Conrad) And that is a totally
  3    separate potential TV opportunity or movie opportunity
  4    from Netflix.
  5                 Is that your testimony?
  6          A.     Yeah, completely.
  7          Q.     So it was not related or was not going to be
  8    pitched to Netflix or anything like that?
  9          A.     I don't know who he was going to pitch it to,
 10    but it just -- the conversation was simply about Harris
 11    making a TV show about social engineering.                 It was not
 12    connected to my book.
 13          Q.     And had you ever discussed with Chris Hadnagy
 14    or anyone at Social-Engineer your desire to pursue an
 15    opportunity with Harris Fishman?
 16          A.     I don't think so.
 17          Q.     And you were doing that while you worked at
 18    Social-Engineer; is that right?
 19          A.     Yeah.
 20          Q.     And did you ever sign anything with
 21    Harris Fishman?
 22          A.     No.
 23          Q.     You never signed any type of nondisclosure
 24    agreement or contractual agreement with him?
 25          A.     There was definitely no contract.              I may have


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  1    signed an NDA, but I can't tell you for sure.                   It would
  2    be, you know, common practice, but I don't know if I
  3    did.
  4           Q.    I'm going to share with you my screen again.
  5    We'll mark this as Exhibit 14.
  6                 THE COURT REPORTER:         15, Counsel.
  7                 ATTORNEY CONRAD:      15.     Sorry.        15.   I was so
  8    good for a while.
  9                 ATTORNEY MERTENS:         Mark, do you have the
 10    Bates on this one?
 11                 ATTORNEY CONRAD:      Yeah.      1071, SE 1071.
 12                 ATTORNEY MERTENS:         Thank you.
 13                 (Exhibit No. Plaintiff 15 marked for
 14                  identification.)
 15           Q.    (By Attorney Conrad) Ms. Reynolds, can you
 16    see this?
 17           A.    Yeah.
 18           Q.    And this is an email chain between you on
 19    your Social-Engineer email with Harris Fishman from SBC
 20    Global.
 21                 Do you see that?
 22           A.    I do.
 23           Q.    And in it, you -- there's an attachment
 24    entitled "MR United Mindful Scammer"?
 25           A.    Yeah.


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  1           Q.    And was this because of your father falling
  2    ill?
  3           A.    I don't think I've said that in there.                 If
  4    you see it, then please point it out.
  5           Q.    Do you remember why you took a leave of
  6    absence or short-term disability in May of 2021 from
  7    Social-Engineer?
  8           A.    No.     I don't recall the specifics.
  9           Q.    But in terms of timeline, we previously
 10    established that you signed the agreement with
 11    Harris Fishman May 3, 2021, right?
 12           A.    Yeah.
 13           Q.    And then it looks like May 20th, about 17
 14    days later, you're taking a leave of absence from
 15    Social-Engineer?
 16           A.    Is that a question?
 17           Q.    Is that accurate?
 18           A.    Yes.    Those dates are accurate.
 19           Q.    And you don't remember why you were taking a
 20    leave of absence in May of 2021?
 21           A.    I don't recall the exact specifics, no.
 22           Q.    Okay.      Do you remember how long your leave of
 23    absence was at Social-Engineer?
 24           A.    No, I don't.      I don't recall if I ever went
 25    back after the leave of absence.             I'm really hazy


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                                                                          Page 231
  1            Q.     "If I am due back salary payments, let me
  2    know.        I don't know if we are paid in advance."
  3                   Did I read that correctly?
  4            A.     Yes.
  5            Q.     So in terms of timeline, you signed the
  6    Netflix deal -- sorry.
  7                   You signed an agreement with Harris Fishman,
  8    May 3, 2021.       Then, about 17 days later, we have an
  9    email indicating that you're taking short-term
 10    disability.
 11            A.     Uh-huh.
 12            Q.     Is that right?
 13            A.     Yeah.
 14            Q.     And that you -- then the disability
 15    discussions continue on to June 4, 2021, as well; is
 16    that right?
 17            A.     Yeah.
 18            Q.     And then, later in June, on the 13th, you
 19    offer your resignation.
 20                   Is that timeline accurate?
 21            A.     Yeah.
 22            Q.     And when you offered your resignation, you
 23    also understood that you were going to ship back all
 24    items, including your computer, headset, your card,
 25    et cetera?


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                                                                           Page 232
  1          A.     No.     So before -- I'm going to preemptively
  2    strike here.       The computer is the laptop I was
  3    originally sent.        We're not going back to whose
  4    computer it was.        It's my computer.
  5                 The headset, yes.          The card, I think I was
  6    given -- I'm either talking about, like, business
  7    cards, or maybe I had a SECOM, like, expense card.                     I
  8    don't remember.
  9          Q.     Okay.      So the computer that you're talking
 10    about is the first computer that Social-Engineer had
 11    given you?
 12          A.     Yeah.
 13          Q.     And where are you headed?
 14          A.     I think I say in this that I'm going -- that
 15    I'm going home to Scotland.
 16          Q.     And do you remember why you were going home
 17    to Scotland?
 18          A.     I wanted to go home because my dad was, like,
 19    on his second heart attack.
 20          Q.     Did you end up making that trip?
 21          A.     No.
 22          Q.     You did not?
 23          A.     No.
 24          Q.     Why not?
 25          A.     There were certain things at the time that


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                                                                          Page 233
  1    made that not possible.
  2          Q.     What were the things at the time that made
  3    that not possible?
  4          A.     Logistics.
  5          Q.     What does that mean?
  6          A.     It means I was unable to travel at the time
  7    to go home as I, like, wanted to, to see my dad.                    I
  8    wasn't able to make it.
  9          Q.     Did you ever represent that you were in
 10    Scotland?
 11          A.     To who?
 12          Q.     To Chris Hadnagy or Ryan MacDougall.
 13          A.     Well, hadn't I -- isn't this the same email
 14    where I leave?       So would I have been in communication
 15    with them?
 16          Q.     Well, I'm sorry.       Let me show you.
 17                 After you send your resignation, June 13,
 18    2021, there's a follow-up email from Ryan MacDougall
 19    dated June 14, 2021.
 20                 Do you see that?
 21          A.     I do.
 22          Q.     Okay.      And this is a follow-up message to
 23    some phone conversation that you've had --
 24          A.     Yeah.      Okay.
 25          Q.     -- in which you're going to continue to take


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                                                                         Page 234
  1    a leave of absence from Social-Engineer.                 They will
  2    then cease your ongoing salary and benefits --
  3          A.     Uh-huh.
  4          Q.     -- at this point for an undetermined amount
  5    of time?
  6          A.     Yeah.
  7          Q.     And that you're going to check in
  8    periodically with them to let them know about what your
  9    status is; is that right?
 10          A.     Yes.
 11          Q.     That this will allow you to handle any family
 12    matters --
 13          A.     Uh-huh.
 14          Q.     -- you're planning on without expectation of
 15    performing your positional job functions?
 16          A.     Can you highlight that?
 17          Q.     Yeah.
 18          A.     Yeah.
 19          Q.     So, ultimately, it looks like you and
 20    Social-Engineer were able to work out some type of
 21    agreement that would allow you to take time to handle
 22    your personal matters while taking a leave of absence
 23    from the company for that period of time; is that
 24    right?
 25          A.     Yes.


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                                                                           Page 235
  1          Q.     And do you remember whether you had been paid
  2    up until this date and time by Social-Engineer?
  3          A.     I don't remember, but, you know, your client
  4    most certainly will.
  5          Q.     And because you had been, at least it
  6    appears, on short-term disability from May 20, 2021, up
  7    until this email dated June 14th -- is the last emails
  8    back and forth on this -- well, sorry.                June 15th, the
  9    last emails back and forth about you taking a leave of
 10    absence.
 11                 Is that accurate?
 12                 ATTORNEY MERTENS:          Object to form.
 13          A.     Yeah.      Sorry.   I'm -- can you reword that?
 14          Q.     (By Attorney Conrad) Sure.            So I'm trying to
 15    establish the timeline in which you had -- we at least
 16    know that you had been on short-term disability and now
 17    up until the period of time that you are taking an
 18    official leave of absence.
 19          A.     Okay.
 20          Q.     And we looked at an email dated May 20, 2021,
 21    entitled "Short-Term Disability," where you're
 22    discussing your efforts to try and get insurance and go
 23    on short-term disability?
 24          A.     Uh-huh.
 25          Q.     And now we're looking at an email -- that's


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                                                                          Page 236
  1    May 20, 2021.        And now we're looking at an email, June,
  2    that at least spans up until June 15, 2021, in which
  3    you're taking a leave.        You're changing from disability
  4    to leave of absence?
  5                 ATTORNEY MERTENS:         Object to form.
  6          A.     Okay.
  7          Q.     (By Attorney Conrad) Is that accurate?
  8                 ATTORNEY MERTENS:         Object to form.
  9          A.     Yes.
 10          Q.     (By Attorney Conrad) Okay.           And do you know
 11    whether you were paid during this period of time by
 12    Social-Engineer?
 13          A.     I don't.
 14          Q.     Do you know whether you were performing any
 15    work for Social-Engineer during this period of time?
 16          A.     I'm pretty sure I was not.
 17          Q.     And you indicated within this email that
 18    we're looking at that you were headed to Scotland to go
 19    be with your family --
 20          A.     Yeah.
 21          Q.     -- correct?
 22          A.     Uh-huh.
 23          Q.     And you've indicated to me that you ended up
 24    actually not leaving for Scotland because of logistical
 25    issues?


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                                                                           Page 237
  1            A.     Correct.
  2            Q.     The next email I want to show you, this will
  3    be Plaintiff's Exhibit 21.           It's SE 402.
  4                   (Exhibit No. Plaintiff 21 marked for
  5                     identification.)
  6            Q.     So, Maxie, this is Plaintiff's Exhibit 21.
  7    It's an email that starts out on August 5, 2021,
  8    subject "Resignation"?
  9            A.     Uh-huh.
 10            Q.     And this is a different email than the
 11    previous email we looked at what was also entitled
 12    "Resignation"; is that true?
 13            A.     Yes.
 14            Q.     And in it, you say, "Hey there, Chris, comma,
 15    Ryan.        After a lot of back and forth and a tough few
 16    months, I've decided to take a different route and step
 17    back from social engineering as an industry.                   I just
 18    can't fathom coming back to work.              I'm so mentally
 19    drained just now that returning seems unwise.                    I've not
 20    made the decision lightly, but I am certain about it.
 21    Plus, with my dad's surgery being pushed and the Delta
 22    strain affecting travel, I can't commit to return
 23    dates, and I think this departure is best for the team
 24    given your last email.          My attention and focus will be
 25    not -- will not be there, and I will -- and I will not


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                                                                          Page 238
  1    do as good as job [sic] as I can for you guys or them.
  2                 "So, with sadness, this is my official
  3    resignation.      I will miss working with you, and I will
  4    deeply miss the whole SE team.            I hope we will remain
  5    friendly, and I am thankful and appreciative all that
  6    I've learned from you -- all that I've learned from you
  7    both, our laughs, and even some of our fights.
  8                 "I will send all items back to Spencer's
  9    address this upcoming -- this coming week.                  Again, I'm
 10    so sorry we are parting ways.            My personal email is
 11    maxie@zed-one.com.        I'll look out for mail there from
 12    you from now on."
 13                 Did I read that accurately?
 14          A.     Yes.
 15          Q.     So August 5, 2021, you offer your resignation
 16    again to Social-Engineer?
 17          A.     Uh-huh.
 18          Q.     And in it, you -- in this August 5, 2021,
 19    email, you indicate that you are thankful and
 20    appreciative of everything you've learned from Chris
 21    and Ryan; is that accurate?
 22          A.     Uh-huh.    Yes.
 23                 ATTORNEY MERTENS:         Hey, Max, one quick thing.
 24    Mark is a deliberate reader, and he'll pause sometimes
 25    when he's reading things.         And you're interjecting


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                                                                            Page 239
  1    "yeses" and "uh-huhs," and "mm-hmms," and it makes it
  2    tough for Doug.         So just wait for Mark to finish doing
  3    what he's doing, and then let him ask his question, and
  4    then you answer, okay?
  5                   THE WITNESS:      Okay.
  6                   ATTORNEY CONRAD:       Thanks, Matt.
  7            Q.     (By Attorney Conrad) So what were you
  8    appreciative learning from both Chris and Ryan?
  9            A.     I have no idea now.        I could have been just
 10    being very polite, and I could have meant it at the
 11    time.        I have no idea.
 12            Q.     And you see that Ryan responds and gives you
 13    Spencer's current address to ship the company
 14    equipment?
 15            A.     Yes.
 16            Q.     Did you ever ship the company equipment?
 17            A.     I don't know.       I can't remember.
 18            Q.     Did you ever indicate that you were going to
 19    ship the computer back to them?
 20            A.     I don't know.       I'm not sure.       If I did, it
 21    would be an email because I didn't phone Chris or Ryan
 22    after that.        So...
 23            Q.     So that email is dated August 5, 2021, and I
 24    want to ask you about something that you turned over in
 25    response to the subpoenas.            Oh, you know what?           I have


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                                                                          Page 304
  1                            C E R T I F I C A T E
  2    UNITED STATES           )
                               )
  3    DISTRICT COURT          )
  4
                 I, a Reporter and Washington Certified Court
  5    Reporter, hereby certify that the foregoing videotaped
       videoconference deposition upon oral examination of
  6    Maxie Reynolds was taken stenographically before me on
       September 27, 2024, and transcribed under my direction;
  7
                 That the witness was duly sworn by me
  8    pursuant to RCW 5.28.010 to testify truthfully; that
       the transcript of the deposition is a full, true and
  9    correct transcript to the best of my ability; that I am
       neither attorney for nor a relative or employee of any
 10    of the parties to the action or any attorney or counsel
       employed by the parties hereto nor financially
 11    interested in its outcome.
 12              I further certify that in accordance with
       Washington Court Rule 30(e) the witness is given the
 13    opportunity to examine, read and sign the deposition
       within thirty days upon its completion and submission
 14    unless waiver of signature was indicated in the record.
 15              IN WITNESS WHEREOF, I have hereunto set my
       hand this 3rd day of October, 2024.
 16
 17
 18                 Douglas Armstrong, RPR
 19
                    ____________________________________________
 20                 Washington Certified Court Reporter No. 3444
                    License expires 11/26/2025
 21
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                                                                            EMPLOYMENT AGREEMENT

                                                     THIS EMPLOYMENT AGREEMENT (this “Agreement”) is effective as of the ______
                                              day of January, 2020 (the “Effective Date”), by and between SOCIAL-ENGINEER, LLC, a
                                              Pennsylvania limited liability company, (the “Company”), and MAXIE LOWDEN, an adult
                                              individual (“Employee”).

                                                                                     WITNESSETH:

                                                     WHEREAS, the Company desires to employ Employee in the position of Social Engineer
                                              Consultant and Pentester for the Company and Employee desires to accept the position of Social
                                              Engineer Consultant and Pentester for the Company; and

                                                    WHEREAS, the parties desire to set forth the terms and conditions of Employee’s
                                              employment.

                                                    NOW, THEREFORE, in consideration of the foregoing recitals and the mutual promises,
                                              covenants, and agreements contained herein, the adequacy and receipt of which is hereby
                                              acknowledged by each of the parties to this Agreement, and intending to be legally bound hereby,
                                              the Employee and the Company hereby agree as follows:

                                                         1. Position. During the Term (as hereinafter defined), Company shall employ
                                              Employee as a Social Engineer Consultant and Pentester for the Company, and Employee hereby
                                              accepts such employment, subject to the terms and conditions set forth in this Agreement.

                                                         2. Term. The term of employment under this Agreement (the “Term”) shall
                                              commence on the Effective Date and shall continue until either the Company or the Employee
                                              terminates this Agreement in accordance with the terms and conditions of this Agreement.

                                                        3. Duties. In exchange for the Salary and Incentive Compensation (each as described
                                              below), subject to, and under the direction and oversight of the President of the Company (the
                                              “President”), the Employee shall have the following full-time duties during the Term:

                                                             a. faithfully exercise such authority and perform such duties on behalf of the
                                              Company as are normally associated with her title and position as Social Engineer Consultant and
                                              Pentester, as well as such other duties or positions as the President shall determine, provided,
                                              however, that Employee hereby acknowledges and agrees that she shall not have the authority to
                                              enter into any contract or agreement on behalf of the Company, and that she shall not bind the
                                              Company to any contract or agreement in any way without the prior written consent of the
                                              President of the Company. The Employee shall report directly to the President;

                                                          b. adhere to any and all policies and procedures of the Company which apply to
                                              the Company’s employees in general or to the Employee’s position with the Company in
                                              particular;


                                                                                                                              Maxie Reynolds
                                                                                                                                9/27/2024

                                                                                                                           Plaintiff 13
                                                                                                                              Douglas Armstrong, RPR



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                                                              c. adhere to the fiduciary duties, including, without limitation, the duty of loyalty,
                                              that the Employee owes to the Company as an employee of the Company, to act exclusively to
                                              further the best interests of the Company, and to avoid any conflict of interest that might cause the
                                              Employee to breach or otherwise violate any of those fiduciary duties; and

                                                            d. perform the foregoing duties on behalf of the Company efficiently and in
                                              compliance with all applicable rules, regulations, and laws.

                                                         4. Non-Business Activities. Employee shall render services to the Company on a
                                              full-time basis, and be available to work as needed and when necessary as determined by the
                                              Company, and shall devote her full business time, attention and efforts to the business affairs of
                                              the Company, so as to fulfill her duties hereunder and to advance the business, profit, benefit and
                                              advantage of the Company, and shall not, during the course of her employment hereunder, engage
                                              in any other employment or business activity, without the express written consent of the Company.

                                                          5. Salary. As compensation for the services to be rendered by Employee under this
                                              Agreement, the Company agrees to pay, or cause to be paid, and Employee agrees to accept, a
                                              salary equal to Eighty Thousand ($80,000.00) Dollars per year, less applicable payroll deductions,
                                              which shall be payable in accordance with the payroll practices employed by the Company
                                              (“Salary”).

                                                         6. Incentive Compensation.

                                                           a. As additional compensation for the services to be rendered by Employee under
                                              this Agreement, the Company agrees to pay, or cause to be paid the following “Incentive
                                              Compensation” to Employee:

                                                                   i.       Ten (10%) percent of Originated Sales (as hereinafter defined) to
                                              any New Clients (as hereinafter defined) of the Company that are identified on the list of Portable
                                              Clients attached hereto as Exhibit A.

                                                                   ii.       Five (5%) percent of Originated Sales to New Clients.

                                                                 iii.       Five (5%) percent of the total gross dollar amount collected by the
                                              Company from sales of the Company’s products and/or services to any New Client that Employee
                                              works on with the President, as determined by the President in his sole discretion.

                                                                  iv.        Five (5%) percent of Originated Sales of new products and/or
                                              services (i.e. products or services that have never been purchased by such client prior to the
                                              Originated Sale) to an existing client of the Company.

                                                              b.     “Originated Sales” shall mean the total gross dollar amount collected by
                                              the Company from sales of the Company’s products and/or services made by and/or directly
                                              attributable to Employee during the applicable year.




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                                                               c.      “New Clients” shall mean any client that has no existing connection to or
                                              relationship with the Company and that has never, either directly or indirectly, through any
                                              affiliated entity or individual or otherwise, purchased any product or service from the Company at
                                              any time.

                                                             d.      Incentive Compensation shall be paid by the Company on a quarterly basis
                                              within forty-five (45) days after the last day of each business quarter (i.e. March 31, June 30,
                                              September 30 and December 31).

                                                            e.       Employee shall in no event have any right to receive any Incentive
                                              Compensation at any time following the termination of this Agreement for any reason, whether
                                              with or without cause.

                                                        7. Bonus Compensation. Employee shall also be eligible for bonus compensation as
                                              determined by the President at his sole discretion from time to time. Any bonus compensation
                                              payable to the Employee shall be payable in accordance with the bonus payment practices
                                              employed by the Company.

                                                         8. Expenses. The Company shall reimburse Employee or cause Employee to be
                                              reimbursed, upon presentment of suitable vouchers, for reasonable business expenses which may
                                              be incurred or paid by Employee in connection with her employment hereunder, provided, that
                                              Employee complies with any policies established by the Company regarding expense
                                              reimbursement, including, without limitation, any restrictions or record keeping requirements
                                              imposed by the Company for the purpose of meeting the requirements of the Internal Revenue
                                              Code of 1986, as amended from time to time, and regulations promulgated thereunder.

                                                          9. Other Benefits. Upon completion of her first Ninety (90) days of employment
                                              with the Company, during the Term, the Employee shall be entitled to receive and/or participate
                                              in, subject to any eligibility requirements, any benefit plans and programs that the Company
                                              provides to its employees at Employee’s level (including retirement plans, health insurance plans,
                                              vision and dental insurance plans, disability and life insurance plans that may be offered by the
                                              Company) as determined by the President in his sole discretion from time to time; and Employee
                                              shall be entitled to fifteen (15) days of paid vacation time per annum; provided, however, that the
                                              Company may modify such benefits from time to time, subject only to any restrictions imposed
                                              on the Company by the applicable law and/or the provisions of any documents governing the
                                              benefits the Company provides to such employees.

                                                         10. Maintenance of Health Insurance. During the Term, Employee shall either
                                              accept and enroll in the group health insurance plan(s) offered by the Company, if any, or shall
                                              obtain and maintain in full force and effect a policy or policies of health insurance sufficient to
                                              satisfy minimum standards of coverage as set forth below. Employee shall provide proof of such
                                              health insurance policy or policies to the Company upon request. The minimum standards of
                                              coverage for such health insurance policy or policies shall include:

                                                                a. Inpatient Coverage. Coverage for hospitalization including: room and
                                              board, physician visits and surgeon services, imaging and lab, and miscellaneous services.
                                              Coverage for all medically necessary inpatient care.



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                                                                b. Outpatient Coverage. Coverage for all medically necessary outpatient care
                                              including both physician services for treatment of emergencies, illness, accident or injury, and
                                              imaging and lab services.

                                                           11. Equipment and Data Access.            Employee hereby acknowledges and agrees
                                              that, in conjunction with her employment with the Company, she has been provided with certain
                                              supplies, Equipment, and services, and that such Equipment may be exchanged, upgraded and/or
                                              replaced from time to time at the sole discretion of the Company (the “Equipment”).
                                              Employee further acknowledges and agrees that she is only authorized to use the Equipment in a
                                              manner, and for such purposes, as are consistent and in accordance with Company policy. Without
                                              limiting the foregoing, Employee also expressly understands and agrees that her use of the
                                              Equipment is not intended to create, and does not create, any: (a) Employee ownership interest
                                              whatsoever in the Equipment, or in any electronic files or other data stored on the Equipment; or
                                              (b) right of privacy with respect to the use of such Equipment. Accordingly, the parties agree that:
                                              (y) the Equipment and all data stored on the Equipment are, and shall at all times remain, the sole
                                              and exclusive property of the Company; and (z) the Equipment is subject to inspection, including
                                              but not limited to a review of Employee’s use of the Equipment, at any time upon the demand of
                                              the Company. Consistent with the provisions of this Section, Employee hereby agrees to
                                              immediately return all Equipment and any other property containing Company information or used
                                              by Employee in the course of her employment by the Company, to the Company upon her
                                              separation from employment for any reason, or upon demand by the Company at any time.

                                                         12. Termination. Employee’s employment under this Agreement is “at will” and may
                                              be terminated as follows:

                                                              a.    By Either Party Without Cause. Either party may terminate the employment
                                              relationship hereunder without Cause (as defined below) at any time by giving the other party
                                              thirty (30) days’ written notice.

                                                           b. By Company for Cause. The Company may terminate Employee’s
                                              employment hereunder immediately for “Cause” which shall mean and be limited to the following
                                              instances:

                                                                  i.   If Employee engages in fraud, dishonesty, disloyalty, or other conduct
                                                                       which, in the reasonable judgment of the President, adversely affects the
                                                                       Company;

                                                                 ii.   If Employee refuses or unreasonably fails to perform any of the duties
                                                                       required of her under this Agreement;

                                                                iii.   If Employee engages in conduct in violation of this Agreement;

                                                                iv.    If Employee fails or refuses to perform any lawful directions related to
                                                                       her employment and communicated to Employee by the President;

                                                                 v.    If Employee is convicted of any crime or offense that constitutes a felony
                                                                       under the jurisdiction in which such crime or offense took place;



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                                                                 vi.   If Employee makes any unauthorized disclosure of any Company
                                                                       Information (as hereinafter defined);

                                                                vii.   If Employee willfully performs any act that would tend to materially harm
                                                                       the reputation or interests of the Company;

                                                               viii.   If Employee attempts to assign Employee’s rights or obligations under
                                                                       this Agreement without the Company’s prior approval;

                                                                 ix.   If Employee uses illegal drugs, or illegally uses prescription medication;
                                                                       or

                                                                 x.    If Employee’s use of alcohol or other substances impairs her ability to
                                                                       perform the essential functions of her position, and such impairment
                                                                       interferes with the accomplishment of her job duties, in accordance with
                                                                       law.

                                                             c.    By the Company Upon Employee’s Death or Disability. The Company may
                                              terminate Employee’s employment hereunder for Disability. “Disability” shall mean Employee’s
                                              physical and/or mental condition, which, for a period of one hundred eighty (180) consecutive
                                              days or one hundred eighty (180) days in the aggregate during any consecutive twelve (12) month
                                              period, renders her unable to perform the services required of her under this Agreement with or
                                              without reasonable accommodation, in accordance with applicable law. Employee’s employment
                                              hereunder shall terminate immediately upon her death.

                                                              d. Payment Upon Termination. Upon termination of this Agreement in
                                              accordance with any of the provisions set forth in this Section 12, and upon the return and
                                              satisfactory inspection of all Equipment issued to Employee by the Company, the Company shall
                                              pay to Employee, or in the event of the death of Employee during the Term, to the estate of
                                              Employee, within thirty (30) days of such termination, any earned but unpaid Salary to which
                                              Employee is entitled pursuant to the applicable policies of the Company, if at all, up to the date of
                                              termination, provided however that the Company shall be entitled in its sole discretion to offset
                                              any cost or expense it incurs in repairing or replacing any Equipment that is not returned in
                                              satisfactory condition to the Company, including any costs or expenses (including legal fees)
                                              incurred by the Company in seeking the return of the Equipment. Employee shall not be paid nor
                                              shall she be entitled to receive any Incentive Compensation whatsoever, regardless of when such
                                              Incentive Compensation may have been earned or otherwise payable, after the termination of
                                              Employee’s employment with the Company for any reason whatsoever. The parties hereby
                                              acknowledge and agree that Employee is entitled to only the payments under this Subsection 12.d.
                                              upon termination of this Agreement.

                                                         13. Non-Competition; Non-Solicitation. Employee agrees that during the Term, and
                                              for a period of twelve (12) months following the termination of this Agreement for any reason,
                                              Employee shall not directly or indirectly:

                                                              a.    own, control, manage or participate in the ownership, control or management
                                              of, or render services or advice to, or have a material financial interest in, or lend her name to, any


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                                              business engaged in, or that is undertaking to become engaged in, in whole or in part, Social
                                              Engineering Training and Services (“Business”), or for services and products and/or related
                                              services and products of the Business that are the same or similar to or a reasonable substitute for
                                              any such services, products or related services or products sold by the Business as of the date
                                              hereof;

                                                              b. solicit, or assist in the solicitation of, any Person engaged in the delivery of
                                              Social Engineering Training and Services and/or related services or products to the Business and
                                              to whom Company either sold, provided or solicited to sell or provide any service or product
                                              offered by and/or related services to the Business, for the purpose of selling, providing or soliciting
                                              to sell or provide any such service or product that is the same or similar to or a reasonable
                                              substitute for any such service or product sold by the Business as of the date hereof;

                                                            c.    solicit, or assist in the solicitation of, any hired employee or other person
                                              employed or engaged by Company as of the Effective Date in any capacity (as an employee,
                                              independent contractor or otherwise) to terminate such employment or other engagement, whether
                                              or not such employment or engagement is pursuant to a contract and whether or not such
                                              employment or engagement is at will;

                                                            d. knowingly or intentionally damage or destroy the goodwill and esteem of
                                              Company or the Business with its suppliers, employees, patrons, customers, and any others who
                                              may at any time have or have had business relations with Company or the Business.

                                                               e.  In addition to the foregoing, the phrase “directly or indirectly” shall include,
                                              among others, employment by or rendering of any service to any person, partnership, association,
                                              limited liability company, or corporation, whether as an individual employee, partner, shareholder,
                                              director, member, officer, principal, manager, agent, trustee, consultant, investor, single proprietor,
                                              or pursuant to any other relationship or capacity.

                                                              f.    The parties hereto agree that should a court of competent jurisdiction
                                              determine that any provision of this Section 13 is unenforceable by reason of being too broad in
                                              either term or scope, then in that event, the court may on its own accord and discretion modify
                                              either the term or scope of such provision taking into consideration the intentions of the parties as
                                              herein expressed and the nature of the business conducted by the Company and enforce such
                                              provision as so modified, or if the court shall not be empowered by applicable law to make such
                                              modifications and/or enforce the modified covenant, then the parties intend that the other
                                              covenants which are enforceable be deemed to be separate covenants and that such other covenants
                                              be enforced.

                                              THE PARTIES TO THIS AGREEMENT HEREBY ACKNOWLEDGE AND AGREE THAT
                                              THE COMPANY SHALL HAVE THE RIGHT TO ASSIGN ANY OR ALL OF THE
                                              COVENANTS INCLUDING, WITHOUT LIMITATION, THE COVENANT NOT TO
                                              COMPETE SET FORTH IN THIS SECTION 13, TO ANY OF ITS AFFILIATES,
                                              SUCCESSORS OR ASSIGNS.




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                                              The period of time during which the Employee is prohibited from engaging in the specific activities
                                              contemplated by this Section 13 and its subsections shall be extended by the length of time during
                                              which the Employee is found to be in breach of any or all of the covenants contained in this Section
                                              13 and its subsections by a court of competent jurisdiction.

                                                          14. Non-Disclosure. As a material inducement to the Company to disclose
                                              Confidential Information (as hereinafter defined) to Employee, Employee hereby agrees, both
                                              during and after the Term, to maintain the Confidential Information in confidence. Without
                                              limiting the generality of the foregoing, Employee further promises and agrees, both during and
                                              after the Term:

                                                           a.   to hold in trust and confidence and preserve as confidential all Confidential
                                              Information which Employee receives or gains access to during the course of Employee’s
                                              employment with the Company;

                                                             b. not to, directly or indirectly, in any way, divulge, disclose, publish,
                                              disseminate, or transfer Confidential Information to any person or entity other than the Company
                                              or provide any person or entity other than the Company access to any Confidential Information,
                                              except as expressly authorized by the Company;

                                                           c.    to use Confidential Information only as necessary in connection with
                                              Employee’s job duties and for no other purpose;

                                                              d. to protect and safeguard Confidential Information against unauthorized use,
                                              transfer, publication, or disclosure by others; and

                                                             e.    to comply with any other security measures requested by the Company.

                                              The phrase “Confidential Information” shall mean (i) any and all information contained in any
                                              document marked by the Company as “confidential,” “proprietary,” or other similar marking, and
                                              (ii) whether or not such information is reduced to writing or is marked as “confidential,”
                                              “proprietary,” or similar marking, all information concerning (a) the procedures employed in the
                                              operations of the Company and the business affairs of the Company, (b) the identity of the
                                              suppliers, customers, prospective customers, business partners, prospective business partners,
                                              work subjects or sources, prospective work subjects or sources, or vendors of the Company, and
                                              the nature and extent of the Company’s business relationship with such persons and entities; (c)
                                              the Company’s financial condition, results of operation, business plans, prospects, projections,
                                              strategies, budgets, practices, techniques, trade secrets, employees, employee lists, management,
                                              investors, products, know-how, formulae, specifications, strategic and development plans,
                                              financial matters, marketing information, marketing programs, pricing information, price lists,
                                              co-developer identities, data, business records, customer lists, project records, reports, drawings,
                                              designs, work product, services, policies, procedures, proposals, contracts, leases, rental
                                              agreements, memoranda, notes, training material, files, correspondence, data stored on any
                                              Company owned computer disks and data storage devices or services (including but not limited to
                                              any cloud storage systems or agreements), information relating to processes, technologies,
                                              theories, research, development, computer programs or manufacturing, and all other technical or



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                                              business information of the Company; (d) the developments, ideas, and inventions which derive
                                              in any manner from Confidential Information or are produced during the course of Employee’s
                                              employment with the Company, including, but not limited to, the Discoveries (as hereinafter
                                              defined); and (e) all other information of the Company that may be disclosed by the Company or
                                              to which Employee may be provided access by the Company or others, or which is generated as a
                                              result of or in connection with the Company’s business purposes, whether in whole or in part by
                                              Employee or others. The parties acknowledge and agree that all references to the Company in the
                                              definition of “Confidential Information” in this Section shall include the Company and any of its
                                              Affiliates.

                                              Employee’s promise not to disclose, except as may be required by law, any Confidential
                                              Information as specified in this Section 14 shall survive the termination or expiration of this
                                              Agreement.

                                              At the end of Employee’s employment with the Company, without regard to the reason
                                              Employee’s employment shall end, Employee shall return all Company property, including,
                                              without limitation, all Company Information in whatever form or medium and all copies of
                                              Company Information in Employee’s possession, custody, or control.

                                                          15. Ownership of Discoveries. Employee hereby agrees that any and all inventions,
                                              discoveries, designs, developments, improvements, processes, documentation, data, techniques,
                                              know-how, and any other work product that Employee makes, conceives, or otherwise develops
                                              that are related to Social Engineering Training and Services and/or Penetration Testing Products
                                              or Services, or based upon or are related to Employee’s employment with the Company, either
                                              alone or jointly with another person or persons, or that is specifically requested by the President
                                              of the Company, or are developed in collaboration, cooperation, consultation, or partnership with
                                              the Company (hereinafter collectively referred to as the “Discoveries” and individually referred to
                                              as a “Discovery”), whether or not such Discoveries are patentable or otherwise able to be protected
                                              as intellectual property, will immediately become the sole and absolute property of the Company.
                                              In addition, if Employee develops a Discovery within six (6) months after the expiration or
                                              termination of Employee’s employment with the Company, such Discovery will immediately
                                              become the sole and absolute property of the Company if such Discovery was based upon
                                              information obtained by Employee during her employment with the Company or is otherwise in
                                              any way attributable to Employee’s employment with the Company. Employee hereby assigns to
                                              the Company any rights that Employee may have or acquire in the Discoveries and any rights
                                              resulting from the Discoveries. Furthermore, Employee hereby agrees that all of her duties to be
                                              performed hereunder were specifically ordered or commissioned by the Company, that the works
                                              resulting therefrom constitute and shall constitute “works-made-for-hire” as defined in the United
                                              States Copyright Act of 1976, that the Company is and shall be the author of said works-made-
                                              for-hire, and that the Company shall have the right to make such changes therein and such uses
                                              thereof as it may deem necessary or desirable. To the extent that any such work is not recognized
                                              as a “work-made-for-hire,” Employee hereby assigns, transfers and conveys to the Company,
                                              without reservation, all of Employee’s right, title and interest in and to the work, including, without
                                              limitation, all rights of copyright and copyright renewal in said work or any part thereof. Employee
                                              further agrees to immediately communicate to the Company, without delay, all available
                                              information relating to Discoveries at the time that such Discoveries are made, conceived, and/or



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                                              otherwise developed. In addition, Employee agrees, upon the Company’s request at any time
                                              during or after Employee’s employment with the Company, to sign all documents the Company
                                              may reasonably require to allow the Company to apply for, obtain, and vest in the name of the
                                              Company, patents and/or other intellectual property rights in the Discoveries and/or to evidence
                                              the Company’s ownership of the Discoveries and any rights resulting from the Discoveries. If the
                                              Company is unable, after reasonable efforts, to secure Employee’s signature on any such
                                              documents, Employee hereby irrevocably designates and appoints the Company as Employee’s
                                              attorney-in-fact, to act for and on Employee’s behalf to execute and file those documents and/or
                                              to do all other lawfully permitted acts to assist the Company in obtaining, renewing, restoring,
                                              and/or defending patent and/or other intellectual property rights in the Discoveries and/or to
                                              evidence the Company’s ownership of the Discoveries or any rights resulting from the Discoveries.

                                                          16. Injunctive Relief; No Adequate Remedy at Law. Recognizing that any breach
                                              by Employee of the covenants contained in Sections 13 or 14 of this Agreement would result in
                                              irreparable injury to the Company for which money damages could not adequately compensate the
                                              Company, in the event of any such violation or breach, the Company shall be entitled, in addition
                                              to any other rights and remedies which it may have at law and equity, or hereunder, to have an
                                              immediately effective permanent injunction issued by any competent court of law or equity
                                              enjoining and restraining Employee and any other person involved therein from continuing such
                                              breach and have such injunctive relief issued without proof of actual damages or the posting of
                                              bond. The existence of any claim or cause of action under this Agreement or otherwise, which
                                              Employee or such other person or entity involved may have against the Company shall not
                                              constitute a defense or bar to the enforcement of the covenants contained in Sections 13 or 14 of
                                              this Agreement. The period of time during which Employee is prohibited from engaging in the
                                              specific activities contemplated by Sections 13 or 14 of this Agreement shall be extended by the
                                              length of time during which Employee is found to be in breach of any or all of the covenants
                                              contained in Sections 13 or 14 of this Agreement by a court of competent jurisdiction. In the event
                                              that a competent court of law or equity finds that Employee breached any or all of the covenants
                                              contained in Sections 13 or 14 of this Agreement, this Section 16 shall prevent Employee from
                                              contesting the Company’s right to have an immediately effective permanent injunction issued by
                                              such court enjoining and restraining Employee and any other person involved therein from
                                              continuing such breach and have such injunctive relief issued without proof of actual damages or
                                              the posting of bond. Employee further agrees that in the event the Company seeks relief in court
                                              and the court shall grant permanent injunctive relief and/or damages in an action for damages,
                                              Employee shall be responsible for all attorney’s fees and costs incurred by the Company in
                                              enforcing its rights under said covenants.

                                                         17. Representations and Warranties of Employee. With the express understanding
                                              that the Company shall be entitled to rely on the representations and warranties of Employee
                                              contained in this Agreement, Employee hereby represents and warrants to the Company that
                                              Employee is not a party to any agreement restricting or limiting Employee’s right to perform
                                              Employee’s job responsibilities for the Company or compete freely with any former employer of
                                              Employee, that all information provided by Employee in connection with Employee’s engagement
                                              of employment has been true, accurate, and complete, and that Employee has not omitted any
                                              material fact which would make any statement made or information provided by Employee
                                              misleading.



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                                                       18. Background Check. Employee agrees to complete and execute the Company’s
                                              Background Check Consent Form attached hereto as Exhibit B.

                                                          19. Publicity.       Employee hereby consents to any and all uses and displays, by the
                                              Company and its agents, of the Employee’s name, voice, likeness, image, appearance and
                                              biographical information in, on or in connection with any proposal, offering memorandum or
                                              similar documents or presentations, pictures, photographs, audio and video recordings, digital
                                              images, websites, television programs and advertising, other advertising, sales and marketing
                                              brochures, books, magazines, other publications, CDs, DVDs, tapes and all other printed and
                                              electronic forms and media throughout the world, at any time during or after the period of her
                                              employment by the Company, for all legitimate business purposes of the Company (“Permitted
                                              Uses”). Employee hereby forever releases the Company and its members, managers, directors,
                                              officers, employees and agents from any and all claims, actions, damages, losses, costs, expenses
                                              and liability of any kind, arising under any legal or equitable theory whatsoever at any time during
                                              or after the period of her employment by the Company, in connection with any Permitted Use.

                                                          20. Non-Disparagement. Each party agrees that both during the Term and after
                                              termination of this Agreement, she or it shall not make any statement, either in writing or orally,
                                              that is communicated publicly or is reasonably likely to be communicated publicly (including, but
                                              not limited to, on any social media platform), and that is reasonably likely to disparage or otherwise
                                              harm the business or reputation of (or induce or encourage others to do so) the other party and/or
                                              any of such party’s Affiliates, or their respective owners, members, managers, officers, or
                                              employees. As used herein, the term “disparage” shall mean any statement that adversely affects
                                              in any manner, or is reasonably likely to adversely affect in any manner, a party’s and/or an
                                              Affiliate’s professional or commercial reputation.

                                                          21. Assignment. The rights and obligations of the Company under this Agreement,
                                              including, without limitation, the Company’s rights under Section 13 above, may be transferred,
                                              and all covenants and agreements hereunder shall inure to the benefit of, and be enforceable by,
                                              the Company’s successors or assigns. Neither the rights nor the obligations of Employee shall be
                                              assignable without the express prior written consent of the Company, which consent may be
                                              withheld in the Company’s sole discretion. No right of or benefit to Employee under this
                                              Agreement shall be subject to anticipation, alienation, sale, assignment, pledge, encumbrance, or
                                              charge and any attempt to do so shall be void. No right of or benefit to Employee under this
                                              Agreement shall in any manner be liable for or subject to the debts, contracts, liabilities, or torts
                                              of Employee. If Employee shall become bankrupt or attempts to anticipate, alienate, sell, assign,
                                              pledge, encumber, or charge any right or benefit under this Agreement, then such right or benefit
                                              shall, in the sole discretion of the Company, cease and determine in such proportion as the
                                              Company may deem proper.

                                                          22. Severability. The invalidity or unenforceability of any particular provision of this
                                              Agreement shall not affect its other provisions. If any provision of this Agreement is determined
                                              by a court to be unenforceable, such provision shall be deemed severable, and this Agreement may
                                              be enforced with such provision severed or as modified by any court. If, in any judicial proceeding,
                                              a court shall refuse to enforce any covenant deemed included in this Agreement, the covenant may



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                                              be modified by the court for the purpose of those proceedings to the extent necessary to permit it
                                              to be enforced.

                                                         23. Counterparts. This Agreement may be executed in separate counterparts
                                              (including by means of facsimile, e-mail or other electronic means), each of which is deemed to
                                              be an original and all of which taken together constitute one and the same Agreement.

                                                         24. Independent Counsel. Employee acknowledges that Employee has been provided
                                              with the opportunity to consult with independent counsel regarding Employee’s rights and
                                              obligations under this Agreement, and that Employee is not relying in any way on the Company
                                              or its counsel in connection therewith. Accordingly, any covenant of Employee under this
                                              Agreement shall be deemed knowing, intelligent, and voluntary, and enforceable by the Company
                                              against Employee.

                                                          25. Waiver. Any delay or failure to exercise any right or remedies hereunder shall not:
                                              (a) impair such right or remedy, (b) be construed as a waiver thereof or an acquiescence in the
                                              breach of this Agreement, or (c) constitute a waiver of future enforcement of that provision or of
                                              any other provision hereunder by that party or any other party. Any single or partial exercise of
                                              any right or remedy shall not preclude any other or further exercise thereof or the exercise of any
                                              other right or remedy.

                                                          26. Notices. All notices, waivers, and other communications under this Agreement
                                              must be in writing and will be deemed to have been duly given (a) when delivered by hand (with
                                              written confirmation of receipt), or (b) when received by the addressee, if sent by a nationally
                                              recognized overnight delivery service or by registered mail, charges or postage prepaid, return
                                              receipt requested, in each case, to the addresses set forth on the signature page of this Agreement
                                              (or to such other addresses, as either party may designate by like notice to the other party).

                                                          27. Entire Agreement.       This Agreement contains the entire agreement and
                                              understanding by and between Employee and the Company with respect to the employment of
                                              Employee, and no representations, promises, agreements, or understandings, written or oral,
                                              relating to the subject matter hereof not contained herein shall be of any force or effect. This
                                              Agreement may not be amended or modified except in a writing signed by each of the parties
                                              hereto or as otherwise expressly provided in this Agreement.

                                                        28. Headings. The headings contained in this Agreement are for reference purposes
                                              only and will not affect the meaning or interpretation of any provision.

                                                         29. Governing Law. This Agreement has been delivered and executed in the
                                              Commonwealth of Pennsylvania and shall be governed by and construed in accordance with the
                                              laws of the Commonwealth of Pennsylvania, without reference to conflicts of law principles.



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                                                     IN WITNESS WHEREOF, and intending to be legally bound thereby, the parties hereto
                                              have executed this Agreement as of the date and year first above written.


                                                                                               SOCIAL-ENGINEER, LLC:


                                                                                               By:____________________________________
                                                                                               Name: Christopher Hadnagy
                                                                                               Title: President

                                                                                               Address:         Social-Engineer, LLC




                                                                                               EMPLOYEE:


                                                                                               _______________________________________
                                                                                                           Maxie Lowden


                                                                                               Address:
                                                                                                407 LINCOLN ROAD, Miami Beach, FL, USA, 33139




                                                           407 LINCOLN ROAD, Miami Beach, FL, USA, 33139




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                                                                            EXHIBIT A

                                                                       PORTABLE CLIENTS




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                                                                                          EXHIBIT B

                                                                   SOCIAL-ENGINEER, LLC
                                              CONSENT TO PERFORM CRIMINAL, CREDIT HISTORY & BACKGROUND CHECK

                                              I, Maxie Lowden, hereby authorize Social Engineer, LLC (the “Company”) and its members,
                                              managers, directors, officers, employees, agents and representatives to conduct a comprehensive
                                              review of my background, including, but not limited to, causing a consumer report and/or an
                                              investigative consumer report to be generated for employment purposes as of the date hereof and at
                                              any time during my employment by, or affiliation with, the Company. I understand that the scope
                                              of the consumer report/ investigative consumer report may include, but is not limited to the following
                                              areas: obtaining verification of employment eligibility in the United States (IRS Form I-9 attached);
                                              social security number; credit reports; current and previous residences; employment history;
                                              education background; character references; character and personal reputation; drug testing, civil
                                              and criminal history records from any criminal justice agency in any or all federal, state, county
                                              jurisdictions for at least, but not limited to, the past ten (10) years; driving records; birth records;
                                              and any other public or private records.

                                              I further authorize any individual, company, firm, corporation, educational institution, social
                                              networking site, public agency, private institution, law enforcement/criminal justice agency, city,
                                              state, county and federal court, state motor vehicle bureau and any other person, to divulge any and
                                              all information, verbal or written, pertaining to me, to the Company its members, managers,
                                              directors, officers, employees, agents and representatives. I further authorize the complete release
                                              of any records or data pertaining to me which the individual, company, firm, corporation, or public
                                              agency may have, to include information or data received from other sources. The Company, its
                                              members, managers, directors, officers, employees, agents and representatives and representatives
                                              shall maintain all information received from this authorization in a confidential manner in order to
                                              protect personal information, including, but not limited to, addresses, social security numbers, and
                                              dates of birth.

                                              Pursuant to the Fair Credit Reporting Act, I have been advised that, upon written request to the
                                              Company, I will be provided the name, address and telephone number of any reporting agency as
                                              well as the nature, substance, source and a copy of all such information and/or reports.

                                              I hereby release and hold harmless the Company, its members, managers, directors, officers,
                                              employees, agents and representatives, and all parties involved in conducting any background check
                                              or providing information to the Company, its members, managers, directors, officers, employees,
                                              agents and representatives from any and all liability for damages arising from requesting, procuring
                                              or furnishing the requested information except with respect to a violation of the Fair Credit
                                              Reporting Act.


                                              ________________________________________                            Date:____________________
                                                                                                                           01/24/2020
                                                     Employee Signature

                                              Print Full Name (include any maiden name, former, alias): _______________________________
                                                                                                              Maxie LOWDEN


                                              Social Security Number:____               ______            Date of Birth:__           ____________

                                              Address:__                                              ____________________________________




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To::
To                 Maxie Reynolds
                         Reynolds
 Subject:
 Subject:
 Subject:           Re: Computer
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 Attachments:
 Attachments:

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Ryan
Ryan  MacDougall
Ryan MacDougall
Chief Operating
Chief Operating Officer
Social-Engineer, LLC.
Social-Engineer, LLC.
570.234.3734 ext
570.234.3734      215
               ext215
www.social-engineer.com
    .social-engineer.com
www.social-engineer.com


From:
From: Maxie
      Maxie Reynolds <maxie@social-engineer.com>
            Reynolds <maxie@sociaI-engineer.com>
                     <maxie@social-engineer.com>
Sent:
Sent: Monday,
      Monday, August
      Monday, August 10,
                     10, 2020 5:29:25 PM
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To: Ryan  MacDougall <ryan@social-engineer.com>
    Ryan MacDougall
    Ryan             <ryan@social-engineer.com>
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Subject: Re:
         Re: Computer
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Regards,
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Regards,
Maxie Reynolds
      Reynolds

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                 at 4:28 PM, Ryan
                         PM, Ryan MacDougall <ryan@social-engineer.com>
                                             <ryan@social-engineer.com> wrote:
                                  MacDougall <ryan@social-engineer.com>
                                  MacDougall                            wrote:


All money convos need to
    money convos                 to Chris.
                      to be sent to Chris.



Ryan  MacDougall
Ryan MacDougall
Ryan
Chief Operating
Chief Operating Officer
Social-Engineer, LLC.
Social-Engineer, LLC.
570.234.3734 ext
570.234.3734      215
               ext215
www.social-engineer.com
    .social-engineer.com
www.social-engineer.com


From:
From: Maxie
      Maxie Reynolds
            Reynolds <maxie@social-engineer.com>
                     <maxie@social-engineer.com>
                     <maxie@social-engineer.com>
Sent:
Sent: Monday,
      Monday, August
              August 10,
                     10, 2020 5:02:11 PM
                                      PM
To: Ryan    MacDougall <ryan@social-engineer.com>
     Ryan MacDougall        <ryan@social-engineer.com>
Subject:
Subject: Computer
            Computer Setup
            Computer    Setup
Hey
Hey Ryan,
      Ryan,
      Ryan,
Will lust
       justcompletely
       |     completely  re-setup
                           re-setupmy computer
                                     my
                                     my  computerthis
                                         computer  thisweek
                                                        weekand
                                                             andwe  wecancanwork
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                                                                                    through   the rest
                                                                                                   resttogether
                                                                                                        togetheron on Friday
                                                                                                                       Friday ififwe
                                                                                                                                  we aren't
                                                                                                                                       aren'tchocka-block?
                                                                                                                                              chocka-block?
Also,
Also, will lust  email
              just emailyou  and
                           you
                           you andChris
                                    Chrisacknowledging
                                          acknowledgingthat,
                                                          that,for asaslong
                                                                 for      longasasIWork
                                                                          long    | workfor
                                                                                          forSECOM,
                                                                                               SECOM, ititisisnot
                                                                                                               notconsidered
                                                                                                                   considered my  my personal
                                                                                                                                  my  personal computer
                                                                                                                                      personal   computer and
                                                                                                                                                 computer  and I
                                                                                                                                                              |




forgo  the option
forgo the   option of using
                        using it as
                                 as such?  Do you
                                    such? Do   youwanna
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                                                                   from me mefor
                                                                               for$1
                                                                                   $1with
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                                                                                            the caveat
                                                                                                caveat that
                                                                                                         that I can
                                                                                                             |  can buy
                                                                                                                     buy itit back
                                                                                                                              back in
                                                                                                                                    in the
                                                                                                                                        the event
                                                                                                                                            event of termination?
Best  regards,
Best regards,
Maxie Reynolds
         Reynolds
Technical Team Lead Lead
570 234    3734 ext.
     234 3734     ext. 221
                       221
www.social-engineer.com
www.social-engineer.com




                                                                                                                                                           S E_000348
                                                                                                                                                           SE_000348
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                         Exhibit 12
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        From:   "Maxie Reynolds" <maxie@social-engineer.com>
           To: "Christopher Hadnagy" <chris@social-engineer.com>
        Date:   5/27/2021 1:56:54 AM
      Subject: Re: Wouldn't


I actually consulted with my own lawyer and Netflix’s legal team over this as my contract with SECOM
was a concern — given we are a family as you so often say They have assured me am not in breach of
your contract specifically with this project.

I have a $250,000 retainer with my current lawyer so it is no trouble at all for me to put them in touch
with your lawyer if you would like Tim to be able to review this contract to make sure. However, it
won’t be sent to you. I am unsure if Tim can send it to you or not (I don’t have that legal knowledge).

Your feelings on this are a separate matter of course. I apologize if you feel upset. That was never my
intention.

Regards,
Maxie Reynolds


  On May 26, 2021, at 6:37 PM, Christopher Hadnagy <chris@social-engineer.com> wrote:


  ﻿
  Additionally I am not sure how many times I can really point this out but your employment agreement with SECOM
  comes before any other agreement you make. This “contract” you made violates your employment agreement. Its
  upsetting to find these things out through social media when other people ping me to ask questions or via our
  slack.

  To say this least these feels a little blind sided.

                                                                                             Maxie Reynolds
  Christopher Hadnagy                                                                          9/27/2024
  Chief Human Hacker
  Social-Engineer, LLC.                                                                   Plaintiff 17
                                                                                            Douglas Armstrong, RPR
  570.234.3734
  www.social-engineer.com

  Grab a copy of my new book Human Hacking: Win Friends, Influence People, and Leave Them Better Off
  for Having Met You HERE!

      Have you seen my TedX Talk on how we are being hacked daily? https://www.youtube.com/watch?
      v=9e6k_PtEXdM



  From: Ryan MacDougall <ryan@social-engineer.com>
  Date: Wednesday, May 26, 2021 at 9:34 PM
  To: Christopher Hadnagy <chris@social-engineer.com>, Maxie Reynolds <maxie@social-engineer.com>
  Subject: Re: Wouldn't

  Yes please , I have sooo many questions.

  Many of which revolve around your availability and the impact this will have on the team.
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Ryan MacDougall
Chief Operating Officer
Social-Engineer, LLC.
570.234.3734 ext 215
www.social-engineer.com


From: Maxie Reynolds <maxie@social-engineer.com>
Sent: Wednesday, May 26, 2021 5:28:01 PM
To: Christopher Hadnagy <chris@social-engineer.com>
Cc: Ryan MacDougall <ryan@social-engineer.com>
Subject: Re: Wouldn't

Ha!

Yeah, I was under contract not to say and honestly didn’t think much of it until I got a call today.

Happy to talk about it whenever you’re both free.

Regards,
Maxie Reynolds



      On May 26, 2021, at 2:40 PM, Christopher Hadnagy <chris@social-engineer.com> wrote:

      Maybe if you ping her on social media she will answer


      Christopher Hadnagy
      Chief Human Hacker
      Social-Engineer, LLC.
      570.234.3734
      www.social-engineer.com

      Grab a copy of my new book Human Hacking: Win Friends, Influence People, and Leave
      Them Better Off for Having Met You HERE!

      Have you seen my TedX Talk on how we are being hacked daily? https://www.youtube.com/watch?
      v=9e6k_PtEXdM



      From: Ryan MacDougall <ryan@social-engineer.com>
      Date: Wednesday, May 26, 2021 at 4:00 PM
      To: Christopher Hadnagy <chris@social-engineer.com>, Maxie Reynolds <maxie@social-
      engineer.com>
      Subject: RE: Wouldn't

      Why do you hate us so much Maxie?


      Ryan MacDougall
      Chief Operating Officer
      Social-Engineer, LLC.
      570.234.3734 ext 215
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www.social-engineer.com

From: Christopher Hadnagy <chris@social-engineer.com>
Sent: Wednesday, May 26, 2021 12:57 PM
To: Maxie Reynolds <maxie@social-engineer.com>; Ryan MacDougall <ryan@social-engineer.com>
Subject: Wouldn't

Wouldn't it have been nice as your employer to be included in this before finding out on social media

https://www.linkedin.com/posts/maxiereynolds_attackermindset-mindset-netflix-activity
-6803359132436041728-NXO8




Christopher Hadnagy
Chief Human Hacker
Social-Engineer, LLC.
570.234.3734
www.social-engineer.com
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                         Exhibit 13
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          From:    "Maxie Reynolds"
             To:   "Harris Fishman" <                            >
           Date:   5/4/2021 7:10:05 AM
         Subject: Re: Untitled Mindful Scammer Project
 Attachments: MR_Untitled Mindful Scammer_053021.pdf


Hello,

Apologies — I’m having to do it on my phone! Should be good now.


Regards,
Maxie Reynolds


  On May 3, 2021, at 6:42 PM, Harris Fishman <                                 > wrote:


  \u-257 ?
  Please date it and out N/A in the other spaces. And initialize the first page? The I will send to
  paul. Thanks H


     Begin forwarded message:

     From: Maxie Reynolds <maxie@social-engineer.com>
     Subject: Re: Untitled Mindful Scammer Project
     Date: May 3, 2021 at 12:12:59 PM PDT
     To: Harris Fishman <                          >




  <MR_Untitled Mindful Scammer_053021.pdf>




                                                                                  Maxie Reynolds
                                                                                    9/27/2024

                                                                               Plaintiff 15
                                                                                 Douglas Armstrong, RPR
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                                                  April 30, 2021


Ms. Maxie Reynolds




        RE:     “Mindful Scammer” (Working Title)


Dear Ms. Maxie Reynolds:

         This will set forth the agreement (“Agreement”) between Harris Fishman and R. Paul Wilson
(“Producer”) and Maxie Reynolds (“Artist’), in connection with the proposed reality based social
experiment television series tentatively entitled “Mindful Scammer” (the “Series”), being developed by
Producer and featuring Maxie Reynolds and potentially her expert “ethical hacking” colleagues as on-
camera talent and/or consulting producers in a Series where real people will be taught and tested on
utilizing social engineering techniques for mindful purposes. The parties hereby agree as follows:

1.       Artist hereby grants permission to Producer to pitch the Series with Artist and Artists “expert
colleagues” attached, in all forms and media for a period of twelve (12) months from the date of full
execution of this Agreement (the “Term”). Producer will use good faith efforts to secure interest from
production companies, executive producers, financiers, potential networks, broadcasters, syndicators and
distributors (each a “Network”) in the Series. If Producer enters into negotiation with a Network for
financing, development, production, or distribution of a Production (as defined below) before the
expiration of the Term, then the Term will be automatically extended for up to sixty (60) days. Artist
agrees that Artist will not become involved with any other similar television project during the Term.

2.     If a Network to whom Producer submits the Series during the Term commits to develop, finance,
produce or distribute a pilot, presentation, or the Series (collectively, a “Production”), Producer will be
engaged as executive producers on the production.

3.       If Producer produces the Series, Artist and her representatives will negotiate in good faith with
the Network and/or the Producer the terms of an agreement for Artists on-camera services or consulting
producer servives; provided however if such Network has a policy that production companies are required
to negotiate talent agreements and/or conuslting producer’s agreemement, then Artist’s and her
representatives will negotiate such agreement(s) directly with Producer in lieu of the Network. If
Producer produces the Series and Artist enters into agreements with the Network for Artist’s on-camera
and/or consulting producers services then Producer will obtain separate releases from Artists “expert
colleagues” in connection with their participation in the Series, and Artist agrees to use her best efforts to
assist Producer in obtaining such releases.

4.      Producer may develop the Series, including, without limitation, creating sizzle reels,
presentations and other development materials (all of the foregoing being collectively referred to as
“Development Materials”). During the Term, Artist agrees: (a) to render on-camera services, (b) to
provide Producer with access to additional personal material and the right to record in connection with the
Development Materials as may be reasonably required by Producer. In connection therewith, Artist
acknowledges and agrees that all of the results and proceeds will constitute a work specially ordered or
commissioned by Producer for use as part of a motion picture or other audiovisual work and are intended
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by Artist and Producer to be a “work-made-for-hire” by Producer (as defined by the U.S. Copyright Act
of 1976, as amended), with Producer being deemed the author and copyright owner thereof. If any results
and proceeds or contributions are determined not to be “work(s) made for hire,” Artist is hereby deemed
to have assigned same to Producer for use in all manner and media now known or hereafter devised,
throughout the universe in perpetuity. For the avoidance of doubt, all rights in and to the intellectual
property owned or controlled by the Artist will be reserved to Artist, and Artist hereby grants to Producer
on a non-exclusive, worldwide, perpetual, transferable license to use such intellectual property for the
purposes provided in this agreement. Notwithstanding the foregoing, all Development Materials created
by Producer or commissioned by Producer will be owned by Producer. In addition, Producer
acknowledges and agrees that until a more formal agreement is entered into in connection with the Series,
nothing herein shall be deemed to grant Artist’s life story rights to Producer.

5.       This Agreement sets forth the entire understanding between the parties and cannot be modified
except by a writing signed by both parties. This Agreement will be construed in accordance with the laws
of the State of California applicable to agreements entered into and performed in that state. The parties
hereby submit to the exclusive jurisdiction of the courts located in Los Angeles, California. In entering
into this Agreement, the parties have not relied upon any representation or promise, written or oral, not
contained herein. Producer and any subsequent assignee may assign this Agreement and grant its rights
hereunder, in whole or in part, to any party; provided, however, such assignment shall not occur until a
Network orders a Production. Artist may not assign this Agreement or any of the obligations hereunder.

       If the foregoing is acceptable to you, please sign in the space provided below. Paul and I look
forward to working with you.

                        Best regards,



                        Harris Fishman, R. Paul Wilson

                        Dated and signed by Harris Fishman:
                        Dated and signed by R. Paul Wilson:


Accepted and Agreed To:


Maxie Reynolds

By:
Its:
Dated:
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                         Exhibit 14
                Case 2:23-cv-01932-BAT                  Document 101             Filed 03/14/25           Page 170 of 388

                 </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE
                 </O=EXCHANGELABS/OU=EXCHANGE     ADMINISTRATIVE GROUP
                                                                 GROUP
From::
From
                 (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=15857B33BD854924B7474BBC7F67D366-RYAN>
                 (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=15857B33BD854924B7474BBC7F67D366-RYAN>
Date:
Date:            August
                 August 16,              PM (-05)
                        16, 2021 2:08:04 PM
To::
To
Cc:
Cc:              Christopher
                 Christopher Hadnagy
                             Hadnagy
Subject:
Subject:
Subject:          RE: Resignation
                  RE: Resignation

 Attachments:
 Attachments:

Maxie,
Maxie,

In
In the  event you
    the event you do
              you do not
                     nothave  Spencer's
                         have Spencer's
                              Spencer's current address    ship the company
                                                        to ship
                                                address to ship     company equipment here
                                                                    company equipment here it is:
                                                                                              is:

Spencer
Spencer Scott



Please
Please reply
       reply  with aa tracking
        reply with    tracking number when
                      tracking        when you
                                           you have one.
                                                    one.

Thank you,
      you,
      you,


Ryan
Ryan
Ryan MacDougall
      MacDougall
Chief Operating
      Operating Officer
Social-Engineer, LLC.
Social-Engineer, LLC.
570.234.3734 ext 215
www.social-engineer.com
www.social-engineer.com
www.social-engineer.com

    Original
   -Original
    Original Message--
             Message
             Message
From: Maxie
       Maxie Reynolds
             Reynolds <maxie@social-engineer.com>
             Reynolds  <maxie@social-engineer.com>
Sent: Thursday, August 5,
Sent: Thursday,         5, 2021 4:53 PM
                                     PM
To: Ryan
    Ryan  MacDougall <ryan@social-engineer.com>;
    Ryan MacDougall
          MacDougall  <ryan@social-engineer.com>, Christopher
                      <ryan@social-engineer.com>; Christopher Hadnagy
                                                  Christopher         <chris@social-engineer.com>
                                                              Hadnagy <chris@social-engineer.com>
                                                                      <chris@social-engineer.com>
Subject:
Subject: Resignation
         Resignation
         Resignation

Hey
Hey       Chris, Ryan
Hey there Chris, Ryan
                 Ryan

After aa lot
          lot of
              of back
                  back and forth and
                                   and aa tough
                                           tough few
                                                   few months,
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                                                                I'vedecided
                                                                     decided to
                                                                              to take
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                                                                                          differentroute
                                                                                                    routeand
                                                                                                           and step
                                                                                                                step back
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                                                                                                                                 social
engineering
engineering
engineering as   as an  industry. II just can't
                    an industry.
                       industry.                fathom coming
                                          can't fathom  coming back
                                                        coming   backtotowork
                                                                          work - I'm
                                                                             -
                                                                                    I'msosomentally
                                                                                             mentally drained
                                                                                             mentally          just now
                                                                                                      drained just   now that
                                                                                                                          thatreturning
                                                                                                                               returning seems
                                                                                                                               returning  seems
unwise.
unwise.

I've
I've not
     not made
          made the decision
                      decision lightly,
                               lightly, but
                                         but IIam
                                                am certain
                                                    certain about
                                                            about it.
                                                                   it.Plus,
                                                                       Plus, with
                                                                             withmy
                                                                                  mydad's
                                                                                  my   dad'ssurgery
                                                                                             surgerybeing
                                                                                             surgery  being pushed
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                                                                                                             pushed and the
                                                                                                                          the Delta
                                                                                                                              Delta strain
affecting  travel, I can't
affecting travel,
affecting            can't commit to return
                                        return dates
                                                 dates and
                                                       and I think
                                                             think this
                                                                    this departure
                                                                         departure is
                                                                                    is best
                                                                                       best for the
                                                                                                the team
                                                                                                    team given
                                                                                                          given your
                                                                                                                 your last
                                                                                                                       last email.
                                                                                                                            email. My
                                                                                                                                   My attention
and  focus will
and focus    will not be there
                         there and
                                and II will not
                                            not dodo as
                                                     as good  as job
                                                        good as  job as
                                                                      as I can
                                                                           can for you
                                                                                   you guys
                                                                                         guys or them.

So,
So, with sadness,   this is
          sadness, this   is my
                             my official
                             my official resignation.
                                         resignation. II will miss
                                         resignation.         miss working
                                                                    working with
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                                                                                   you and
                                                                                   you and II will
                                                                                              willdeeply
                                                                                                   deeplymiss
                                                                                                   deeply  miss the
                                                                                                                 the whole
                                                                                                                     whole SE  team. I hope
                                                                                                                            SE team.   hope
                                                                                                                                       hope
    all remain
we all  remain friendly
               friendly and
                         and I am
                                am thankful
                                     thankful and
                                              and appreciate    all I've learned
                                                   appreciate all                 from you
                                                                         learned from  you both,
                                                                                            both, our
                                                                                                   our laughs
                                                                                                        laughs and
                                                                                                               and even
                                                                                                                     even (some  of) our
                                                                                                                          (some of)
fights.
fights.
fights.

I will
  will send
        send all
              all of
                   ofthe
                      theitems
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                                       to Spencer's
                                             Spencer's address
                                             Spencer's            this coming
                                                         address this  coming week and
                                                                                    and again,
                                                                                        again, I'm so sorry
                                                                                        again,        sorry we
                                                                                                            we are
                                                                                                               are parting
                                                                                                                   parting ways.
                                                                                                                   parting ways. My
                                                                                                                           ways. My personal
                                                                                                                                 My personal
                                                                                                                                    personal
email
email is                               I'll look
                                     I'll    look out
                                                  out for
                                                       for mail
                                                           mail there
                                                                there from
                                                                       from you
                                                                            you from
                                                                                from now
                                                                                     now on.
                                                                                          on.

Regards,
Regards,
Maxie




                                                                                                                                           SE_000402
                                                                                                                                           SE_000402
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                         Exhibit 15
                                   Case 2:23-cv-01932-BAT                                              Document 101                                 Filed 03/14/25                    Page 172 of 388
                         From: "Ryan MacDougall" <ryan@social-engineer.com>
                            To: "Maxie Reynolds" <                                 >
                         Date: 9/8/2021 5:03:52 PM
                      Subject: RE: Return of Company Equipment

Maxie,

Thank you for the quick response.

Based on your reply, if we do not have the machine in hand or a tracking number with an explicit delivery date by 5PM PDT on Friday, we will take that as a refusal of our request and proceed with our reporting steps.




Ryan MacDougall
Chief Operating Officer
Social-Engineer, LLC.
570.234.3734 ext 215
www.social-engineer.com

From: Maxie Reynolds <
Sent: Tuesday, September 7, 2021 2:40 PM
To: Ryan MacDougall <ryan@social-engineer.com>
Cc: Christopher Hadnagy <chris@social-engineer.com>; Kazuyuki Nishi <kaz@social-engineer.com>
Subject: RE: Return of Company Equipment


Ryan and company,

I am not in Los Angeles at the moment, but will return there on Friday. I have already sent the computer to you (sent on Saturday) but don’t have the number with me.

If it’s not with Spencer by Friday, I’ll send the number. If you could let me know on Friday if you’ve not received it, it would be much obliged.

Ps Ryan, please refrain from sending me signal messages. I find them threatening and intimidating.

Maxie


On Tue, Sep 7, 2021 at 1:26 PM, Ryan MacDougall <ryan@social-engineer.com> wrote:
         Maxie,

         As you know, SECOM performs regular backups on all machines that have corporate data on them. Considering that we were not given the opportunity to wipe the MacBook you used for work after your departure, that machine was still
         backing up to our servers up until the day it was remotely locked.

         We checked the last full disk backup which was completed 45 mins before we locked the machine, and in that backup we can see you had                               data on the desktop.

         Per our contracts if we are unable to recover the machine you used for work, to properly wipe the data, we are obligated to report that you are in illegal possession of US Federal Government data and are not complying with our requests to
         recover that data.

         Reporting this data as stolen, would include your name, all other personal information we have on record, and show the repeated attempts to recover that data.
         We will not respond to any other emails, requests, comments or threats.
         We will wait an additional 24 hours from the sending of this email to hear back on your decision.
         If we do not receive an appropriate response within that 24 hours we will take that as another refusal of our request.                                                                                           Maxie Reynolds
                                                                                                                                                                                                                            9/27/2024
         Please send the tracking number when you have that available.
                                                                                                                                                                                                                       Plaintiff 23
                                                                                                                                                                                                                         Douglas Armstrong, RPR
         Ryan MacDougall
                              Case 2:23-cv-01932-BAT                                               Document 101                               Filed 03/14/25                            Page 173 of 388
Chief Operating Officer
Social-Engineer, LLC.
570.234.3734 ext 215
www.social-engineer.com

From: Maxie Reynolds <
Sent: Friday, September 3, 2021 6:18 PM
To: Kazuyuki Nishi <kaz@social-engineer.com>
Cc: Christopher Hadnagy <chris@social-engineer.com>; Ryan MacDougall <ryan@social-engineer.com>
Subject: RE: Return of Company Equipment

Hello,

If you would like to organize a meeting with DC and BH to go through my claims one by one, I would be willing to do that.

Having heard the accusations used against me to counter those claims, I would be further inclined to set that up.

You’re welcome to acknowledge this email and we can each take action to set that up, or not.

On Fri, Sep 3, 2021 at 11:50 AM, Kazuyuki Nishi <kaz@social-engineer.com> wrote:
         Maxie,

         Though you may feel you are being treated unfairly, our policy for company/client data applies to all employees, even when leaving their employment. Aside from yourself, all former employees have returned their equipment.

         It is true that this situation is unique, in that you gave us ownership of your personal machine to comply with our policy and willfully installed the security software. Even so, the policy still holds.

         Please understand, we would be glad to return your computer to you once it is wiped. We are not interested in keeping it. The only reason for our request is because the most recent back-up from the computer shows evidence
         of corporate/client data still existing on that machine. Therefore, we must ensure that this data (which is not yours) is completely removed. As a professional in the security industry, I am sure you can appreciate the importance
         of this matter, and why we have been requesting this of you.

         This is our final request. The computer will remain locked until we receive it. We hope you will comply and provide us with the tracking number for the shipment.

         As a side note, we also wanted to assure you that based on your threats at Black Hat and DEF CON, we have dropped the other legal arguments with you and are not pursuing them any further.


         Best regards,
         Kazuyuki Nishi

         SOCiAL-ENGiNEER, LLC
         Chief Administrative Officer
         570-234-3734 x206
         www.social-engineer.com




         From: Maxie Reynolds <
         Sent: Thursday, September 2, 2021 6:49 PM
         To: Kazuyuki Nishi <kaz@social-engineer.com>
         Cc: Christopher Hadnagy <chris@social-engineer.com>; Ryan MacDougall <ryan@social-engineer.com>
         Subject: RE: Return of Company Equipment

         You’re so welcome for the prompt replies.

         The number of request actually does matter. As an esteemed company representative, you said you’d come to me four times. And I’m asking you to prove those four times, because I feel that if I had been approached four times
         by someone asking for their property, that I would’ve liked to oblige. I would of course have noted that there is a major difference between someone else’s property on my own. My computer, that I purchased, being my own.
         And of course, you started out by stating that so, I think what you’re saying now is that that was a false statement?
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Yes, I am no longer in SECOM’s employment so, per definition, my computer does not belong to that entity.

And if it is the case that when I install software on my devices it then belongs to SECOM, why are you not requesting my phone as well? Out of curiosity.

I am sorry I cannot be more helpful, it’s just I feel I am being unfairly treated.

Regards,
Maxie

On Thu, Sep 2, 2021 at 3:38 PM, Kazuyuki Nishi <kaz@social-engineer.com> wrote:
       Maxie,

       I appreciate your prompt replies. The number of requests do not really matter. What does matter is that we are making the request, even now.

       Your email (Re: Computer Setup) suggested that, “for as long as I work for SECOM, it is not considered my personal computer and I forgo the option of using it as such”. You can refer to my previous email for the
       complete attached message.

       When you willfully installed the security software (another SECOM employee did not install it for you), you were in agreement with the computer and all that it contains becoming SECOM property. I will again refer
       to the previous email’s screenshot which shows the laptop’s serial number.

       In the end, we need to protect our corporate and client information. Therefore, when you return the laptop and headset to us, we will wipe the computer data and send the machine back to you. Please, do so as
       soon as possible and send us a copy of the tracking information.

       I appreciate your cooperation and look forward to your reply.


       Best regards,
       Kazuyuki Nishi

       SOCiAL-ENGiNEER, LLC
       Chief Administrative Officer
       570-234-3734 x206
       www.social-engineer.com




       From: Maxie Reynolds <
       Sent: Thursday, September 2, 2021 6:03 PM
       To: Kazuyuki Nishi <kaz@social-engineer.com>
       Subject: RE: Return of Company Equipment


       Again, please show me the four times the company contacted me about it. And please show me you, the company, own my computer — proof of purchase and serial number. Not the data on it, but the computer.


       On Thu, Sep 2, 2021 at 2:58 PM, Kazuyuki Nishi <kaz@social-engineer.com> wrote:
              Maxie,

              In your resignation email (RE Resignation .msg) to Chris on 8/5/2021, you said, “I will send all of the items back to Spencer’s address this coming week”.

              “All of the items” would include the laptop. In the attached email (Re: Computer Setup.msg), you will see that you discussed converting your computer to a corporate machine (8/10/2020). Then, you
              accepted and complied by installing the security software (note “management name” and “Enrolled by” below) on 1/26/2021.
      Case 2:23-cv-01932-BAT                                           Document 101                             Filed 03/14/25                         Page 175 of 388




Therefore, since the laptop has not been returned to us it has been locked, as specified in our company policies (which you wrote, and very well I may add) section 18 Mobile Computing and/or BYOD
policy.




When you return the laptop and headset, we will wipe the machine and then return it to you.


Best regards,
Kazuyuki Nishi

SOCiAL-ENGiNEER, LLC
Chief Administrative Officer
570-234-3734 x206
www.social-engineer.com




From: Maxie Reynolds <
Sent: Thursday, September 2, 2021 1:55 PM
To: Kazuyuki Nishi <kaz@social-engineer.com>;
Cc: Christopher Hadnagy <chris@social-engineer.com>; Ryan MacDougall <ryan@social-engineer.com>
Subject: Re: Return of Company Equipment

Kaz and company,

Please also provide proof of purchase for each computer used for company purposes along with the serial number for each.

Thank you,
Maxie Reynolds.

On Thu, Sep 2, 2021 at 10:51 AM, Kazuyuki Nishi <kaz@social-engineer.com> wrote:
      Maxie,
                    Case 2:23-cv-01932-BAT                                             Document 101                              Filed 03/14/25                           Page 176 of 388


                    I am reaching out and asking you to please return the laptop and headset which SECOM provided you in compliance with our company policy. This is the fourth time you have been
                    contacted on this matter.

                    For security reasons, the company computer has been locked. However, we still need to ensure it is wiped clean of any company/client information. If you wish to have it returned to you
                    for personal use after it is wiped and restored to factory settings, we can accommodate that. Aside from the headset, any other equipment you were provided is yours to keep.

                    Please, ensure that the laptop and headset are packaged well/safely. Then, ship them via FedEx Ground or UPS Ground to:
                            Spencer Scott



                    Finally, please provide us with the tracking number.

                    If you have any questions in regard to returning these items, please let us know.


                    Best regards,
                    Kazuyuki Nishi

                    SOCiAL-ENGiNEER, LLC
                    Chief Administrative Officer
                    570-234-3734 x206
                    www.social-engineer.com



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                           Case 2:23-cv-01932-BAT                                             Document 101                             Filed 03/14/25                           Page 177 of 388
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the sender by return e-mail and delete the original transmission and its attachments without reading or saving in any manner. Thank you.
Case 2:23-cv-01932-BAT   Document 101   Filed 03/14/25   Page 178 of 388




                         Exhibit 16
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             @ ©     -                          9A E87%
<              Neil "Grifter" ©             a &            :




                         Aug 26, 2021


Hey, I've got something we should probably
discuss. It concerns you and a former
employee. Getting a lot of messages about
it and want to get your side of the story. Are
you free to chat?                      10:37 am




Sounds good. Talk to you soon. 11-20 am




I'm out running some errands, can chat in
                                        |




about 30 minutes. You available then?
                                               7:10 pm




Word ¢: 05 pm


             XS Neil "Grifter" called you 8:06 pm
                                                         <e




|   talked to her. She is happy to put

@ Kignal message                            © &




                                                                                            SE_000120
                                                                                            SE_000120
Case 2:23-cv-01932-BAT            Document 101     Filed 03/14/25   Page 180 of 388




             @ ©                         VA W87%
               Neil "Grifter" ©        a &           :


|talked to her. She is happy to put
everything to bed. Just so you know she
also said she isn't going to be doing the
company of her own so there is no threat of
competition or poaching customers.

She really does sound like she just wants
this to be over and she's happy that you
have both agreed to step back from things
and go your separate ways.               9:21 pm




I
    hope I'm right too 9.22 pm




Truth!

Have a good night, brother. 9-23 pm




No problem     VV® 9:23 pm


@ Signal message                          &




                                                                                      SE_000121
                                                                                      SE_000121
Case 2:23-cv-01932-BAT              Document 101      Filed 03/14/25   Page 181 of 388




93550 BM ©            -                           887%


                 Neil"Grifter"@                  &        :




                          Aug 29, 2021


       i   Know its laid to bed but i do have new info
       just in case it blows up again       11:16am   ©

Okay. Do you want to fill me in, or just hold it
just in case?


                   don't mind. Wanna chat? ;-36 pm ©


Sure




                          Aug 30, 2021


Dude. Ryan is reaching out to her sending
text messages calling her a liar and now
she's somehow been locked out of her
laptop? That's not letting it die.


                                                what??

       t hat is not possible Ryan woudl enver do
       that

       | dont know what you are talking about,
       literally? i will call Ryan right now and get
       info but that is out of character for ANYONE 4
       who knows ryan



@ Bignal message                         © 8          +



                                                                                         SE_000122
                                                                                         SE_000122
Case 2:23-cv-01932-BAT                 Document 101           Filed 03/14/25   Page 182 of 388




956O FO © -                                           AA 87%

<       4.            Neil"Grifter"@                     &        :


        he is the least aggressive person i have ever
        met                                           7:59 pm ©



"It must be so hard living so many different
lies.     hope you find true joy someday."

That's the text...


        just texted him we are going to speak in 5
        mins. will give you info soon as have it.
                  i                               i




               this is the first   iam hearing of any of this
                                                      8:01 pm ©



She said she's locked out of her machine
and when she talked to Apple they said that
someone called them and reported the
laptop stolen.


                               dont know anything about it

        b ut cannot believe anyone would call apple
        from SECOM

                      have to talk to my network admin guy

                                   give me a few 3.03 pm @


It's just a coincidence?



                                                            ugh,
                                         i   have no clue man


@ Signal message                               © 8           +



                                                                                                 SE_000123
                                                                                                 SE_000123
Case 2:23-cv-01932-BAT            Document 101          Filed 03/14/25   Page 183 of 388




9560 MM © -                                         87%

<              Neil "Grifter" @                              :




                                               really dont

                            am hearing this from you

          i   am sure Ryan will have answers for me
                                                8:03 pm ©



|
    hope he does

This isnot great;


      h e manages the people here who handle our
      infrastructure

                                  so i am sure he does

      ineed to chat with him and spencer its only
      2-3 people so its not a very big dept

                                             lol 3:04 pm @


Roger that.


                                     ok...    got the info

      fi rst i am again sorry you somehow are the
      SECOM corp mediator.

      When maxie quit her last email was "ill send
      the machine back to spencer tomorrow"

      she never did. guess they emailed her
                       |


                                                     4
      three times asking when the machine was Vv
      coming back. it is ours and has our corp
      data nn it Ourearn noliciac ice that if tha av

@ bigna message                         © 8            +



                                                                                           SE_000124
                                                                                           SE_000124
Case 2:23-cv-01932-BAT         Document 101            Filed 03/14/25   Page 184 of 388




9:56 ©


           Neil "Grifter" @

    When maxie quit her last email was "ill send
    the machine back to spencer tomorrow"

    she never did. guess they emailed her
                    |




    three times asking when the machine was
    coming back. it is ours and has our corp
    data on it. Our corp policies is that if the ex
    employee doesn't send it back after 2-3 days
    they are supposed to lock it. we have that
    on all machines. they waited 2 weeks       -




    which is a whole another set a problems
    that i have to deal with here. that they
    waited so long. but anyhow, she never
    replied to any email or request for updates
    ont he machine. so it had to be locked.

    lam sure as a security guy you understand
    that we cannot allow a machine with corp
    data to just float out there.

    no one called Apple, at all. It is not stolen. If
    anyone here was going to report a laptop as
    stolen it would be to the police not to apple.
    so not sure where she is getting that.

    and yes, Ryan did send a text. that is
    completley out of character for him. but       i



    guess he had a human moment, but the text
    you sent me was confirmed that is what he
    sent. He did not, as you can read, call her a
    liar. He merely said how hard it would be
    keep all the lies straight. i know its
    semantics, but he didnt attack her, her        4
    wished she found joy and left us alone.       Vv
                                           8:41pm      &




                                                                                          SE_000125
                                                                                          SE_000125
Case 2:23-cv-01932-BAT             Document 101       Filed 03/14/25   Page 185 of 388




9:57 (S   0©          -                           87%

               Neil"Grifter"@                    &         :




Sorry. Eating dinner.

                                                           ™


                   okie, well read it when you are done.
                                              8:55 pm ©



She said the laptop is her personal laptop
that she owned prior to starting with you.



     well that is partial truth, and if need to
     prove it to you i can show you the email
                              -




     thread where she gave it SECOM so we can
     install our software on it and allow her to
     use it for corp work

     since her leaving she has had corp data
     from some of the worlds largest banks and
     healthcare clients on it

     she refused to answer any emails, she also
     said she would mail it back and did not.

     if she wants it, she can mail it back we will
     wipe it and send it back to her

                     will appease our clients g-5g pm ©
          that
|don't know how became the mediator
                          |




either. But think I'm gonna call it good and
           |




step away from this. You guys can tear each
other apart. was hoping it would die, but
               |




that doesn't seem possible unfortunately.                  5
                                                          Vv
And this likely won't be the last thing. So I'm
just donna slowlv back out of the room and

@          message                       © 8         +



                                                                                         SE_000126
                                                                                         SE_000126
Case 2:23-cv-01932-BAT               Document 101        Filed 03/14/25   Page 186 of 388




9:57 ©                                            687%

                  Neil "Grifter" @


|don't know how became the mediator
                        |




either. But think I'm gonna call it good and
              |




step away from this. You guys can tear each
other apart. was hoping it would die, but
                  |




that doesn't seem possible unfortunately.
And this likely won't be the last thing. So I'm
just gonna slowly back out of the room and
let you guys have at it.

|   love you, boo!!

Godspeed!!




       also with you not sure how you got stuck
       with this job and sorry

       but, as i told you, i dropped it. no law suits,
       no letters, nothing

       but if you, BH, def con or her think we can let
       her keep a machine with corp data on it iam
       in the wrong industry                 9:00 pm   @

| was recommended by multiple people in
the community as someone who could be
trusted to mediate.

That's all know                                            5




                                                                                            SE_000127
                                                                                            SE_000127
Case 2:23-cv-01932-BAT          Document 101         Filed 03/14/25   Page 187 of 388




       fF)    ©                            0A 887%
<            Neil"Grifter"@            e                   :


                                                     ha

     well you are now the mediator for all
     problems                              9:00 pm   @

So it is written. 949 pin


                                                     lol

                                       bro 9-91 pm
                        really sorry
No worries

Miss your face! 6-92 pi


                                       you too man.

         hopefully you will still love me 9-03 pm




                             9:04 pm



                                       lol 9:04 pm @


                      Sep 8, 2021                          5


     Intaractina haus i haar thraiiah tha aranavina

@ Kignal message                       © 8           +



                                                                                        SE_000128
                                                                                        SE_000128
Case 2:23-cv-01932-BAT              Document 101       Filed 03/14/25   Page 188 of 388




9:57 (2        0©    -                      eA 887%
&      4.      Neil "Grifter" @                 &          :




       Interesting how hear through the grapevine
       about these huge meetings you all are
       having with the enemy group.

       bro, 15 years busting my ass and money for
       DEF CON and that amounts to jack?
                                            12:42 pm   ©




This isn't my show man. told you was
                               |        |




stepping away from this and letting you two
have at each other if that was your choice. If
I'm invited to weigh in on something do. If
not, I'm great with that too. I'm already more
involved than ever wanted to be.
                 |




                               yah amen bro 4-14 pm ©


                         Sep 22, 2021


                         Hey you hear from Jeff at all?

          h e requested a meeting but then went dark
                                             7:31 pm ©



|   haven't.

|   know he's back in Singapore.

But I'm at Disneyland with the family and
been mostly off grid.
                                                           5
                                                      Vv
                                                NICE!!!

@ Kignal message                        © 8            +



                                                                                          SE_000129
                                                                                          SE_000129
Case 2:23-cv-01932-BAT                 Document 101         Filed 03/14/25   Page 189 of 388




2580 BOM © -                                          887%

    &%      Neil"Grifter"@                           &              :



                                                     NICE!!!

                            Land or world? 7-33 pm @


Haven't heard anything new from either side

Land


                                                     awww

             if it was world i would come see you
                                                  7:33 pm   ©

They do Halloween better.      -




                                            lol   7.33 pm   @

We did Universal out here too, and it's so
much better in Orlando

This was like Universal Lite       -




                                                                ™




            its weird.... but Florida is a mess now

                  so prolly safer in Cali 7.34 pm ©


Everywhere is a mess    >




                                            amen brother

     know how much you love disney so enjoy                  "
    that. havent been in a while but miss it

@ Bignal message                           © 8              +



                                                                                               SE_000130
                                                                                               SE_000130
Case 2:23-cv-01932-BAT         Document 101         Filed 03/14/25   Page 190 of 388




958       BJM © -                        WA     87%




                     Thu, Feb 24


      Please get Jeff to read and respond to that
      email                               1:49pm    @

Just read it. I'll send him a message.
I've wanted to reach out a few times just to
check in but wasn't sure you'd want to hear
from me at all.


      |
       just don't know if you guys understand
      what you did with that message. I'm losing
      business. Business I'm losing employees.
      My family is being attacked by non-profit is
      suffering and all for what? haven't done
                                   |




      anything but protect my business in my
      intellectual property from thieves and liars.
      I've never abused anyone and if anything I've
      only made DEFCON better             3:40 pm @



There is no "you guys". am not DEF CON. If
you noticed haven't said a freaking word.



      |know you were not DEFCON but you also
      know that this is crap and it's based on lies
      and the silence. When everyone that knows
      that is almost as bad as the fault
      accusations                         3:44 pm
                                                    nO
 don't even rin Villanes anvmoare And

@ Signal message                       © &




                                                                                       SE_000131
                                                                                       SE_000131
Case 2:23-cv-01932-BAT              Document 101    Filed 03/14/25   Page 191 of 388




59 Of      OM   ©               -          eA 87%
&            Neil"Grifter"@                     &       :



|don't even run Villages anymore. And
haven't for years. The statement was made
by DEF CON as an organization. was asked
                                      |




to act as a mediator for everything in the
beginning and told you pretty early on,
                    |




when it was clear nothing was going to stop,
that was going to back away and let you
     |




have at each other.

And that's what did.    |




     Yep you were defcon's mediator and I'm
     assuming that you spoke to this group of
     people with their accusations and know
     exactly what those accusations are and
     know that they have absolutely nothing to
     do with defcon                     3:46 pm ©



It's super shitty.absolutely agree. And
                            |               |




think that maybe more context would've
been good to stop the rumor mill from
running wild. But it's not my decision and
never was.


     Jeff has not met with me even though he
     said he did, which is an utter lie. He is not
     responded to me no matter how many times
     I've asked to meet with him and he's not
     even responded to my lawyers who are now
     preparing a lawsuit for defamation and loss
     of business                                   7


                know this rest only on Jeff 3.47 pm ©


@ bigna message                           © 8       +



                                                                                       SE_000132
                                                                                       SE_000132
Case 2:23-cv-01932-BAT        Document 101           Filed 03/14/25   Page 192 of 388




9:59 ©                                           887%

                                       :




                   to seta      meet ngsbut
you guys  couldn't  match  up times that
worked so you said "don't worry about it
we're not coming back to DEF CON" or
something. I'm paraphrasing of course.



    He gave us times that were like 5:00 in the
    morning which was the middle of the night
    for Ryan. So yes, he gave me one time and
    we couldn't make it and then told him we'll
                                   I


    make it easy on him and we just won't come
    back to defcon. So you are right that was not
    licensed to then do what he did online. He
    could have just let it drop and we would
    have went on our ways and he would have
    got what he wanted and would have got
                              |




    what wanted
          |




    And there is no organization at defcon. It is
    just Jeff                              3:50 pm   @

It sucks, man. And    won't even try to
                          |




pretend  that  know
                  |  what   you're going
through.  But there were  a  lot of people that
came forward with accusations. You and       |




discussed it. You said "Was it this person, or
this person, or this person, or this person?"
And said "Chris, don't know any specific
     |                |




names and don't want to know, but if it was
              |




1 or 2 people that would be one thing. This

is over a dozen. You just volunteered
multiple names yourself so you know this is
an issue."




                                                                                        SE_000133
                                                                                        SE_000133
Case 2:23-cv-01932-BAT         Document 101      Filed 03/14/25   Page 193 of 388




9590                                     8A     86%


<           Neil "Grifter" ©          @s              :

Vo you recall (nat CONversalion /

It was only a couple days into us talking.
                                    3:54 pm




It also sucks because this never had to
happen. Maxie was willing to go separate
ways and not push this as far as it went, but
then you locked her out of her computer and
Ryan texted her saying "Good luck with all
your lies" or something. don't recall the
                         |




exact wording. And that was it. The gloves
came off.

She knew there were other people with their
own stories because she had seen them.

And once she started asking around more
and more stories came out.

And then it was too late. Even if she wanted
to walk away later, people were talking.

And they were going to BH and DC saying
"What are you going to do about this?"

They couldn't do nothing. 4:00 pm
                                                  V


@ Kignal message                    o: @

                                                                                    SE_000134
                                                                                    SE_000134
Case 2:23-cv-01932-BAT       Document 101         Filed 03/14/25   Page 194 of 388




10000 @h       O-                      GOA 886%




    Hahaha. That is a very twisted version of the
    truth bro but ok                   4:02 pm @



Twisted how?   -




    We locked Maxie out of a corporate machine
    because she would not delete data from
    federal government jobs. It was a legal for
    her to hold that data after she left the
    company. Any company. can't imagine any
                              |




    company that you have worked for would
    not have done the same thing. So saying we
    locked her out of her machine is a twisted
    version of the truth. So if she has other
    exemployees and have similar stories,
    you're damn right? There are other people
    who tried to steal things from us and we
    stop them. don't know how that constitutes
                   |




    anything to do with this community or with
    DEFCON or with you or with Jeff or anybody
                                        4:04 pm   @

Was it not her personal computer?

She did use it for work but she bought it with
her own money prior to working for you?



    It was not. She brought the computer to the

    company. She asked to use it as a corporate
    computer. We told her we had to own it and 7
    put our DLP software on it. Due to the
    ray t ngs Fro      a          ent    ants tact

@ Kignal message                    © &




                                                                                     SE_000135
                                                                                     SE_000135
Case 2:23-cv-01932-BAT       Document 101       Filed 03/14/25   Page 195 of 388




          M @ &)   -                   GOA 886%




    It was not. She brought the computer to the

    company. She asked to use it as a corporate
    computer. We told her we had to own it and
    put our DLP software on it. Due to the
    regulations from the government clients that
    we service. She agreed to that and it
    became SECOM property

    And again repeat. How is this any business
    of defcon?                        4:05pm @


t's not

But a fair number of the other stories were.



    And that's the problem. So she brought a
    legal business matter to you and to Jeff and
    you guys sided with her and then Jeff made
    a decision to publicly cancel me in a vague
    way through his" transparency reports....
    and none of those stories ever made it to
    me

    So Def con's due process is listen to
    accusers, decide for yourself and then ruin
    someone's business non-profit and personal
    life. That's awesome                4:06 pm @



That's not entirely accurate. shared
multiple accusations with you and you even
shared a few with me saying they were
things that would likely be brought up.


@ Signal message                   © &




                                                                                   SE_000136
                                                                                   SE_000136
Case 2:23-cv-01932-BAT                   Document 101              Filed 03/14/25   Page 196 of 388




10:00 © @ @            31                                    A 886%

                    Neil"Grifter"@                            &        :


|   feel like you're getting upset with me
personally


       Yes bad reviews non defcon. And Stephanie
       being unethical

       |am not upset with you personally. am just        |




       very confused. am over tired and am
                                |                    |




       extremely stressed                                4:08 pm   ©

 did nothing but try to talk to you about this
stuff and was never rude or accusatory
            |




toward you.


       If defcon truly had any transparency in their
       report, they can list the accusations without
       outing the quote-" victims           4:08 pm ©



|   have always considered you a friend.

Istilldo.       :




                                        Same here 4:09 pm ©


|
    agree with you          :




                                    get Jeff to fix it 4.09 pm ©


There should've been more transparency to                             8
                                                                    <




the transparency report.



@                   message                    © 8                 +



                                                                                                      SE_000137
                                                                                                      SE_000137
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10:00 © @   HO                           MA 886%

<               Neil"Grifter"@                    &         :



I've already talked to him about it several
times.                                   :




    And I'm sorry but it was personal because in
    the same report this the DC-414 group that
    got this banded had basically nothing but
    with mine. He called out my name and he
    said it was so serious and there was so
    many of them that there was no choice

    Well, if you can't get him to change then       |




    guess have no other option but a lawsuit of
            |




    defamation

    If there were any legitimate complaints they
    can get the law involved                 4:11 pm    ©

 said "He's getting dragged here. People are
assuming it's sexual or sexual harassment
related and it's not. DEF CON should clarify
that it's not."                          :




    |
     appreciate that but it is obvious he doesn't
    care                                 4:12 pm ©



|think he's confused as well. Have you
already mentioned a lawsuit to him?
Because if so then of course he's not going
to say anything and then just let lawyers
deal with it.


                                       No     |   havent


@ Signal message                     © &




                                                                                           SE_000138
                                                                                           SE_000138
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10019            31
                      QO                                4 886%

&   4.            Neil "Grifter" @                       &       :




Okay. Then hopefully he sees your email and
responds. I'll send him a message asking
him to.


                          At least they would prolly answer

                                     hope he listens to you

                                 I'm not hopeful 4.44 pm @



I'll always respond.

Im sorry that you feel ignored.             :




    Dude his can't . Jeff will but reply but he
                             |




    holds all the power

                                  He took one sided action

                                      With no due process

    And is ruining two businesses and my
    family

    My daughter had to witness seeing her dad
    get called a woman abuser a thief and a liar
                                                    4:16pm   ©

I'll talk to him again about clarifying the
message. don't hold the keys to the
             |




kingdom, but will try.|                         :   t



                                                              11
                                                              Vv
                                                        Thanks

® [fignal message                           © 8              +



                                                                                                SE_000139
                                                                                                SE_000139
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                         Exhibit 17
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   From:          Kevin Sugihara
   Sent:          9/2/2021 3:16:53 PM
   To:            Maxie Reynolds
   CC:            Villages [villages@defcon.org]
   Subject:       Re: Code of Conduct Violations




   Hi Maxie,


   Let me start by saying that we take situations such as you described incredibly seriously. Our goal is to ensure
   DEF CON is a safe place for everyone, and want ensure we handle your concerns with the care and respect it
   deserves.


   That said, let me say that I've received this and I'll be working to find the right person for you to talk to.


   Hold tight and you should hear from someone shortly.


   Thanks,
   Kevin


   On Thu, Sep 2, 2021 at 3:07 PM Maxie Reynolds <                                    > wrote:
    Hello,


    I am contacting you about an individual that is heavily associated with DC and routinely has village at the
    conference.


    Over the course of his career he has mistreated a number of individuals, including myself. Some of his actions
    have taken place while he employed some of these people and some after employees left. Some of the actions
    he has taken have been quite egregious — one person sought therapy, as an example, whilst another won an
    harassment case against him.


    I have a list of 15 people all willing to come forward and tell their stories. However, they are not willing to do
    it in writing, at least not without talking to the DC powers that be first.


    Do you think it’s possible to set up a video call with all willing participants so that you can hear these
    grievances so people don’t have to (at least initially) put in writing what they have experienced. To note, most
    people have expressed to me that they fear his retaliation if there emails were shown to him.



    Regards,
    Maxie Reynolds




                                                                                                 Maxie
                                                                                                 Maxie Reynolds
                                                                                                       Reynolds
                                                                                                   9/27/2024
                                                                                                   9/27/2024


                                                                                               Plaintiff
                                                                                               Plaintiff 22
                                                                                                         22
                                                                                                 Douglas Armstrong, RPR
                                                                                                 Douglas Armstrong, RPR




Confidential                                                                                                 DEFCCN00000160
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                      1 Robert J. Cassity (9779)
                        Erica C. Medley (13959)
                      2 HOLLAND & HART LLP

                      3
                        Phone:
                      4 Fax:
                        bcassity@hollandhart.com
                      5 ecmedley@hollandhart.com

                      6 David A. Perez (Pro Hac Vice)
                        PERKINS COIE LLP
                      7

                      8 Phone:
                        Fax:
                      9 dperez@perkinscoie.com

                     10 Matthew J. Mertens (Pro Hac Vice)
                        PERKINS COIE LLP
                     11

                     12 Phone:
                        Fax
                     13 mmertens@perkinscoie.com
HOLLAND & HART LLP




                     14 Attorneys for Defendants
                        Jeff Moss and DEF CON Communications, Inc.
                     15
                                                     UNITED STATES DISTRICT COURT
                     16
                                                           DISTRICT OF NEVADA
                     17
                        CHRISTOPHER J. HADNAGY, an individual; Case No.: 2:23-cv-01345-CDS-BNW
                     18 and SOCIAL-ENGINEER, LLC, a
                        Pennsylvania limited liability company,
                     19                                              INITIAL RULE 26 DISCLOSURES OF
                                              Plaintiffs,            DEFENDANTS JEFF MOSS AND DEF
                     20                                              CON COMMUNICATIONS, INC.
                        v.
                     21
                        JEFF MOSS, an individual; DEF CON
                     22 COMMUNICATIONS, INC., a Washington
                        corporation; and DOES 1-10; and ROE
                     23 ENTITIES 1-10, inclusive,

                     24                        Defendants.
                     25          Defendants Jeff Moss and Def Con Communications, Inc. (“Def Con,” and collectively,

                     26 “Defendants”) submit the following initial disclosure statement in accordance with Federal Rule

                     27 of Civil Procedure 26(a)(1). This statement is submitted without the benefit of complete discovery

                     28 or having yet received an initial disclosure statement from Plaintiffs Chris Hadnagy and Social-

                                                                          1
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                      1 Engineer, LLC (“S-E LLC,” and collectively “Plaintiffs”). Accordingly, Defendants reserve the

                      2 right to disclose additional information or otherwise supplement these disclosures under Federal

                      3 Rule 26(e)(1) following discovery in this action and/or receipt of Plaintiffs’ initial disclosure

                      4 statement.

                      5           These initial disclosures are submitted to comply with Rule 26(a)(1) of the Federal Rules
                      6 of Civil Procedure. They are made without waiver of Defendants’ arguments in their Motion to

                      7 Dismiss, including their arguments regarding the lack of personal jurisdiction over them in the

                      8 District of Nevada.

                      9 I.        Fed. R. Civ. P. 26(a)(1)(A)(i) - Individuals likely to have discoverable information.
                     10           Discovery has just begun, and Defendants’ investigation continues. Defendants reserve
                     11 the right to supplement this category as new and/or additional information comes to light.

                     12 Defendants also disclose and reserve the right to call as witnesses any and all individuals disclosed

                     13 or identified by any party to this action; rebuttal witnesses; and witnesses necessary to authenticate
HOLLAND & HART LLP




                     14 documents introduced as evidence at trial. Defendants preliminarily identify the following

                     15 individuals pursuant to Rule 26(a)(1)(A):

                     16           1.    Jeff Moss c/o Perkins Coie LLP (“Perkins Coie”).
                     17           Mr. Moss has discoverable information regarding his relationship with Mr. Hadnagy, Def
                     18 Con’s investigation of Mr. Hadnagy’s conduct, Def Con’s decision to ban Plaintiffs from future

                     19 Def Con conferences, and his factual and legal defenses to Plaintiffs’ claims. Mr. Moss can be

                     20 contacted telephonically through Perkins Coie at                      or                  and he can
                     21 receive mail through Perkins Coie at the following address: Attention: Matt Mertens,

                     22

                     23           2.    Melanie Ensign c/o Perkins Coie.
                     24           Ms. Ensign has discoverable information regarding Def Con’s decision to ban Plaintiffs
                     25 from future Def Con conferences and the development of the February 2022 statement that

                     26 allegedly defamed Plaintiffs. Ms. Ensign can be contacted telephonically through Perkins Coie at

                     27                   or                  and she can receive mail through Perkins Coie at the following
                     28 address: Attention: Matt Mertens,

                                                                            2
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                      1          3.    Neil Wyler.
                      2          Neil Wyler has discoverable information regarding his relationship with Mr. Hadnagy,
                      3 Def Con’s investigation of Mr. Hadnagy’s conduct, and Def Con’s decision to ban Plaintiffs from

                      4 future Def Con conferences. Mr. Wyler’s telephone number is

                      5          4.    Maxie Reynolds.
                      6          Maxie Reynolds has discoverable information regarding her relationship with Mr.
                      7 Hadnagy, her prior employment with S-E LLC, Mr. Hadnagy’s conduct toward her after she left

                      8 S-E LLC, and Def Con’s investigation of Mr. Hadnagy’s conduct.

                      9          5.    Christopher Hadnagy.
                     10          Mr. Hadnagy has discoverable information regarding his relationship with Def Con, his
                     11   conduct giving rise to Def Con’s investigation, and the facts and circumstances relating to
                     12   Plaintiffs’ factual allegations and claims asserted in this action and Defendants’ defenses.
                     13   Defendants believe Mr. Hadnagy can be contacted through counsel: Kristofer Z. Riklis, Esq.,
HOLLAND & HART LLP




                     14   RIKLIS LAW, PLLC,
                     15          6.    Unknown current and former employees of Plaintiffs.
                     16          These individuals are likely to have discoverable information regarding their relationships
                     17 with Mr. Hadnagy and Mr. Hadnagy’s conduct towards them in connection with Def Con’s

                     18 allegedly defamatory February 2022 statement banning Plaintiffs from future Def Con

                     19 conferences.

                     20 II.      Fed. R. Civ. P. 26(a)(1)(A)(ii) – Categories and locations of documents in
                     21          Defendants’ possession or control that they may use to support their claims or
                     22          defenses.
                     23          Under Rule 26(a)(1)(B), Defendants describe the following categories of documents in
                     24 their possession that support their defenses in this action. Disclosure of these documents does not

                     25 constitute an admission that such documents are admissible under the Federal Rules of Evidence

                     26 or discoverable within the meaning of Rule 26. Defendants reserve the right to object to the

                     27 production or admissibility of particular documents included within this disclosure on the basis of

                     28 all applicable privileges and legal doctrines. Discovery has just begun, and Defendants reserve the

                                                                          3
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                      1 right to supplement this category as new or additional documents come to light. The categories of

                      2 documents identified are in Defendants’ possession, custody, or control at Def Con’s offices in

                      3 Seattle, WA, or are stored on the cloud: (1) email correspondence; (2) project management files

                      4 related to the Def Con conference; (3) correspondence on ephemeral messaging applications such

                      5 as Signal.

                      6   III.   Fed. R. Civ. P. 26(a)(1)(A)(iii) – Damages.
                      7          Defendants have not yet filed a responsive pleading in this case. Defendants reserve their
                      8 right to supplement this disclosure with damage categorization and calculations pursuant to FRCP

                      9 26(e). Defendants reserve the right to petition the Court to award its attorneys’ fees and costs

                     10 incurred in this action.

                     11   IV.    Fed. R. Civ. P. 26(a)(1)(A)(iv) – Insurance Agreements.
                     12          Defendants are not aware of the existence of any insurance agreements pursuant to Rule
                     13 26(a)(1)(A)(iv). Should Defendants determine that any such insurance agreement exists,
HOLLAND & HART LLP




                     14 Defendants will supplement this disclosure accordingly.

                     15          DATED this 21st day of November 2023.
                                                                   HOLLAND & HART LLP
                     16

                     17                                               /s/ Robert J. Cassity
                                                                      Robert J. Cassity
                     18                                               Erica C. Medley
                     19

                     20                                               David A. Perez
                                                                      PERKINS COIE LLP
                     21

                     22
                                                                      Matthew J. Mertens
                     23                                               PERKINS COIE LLP
                     24

                     25                                               Attorneys for Defendants
                                                                      Jeff Moss and DEF CON Communications, Inc.
                     26

                     27

                     28

                                                                          4
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                      1                                   CERTIFICATE OF SERVICE
                      2           I hereby certify that on the 21st day of November, 2023, a true and correct copy of the

                      3   foregoing INITIAL RULE 26 DISCLOSURES OF DEFENDANTS JEFF MOSS AND DEF

                      4   CON COMMUNICATIONS, INC. was served by the following method(s):

                      5   ☒       Email: By e-mailing a true copy thereof to the following person(s) at the following e-mail
                                  addresses:
                      6
                          Kristofer Z. Riklis, Esq.
                      7   RIKLIS LAW, PLLC
                      8
                          Email: Kristofer@riklislaw.com
                      9
                          Attorneys for Plaintiffs
                     10   Christopher J. Hadnagy
                          and Social-Engineer, LLC
                     11
                                                                       /s/ Kristina R. Cole
                     12                                                An Employee of Holland & Hart LLP
                     13
HOLLAND & HART LLP




                          30936394_v1
                     14

                     15

                     16

                     17

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                                                                          5
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                      Jeff Moss
                      President of DEF CON Communications^ Inc.
                                                                                — ai


                               I

                       Jeff Moss (He/Him) 1st
                       President of DEF CON Communicaftions, Inc.

                                                       SEP 27, 2022

                             Jeff Moss (He/Him) - £55 PM

                             Hey Michele, I'd like to talk as a follow up on the Chris
                             thing. I’m on Signal at

                             Thank you!




CONFIDENTIAL                                                                                               FINCHER00000001
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                    <7          Jeff Moss @




                                    Jeff Moss >


                                    %



                                        Sep 27, 2022



                          Hola Jeff, this is Michele Fincher. Got
                          your message, what's up?            22:56 C0


                     Hey Michele, we are in the discovery
                     phase of figuring out who to talk to about
                     the Chris lawsuit. I was hoping we could
                     talk and you could possibly
                      Point us in the right direction?         22:58



                               Sure. When would you like to speak?
                                                                22:59 C0



                     Ideally it would be with Matt Mertens
                     from our legal team, that way you don't
                     have to repeat everything twice. We are
                     trying to sort who knows what do help
                     decide who we talk to next.             22 00

                     @    Signal message                 ©



CONFIDENTIAL                                                                       FINCHER00000002
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                    <7              Jeff Moss @


                      I'm on Singapore time so 1 2 hours
                     Opposite EST                      23:07


                          I don't mind speaking to Matt, but since I
                          don't know him, I'd prefer you be on the
                          call as well. Is that doable? I'm in WA.
                                                                   23:24 €0



                     Sure, totally makes sense.

                      He is in Portland

                     So my mornings are your evenings if that
                     Works?                              23:25


                                                         Sure. 23:25 €0


                     What days work well for you? 23:25


                            I will be on biz travel Oct 2-4, but can
                            accommodate just about any other
                            date.                                 23:27 €0


                     Ok let me ask Matt what works, he can
                      be super flexible.                       23:28


                                                  Sounds fine. 23:29 €0


                      I'm guessing it would be 5 or 6pm your
                     time                                      23:29




                     @ [signal message                  ©



CONFIDENTIAL                                                                       FINCHER00000003
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                    <7          Jeff Moss @


                                            Yep no problem 23:29 €0




                     Thank you! 23:29



                                        Oct 3, 2022



                      How is the evening of the 5th for you?
                                                            17:23



                                     Hi Jeff, should be fine. 17:24 C0


                     Ok thanks I'll get a time sorted out. Is 5
                     or 6pm better for you?                     17:56


                                      Either is fine, thanks. 18:01 C0



                                        Oct 4, 2022



                     Sorry for the switch up. There is a
                     schedule conflict now, can you do
                     Thursday 8:30pm Pacific Time?
                                                        16:57



                                                   lean, Jeff. 2O:15C0



                                        Oct 6, 2022



                     Ok the dial in info for the call in 1/2 hour


                     @    Signal message                 ©



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                    <7            Jeff Moss @

                     Ok the dial in info for the call in 1/2 hour
                      is:

                     +1-206-207-1700 19:59


                                                            Got it 19:59 G®


                     25962045847## 19:59



                                          Apr 2, 2024



                      Hey, Michele. I wanted to give you an
                     update on Chris Hadnagy's lawsuit
                     against DEF CON. Do you have
                     availability for a short call in the next
                     couple of weeks?                        17:19


                            Sure Jeff, I'm on PST, but other than that,
                            at your convenience.                     17:25 €0


                     Thank you! 17:26



                                          Apr 7, 2024



                     Hey would April 10th at 8PM Eastern/
                     8AM Singapore work for you?     17:07


                                                             Sure 19:06 €0

                                                             4

                                          Anr R 9094


                     @      Signal message                 ©



CONFIDENTIAL                                                                         FINCHER00000005
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                    <7          Jeff Moss @


                                        Apr 8, 2024



                     Whoops I got the date wrong. Sorry. How
                     does Friday the 1 2th work instead?
                                                                 01:33



                                                  I can do that. 06:27 €0



                                        Apr 12, 2024



                                    Jeff, are we still chatting today?
                                                                  17:06 €0



                      I'm sorry for the mix up!

                     Matts son had a hospital broken bone
                     emergency and I thought they contacted
                     you for reschedule. I should have
                     followed up.

                     Any times next week good for you?
                                                         20:11




                          Yep, it's the freedom of unemployment,
                          although I prefer afternoons.    21 :i 3 €0


                     Afternoons can work but I can't be on the
                     call until 4:30-5pm PT due to getting
                     daughter in school. I don't have to be
                     there for the update, whatever you want
                                                                 21:23




                     @ [signal message                   ©



CONFIDENTIAL                                                                         FINCHER00000006
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                    <7          Jeff Moss @


                                     5pm PT works just fine 21.37 C0



                                        Apr 15,2024



                     OK looks like they are available, I'm
                     getting dial in info for a call at 5pm
                                                         15:45




                                                    What date? 15:45 (32)


                     Today if that works? 70 min from now
                                                            15:51



                                                    Okie dokie 15:52 (32)




                      Matt Mertens is inviting you to a
                     scheduled Zoom meeting.
                     Join Zoom Meeting


                     One tap mobile: US:
                     ±12532050468,, 8258601 2208#,,,,*389285
                     44# or
                     +1 25321 58782„8258601 2208#„„*389285
                     44#


                      Meeting URL:
                      https://perkinscoie.zoom.usZi
                     /82586012208?pwd=
                      UkVwMkZkcWVHckdYSmZzMXRJSFZkQ


                     @     Signal message                ©



CONFIDENTIAL                                                                       FINCHER00000007
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                    <7           Jeff Moss @



                      Matt Mertens is inviting you to a
                     scheduled Zoom meeting.
                     Join Zoom Meeting


                     One tap mobile: US:
                     +12532050468„8258601 2208#,,, *389285
                     44# or
                     +1 25321 58782..8258601 2208#„„*3 89285
                     44#


                      Meeting URL:
                      https://perkinscoie.zoom.usZi
                     /82586012208?pwd=
                      UkVwMkZkcWVHckdYSmZzMXRJSFZkQ
                     T09


                      Meeting ID:   825 8601 2208
                      Passcode: 38928544
                     Join by Telephone
                      For higher quality, dial a number based on
                     your current location.
                      Dial:   +1 253 205 0468 US
                     +1 253 215 8782 US (Tacoma)
                     +1 346 248 7799 US (Houston)
                     +1 669 444 9171 US

                     +1 669 900 6833 US (San Jose)
                     +1 719 359 4580 US
                     +1 360 209 5623 US
                     +1 386 347 5053 US
                     +1 507 473 4847 US
                     +1 564 217 2000 US


                     @ [signal message                 ©



CONFIDENTIAL                                                                     FINCHER00000008
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                    <7                     Jeff Moss @
                         i   vz   i   x—    vj   z   z   wo   yk/invwywy




                     833 548 0276 US Toll-free
                     833 548 0282 US Toll-free
                     833 928 4608 US Toll-free
                     833 928 4609 US Toll-free
                     833 928 4610 US Toll-free
                     877 853 5247 US Toll-free
                      888 788 0099 US Toll-free
                      Meeting... Read More                                      15:54




                                                         Wed, Aug 7


                                  Hi Jeff. I just received a request from
                                  Frey Buck law firm in Washington.
                              Apparently they're representing Chris in
                              the lawsuit with Def Con. Am I required
                              to speak to these people? Should I
                              assume he knows I've been speaking to
                              yOU?                                                14:21 €0


                     Yes we did my deposition last
                     Wednesday and they asked about
                     everyone. I will let Matt Mertins know, I
                     think the plan is we defend your
                     deposition if it gets that far.      14:24




                              So I don't need to respond for the time
                              being?                             14:27 €0


                      Don't do anything you don't want to do,
                      but no rush, I'm waiting to hear what my
                      lawyers explain what is going on     14:32



                     @            Signal message                           ©



CONFIDENTIAL                                                                                        FINCHER00000009
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                    <7            Jeff Moss @


                            Ok, thanks. I’m not planning on a
                            response at this time since there's no
                            legal obligation.                  14:33 C©
                            k

                     Did you see the latest judges ruling from
                     about a week and a half ago?          14:36


                                                        I did not. 14:37 €0


                     Oh it's 4     14:38




                      I'm trying to find it Edited 14:42



                      pdf
                            ORDER_Denying_Pla...
                            194.1 kB


                     A good read                14:46




                            Ha ha holy shit, I especially like "futility
                            alone is enough to refuse amendment"
                                                                    15:06 €0



                      It made me smile! 15:O6


                            I'll let you know if I hear anything else.
                            Thanks, Jeff.                           15:12C0



                      Perkins says they will reach out to you.
                      Anvthinn wp mpssanp i.Q nntpntiallv


                     @ [signal message                     (6)



CONFIDENTIAL                                                                         FINCHER00000010
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                    <7             Jeff Moss @

                          alone is enough to retuse amendment"

                                                                    1 5:06 C0



                      It made me smile! 1 5:06


                          I'll let you know if I hear anything else.
                          Thanks, Jeff.                             i5:i2C©
                          4

                     Perkins says they will reach out to you.
                     Anything we message is potentially
                     discoverable.                       15:19
                                                                    4


                                          Tue, Aug 13



                     Just got this from my law firm:
                     "Hi Jeff, can you please confirm that
                                                       is the
                     correct email address for contacting
                      Michelle?"                                13:06



                                          Tue, Aug 20



                          Nope, it's                        Also, I
                          received an email from Lauren Trambley
                          at Perkins Cole. Legit?          13:O5C0


                     Yes, she is on our team. Thanks for
                     checking.                              13:06

                                                              4

                     @ [signal message                     ©



CONFIDENTIAL                                                                         FINCHER0000001 1
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                         Exhibit 20
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                                                  Perkins Coie LLP                   T. +1.206.359.8000
                                                  1201 Third Avenue                  F. +1.206.359.9000
                                                  Suite 4900                            perkinscoie.com
                                                  Seattle, WA 98101-3099




November 14, 2024                                                                        David A. Perez
                                                                               DPerez@perkinscoie.com
                                                                                    D. +1.206.359.6767
VIA EMAIL                                                                           F. +1.206.359.7767


Ted Buck
Mark Conrad
FREY BUCK
1200 5th Avenue, Suite 1900
Seattle, Washington 98101
tbuck@freybuck.com
mconrad@freybuck.com

Re:     Hadnagy et al. v. Def Con Communications Inc. et al., case no. 2:23-cv-01932-BAT |
        Michele Fincher’s Objections and Responses to Subpoena from Plaintiffs
        Christopher Hadnagy and Social-Engineer, LLC

Counsel:

       We represent Michele Fincher in connection with the documents subpoena (the
“Subpoena”) in the above-captioned litigation (“Litigation”) that Plaintiffs Christopher Hadnagy
and Social-Engineer, LLC (collectively, “Plaintiffs”) served on October 29, 2024. This letter sets
forth Ms. Fincher’s objections and responses to the Subpoena.

                                           Objections

         Ms. Fincher objects that the Subpoena is overbroad, unduly burdensome, vague and
ambiguous, and seeks information that is not relevant to any claim or defense in the Litigation,
nor proportional to the needs of the Litigation, and not within Ms. Fincher’s possession, custody,
or control. Ms. Fincher does not and will not agree to undertake an unduly burdensome search
for documents. Ms. Fincher will produce responsive, non-privileged documents that are within
her possession, custody, or control that is commensurate with Ms. Fincher’s non-party status and
that is proportional to the needs of the Litigation. Ms. Fincher’s general and specific objections
to the Subpoena are described below.

       Overbroad and Unduly Burdensome. Ms. Fincher objects to the Subpoena as overbroad
and imposing an undue burden on a non-party. See Fed. R. Civ. P. 45(d)(1) (“A party or an
attorney responsible for issuing and serving a subpoena must take reasonable steps to avoid
imposing undue burden or expense on a person subject to the subpoena”). For example, each
request of the Subpoena lacks a temporal scope. Given Ms. Fincher’s long history with Mr.
Hadnagy, her employment at Social-Engineer, and her involvement at conferences in the
industry, the lack of a temporal scope renders each request impermissibly overbroad and unduly
burdensome. Asking non-party Ms. Fincher to search for and produce materials spanning over a
decade is unreasonably overbroad and imposes an undue and heavy burden on a non-party.
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       Ms. Fincher further objects to the scope of requested information in the Subpoena is
unduly burdensome. The Subpoena contains 18 separate requests for documents. Additionally,
most of the requests are individually overbroad and unduly burdensome.

        Improperly Seeks Information Available from a Party to the Litigation. Ms. Fincher
objects to the Subpoena as unduly burdensome to the extent that it seeks documents, information,
or communications readily available from parties to the Litigation or public sources. For
example, Request No. 2 seeks “[a]ny documents or communications, including but not limited to
emails (with attachments), text messages, voicemails, social media posts or messages, notes,
drafts, or any other record otherwise memorialized with Jeff Moss, (aka “The Dark Tangent”),
related to Chris Hadnagy or Social-Engineer, LLC.” These documents can be (and have been)
obtained through the parties to the Litigation without posing any burden on non-party Ms.
Fincher.

       Duplicative. Ms. Fincher objects to each request in the Subpoena to the extent that they
are duplicative of other requests served on Ms. Fincher in this Litigation by other parties.
Specifically, Request Nos. 1–18 are duplicative of Request Nos. 1, 2, 4, 5, 6, 7, 10, and 11
contained in a subpoena served on Ms. Fincher by Defendant Def Con Communications, Inc., for
which she has already responded.

         Relevance. Ms. Fincher further objects to each request in the Subpoena to the extent that
it is not relevant to the Litigation. The requests seek all documents relating to Mr. Hadnagy or
Social-Engineer, with no temporal scope, or limitation to the claims or defenses at issue in the
Litigation.

        Not in Ms. Fincher’s Possession, Custody, or Control. Ms. Fincher objects to each
request in the Subpoena to the extent it seeks information that is not in her possession, custody,
or control; that is not known or reasonably available to Ms. Fincher; that is not ascertainable by
means of a reasonably diligent search; or that is no longer maintained or accessible by Ms.
Fincher.

        Privilege or Work Product. Ms. Fincher objects to each request in the Subpoena to the
extent it seeks information protected from disclosure by the attorney-client privilege, the work
product doctrine, or other applicable privileges or immunities. Specifically, Ms. Fincher objects
to Request No. 18 to the extent that it seeks communications with Perkins Coie that occurred
after Perkins Coie was retained in response to this Subpoena.

        Inaccessible ESI. Ms. Fincher objects to the Subpoena to the extent it seeks
electronically stored information and/or documents concerning electronically stored information
that are not reasonably accessible due to undue burden and/or cost in violation of Fed. R. Civ. P.
45(e)(1)(D). To the extent Ms. Fincher agrees to search for documents and subject to Fed. R.
Civ. P. 26(b)’s proportionality factors, Ms. Fincher will search document sources (including ESI
sources) that she reasonably believes hosts responsive documents.




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        Third-Party Information. Ms. Fincher objects to the extent the Subpoena requests third-
party confidential information without the consent of the third party.

                                           Responses

       Subject to and without waiving the foregoing objections, Ms. Fincher responds as
follows: Ms. Fincher will produce responsive, non-privileged documents that are identified after
a reasonable search and diligent inquiry for Request Nos. 2, 7, 9, 10, 13, 15, and 18. After a
reasonable search and diligent inquiry, Ms. Fincher does not have any responsive documents in
her possession, custody, or control for Request Nos. 1, 3, 4, 5, 6, 8, 11, 12, 14, 16, and 17,
because the documents either do not exist or are no longer in her possession, custody, or control.

                                 *              *               *

        Ms. Fincher reserves all rights to amend or supplement its objections to the Subpoena.
This letter and Ms. Fincher’s responses to the Subpoena are designated at “CONFIDENTIAL”
per the Protective Order in this Litigation. Please restrict accordingly.

Sincerely,



David A. Perez

cc:     Michele Fincher
        Jeff Moss
        Matt Mertens
        Jacob Dean
        Lauren Trambley




                 CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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                         Exhibit 21
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Cat Murdock                                                  October 24, 2024

                                                                        Page 1
                       UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WASHINGTON
      -------------------------------------------------------
                                   )
       CHRISTOPHER J. HADNAGY;     )
       SOCIAL-ENGINEER,            )
                                   )
                     Plaintiffs,   )
                                   )
          vs.                      ) No. 2:23-cv-01932-BAT
                                   )
       JEFF MOSS; and DEF CON      )
       COMMUNICATIONS, INC.,       )
                                   )
                     Defendants.   )
                                   )
      -------------------------------------------------------
          VIDEOTAPED VIDEOCONFERENCE DEPOSITION UPON ORAL
                            EXAMINATION

                                       OF

                                 CAT MURDOCK

      -------------------------------------------------------

                                   Via Zoom




      DATE:      October 24, 2024
      REPORTED REMOTELY BY:       Douglas Armstrong, RPR
                                  Washington CCR No. 3444



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Cat Murdock                                                     October 24, 2024

                                                                         Page 172
  1    pivots to Dr. Green.
  2           Q.    155 is still a screenshot of your
  3    communications with Chris Hadnagy on Teams?
  4           A.    Right.
  5           Q.    156 is another communication that you're
  6    having with Chris Hadnagy on Teams?
  7           A.    It's a continuation of the conversation we've
  8    been discussing.
  9           Q.    Sure.      Still conversations, communications
 10    that you're having with him on Teams?
 11           A.    Sure.
 12           Q.    157, it's a continuation of the
 13    communications that you're having with Chris Hadnagy on
 14    Teams, right?
 15           A.    Uh-huh.
 16           Q.    158, continuation of the conversation that
 17    you're having with Chris Hadnagy on Teams, right?
 18           A.    Uh-huh.
 19           Q.    159, continuation of the conversation that
 20    you're having with Chris Hadnagy on Teams, correct?
 21           A.    Yep.
 22           Q.    160, continuation of the conversation that
 23    you're having with Chris Hadnagy on Teams, correct?
 24           A.    Okay.
 25           Q.    161, continuation of the conversation that


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Cat Murdock                                                    October 24, 2024

                                                                        Page 173
  1    you're having with Chris Hadnagy on Teams, correct?
  2           A.    Sure.
  3           Q.    162, continuation of the conversation that
  4    you're having with Chris Hadnagy on Teams, correct?
  5           A.    Sure.
  6           Q.    163, continuation of the conversation that
  7    you're having with Chris Hadnagy and multiple other
  8    people on Teams?
  9           A.    Sure.
 10           Q.    You're screenshotting every page of this
 11    within this conversation that you're having and in
 12    order to document it, right?
 13           A.    Maybe.
 14           Q.    164, continuation of the conversation that
 15    you're having with Chris Hadnagy on Teams?
 16           A.    Yeah.
 17           Q.    You're screenshotting this and sending it to
 18    yourself?
 19           A.    No.     I think I just screenshotted it.
 20    Corporate communications are handled on personal
 21    devices.     There is no BYOB policy or BYOM, "bring your
 22    own mobile device."
 23           Q.    So this is something that you screenshotted
 24    on your mobile device?
 25           A.    Uh-huh.


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Cat Murdock                                                     October 24, 2024

                                                                         Page 217
  1    ended up participating in it?
  2                 ATTORNEY TRAMBLEY:         Object to form.
  3           A.    I don't know if I was the first person to
  4    reach out or not, but, like, Michele and I talked about
  5    it.
  6           Q.    (By Attorney Conrad) Michele Fincher?
  7           A.    Yep.
  8           Q.    And you talked about the -- you said there
  9    were about 20 people on the phone call; is that right?
 10           A.    That's what I remember, give or take.               I
 11    didn't count.
 12           Q.    Was Michele Fincher on the phone call?
 13           A.    Yes.
 14           Q.    Was Maxie Reynolds on the phone call?
 15           A.    Yes.
 16           Q.    Jess Levine.      You said you read a statement
 17    from Jess Levine?
 18           A.    Correct.
 19           Q.    Do you still have that statement?
 20           A.    I didn't see it.       I honestly have no idea.               I
 21    don't think so.         I'm pretty sure she sent it to me on
 22    Twitter, but I didn't see it when I searched.
 23           Q.    Was Alethe Denis on the phone call?
 24           A.    I genuinely do not remember.
 25           Q.    Anyone else that you remember that was on the


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Cat Murdock                                                     October 24, 2024

                                                                         Page 241
  1                            C E R T I F I C A T E
  2    UNITED STATES           )
                               )
  3    DISTRICT COURT          )
  4
                 I, a Reporter and Washington Certified Court
  5    Reporter, hereby certify that the foregoing videotaped
       videoconference deposition upon oral examination of
  6    Cat Murdock was taken stenographically before me on
       October 24, 2024, and transcribed under my direction;
  7
                 That the witness was duly sworn by me
  8    pursuant to RCW 5.28.010 to testify truthfully; that
       the transcript of the deposition is a full, true and
  9    correct transcript to the best of my ability; that I am
       neither attorney for nor a relative or employee of any
 10    of the parties to the action or any attorney or counsel
       employed by the parties hereto nor financially
 11    interested in its outcome.
 12              I further certify that in accordance with
       Washington Court Rule 30(e) the witness is given the
 13    opportunity to examine, read and sign the deposition
       within thirty days upon its completion and submission
 14    unless waiver of signature was indicated in the record.
 15              IN WITNESS WHEREOF, I have hereunto set my
       hand this 28th day of October, 2024.
 16
 17
 18                 Douglas Armstrong, RPR
 19
                    ____________________________________________
 20                 Washington Certified Court Reporter No. 3444
                    License expires 11/26/2025
 21
 22
 23
 24
 25


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                         Exhibit 22
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                                Cat Murdock ®                           3

                                           8 Oct 2022


                           Hey Cat it's Jeff Moss, sorry for the
                           late message, I got got your contact
                           info from Grifter. I hope that is OK.


                           We are at a point in the Chris Hadnagy
                           lawsuit where we are talking to people
                           with experiences that could help our
                           defense. Your name has come up a
                           few times and I'm hoping you would be
                           willing to talk with our legal team?
                                                                        12:26 CO


                                           9 Oct 2022



                     Heya, no worries on the time! We have
                    company this weekend so I'm a bit
                    distracted, but yeah I can probably be
                    convinced.                                     03:41


                              I appreciate that, thank you. So next
                              week then, whatever day works best
                              for you. I'm in Singapore so my
                              mornings are your evenings in the
                              States.                                   08:59 CO


                                           12 Oct 2022



                           Let me know what does work best ar 1
                           I'll make it happen.                         08:34



Confidential                                                                        DEFCCN00000251
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                           (flwl Cat Murdock ®                          3

                                           13 Oct 2022


                     Hey, so sorry. I got my booster and flu
                     shot and it leveled me.

                     Anytime tomorrow or next Monday
                     works for me                            00:55


                             I'm in Singapore so the time zones are
                             a bit confusing. Tomorrow for you is
                             Thursday?                                  06:30 c©


                     Yep! Today is Thursday

                     Just give me 2-3 times that work for
                     your lawyers and I'll sign up for one?
                     Lol

                     ill be honest I'm a little nervous just be
                     I know im not protected by your
                     lawyers                                       22:10



                                           14 Oct 2022



                             That's totally normal and what
                             everyone else we talk with feels. You
                             aren't alone and we can explain at the
                             beginning the conversation and you
                             can decide what you want to do.
                                                                        07:19 C?
                                                                               1



                     Sounds good        07:28


Confidential                                                                        DEFCCN00000252
               Case 2:23-cv-01932-BAT   Document 101    Filed 03/14/25   Page 232 of 388
                               Cat Murdock ®                             cn
                   Sounds good          o
                                            14 Oct 2022


                                I think your Monday will work best.
                                Can do between 5-7pm PST, the
                                earlier the better.                       07:51 c®


                    K. We can do 5 pst.         08:26



                                            Perfect thank you!           08:30 C®


                    I can do earlier too if it works

                    I'm in ct so earlier the better

                    But I get that at some point it's too
                   early for you lol                           08:31


                             Yeah I drop my daughter off at 07:30
                             so 08:00 is the earliest I can do.
                                                                         08:32 C®



                   Yeah no worries          08:32



                            I can do late my time but then it is too
                            early PST                                    08:33 c®


                    Mine will probably be joining us lol

                    5pt seems like the secret sauce. No
                                                                                 1
                   worries!                                     08:33


Confidential                                                                         DEFCCN00000253
               Case 2:23-cv-01932-BAT    Document 101   Filed 03/14/25    Page 233 of 388
                               Cat Murdock ®                             J

                                           14 Oct 2022

                            Totally. My daughter likes to say hello
                            to all my friends

                                                        Ok 5 it is!      08:33 €©



                                                          is a good
                    email if you need one for an invite
                                                                  08:34




                                           17 Oct 2022



                           Getting dial in info for the call in 15 min
                                                                          07:47 C©



                                   Whoops I'm a day early! 07:53 c©


                    HAHA I was just running to shower be I
                   was like "fuck. I really botched this."

                    I threw my husband the baby and was
                    like "Wellp. 3 minute shower."

                    Ok whew       07:56



                                                            Sorry!!      08:42 C©


                                           18 Oct 2022



                                        Here we go on the correct d' 1

Confidential                                                                          DEFCCN00000254
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                                Cat Murdock ®                            03
                                 +i 34b 24b //yy us (Houston)

                                 +1 71£ 18 Oct 2022
                            Read More                                    07:45 G0



                     Thanks! See you in 10        07:48




                      JP      Jenn Pikus



                                    Add to Contacts




                      EO      Erin O'rourke



                                    Add to Contacts


                     Not sure if those are still their numbers
                                                                    19:06



                                                       Thank you!         19:15 GO


                     Oh yeah. He once threw cell phones at
                     me. I forgot about that.


                     He also berated his wife for cleaning
                     the house (in front of multiple team
                     members. She cried.) which caused
                     him to lose a laptop that had a badge
                     printer driver on it (because clearly                       1

                     you're a technical wizard if you can't
                     find a printer driver online...). I

Confidential                                                                          DEFCCN00000255
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                    CM      Cat Murdock ®                                    3
                                                                ..x   jr




                                          18 Oct 2022

               Oh yeah. He once threw cell phones at
               me. I forgot about that.


               He also berated his wife for cleaning
               the house (in front of multiple team
               members. She cried.) which caused
               him to lose a laptop that had a badge
               printer driver on it (because clearly
               you're a technical wizard if you can't
               find a printer driver online...). I
               suggested some places to check and
               be swore the male employee last in
               charge of the computer would never
               have put it there. I checked anyway.
               The laptop was there. He was
               grudgingly like "I guess I have to get
               mad at cthe male employee> now."

               I went through a lot of my
               decompression notes when my
               husband was like "you have definitely
               blacked out some of the more
               egregious stuff" lololol

Confidential                                                                           DEFCQN00000256
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                                Cat Murdock ®                                DJ
                                        n   i _ i _ i _ i
                    egregious stuff
                                            18 Oct 2022

                    He physically threw the cell phones at
                    me because he wanted to assign the
                    available iPhones to women and
                    android phones to men because "all
                    women use iPhones." I said maybe we
                    shouldn't have such binary thinking
                    which resulted in the throwing.

                    Some of this is hilarious in its f'd'ness


                     Cat Murdock
                     Oh yeah. He once threw cell phones at
                     me. I forgot about that. ...

                    I was like "why do we need to get mad
                    at anyone for just making a mistake?"
                                                                         19:19




                                                        What a mess.         19:2o c®


                    Yeah. It's

                    https://twitter.com/cygcygnus


                    This is the lovely human I accidentally
                                                                                     1
                    got fired                                           19:22


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                 CM      Cat Murdock ®


                                         Wed, Apr 3

                       Hey, Cat. I wanted to give you an
                       update on Chris Hadnagy's lawsuit
                       against DEF CON. Do you have
                       availability for a short call in the next
                       couple of weeks?                                       08:20 c©


                                           Fri, Apr 5



          Oh boi, lol. I saw your Reddit post but
          somehow totally missed this text. So
          sorry!

          I can make time tomorrow; I think any
          time except for 1-4 CT, or next week
          any day but Monday with varying
          degrees of availability. What works for
          YOU?                                                           10:43


                        Let me check, next week would be
                        best. Thanks for seeing this!                          16:52


Confidential                                                                        DEFCCN00000258
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                                                   Cat Murdock ®                                                              Di

                                                                                   Tue, Apr 9


                   <               Lauren Trambley




                                 (T) No groups in common. Review
                                         requests carefully.


                                              Safety Tips




                                            New Messages




                       Hi Cat, I hope you're doing well. My name
                       is Lauren Trambley and I'm an attorney at

                       Perkins Coie, representing Jeff Moss and
                       Def Con in the lawsuit filed by Chris

                       Hadnagy. I know Jeff reached out to you,
                       we'd like to schedule a call to give a brief
                       update on the case. Are you available
                       during any of the following times:
                       Wednesday, April 10th between 4:00 p,m.
                       and 6:00 p.m. PDT, Tuesday, April 16
                       between 4:00 p.m. and 6:00 p.m. PDT, or
                       Wednesday, April 17 between 3:00 p.m.
                       and 5:00 p.m. PDT? Please let us know
                       your availability. Thanks!                     10m




                       Let Unknown message you and share your name and
                        photo with them? They won't know you've seen their
                                     message until you accept.



                           Block              Report..,              Accept




                       Heya, is this legit?
                                       B                                                               &               Q.
                                                                                                      mute         search




                                                                                              Disappearing Messages           Off >


                                       E                                               @      Chat Color & Wallpaper              >

                                             Tap to Scan
                                                                                       <]})   Sounds & Notifications              >


                               23178 66784 82447 22121
                                                                                       (J)    View Safety Number                  >
                               39200 87496 26901 29330
                               07396 47624 98348 69321

                                                                                      No Groups in Common



                         To verify end-to-end encryption with Lauren Trambley,
                                                                                        +      Add to a Group

                       compare the numbers above with their device. You can also
                                                                                                                            08:02
                               scan the code on their device. Learn More




                                         Yes, that's our law firm, looks like they
                                         sent you direct instead of going
                                         through me due to time zone issues.                                                            1

                                                                                                                                08:3-


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                           CM. Cat Murdock ®                                  3
                                                                              08:33 C©
                                               Tue, Apr 9


                    That's fine. Obviously Im leery Lolol
                                                                   08:43



                             The unknown can be stressful, thank
                             you for doing this.                              08:45 C©



                    Yeah. "Update" gives hopeful vibes
                    but I'm skeptical lol                           08:46



                                               Thu, Aug 8



                         ® Your safety number with Cat Murdock has
                                                changed.


                                               Learn More




                           Lauren English 5 21PM

                           to cat@murdock.org, Mark, Amber




                    Good afternoon Ms. Murdock,




                    My name is Lauren English, I am a paralegal with Frey
                    Buck in Seattle, WA. Copied on this email is Mark
                    Conrad attorney with Frey Buck. Mr. Conrad currently
                    represents Christopher Hadnagy in the case of
                    Christopher Hadnagy; Social-Engineer, LLC v Jeff
                    Moss; Def Con Communications, Inc.


                                                                                     1

                    Mr. Conrad and I would like to set up a time with you
                    to discuss your previous role at Social-Engineer, and
                    vour interactions/relationshio with Mr. Hadnaav. We


Confidential                                                                              DEFCCN00000260
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                               Cat Murdock ®                              o>

                                            Thu, Aug 8

                   Mr. Conrad and I would like to set up a time with you
                   to discuss your previous role at Social-Engineer, and
                   your interactions/relationship with Mr. Hadnagy. We
                   are flexible with regards to the conversation occurring


                   The man is nothing if not predictable;
                   the zombie of Hadnagy arises on
                   DefCon eve                                       08:29



                              I'll let our legal team know, they will
                             reach out to you. You don't have to
                             respond unless subpoenaed                     08:31 cq


                   Just wanted to loop you in if it's of any
                   help. I plan on ignoring and having my
                   8/8 DefCon baby tomorrow Lolol.


                   Hope you have an amazing weekend,
                   despite jackasses who gon' jackass.
                   Sad to not be in Vegas with everyone!

                   Correct O8:31


                              Did you read the last ruling from the
                              judge two weeks ago?                         08:32 c©


                   Yeah. "Why did you bitch about this
                   and then totally not do your
                   homework"                                                       1



Confidential                                                                           DEFCCN00000261
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                        MMI Cat Murdock ®                                          03
                    i       ykjci   i lavu   qi i   qi i iqz-ii ly   vvcjtjrxj^i ivi,



                    despite jackasse Thu, Aug 8 jackass.
                    Sad to not be in Vegas with everyone!

                    Correct 08:31


                              Did you read the last ruling from the
                              judge two weeks ago?                                      08:32 c©


                    Yeah. "Why did you bitch about this
                    and then totally not do your
                    homework"

                    My nosey side def wanted to know
                    what happened in that 7/31 meeting
                                                                           08:33



                             Unfortunately whatever we message
                             could be discoverable                                      08:33


                    lol yeah my nosey side is patient these
                    days. She's super mature now
                                                                                08:35



                             That's wonderful! More girls! 08:40 C0



                                             New Messages




                    I mean she'll totally take a black badge
                    as a "hello world" H                                        08:43



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                         Exhibit 23
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Alethe Denis                                                 September 24, 2024

                                                                         Page 1
                       UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WASHINGTON
      -------------------------------------------------------
                                   )
       CHRISTOPHER J. HADNAGY;     )
       SOCIAL-ENGINEER,            )
                                   )
                     Plaintiffs,   )
                                   )
          vs.                      ) No. 2:23-cv-01932-BAT
                                   )
       JEFF MOSS; and DEF CON      )
       COMMUNICATIONS, INC.,       )
                                   )
                     Defendants.   )
                                   )
      -------------------------------------------------------
          VIDEOTAPED VIDEOCONFERENCE DEPOSITION UPON ORAL
                            EXAMINATION

                                       OF

                                 ALETHE DENIS

      -------------------------------------------------------

                      Turlock, California (Via Zoom)




      DATE:      September 24, 2024
      REPORTED REMOTELY BY:       Douglas Armstrong, RPR
                                  Washington CCR No. 3444



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                                                                          Page 25
  1    understanding of what Ms. Murdock's allegations were
  2    against Mr. Hadnagy that she was bringing to Def Con?
  3          A.     No.    And Ms. Murdock and I have never
  4    discussed those.
  5          Q.     You testified -- and I don't intend to
  6    mischaracterize your testimony; tell me if I'm getting
  7    this wrong -- that any instance of negative behavior
  8    that others had described to you about --
  9          A.     Uh-huh.
 10          Q.     -- Mr. Hadnagy was secondhand or thirdhand
 11    and something that you had not personally seen or
 12    witnessed.
 13                 Is that a fair summation of your testimony?
 14                 ATTORNEY CONRAD:      Objection.       Form.
 15          A.     Yes.   That is accurate, and let me clarify.
 16                 Ms. Murdock and I have discussed her
 17    experiences as an employee, former employee of
 18    Chris Hadnagy's.        She has shared with me her
 19    perspective on her employment, and she's advised me to
 20    tread carefully if I were ever offered a job by
 21    Mr. Hadnagy, based on her experience.
 22                 However, she has never told me that she has
 23    brought her own claims to Def Con.             In fact, she told
 24    me that she was not a party to this and that she had
 25    more important matters to attend to in her own life and


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  1    that she was not a party to this at all and, at one
  2    point, completely misled me to believe that she was not
  3    engaged with this action at all.            And at that point,
  4    she and I -- that dishonesty impacted our friendship.
  5          Q.     (By Attorney Mertens) When you testified,
  6    Ms. Denis, that she misled you about her involvement
  7    with approaching Def Con, can you elaborate on that,
  8    please?
  9          A.     Yes.   Cat and I became very friendly with
 10    each other when she was still employed by
 11    Chris Hadnagy.      Between the time that I first competed
 12    and the time that I competed in 2019, she and I became
 13    great friends.      And we talked about a variety of
 14    things, but I mostly talked to her about dogs, kids.
 15    She was having her first child.
 16                 And I approached her for some advice about
 17    open-source intelligence gathering when I was competing
 18    in the first competition.         And so, when it came time
 19    for me to compete in the second competition, I
 20    approached her again asking if she would be at the
 21    conference because I wanted to meet up with her again
 22    and see her and say hello and again for advice on how
 23    best to strategize my plan for competing a second time.
 24                 And at that point, she let me know she had
 25    left her employ -- employment with Chris and that she


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                                                                         Page 138
  1    gain access to buildings and other secure or
  2    employee-only areas of client buildings.
  3                 They also offer training for individuals who
  4    would like to perform the same types of services,
  5    whether they go on to work for Social-Engineer or on a
  6    red team or other team within a company doing similar
  7    job tasks, using social engineering skills in the
  8    context of their own job or job responsibilities in a
  9    completely different industry.           Sometimes people will
 10    go and do certifications through Social-Engineer
 11    because they want to be better executives, but,
 12    ultimately, they are learning social engineering skills
 13    through Social-Engineer, which offers certification in
 14    social engineering skills.
 15          Q.     And you've mentioned the Innocent Lives
 16    Foundations.      Can you tell me a little bit about what
 17    the foundation's goals are and what they do?
 18          A.     Yes.   The Innocent Lives Foundation is a
 19    nonprofit that was founded by Chris Hadnagy with the
 20    intent to unmask or reveal the identities of online
 21    predators who target children on the internet and
 22    exploit them in a number of very disgusting ways.                   And
 23    whether that be cases that are referred to the Innocent
 24    Lives Foundation by victims or through other means,
 25    those cases, once the Innocent Lives Foundation has


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  1    enough evidence, are collected and referred to law
  2    enforcement, who then pursues any resulting legal
  3    action or law enforcement-type activities that come as
  4    a result of whatever activity that predator or online
  5    predator is perpetrating.         It is a group that merely
  6    hopes to source enough information to build the case
  7    rather than take any action as a result of that
  8    collected information.
  9          Q.     And you mentioned that after the Def Con
 10    transparency report was published, that there were
 11    attacks on the Innocent Lives Foundation; is that
 12    accurate?
 13          A.     Yes.   That is correct.
 14          Q.     And can you describe to me what you mean by
 15    attacks on the Innocent Lives Foundation?
 16          A.     The way that the Def Con transparency report
 17    was phrased, it was extremely vague.             It stated only
 18    that Chris had been banned from Def Con for violating
 19    the code of conduct.        The code of conduct for the
 20    conference, Def Con, at large is also quite vague.                   It
 21    basically says that you can't harass other people.                   I
 22    mean, that's kind of it at the core.
 23                 And so from this, of course, people in the
 24    community were trying to determine what the crime that
 25    Chris must have committed in order to be banned from


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                                                                         Page 140
  1    the conference must have been.           And they were
  2    attempting to pull from past banned conference
  3    participants to then extrapolate what Chris must have
  4    done to merit a ban because it typically takes a very
  5    egregious act for someone to be banned from Def Con.
  6                 This conference, while -- while it has
  7    changed a lot over the last 32, nearly 33 years, it has
  8    a pretty colorful past.         And so for people to be banned
  9    from this conference in the past, they have perpetrated
 10    some pretty hideous crimes against other conference
 11    participants, one such person being Captain Crunch.
 12    That was his handle, and he had sexually assaulted
 13    women for years.
 14                 And so when the ban was announced, people
 15    were making all sorts of guesses as to what Chris must
 16    have done; hence, the messages that I was receiving and
 17    had mentioned previously where people were assuming
 18    that he had done awful things to me and other people.
 19                 And so at this time, people were claiming
 20    that he had done awful things like collect money for
 21    the Innocent Lives Foundation, but use it for himself
 22    certainly.     They were asserting that perhaps he had
 23    used the Innocent Lives Foundation to cover up the fact
 24    that he, himself, was an online predator, and he preyed
 25    upon children.      They had made claims that the Innocent


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                                                                          Page 141
  1    Lives Foundation was just a cover for all sorts of
  2    nefarious things and were trying to label Chris with a
  3    myriad of potential terrible things.
  4                 And so, at the time, they were attacking the
  5    Innocent Lives Foundation by essentially saying that it
  6    was a front for either collection of money that was
  7    being misappropriated or a mask for Chris to use to
  8    hide the fact that he was a terrible person, and this
  9    was just a cover story.
 10                 ATTORNEY MERTENS:         Object to that response as
 11    nonresponsive.
 12          Q.     (By Attorney Conrad) It sounds like you were
 13    contacted by multiple people who had this impression
 14    from the transparency report; is that true?
 15                 ATTORNEY MERTENS:         Object to form.
 16          A.     I was contacted by a bunch of people who,
 17    from the announcement and the transparency report that
 18    Chris had been banned, wanted to know what Chris had
 19    done to me specifically because they made the
 20    assumption that I was a victim in whatever matter was
 21    being referred to as a code of conduct violation
 22    perpetrated by Chris that resulted in his being banned.
 23                 I also read many comments made publicly on
 24    Twitter and across social media claiming that Chris
 25    must have perpetrated a variety of awful crimes as


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                                                                          Page 142
  1    people made guesses as to what could have been the code
  2    of conduct violation or violations that resulted in
  3    Chris being banned.
  4          Q.     (By Attorney Conrad) and you mentioned, also,
  5    that you had taken screenshots from some of the attacks
  6    on ILF; is that right?
  7                 ATTORNEY MERTENS:         Object to form.
  8          A.     Yes.   I likely have a great deal, a lot of
  9    screenshots from around that time.              Some of those
 10    likely contain items from that time frame where I was
 11    capturing what people were saying about the Innocent
 12    Lives Foundation and about Chris.
 13          Q.     (By Attorney Conrad) Do you believe you still
 14    have those?
 15          A.     Yes.   I believe I likely still have those.
 16          Q.     And given your work with Def Con and the
 17    conference over the years, it sounds like you're
 18    familiar with their code of conduct; is that right?
 19          A.     I am familiar with it, but couldn't recite it
 20    verbatim, no.
 21          Q.     I want to read to you a portion of the Def
 22    Con code of conduct.        It reads "We also respond to
 23    reports throughout the year and publish updates for the
 24    community about major incidents that occur between
 25    events.    Repeat offenders and those who commit more


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  1    top of my head, as previously shared, is Captain
  2    Crunch, and I don't know his real name until now.
  3          Q.     (By Attorney Conrad) And are you aware of who
  4    Jake Appelbaum is and why he was banned?
  5          A.     I am not.
  6          Q.     And what about Morgan Marquis-Boire?
  7          A.     I am not aware of who that was or why he was
  8    banned.
  9          Q.     Would it surprise you if all three of those
 10    individuals that were previously banned and named were
 11    also -- were involved in allegations of some type of
 12    sexual impropriety or assault or predatory sexual
 13    behavior?
 14          A.     It does not surprise me.
 15          Q.     Do you believe that given the fact that
 16    multiple individuals reached out to you and the effect
 17    on ILF --
 18                 ATTORNEY CONRAD:      Well, strike that.
 19          Q.     (By Attorney Conrad) Do you think given that
 20    Chris Hadnagy was named publicly in the information
 21    that Def Con provides about why they publicly name
 22    people and the people they previously publicly named,
 23    it was foreseeable that people who read that
 24    transparency report would interpret it to mean that
 25    Mr. Hadnagy had done something involving sexual


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                                                                          Page 145
  1    misconduct or sexual predatory behavior?
  2                 ATTORNEY MERTENS:         Object to form.
  3          A.     I believe not only was it a natural
  4    conclusion for people to come to, but that I have
  5    evidence that that's the conclusion that people came to
  6    from the messages that I received around that time
  7    frame.
  8          Q.     (By Attorney Conrad) And you saw that that
  9    impacted the Innocent Lives Foundation and the goal of
 10    protecting children from predators as well?
 11                 ATTORNEY MERTENS:         Object to form.
 12          A.     Yes, because I saw many volunteers remove
 13    themselves from the organization, which impacts the
 14    organization's ability to continue to function.                   And we
 15    saw a lot of negative messaging connected to the
 16    Innocent Lives Foundation, especially on Twitter,
 17    discouraging people from contributing money, and that
 18    impacted donations to the Innocent Lives Foundation
 19    significantly.
 20          Q.     (By Attorney Conrad) Did you ever witness the
 21    impact that it had on Chris Hadnagy after it was
 22    published?
 23          A.     I was witness to Chris' emotional and mental
 24    state following the announcement of the ban, and he
 25    shared with me in confidence how he was feeling during


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  1    included on their website.         Prior to that, she told me
  2    that she was simply helping someone else collect a list
  3    of names for people that may be willing to go to Def
  4    Con and file a complaint.
  5          Q.     I want to talk about Maxie Reynolds as well.
  6    You indicated that you believe Maxie Reynolds came to
  7    you in an attempt to try and manipulate you; is that
  8    right?
  9          A.     Yes.   That's correct.
 10          Q.     She did that through trying to offer you this
 11    opportunity to work on a television show?
 12          A.     Yes.
 13          Q.     And you-all were not friendly with each other
 14    prior to her approaching you in that fashion?
 15          A.     Correct.     Prior to that, while she was
 16    working for Chris, I had appeared on -- I believe it
 17    was an Instagram live stream or an Instagram live in
 18    support of Social-Engineer as a guest, like a podcast
 19    guest, but it was Instagram live.            And Maxie had been
 20    the cohost with Chris as the main hosts.
 21                 And during their banter -- I am extremely
 22    sensitive to other people's perception of me and their
 23    treatment and their feelings towards me.                 That is why I
 24    do what I do because I can feel the temperature in the
 25    room change by a degree.         And while we were doing this


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                                                                         Page 198
  1    would find this message not funny.
  2          Q.     (By Attorney Mertens) You testified that
  3    Ms. Reynolds tried to manipulate you into joining a
  4    campaign she had against Mr. Hadnagy?
  5          A.     That's correct.
  6          Q.     You further testified that her attempts to
  7    manipulate you were unsuccessful, so she moved on to
  8    manipulating others into joining her campaign against
  9    Mr. Hadnagy?
 10          A.     That's true.
 11          Q.     You testified, also, that you don't know who
 12    any of those people are?
 13          A.     Def Con has been very protective of the names
 14    of the claimants.       Maxie Reynolds told me that she was
 15    involved, and Cat Murdock never told me she was
 16    involved.     No other people have stated to me that they
 17    have made claims.
 18          Q.     And are you unaware of the details of the
 19    allegations that have been leveled against Mr. Hadnagy?
 20          A.     That's correct.      I am unaware of any of the
 21    claims that have been made to Def Con outside of what
 22    was shared with me by Chris in the thread of messages,
 23    but I have no direct knowledge of what the claims were
 24    that were submitted to Def Con.           Def Con has not shared
 25    those with me.      The people who made the claims have not


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                                                                          Page 199
  1    shared those with me.
  2          Q.     You adopted your prior statements regarding
  3    Mr. Hadnagy in Plaintiff's Exhibit 1 in a lengthy
  4    direct message you sent to Grifter, aka Neil Wyler, in
  5    September of 2021.        In a relevant part, you said,
  6    "Chris may be a classic entrepreneur" -- and I'm
  7    skipping a couple things -- "but he has never made me
  8    feel uncomfortable, let alone said or done anything
  9    disrespectful to me, let alone abusive, harassing, or
 10    even distasteful."
 11                 And I want to ask you, Ms. Denis, are the
 12    comments that Mr. Hadnagy -- are you testifying that
 13    the comments that Mr. Hadnagy made about, among others,
 14    Ms. Maxwell, Ms. Reynolds, Rachel -- whose last name, I
 15    apologize I'm forgetting -- and the other women about
 16    whom Mr. Hadnagy commented, those comments were not
 17    disrespectful, abusive, harassing, or distasteful?
 18          A.     At the time that I made the statement, those
 19    comments had not been made.            Can we agree on that?
 20          Q.     Yes.
 21          A.     So at the time that I made the statement, I
 22    agree that I felt that way, and I agree that I still
 23    feel that he has never done anything towards me of that
 24    nature.
 25                 I would agree now that those comments


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                                                                          Page 200
  1    regarding those other people are in poor taste.                   I
  2    similarly agree that I made comments about those people
  3    in poor taste.      I also agree that I still don't like
  4    those people.
  5          Q.     Fair enough, Ms. Denis.
  6                 And are you aware of any personal benefit
  7    that has accrued to Ms. Reynolds from raising her
  8    concerns about Mr. Hadnagy's conduct to Def Con?
  9          A.     I have not talked to Maxie Reynolds since she
 10    and I agreed to allow bygones to be bygones; therefore,
 11    I am not aware of any positive outcomes that have
 12    resulted for her as a consequence of her bringing these
 13    claims to Def Con.
 14                 ATTORNEY MERTENS:         Two minutes, Mark.         That's
 15    all I need.
 16          Q.     (By Attorney Mertens) Are you aware that
 17    Ms. Reynolds is not even in the social engineering
 18    space anymore?
 19          A.     I am aware that Maxie Reynolds has appeared
 20    in Social Engineering Village at Def Con the past two
 21    years; however, I understand that Maxie Reynolds
 22    operates a business called Subsea Cloud or something of
 23    that nature, and they do data centers under water.
 24          Q.     Mr. Conrad asked you about your prep sessions
 25    with, among others, me.


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                                                                          Page 202
  1                            C E R T I F I C A T E
  2    UNITED STATES           )
                               )
  3    DISTRICT COURT          )
  4
  5                 I, a Reporter and Washington Certified Court
  6    Reporter, hereby certify that the foregoing videotaped
  7    videoconference deposition upon oral examination of
  8    Alethe Denis was taken stenographically before me on
  9    September 24, 2024, and transcribed under my direction;
 10                 That the witness was duly sworn by me
 11    pursuant to RCW 5.28.010 to testify truthfully; that
 12    the transcript of the deposition is a full, true and
 13    correct transcript to the best of my ability; that I am
 14    neither attorney for nor a relative or employee of any
 15    of the parties to the action or any attorney or counsel
 16    employed by the parties hereto nor financially
 17    interested in its outcome.
 18                 IN WITNESS WHEREOF, I have hereunto set my
 19    hand this 28th day of September, 2024.
 20
 21                 Douglas Armstrong, RPR
 22
                    ____________________________________________
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Jessica Levine                                               September 19, 2024

                                                                         Page 1
                       UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WASHINGTON
      -------------------------------------------------------
                                   )
       CHRISTOPHER J. HADNAGY;     )
       SOCIAL-ENGINEER,            )
                                   )
                     Plaintiffs,   )
                                   )
          vs.                      ) No. 2:23-cv-01932-BAT
                                   )
       JEFF MOSS; and DEF CON      )
       COMMUNICATIONS, INC.,       )
                                   )
                     Defendants.   )
                                   )
      -------------------------------------------------------
          VIDEOTAPED VIDEOCONFERENCE DEPOSITION UPON ORAL
                            EXAMINATION

                                       OF

                                JESSICA LEVINE

          ***CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER***

      -------------------------------------------------------

                       Round Rock, Texas (Via Zoom)




      DATE:      September 19, 2024
      REPORTED REMOTELY BY:       Douglas Armstrong, RPR
                                  Washington CCR No. 3444



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                                                                            Page 70
  1    What would you be looking at in order to make that
  2    determination?
  3          A.     I'm actually not sure that I even have the
  4    ability to check because it was through Signal.                    I --
  5    I'm not sure.        I would have to ask someone what day it
  6    was exactly.
  7          Q.     So how were you first contacted by Def Con?
  8          A.     So I, along with several others, contacted
  9    Def Con to let them know about our complaints of what
 10    was going on.        And when the lawsuit came about, the
 11    first lawsuit came about, I recall there was an
 12    intermediary, I guess, who got me in touch with one of
 13    the goons at Def Con.            And I spoke to them about it
 14    along with -- I don't know his actual, real name, but
 15    Grifter is his hacker name.             I don't know what his
 16    actual name is.         Sorry.
 17          Q.     Okay.      So it sounds like you were -- you
 18    first contacted Def Con; is that right?
 19          A.     I provided my statement to a group of other
 20    people that were making statements to present to Def
 21    Con, and, unfortunately, I was not able to verbally
 22    give it myself.         I had written it down in a Signal
 23    message, and it was read by one of the other women on
 24    the call because I was on an airplane.                So I suppose I
 25    could try and find that flight to see when that


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                                                                           Page 71
  1    happened.
  2          Q.     And do you still have the Signal messages?
  3          A.     I wish I did, but as soon as you get a new
  4    phone or anything, those messages are gone.                  Signal's
  5    not the best for retaining information.
  6          Q.     So do you have a Signal account?
  7          A.     I do.
  8          Q.     So when you have a new phone and you have the
  9    Signal app again, when you log in to your account, it
 10    doesn't have your old messages in there?
 11          A.     No.
 12          Q.     And who did you send the Signal message to?
 13          A.     There was a group chat started.               There were
 14    several people.         Are you asking for some of the names
 15    of the people in the group chat?
 16          Q.     Yes, please.
 17          A.     Maxie Reynolds, Cat Murdock, Allie.                I don't
 18    remember her last name.
 19          Q.     Any others?
 20          A.     Yes, but I don't know.          I don't remember.          I
 21    don't mean to be rude, but I don't remember their
 22    names.     Sorry.
 23          Q.     Do you have a ballpark idea of when you sent
 24    a Signal message to them with your statement?
 25          A.     I don't want to say because I don't know


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                                                                          Page 72
  1    exactly.     Not off the top of my head, no.              I would have
  2    to -- I would have to see if I could figure out when
  3    that flight was because that was -- I sent it, and then
  4    I got on the airplane.        And you can't use video calling
  5    while you're on an airplane, so I wasn't able to be a
  6    part of the call.
  7          Q.     And how did you -- how did it come that you
  8    were part of this group chat?
  9          A.     I actually don't remember exactly the
 10    specifics of that.        I believe I was talking to some
 11    people about when I was fired and how I had a bad
 12    experience, and other people were talking about bad
 13    experiences.      And they invited me to a Signal group
 14    chat, but I don't remember exactly the details of what
 15    message led up to that.         I'm sorry.      I don't remember
 16    exactly how it happened.
 17          Q.     So you don't remember who first reached out
 18    to you about being part of the group chat?
 19          A.     I don't think it happened as though someone
 20    was reaching out randomly to invite me to it.                  I think
 21    it was more we were talking.
 22                 And I don't remember if I was talking to
 23    Allie.     I think -- I think it -- well, I don't want
 24    to -- I don't want to say officially that I was talking
 25    to Allie because I don't remember if I was talking to


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Jessica Levine                                                 September 19, 2024

                                                                          Page 80
  1    Signal-messaged you, they provided a date and time that
  2    the phone call would take place?
  3          A.     No.     It was "It's happening now.           Do you want
  4    to be a part of it?"
  5          Q.     And so you had answered yes; is that right?
  6          A.     Yeah.
  7          Q.     And then received a Signal call at that
  8    moment and partook in a conversation with Grifter on
  9    the phone call and Jeff Moss on the phone call?
 10          A.     Yes, and others, but I don't know who else.
 11    I didn't recognize anyone else's -- there were other
 12    people.    I don't know who they were.
 13          Q.     And how long did this phone call take place?
 14          A.     I think I was only on it for maybe ten
 15    minutes.     I don't know how long they were on it, but I
 16    was on.    I introduced myself, I said what happened, and
 17    that was the end of the call for me.
 18          Q.     Were you ever asked to provide any further
 19    information supporting your story and experiences?
 20          A.     Yes.
 21          Q.     And tell me about that, then.
 22          A.     So I was asked to provide some proof,
 23    documents, and so yeah.
 24          Q.     And that was requested of you during this
 25    phone call as well?


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Jessica Levine                                                 September 19, 2024

                                                                         Page 106
  1    hotline number."        Just a really genuinely good person,
  2    and he gave me the little Barbie hacker sticker.                   That
  3    was our interaction.
  4          Q.     Got it.
  5                 And it sounds like at a certain point as
  6    well, obviously, you got in contact with attorneys from
  7    Perkins Coie, Mr. Mertens, as well; is that right?
  8          A.     Yes.   But I would have to look at the email
  9    to see when exactly that happened because I don't
 10    remember the exact date.
 11          Q.     And so was that first done through email?
 12          A.     Email.     I provided Jeff with my email through
 13    Signal.
 14          Q.     So did Jeff reach out to you and ask you for
 15    your email?
 16          A.     Uh-huh.     Yeah.
 17          Q.     And when did he do that?
 18          A.     Again, I don't remember the exact date.                It
 19    was this year.      I know I'm not very helpful with the
 20    dates.     I apologize.     And I don't still have the
 21    message because it was set to disappearing messages.
 22    So I don't remember.
 23          Q.     What do you mean, "set to disappearing
 24    messages"?     I don't have Signal, so --
 25          A.     Signal is a privacy-based message app.                It


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Jessica Levine                                                 September 19, 2024

                                                                         Page 107
  1    has a feature that you can set messages to disappear
  2    after an allotted amount of time.            You can pick 30
  3    seconds, a minute, five minutes, a day, a month, a
  4    week, et cetera, et cetera, onward.             And then the
  5    message, literally, it disappears.             It looks like
  6    there's no message there.         I mean, that's the thing
  7    that information security people/hackers like about
  8    Signal is that it has that feature.
  9          Q.     And when did Jeff first reach out to you?                 Do
 10    you know?     Like, it was this year that he first reached
 11    out to you about this lawsuit?
 12          A.     About this lawsuit, yes.
 13          Q.     Well, when did he first reach out to you
 14    about Christopher Hadnagy other than the phone calls
 15    that you had with him and already discussed?
 16          A.     Just the phone calls and then -- yeah.                I
 17    mean, Maxie had asked me if it came down to it, if I
 18    would talk to Jeff and his legal team, and I said yeah.
 19    And they didn't need me to.
 20                 And then, this year, Jeff sent me a message
 21    saying, "Would you be willing to?"             And I said yes, and
 22    I gave my email address, and here we are.
 23          Q.     So Maxie originally reached out to you and
 24    asked if she could share your information with
 25    Jeff Moss; is that right?


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Jessica Levine                                                 September 19, 2024

                                                                         Page 108
  1            A.     Initially, yes.
  2            Q.     And you said that was fine and provided your
  3    contact information?
  4            A.     I guess it was closer to, "Hey, Jess, would
  5    you like to join a group chat with Jeff and I?"                  And I
  6    said sure, and so she made a group chat with Jeff and
  7    I.
  8            Q.     And when was that?      When did that take place?
  9            A.     This year.   I don't recall, exactly, the
 10    date.        Earlier this year.
 11                   From there, Jeff and I moved to a private
 12    chat without Maxie, and he asked me for my information
 13    and if I wanted to participate.
 14            Q.     And you mentioned, obviously, the
 15    disappearing messages.
 16                   Were all your messages with Jeff disappearing
 17    messages?
 18            A.     I keep that on.    It's just something that
 19    I've always done.        So it may have been him.           It may
 20    have been me.        There's -- I don't know how to really
 21    tell if it was me that had it on or if he had it on or
 22    if we both had it on.        It just showed as on.
 23            Q.     So -- and I was going to ask about that
 24    function.
 25                   If you have it set to disappearing, does that


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Jessica Levine                                                  September 19, 2024

                                                                          Page 109
  1    make it disappear for everyone or just for you?
  2           A.    For everyone, yeah.
  3           Q.    So you had it set to disappearing, and so it
  4    would have -- well, do you have any of your
  5    communications anymore with Jeff Moss?
  6           A.    I do not.
  7           Q.    Do you have any of your communications
  8    anymore with Maxie Reynolds?
  9           A.    I don't.
 10           Q.    So all those communications that you've been
 11    having this year regarding this lawsuit between Maxie
 12    and Jeff Moss have been deleted?
 13                 ATTORNEY MERTENS:         Object to form.
 14           A.    I -- they have not been deleted.               "Deleted"
 15    implies that I actively went and removed them.                   I did
 16    not.
 17           Q.    (By Attorney Conrad) They don't exist
 18    anymore?
 19           A.    They no longer exist, but not because I have
 20    made them no longer exist, but because that's the
 21    function of the app.
 22           Q.    And how does that function get set?
 23           A.    You can either set it for that message that
 24    you're in, if you want something faster or longer, or
 25    you can set it in your general settings.                  And while I


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Jessica Levine                                                 September 19, 2024

                                                                         Page 184
  1    your concerns regarding the same?
  2          A.     Yes.
  3          Q.     Do you have --
  4          A.     Through Signal.
  5          Q.     Go ahead.     Through Signal?
  6          A.     Through Signal, disappearing messages because
  7    he didn't want his father to know.             And I honestly
  8    didn't want -- you know, if he wanted to be private, if
  9    he wanted to keep it private, then I wanted to respect
 10    his privacy and, you know, to talk about things in a
 11    private manner also.        So we used Signal and
 12    disappearing messages.
 13          Q.     So you don't have any record of that either?
 14          A.     No, I do not.
 15          Q.     And the tweet that you sent out that you
 16    believe resulted in you being fired, was that regarding
 17    your experiences at Social-Engineer?
 18          A.     No.
 19          Q.     So the tweet actually didn't have anything to
 20    do with Social-Engineer?
 21          A.     No, it didn't.      No.   It was part of my normal
 22    mental health tweeting, talking about information
 23    security.     And, again, I was involved in Mental Health
 24    Hackers.     That was -- well, trying to be involved in
 25    Mental Health Hackers.        That was something that I was


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Jessica Levine                                                  September 19, 2024

                                                                          Page 202
  1                            C E R T I F I C A T E
  2    UNITED STATES           )
                               )
  3    DISTRICT COURT          )
  4
                 I, a Reporter and Washington Certified Court
  5    Reporter, hereby certify that the foregoing videotaped
       videoconference deposition upon oral examination of
  6    Jessica Levine was taken stenographically before me on
       September 19, 2024, and transcribed under my direction;
  7
                 That the witness was duly sworn by me
  8    pursuant to RCW 5.28.010 to testify truthfully; that
       the transcript of the deposition is a full, true and
  9    correct transcript to the best of my ability; that I am
       neither attorney for nor a relative or employee of any
 10    of the parties to the action or any attorney or counsel
       employed by the parties hereto nor financially
 11    interested in its outcome.
 12              I further certify that in accordance with
       Washington Court Rule 30(e) the witness is given the
 13    opportunity to examine, read and sign the deposition
       within thirty days upon its completion and submission
 14    unless waiver of signature was indicated in the record.
 15              IN WITNESS WHEREOF, I have hereunto set my
       hand this 27th day of September, 2024.
 16
 17
 18                 Douglas Armstrong, RPR
 19
                    ____________________________________________
 20                 Washington Certified Court Reporter No. 3444
                    License expires 11/26/2024
 21
 22
 23
 24
 25


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                         Exhibit 25
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   Hadnagy, et al. v. Moss, et al.                           Samantha Gamble

                                                                      Page 1
                      THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
      ________________________________________________________
                                       )
      CHRISTOPHER J. HADNAGY, an       )
      individual; and SOCIAL-ENGINEER, )
      LLC, a Pennsylvania limited      )
      liability company,               )
                                       )
                          Plaintiffs, )
                v.                     ) No. 2:23-cv-01932-BAT
                                       )
      JEFF MOSS, an individual; DEF    )
      CON COMMUNICATIONS, INC., a      )
      Washington corporation; and DOES )
      1-10; and ROE ENTITIES 1-10,     )
      inclusive,                       )
                                       )
                          Defendants. )
      ________________________________________________________

               VIDEOTAPED DEPOSITION UPON ORAL EXAMINATION

                                       OF

                                 SAMANTHA GAMBLE

      ________________________________________________________

                      Witness located in Boise, Idaho
            (All participants appeared via videoconference.)




      DATE TAKEN:       January 15, 2025
      REPORTED BY:      Nicole A. Bulldis, RPR, FCRR, WA CCR 3384
                        AZ CR 50955 | CA CSR 14441 | OR CSR 24-0130


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     Hadnagy, et al. v. Moss, et al.                             Samantha Gamble

                                                                       Page 163
 1     quick for me, Lauren, so I don't have to go mark something

 2     and we can all get out here?           And I'll just --

 3                          MS. TRAMBLEY:     Yeah.

 4                          MR. CONRAD:     -- we'll use one exhibit for

 5     it.    Thank you.

 6                          MS. TRAMBLEY:     And just so you know, it's

 7     just the transparency report announcement.

 8                          MR. CONRAD:     Yeah.

 9                          MS. TRAMBLEY:     Okay.

10                          MR. CONRAD:     And this is Defendants'?

11                          MS. TRAMBLEY:     Exhibit 8.

12                          MR. CONRAD:     Exhibit 8.

13
14                             E X A M I N A T I O N

15     BY MR. CONRAD

16            Q.    Okay.     So, Ms. Gamble, you're looking at

17     Defendants' Exhibit 8, and the -- this is the DEF CON

18     transparency report that was posted on February 9, 2022,

19     and I want the walk through it really quickly with you.

20            A.    Okay.

21            Q.    It reads, "We received multiple code of conduct

22     violation reports about DEF CON Village leader,

23     Chris Hadnagy of the SE Village."

24                  Did I read that correctly?

25            A.    Yes.


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     Hadnagy, et al. v. Moss, et al.                             Samantha Gamble

                                                                       Page 164
 1            Q.    And the multiple code of conduct violation

 2     reports that DEF CON is indicating it received, none of

 3     those were code of conduct violation reports that you had

 4     made to DEF CON --

 5                        MS. TRAMBLEY:       Object to form.

 6            Q.   (By Mr. Conrad) -- by February 9, 2022; correct?

 7            A.    Correct.     Yeah.     No, none of those.    I was not a

 8     part of that whatsoever.          I was fervently on the side of

 9     Chris and the ILF.

10            Q.    And it says, "After conversations with the

11     reporting parties and Chris."           By February 9, 2022, you

12     had not had any conversations with DEF CON at that point;

13     right?

14            A.    I had not, no.

15            Q.    So the severity of the transgressions merits a

16     ban from DEF CON, that had nothing to do with anything

17     that you're testifying about today; right?

18                        MS. TRAMBLEY:       Object to form.

19                        THE DEPONENT:       No.

20            Q.   (By Mr. Conrad) Is that correct?

21            A.    I said no.     Yeah.     No, none of my experiences

22     had anything to do with DEF CON or DEF CON's report.

23            Q.    And the employees or ex-employees -- sorry,

24     strike that.

25                  The people that you know that were involved,


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     Hadnagy, et al. v. Moss, et al.                          Samantha Gamble

                                                                    Page 167
 1                            C E R T I F I C A T E

 2
 3     STATE OF WASHINGTON )
                           ) ss
 4     COUNTY OF CLARK     )

 5
 6               I, Nicole A. Bulldis, RPR, a Certified Court
       Reporter, do hereby certify under the laws of the State of
 7     Washington:

 8               That the foregoing videotaped deposition upon oral
       examination of Samantha Gamble was taken stenographically by
 9     me on January 15, 2025, and transcribed under my direction;

10               That the witness was duly sworn by me to testify
       truthfully, and that the transcript of the deposition is
11     full, true, and correct to the best of my ability;

12               That I am not a relative, employee, or counsel of
       any party to this action or relative or employee of such
13     counsel, and that I am not financially interested in the
       said action or the outcome thereof.
14               IN WITNESS WHEREOF, I have hereunto set my hand

15     this 28th day of January 2025.

16
17
18
19
20
21
22                        ______________________

23                        Nicole A. Bulldis, RPR

24                        WA CCR No. 3384

25


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                         Exhibit 26
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                DEF CON Conference Transparency Report                                                                            DEF
                                                                                                                                  OEF CON
                                                                                                                                      CON Sites
                                                                                                                                          Sites
                Since DEF CON 25, we have started to share a summary of incidents we are
                aware of that happened at the convention for a given year.

                My hope is that by doing this DEF CON will encourage other conventions to                          Forums          Groups          Media          InfoCon.org
                duplicate this reporting and share their data so collectivly we can shed some                                                      Server
                light on the challenge we face in creating more safe and inclusive events.
                                                                                                                                     The
                                                                                                                                     The Goods
                                                                                                                                         Goods
                - The Dark Tangent
                                                                                                                          SHOP.

                                                                                                                           ORG                              Knowledge

                Pre
                Pre DEF
                    DEF CON
                        CON 30
                            30                                                                                         Official Swag             Conference Recordings


                (Updates before DC 30) Transparency Report
                                                                                                                                    Past
                                                                                                                                    Past Media
                                                                                                                                         Media
                                                                                                                                                              r
                (2022 July 28)
                It has been a surreal and humbling experience to literally grow up with the
                community of hackers that developed over the last 30 years. It started with an                   Torrents Page          DEF CON             InfoCon.org
                inclusive call for hackers, lawyers, artists, feds, #hack, #phreak, basically                                          Media Server
                everyone interested, to attend the first, small, DEF CON. As I grew up IRL, so
                did the convention. I learned to accept some hard truths such as “You can’t
                please all people all of the time” and “Do what you can, when you can.” I
                have always tried to stay true to the core of DEF CON and the Hacker Ethos,
                even when change is not comfortable or convenient.

                In 2015, we introduced a formal Code of Conduct and in 2017, we began
                publishing post-event transparency reports with statistics about the incidents
                we are aware of. In 2018, we launched a hotline for attendees to
                anonymously report behavior violating our Code of Conduct or to connect
                with a trained and empathic ear. All of this has been a team effort made
                possible by incredibly smart, compassionate, and capable staff, volunteers,
                and community supporters.
https://defcon.org/html/links/dc-transparency.html
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               As we prepare to celebrate three decades of DEF CON, we’re constantly
               learning what it means to effectively support an evolving community with
               transparency and empathy. So today, we’re publishing details about our
               escalation process when we receive reports of Code of Conduct violations.


               What does DEF CON do with Code of Conduct
               violation reports?
               In the past, individual community members shouldered too much of the
               burden to protect each other using whatever means they could. We, the
               event organizers, must be better.

               Our code of conduct is simple: “We do not condone harassment against any
               participant, for any reason. Harassment includes deliberate intimidation and
               targeting individuals in a manner that makes them feel uncomfortable,
               unwelcome, or afraid.”

               To be clear, the term “harassment” encompasses any behavior that makes
               others feel uncomfortable or unsafe.

               When we receive a report of a Code of Conduct violation, our leadership
               team representing multiple functions and departments, conducts a review of
               the substance in consultation with our attorney as needed. This usually
               involves speaking with parties named in the report including potential
               witnesses, alleged offender(s), and victim(s).

               We then review all the evidence available to us through community reports,
               news media, and internal investigations to determine whether the allegations
               are substantiated. Most of the reports we receive are for minor violations that
               result in a warning, but severe allegations may require a referral to hotel
               security and/or law enforcement, especially if the report includes claims of
               criminal behavior.

               Please remember all DEF CON attendees are guests of both the conference
               and the hosting property, which has its own Code of Conduct and rules. The
               property will remove anyone that breaks their rules and will prevent you from
               attending the conference in the future.


               Does DEF CON publish report details?
               Our transparency report includes the number and category of incidents that
               are reported during the DEF CON conference each year. We also respond to
               reports through the year and publish updates for the community about major
               incidents that occur between events. Repeat offenders and those who
               commit more egregious offenses are permanently banned from our events. In
               the case of the most troubling offenses or those who we feel may represent
               an ongoing risk to the community, we take the extra step of naming them
               publicly. We believe we have an obligation to the community not to provide
               cover for these individuals to quietly find new and unsuspecting victims
               elsewhere. When we disclose this information, we do so to protect the DEF
               CON community, not to act as a public trial.

               If the report of harassment presents a risk of immediate or future retaliation,
               or at the request of the reporting individual, we will take measures to protect
               their identity and/or details of the accusations. We’ve adopted these
               safeguards based on recommendations from the National Network to End
               Domestic Violence and the Violence Against Women Office at the US
               Department of Justice.

               When affected individuals feel safe and comfortable doing so, they may
               approach alleged offenders about inappropriate behavior and ask them to
               stop. However, disparity in power or status, fear of retaliation, or the nature of

https://defcon.org/html/links/dc-transparency.html
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               the behavior may make direct confrontation difficult, and therefore there is no
               requirement for such action to be taken before DEF CON begins our
               investigation. In fact, retaliation is itself a violation of our Code of Conduct,
               which states:

               “We do not condone harassment against any participant, for any reason.
               Harassment includes deliberate intimidation and targeting individuals in a
               manner that makes them feel uncomfortable, unwelcome, or afraid.”

               As a private event and organization, we reserve the right to prioritize
               protecting the privacy of reporting individuals and victims of abusive behavior
               above other potential interests. Additionally, as private property, the hotel can
               trespass individuals permanently banned from DEF CON, creating a criminal
               and physical barrier between those individuals and the conference areas.

               Anyone can report harassment. If you are at DEF CON and are being
               harassed, notice that someone else is being harassed, or have any other
               concerns, you can let us know by contacting any Goon, registration desk, or
               info booth, as well as by calling or texting the hotline at 725-222-0934. As a
               reminder, you can also contact the hotline during the con if you just need
               someone supportive to talk to.

               You can also file a report year-round by contacting safety@defcon.org. We
               encourage individuals to report CoC violations as soon as they’re able to so
               we can begin our investigation before evidence is lost or destroyed, but it’s
               never too late to make a report.

               - The Dark Tangent




               Post
               Post DEF
                    DEF CON
                        CON 29
                            29
               (Updates between DC 29 and DC 30) Transparency Report

               (2022 Feb 9)

                1. We received multiple CoC violation reports about a DEF CON Village leader,
                   Chris Hadnagy of the SE Village. After conversations with the reporting
                   parties and Chris, we are confident the severity of the transgressions merits
                   a ban from DEF CON.

                2. We have also taken the rare action to disband the DEF CON Group
                   DCG414. Code of Conduct violations by the group's primary Point of Contact
                   and subsequent mishandling of the event left us without confidence in the
                   group’s leadership.




               DEF
               DEF CON
                   CON 29
                       23
               (2021 August 5-8) Transparency Report
               From our [closing ceremony] transparency report announcement:


               DEF CON 29 – Virtual
               Of 95,562+ total messages the moderation team deleted 127 (0.13%)
               We received 30 reports via “Report-a-violation feature.”

               Across the 34,321+ accounts on the DEF CON Discord, the moderation
               team:
               * Warned 45 users (0.05%)
               * Temporarily Muted 50 users (0.05%)
               * Kicked 7 users (0.02%)
               * Banned 6 users (0.017%)
https://defcon.org/html/links/dc-transparency.html
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                 DEF CON 29 - Physical
                 Medical & Health:
                 7 medical emergencies 4 requiring EMTs
                 4 mental health issues requiring specialist support
                 [we noticed a significant number of attendees struggling this year and asked
                 the community to have each others backs]

                 Menstrual Products
                 Now Provided in all convention area restrooms, regardless of gender.
                 Estimated 850+ of these were distributed

                 Policy & Conduct
                 1 lost passport
                 3 photo policy violations
                 3 suspicious packages
                 2 people removed for not masking
                 Approx 25 turned away for not being vaccinated
                 2 removed by security from Vaccination check



             x

                 DEF CON
                 OEF CON 27
                         27
                 Estimated number of people : 30k+
                 Announced at closing ceremonies August 11, 2019

                 # Description
                 6 Harassment
                 1 Sexual Assault
                 2 Theft/Loss
                 3 Bans/Trespasses
                 2 Falling Ceiling
                 2 Foiled Attacks on Casino
                 1 Biblical Grasshopper Plague
                 2 Warnings Issued to Our Staff
                 1 Staff Member Dismissed
                 5 Drunk and Disorderly
                 5 Photo Policy Complaints
                 1 Media Company Ejected
                 1 Hotel Safety-Security Issue
                 1 Failed Troll Attempt/ Self Own



                 Support Line Stats
                 Available each day of the conference rom 0800-0400
                 Completely anonymous
                 Trained community volunteers

                 # Description
                 29 Total Calls
                 12 Code of Conduct Reports
                 5 Referrals to Para-Professional Counseling
                 1 Legal Issue
                 1 Person Trapped Back of House




                 DEF CON
                 DEF CON 26
                         e6
                 Estimated number of people: 28,000+
                 Announced at closing ceremonies August 12th, 2018

https://defcon.org/html/links/dc-transparency.html
            Case 2:23-cv-01932-BAT                           Document 101                  Filed 03/14/25   Page 280 of 388




                # Description
                3 Harassment
                7 Sexual Harassment
                1 Sexual Assault

                7 Medical Incidents
                2 Theft
                3 Vandalism
                1 Tresspassing
                1 Falling Ceiling
                1 Badge Makers Exonerated
                1 Attacks On Casino Foiled
                1 Dust Storms / Flash Flood
                1 Other Event’s Attendees Claiming We Hacked Them
                1 Warnings Issued To Our Staff

               Support Line Stats
               Available each day of the conference from 08:00 to 04:00
               Completely anonymous
               Trained community volunteers

                # Description
                62 Total Calls
                42 General Information Calls
                3 Harassment Calls
                5 Sexual Harassment Calls
                1 Medical Help Calls
                1 Concern Over Drink Tampering




               DEF
                EF CON
                   CON 25
                       eS
               Estimated number of people: 25,000+
               Announced at closing ceremonies July 30th 2017

                # Description
                7 Harassment reports (Code of Conduct violations)
                including:
                2 People banned for life due to harassing women
                1 Person banned for life for harassing hotel staff
                1 Person fled before we could identify and ban them for
                harassing a woman

                9 Medical incidents leading to 4 hospital transports
                3 Thefts
                1 Vicious Dog report
                3 Adorable Dog reports
                3 Vandalism to DEF CON or hotel property
                2 Trespass on hotel property
                2 People un-banned for life by the hotel

               Notes:
               A DEF CON ban is a prohibition against a person or group from attending
               future conventions due to bad behavior. DEF CON conveys the information to
               the hotel and if a banned person returns they will be "trespassed" by hotel
               security and possibly prosecuted.

               A hotel ban is a ban instituted by the hotel for bad behavior against the hotel
               or its interests and is outside of our control. You anger the hotel, you deal with
               the hotel.

               Other notable bans:
               DEF CON also monitors news reports and community forums for potential
https://defcon.org/html/links/dc-transparency.html
            Case 2:23-cv-01932-BAT                      Document 101              Filed 03/14/25            Page 281 of 388




               bad actors to exclude from our conventions, like we did with Jake
               Applebaum, John Draper aka Captain Crunch, and Morgan Marquis-Boire,
               who have all been banned.



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https://defcon.org/html/links/dc-transparency.html
Case 2:23-cv-01932-BAT   Document 101   Filed 03/14/25   Page 282 of 388




                         Exhibit 27
Basecamp                              Xt Home
                   Case 2:23-cv-01932-BAT
                                                 x Lineup        Pings
                                                             Document 101
                                                                         Q Hey!    O Activity     © My Stuff
                                                                                      Filed 03/14/25
                                                                                                               Q Find
                                                                                                               Page 283 of 388                 ©
                                                                eDiscovery > Message Board




                                           DRAFT: DEF CON Comms Plam
                                                             Wednesday (Melanie Ensign)   Sep 8, 2021




                     This is just a draft, so please feel free to comment or make suggestions before we start writing any
                     official statements for DEF CON.



                     PR Objectives

                        •   Protect the privacy & safety of the people who were hurt

                        •   Focus DCs role in the narrative by limiting public comments to how we reacted to the
                            reports we received, using DCs code of conduct as our north star (if specific individuals
                            decide to share more details about their experiences on their own, that's their choice, not
                            ours)

                        • Avoid participating in public debates beyond our official statement (we don’t want to fuel
                            rumors or runaway press cycles. There could be legal consequences too, so the less we say
                            as individuals, the better. Some people may disagree with our decision, not knowing all the
                            facts, and we'll need to resist the urge to try to convert them to our position b/c it will not
                            end well for the victims we're trying to protect)

                        • Coordinate with Black Hat for consistency & visibility in protecting the community &

                            the victims


                     Proactive Strategy

                        • Announce an Include an update when DC publishes its DC29 Transparency Report with a
                            ban for Chris the removal of the SL village due to violations of the CoC by him specifically,

                            along with other updates we plan to share e.g. reports of positive COVID cases we re
                            aware of village leadership

                              •   Puts the announcement in context of all of the previously-announced actions DC took

                                  for community safety & transparency, and ongoing updates post-con such as the
                                  reported COVID cases

                              •   Emphasizes the importance of these reports as the official way DC communicates with

                                  the community about important issues

                              • Exemplifies how DC will address issues reported outside of Vegas & how we will hold
                                  ourselves accountable to the community between conferences

                              • Supports the precedent that specific details about individual incidents will not be shared

                                  publicly (expelling a longtime village will create a lot of pressure for DC to share more
                                  details, so this precedent is important to protect the victims)

                        • Within the update announcement:

                              •   Explain why we're naming Chris when we don't share details of other incidents
                                  reported in the Transparency Report

 URL

 https://3. basecamp.com/3566641/buckets/29534797/messages/5378926654

 Timestamp

 Tue Oct 11 2022 12:39:22 GMT-0500 (Central Daylight Time)




Confidential                                                                                                                  DEFCONOOOOOOOI
                        • Exemplifies how DC will address
                   Case 2:23-cv-01932-BAT                 issues 101
                                                   Document      reportedFiled
                                                                          outside of Vegas & how
                                                                                03/14/25         we 284
                                                                                              Page  will hold
                                                                                                          of 388
                                    ourselves accountable to the community between conferences

                                • Supports the precedent that specific details about individual incidents will not be shared

                                    publicly (expelling a longtime village will create a lot of pressure for DC to share more
                                    details, so this precedent is important to protect the victims)

                        • Within the update announcement:

                                •   Explain why we re naming Chris when we don’t share details of other incidents
                                    reported in the Transparency Report

                                •   Limit comments to Chris’ behavior that violated our CoC, no mention of his

                                    company or SE Village as a whole

                                • Acknowledge the contributions of the broader SE community to DC & commit to
                                    continuing to support them moving forward

                                •   Point to DC30 Call for Villages as an opportunity for folks to submit their ideas

                        •   Following the update, when we open the Call for Villages, SE Village will not be pre

                            approved


                      Reactive Assets (for press)

                        • On background only (e.g. "DEF CON confirmed" but not a quoted statement):

                                • The behavior Chris confirmed was enough to expel him

                                • We received corroborating reports from more than a dozen individuals

                                • We still want a SE Village and will accept applications during the Call for Villages




                      Outstanding questions from Melanie

                        • Will he be banned from attending DEF CON or just from running a village?


                     Assets needed & proposed timeline (WIP): https://docs.google.eom/document/d/1 -

                      hmAljNtlUsoPfWcMsVC95ZdMgF7i-IOFx1pF7yBxA4/edit?usp=sharing (this doc is locked, so
                      please request access if you need it)




                  Sep 8, 2021       jpSh Marc Cjunky
                                     WF Some thoughts. Im concerned that using a vague identifier of "village leadership" and
                                           avoiding calling him out could cause us problems.


                                           1. In the past we have taken the extraordinary measure of naming and banning
                                           individuals who have harmed the community. E.g
                                           https://www.buzzfeednews.conn/article/kevincollier/hacker- hero-is-said-to-have-used
                                           cyber-conferences-to


                                           Do we feel that this does not meet that threshold? If we do not, then we will likely be
                                           asked to explain why not - and I think that getting into any debate like that will end
                                           badly.

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                                         cyber-conferences-to
                   Case 2:23-cv-01932-BAT                     Document 101              Filed 03/14/25            Page 285 of 388
                                         Do we feel that this does not meet that threshold? If we do not, then we will likely be
                                         asked to explain why not - and I think that getting into any debate like that will end
                                         badly.


                                         2. By not naming anyone it appears we are deliberately casting a wider net. That leaves
                                         wiggle room that can be exploited. The village isn't to blame. This is not a leadership
                                         issue, this is not politics, this is bullying by an individual. IMHO It should be identified as
                                         such.


                                         The wording also makes it feel like a DEFCON thing when it really isnt.


                                         We are taking action on behalf of members of the community - even though many of
                                         the incidents did not happen during DEFCON. I think thats fine but we should make
                                         sure its clear thats whats going on. Otherwise this looks personal when it isn't.


                                         IMHO the clearer and more concise we are, the less wiggle room we leave and the more
                                         we reduce our attack surface.


                                         Last to answer your question about banning, my vote is yes he should be banned. This
                                         person caused so much harm that the conference became an unsafe place for his
                                         victims. To me that warrants removal.


                                         Further do we honestly believe that once this ignites he will leave his victims alone if we
                                         simply take his village away?




                  Edited Sep 8,          Wednesday (Melanie Ensign), Press Department Lead
                  2021
                                         I have no issues naming him. I can update the plan to reflect that.


                                         I fully expect he will become even more aggressive toward his victims since the ban
                                         could impact his business & reputation. Forthat reason, I'm OK banning him from
                                         attending as well.


                                              Please update




                  Sep 8, 2021            Marc Cjunky
                                  e      Completely agree. He reached out to Jeff today. I think he knows whats going on. We
                                         can probably expect him to be nice up until he thinks its out of his hands and then he
                                         will likely start being really nasty.




                  Sep 14, 2021    CJ     Jeff Moss, Organizer
                                         I've just had a call with Black Hat and would like to catch everyone up and plan next
                                         steps. What times are good for everyone?


                                         I'm in the Singapore time zone again.




                  Sep 14, 2021    CJ     Jeff Moss, Organizer
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                                         steps. What times are good tor everyone '

                   Case 2:23-cv-01932-BAT                       Document 101           Filed 03/14/25         Page 286 of 388
                                         I'm in the Singapore time zone again.




                  Sep 14, 2021           Jeff Moss, Organizer
                                         Basically:

                                           •    Black Hat wants to coordinate a response with us so it happens at the same time.

                                           • We should all be on the call with Chris when we talk with him about the issue.

                                           • We should not do the call until we are coordinated between us and have a plan for
                                                if he goes crazy after the call.

                                           • Do we ban Chris from the conferences but let SE still operate? If we are saying it is
                                                about Chris and not the company what happens if Chris says "OK, I won’t attend,
                                                but my training and village can still operate without me?"

                                           • The less we say the better.

                                           • Keep it focused on CoC violations that happened at our events.

                                           • BH would ideally like those with complaints to help enumerate what CoC violations
                                                happened at (BH, DC) that we can base the decision on instead of things
                                                happening outside the event if possible.




                  Sep 15, 2021           Wednesday (Melanie Ensign), Press Department Lead
                                         Comms plan above has been updated with changes tracked for your convenience.
                                         Additions are in bold & purple, deletions are show with strikethrough. Once changes
                                         are accepted, I'll remove the formatting.


                                               Jeff — per our last conversation, I’ve included a recommended check list of needed
                                         assets & a proposed timeline for the group's consideration. There aren't any dates on
                                         the timeline yet, but once we know when we need to publish the Transparency Report,
                                         we can schedule everything else around that date.




                  Sep 15,2021            Marc Cjunky
                                  t      ^Wednesday updated plan looks good to me.




                  Sep 15, 2021           Marc Cjunky
                                 W & Jeff



                                           • Do we ban Chris from the conferences but let SE still operate? If we are saying it is
                                                about Chris and not the company what happens if Chris says "OK, I won't attend,
                                                but my training and village can still operate without me?"

                                         Yes, I think thats right. We should be clear about who we are punishing and why. We
                                         shouldn't allow wiggle room, filuzziness or collateral damage that gives him an
                                         onnortunitv to sav it was anvthinn but his behavior.
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                                              about Chris and not the company what happens if Chris says "OK, I won't attend,
                   Case 2:23-cv-01932-BAT
                                   but my trainingDocument       101
                                                   and village can          Filed
                                                                   still operate    03/14/25
                                                                                 without me?"                  Page 287 of 388

                                         Yes, I think thats right. We should be clear about who we are punishing and why. We
                                         shouldn't allow wiggle room, filuzziness or collateral damage that gives him an
                                         opportunity to say it was anything but his behavior.


                                         The company side is problematic but as its Chris's behavior I think taking action on the
                                         company specifically draws other people into the crosshairs. We almost certainly need
                                         to monitor them and maybe warn them that if we see any sign of Chris operating
                                         through them to harass people we will take further action.


                                         As for them operating a village IMHO it is entirely normal for a company who's senior
                                         staff misbehave to lose a contract etc. Doing this by saying we are going to invite
                                         change with a new call for villages and training is a fair way to do that IMHO.

                                           • The less we say the better.


                                         I think we should be dear and concise. I like the plan O Wednesday has made above.

                                         - Make it clear its Chris's behaviour
                                         - Make it dear that like the other handful specifically toxic or harmful people that are
                                         threats to the community this is why we are naming him.
                                         - Make it clear that it was direct conduct that violated COC and nothing else.
                                         - Make it clear what we are doing.
                                         - Avoid debates, victim discussions or any other traps.

                                           • Keep it focused on CoC violations that happened at our events.


                                         Completely agree.




                  Sep 15, 2021           Marc Cjunky
                                  VJF Also the coordination with Blackhat is great. It moves the focus off ys to the behavior
                                         and provides validation without needlessly exposing the victims more to "justify" when
                                         Chris does the obvious and starts a scorched earth denial campaign.




                  Sep 15, 2021           Marc Cjunky


                                         I can do this evening 5pm - 10pm PT
                                         I can do Thursday 6pm - 10pm PT
                                         I can do Friday evening - 5pm - 8pm PT
                                         I can do evenings this weekend.


                                         Let me know.




                  Sep 16, 2021           Jeff Moss, Organizer




                                                                    Hey just pinging again?

                                                                                                      4h

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                                                        J —




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                                                      ©              Hey just pinging again?

                                                                                                              4h




                                                              Hey Chris, sorry for delay. Let's
                                                             try and set up a call for next
                                                              week, Black Hat wants to also be
                                                              on it so everyone can have a
                                                              conversation at once instead of
                                                              doing them one at a time.

                                                        32s




                                                              I'll get days and times from them
                                                              and then propose to you what
                                                                                                                       ©
                                                              works for us and you pick what's
                                                              best for you.

                                                         32s


                                                                   IMG_2034.PNG   303 KB   View full-size   Download




                  Sep 16, 2021     T     Jeff Moss, Organizer                                                                          • ••




                                                                  This is just black hat and you and
                                                                  me? Not this mob of manipulators
                                                                  right?

                                                                                                                             14m




                                                    Yes, DEF CON side of things and
                                                    BH side of things.

                                                                   IMG_2036.PNG   162 KB   View full-size   Download




                  Sep 17, 2021           Grifter, Contests & Events Lead
                                  *3^ I'm of the opinion that we can't allow his company to continue to run the SE Village. If it
                                         does he will still have full control over who will be allowed to compete in the SECTF,
                                         speak in the Village, or other decisions related to the Village. He also personally profits

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                   Case 2:23-cv-01932-BAT
                  Sep 17, 2021  Grifter, Contests & Document
                                                    Events Lead 101                     Filed 03/14/25             Page 289 of 388
                                         I'm of the opinion that we can't allow his company to continue to run the SE Village. If it
                                         does he will still have full control over who will be allowed to compete in the SECTF,
                                         speak in the Village, or other decisions related to the Village. He also personally profits
                                         from his company running it. So to say, "Well you can’t come but you can make money
                                         off of it and still make decisions for it on the back end" isn't really a ban. It just allows
                                         decisions to be made remotely. And his people will do EXACTLY what they're told or
                                         they'll be berated or fired. We all heard that.


                                         It's like putting a mobster in jail for racketeering and then allowing him to still run his
                                         operations over the phone from his cell. It doesn't make sense.




                  Edited Sep             Marc Cjunky
                  17, 2021
                                  i.W I agree, I just think we do so by making it about Chris. Ban and remove Chris and tell the
                                         company they are gone because of his behavior, then bring in a new team.


                                         That way he cant make it about business, politics, leadership. Its squarely on him and his
                                         shitty behavior.




                  Sep 17, 2021   /pS Wednesday (Melanie Ensign), Press Department Lead
                                         If we remove SE Village from the pre-approved list, they can still submit a proposal like
                                         everyone else, which we simply don't have to select.


                                              Truth




                  Sep 17, 2021    Djq    Jeff Moss, Organizer
                                     y* We'll add a question to the Call for Villages where we ask if a village is primarily
                                         operated by a company and how do they plan to keep the companies interests neutral
                                         from the village / community interest. Or something like that. I would like more
                                         transparency in what villages are fully supported by a company. It's not necessarily bad
                                         but we do want to know.




                  Sep 24, 2021           Wednesday (Melanie Ensign), Press Department Lead
                                         3»Jeff — have we discussed a date yet with BH?



                  Sep 28, 2021           Jeff Moss, Organizer
                                         They kind of disappeared last week, but I have call with them tomorrow. On that call I'll
                                         get a date for all of us to have a DEF CON / Black Hat call before we do the call with
                                         Chris. I'd like to get through this!


                                              Thx




                  Sep 30, 2021    Lyn    Jeff Moss, Organizer
                                         This next call with BH is to come up with a plan. They are stuck on no one coming
                                         forward to them at all.. It is hard for them to claim a CoC violation if they have no report,
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                  Sep 30, 2021    C3     Jeff Moss, Organizer
                                         This next call with BH is to come up with a plan. They are stuck on no one coming
                                         forward to them at all. It is hard for them to claim a CoC violation if they have no report.




                  Nov 4, 20'21           Wednesday (Melanie Ensign), Press Department Lead
                                         Any updates from BH on their readiness or timing for public comment? The longer DC
                                         waits to say anything, the worse it will be since we've known this long & haven't told the
                                         community.




                  Nov 29. 2021           Wednesday (Melanie Ensign), Press Department Lead

                                          & Jeff — any updates from BH yet? I'm now really personally uncomfortable with how
                                         long I've known about this situation without being able to take action. Are we going to
                                         be able to align with BH or should we make plans to move forward without them?


                                              +1




                  Nov 30, 2021           Jeff Moss, Organizer
                                         Yeah me too.


                                         Last I heard is that Maxie wrote a letter to BH with a complaint, and I've asked BH
                                         yesterday if the latter is going to change any of their plans.


                                         If it doesn't then we need to announce on our side.


                                         If it does then we take the announcement timing into account.


                                         I'll post the current version of the transparency report next.    Marc     Grifter
                                             Wednesday can you comment on anything we should add?




                  Nov 30, 2021    CS     Jeff Moss, Organizer
                                 4^'     Current draft of transparency report based on what was said at closing:

                                          DEF CON 29 -Virtual
                                         Of 95,562+ total messages the moderation team deleted 127 (0.13%)
                                         We received direct 30 reports via "Report-a-violation feature."
                                         Across the 34,321+ accounts on the Discord, the moderation team:
                                         * Warned 45 users (0.05%)
                                         * Temporarily Muted 50 users (0.05%)
                                         * Kicked 7 users (0.02%)
                                         * Banned 6 users (0.017%)


                                         DEF CON 29 - Physical
                                         Medical & Health:
                                         7 medical emergencies 4 requiring EMTs
                                         4 mental health issues requiring specialist support
                                         fwe noticed a significant number of attendees strunnlinn this vear and ask the
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                                DEF CON 29 - Physical
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                                         Medical & Health:
                                         7 medical emergencies 4 requiring EMTs
                                         4 mental health issues requiring specialist support
                                         [we noticed a significant number of attendees struggling this year and ask the
                                         community to have each others backs]
                                         Menstrual Products
                                         Now Provided in ail convention area restrooms, regardless of gender.
                                         1,224 Items ordered total
                                         800 Tampons

                                         296 Pads
                                         128 Panty Liners

                                         Estimated 850+ of these were distributed
                                         Policy & Conduct
                                         1 lost passport
                                         3 photo policy violations
                                         3 suspicious packages
                                         2 people removed for not masking
                                         Approx 25 turned away for not being vaccinated
                                         2 removed by security from Vaccination check




                  Nov 30, 2021           Wednesday (Melanie Ensign), Press Department Lead
                                         I suggest reporting the menstrual products under a category of new programs launched
                                         or something similar. It's important for the community to know we're making these
                                         items available moving forward, but we don't need to report how many tampons are
                                         used each year.




                  Nov 30, 2021           Marc Cjunky
                                  I JF Agree with ® Wednesday on the menstrual products it was good to give detail at
                                         closing but we can summarize for the permanent report.


                                         Question about incidents after an event like this one. Do we want to create a new
                                         section covering post event updates? It doesn't seem quite right to attach it to the
                                         event itself.




                  Nov 30, 2021           Wednesday (Melanie Ensign), Press Department Lead
                                         Perhaps in the preamble we can note that this update is to disclose things that have
                                         been reported since the close of the con & remind folks that we care about what
                                         happens in our community year round, not only for the few days of the event. It's an
                                         important demonstration of trust & respect that we take action on issues throughout
                                         the year — and a good reminder for folks who may not be comfortable reporting right
                                         away that we'll listen whenever they're ready.




                  Dec 1, 2021            Jeff Moss, Organizer
                                         Anyone want to suggest language, or I can take a crack at it tomorrow?



                                         lAf-

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                   Case 2:23-cv-01932-BAT
                  Dec 1, 2021                     Document 101
                                Jeff Moss, Organizer                                    Filed 03/14/25       Page 292 of 388
                                         Anyone want to suggest language, or I can take a crack at it tomorrow?




                  Dec 1, 2021            Wednesday (Melanie Ensign), Press Department Lead
                                         Suggestion to start from:


                                         We began sharing an annual transparency report during closing ceremonies at DEF CON
                                         25. It started as a summary of incidents we're aware of that happened at the
                                         convention.



                                         Today, we're expanding those efforts with our first post-con update. This update
                                         includes a summary of incidents we became aware of after closing ceremonies at DEF
                                         CON 29. Moving forward, we expect to provide post-con updates as often as needed
                                         based on reports we receive throughout the year.


                                         This post-con transparency is important for a few reasons. First, there are some things
                                         we won't know until after the end of a convention, such as reports of COVID-19 related
                                         issues that are discovered as people return home. Second, some people may not feel
                                         comfortable reporting certain violations right away and ongoing updates provide a
                                         consistent way for us to disclose what we can to the community year-round.




                  Dec 2, 2021            Jeff Moss, Organizer
                                  *4^ OK let's split it into two.

                                         One is the normal transparency report we did at closing ceremonies


                                         The Second will be this new category of in between / post con updates.




                  Edited Dec 4,   CJ     Jeff Moss, Organizer
                  2021


                                         DEF CON 29 (2021 August 5-8) Transparency Report

                                         From our [closing ceremony] <-PROVIDE LINK transparency report announcement:


                                         DEFCON 29 -Virtual
                                         Of 95,562+ total messages the moderation team deleted 127 (0.13%)
                                         We received 30 reports via " Re port-a -violation feature.''
                                         Across the 34,321+ accounts on the DEF CON Discord, the moderation team:
                                         * Warned 45 users (0.05%)
                                         * Temporarily Muted 50 users (0.05%)

                                         * Kicked 7 users (0.02%)
                                         * Banned 6 users (0.017%)


                                         DEF CON 29 - Physical
                                         Medical & Health:
                                         7 medical emergencies 4 requiring EMTs
                                         4 mental health issues requiring specialist support
                                         [we noticed a significant number of attendees struggling this year and ask the
                                         communitvto have each others hacksl
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                                         utr ujn zy - Physical

                                Medical & Health: Document 101
                   Case 2:23-cv-01932-BAT                                              Filed 03/14/25              Page 293 of 388
                                         7 medical emergencies 4 requiring EMTs
                                         4 mental health issues requiring specialist support
                                         [we noticed a significant number of attendees struggling this year and ask the
                                         community to have each others backs]


                                         Menstrual Products
                                         Now Provided in all convention area restrooms, regardless of gender.
                                         Estimated 850+ of these were distributed


                                         Policy & Conduct
                                         1 lost passport
                                         3 photo policy violations
                                         3 suspicious packages
                                         2 people removed for not masking
                                         Approx 25 turned away for not being vaccinated
                                         2 removed by security from Vaccination check




                                         We began sharing an annual transparency report during dosing ceremonies at DEF CON
                                         25. It started as a summary of incidents we were aware of that happened during the
                                         convention and we hoped other conferences would start the practice as well. Today,
                                         we're expanding those efforts with our first post-con update to cover the time in
                                         between conventions.


                                         There are things we won't know until after the end of a convention, such as reports of
                                         COVID-19 related issues that are discovered as people return home. Some people may
                                         not feel comfortable reporting CoC violations right away, and ongoing CoC violation
                                         investigations take time to complete.


                                         This update includes a summary of incidents after closing ceremonies at DEF CON 29.


                                         - In the weeks immediately following the conference we identified or had reported to
                                         us a total of 3 cases of COVID-19. None of these required hospitalization. This is not a
                                         comprehensive measurement of all attendees, only those cases we're aware of.


                                         - Multiple reports of inappropriate behavior [This is where we need to add language for
                                         Chris ®Marc (^Wednesday]

                                         - Multiple reports of inappropriate behavior by DEF CON Group xxx led to their
                                         [removal? What should we say here ® Darington?]


                                         - WHAT DO WE ADD DOWN HERE?




                  Dec 3, 2021            Wednesday (Melanie Ensign), Press Department Lead
                                         Chris + positive Covid cases (if we're still planning to report those).


                                         Anything else happen since Vegas?


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                                Wednesday (Melanie Ensign), Press Department Lead
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                                          Chris + positive Covid cases (if we're still planning to report those).


                                          Anything else happen since Vegas?




                  Dec 3, 2021     CJ      Jeff Moss, Organizer
                                             Marc Can you write a couple sentences on the COVID numbers you were tweeting
                                          about?


                                          Any others things to include besides Chris?


                                          The heart of the matter: Let's word the Chris bit.




                  Dec 3, 2021             Marc Cjunky

                                  * JF    Sure, my gut says we probably want to avoid shaming BH especially as we are looking
                                          for unity with them over Chris. So we should probably avoid drawing attention to how
                                          much worse their covid numbers were which just leaves us with:
                                          "In the weeks immediately following the conference we identified or had reported to us
                                          a total of 3 cases of COVID. None of these required hospitalization."




                  Dec 3, 2021             Wednesday (Melanie Ensign), Press Department Lead
                                   is'y
                                          I would add something at the end of that to reiterate the obvious for kids in the back:
                                          "this is not a comprehensive measurement of ail attendees, only those cases we're
                                          aware of."


                                               +1




                  Dec 4, 2021     l-S     Jeff Moss, Organizer
                                          I've updated the draft above with comments and ask for help.




                  Dec 4, 2021             Darington, media director
                                          something like:


                                          DEF CON doesn't include names or details of the Code of Conduct violations in the
                                          Transparency Report. The exception to this rule is transgressions perpetrated by people
                                          with leadership roles at the DEF CON Conference.


                                          This year, we received more than a dozen reports of threats, intimidation and retaliation
                                          by a DEF CON Village leader, Chris Hadnagy. After meeting with the accusers and the
                                          accused, we are satisfied that the conduct merits a ban from DEF CON.


                                          perhaps?


                                               +1




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Confidential                                                                                                                        DEFCCN00000012
                                         perhaps?
                   Case 2:23-cv-01932-BAT                       Document 101           Filed 03/14/25           Page 295 of 388
                                              +1




                  Dec 4, 2021            Wednesday (Melanie Ensign), Press Department Lead
                                         We've named non-leaders like Captain Crunch. Would it be true to say we share names
                                         when people are permanently banned?


                                         Except forthat detail, I like the proposed language.




                  Dec 4, 2021            MarcCjunky
                                         Thought - in the past we justified the rare cases of naming as a step taken to protect
                                         the community.


                                         Perhaps thats the best language here also? Not that we are naming him as a former
                                         leader of a defcon community, but naming him to in order to protect the community.




                  Dec 4, 2021            Darington, media director
                                         | think in the case of predators like Draper, the language of 'protecting the community'

                                         fits a little better. I'm hoping that we can name Chris in a way that's clear and definite
                                         without being unduly provocative. If we make him sound like he's preying on the
                                         community at large, rather than his staff and coworkers it might lead us into more
                                         litigious territory.


                                         I think it's a good thing that we're holding a leader accountable, and I think that's a big
                                         reason why we're making this announcement.


                                         Maybe change 'The exception to this rule' to 'One exception to this rule'?




                  Dec 4, 2021            Darington, media director
                                 s       DEF CON doesn't include names or details of the Code of Conduct violations in the
                                         Transparency Report, One exception to this rule is transgressions perpetrated by people
                                         with leadership roles at the DEF CON Conference.


                                         This year, we received more than a dozen reports of threats, intimidation and retaliation
                                         by a DEF CON Village leader, Chris Hadnagy. After meeting with the accusers and the
                                         accused, we are satisfied that the conduct merits a ban from DEF CON.




                  Dec 4, 2021            Wednesday (Melanie Ensign), Press Department Lead
                                         "One exception" is perfect!




                  Dec 4, 2021            Marc Cjunky
                                  i jF Isn't he though? We have had complaints of abuse from throughout the community.
                                         Complaints from people who have taken his course, complaints that he has preyed on
                                         literally every black SE badge winner, even his own staff.



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                  Dec 4, 2021              Marc Cjunky
                   Case 2:23-cv-01932-BAT
                            t Jf Isn't he though? WeDocument     101 ofFiled
                                                     have had complaints       03/14/25
                                                                         abuse from throughoutPage   296 of 388
                                                                                               the community.

                                           Complaints from people who have taken his course, complaints that he has preyed on
                                           literally every black SE badge winner, even his own staff.


                                           I don't think there is any way we can name him and not "be provocative".


                                           That said, im ok with your latest version because it avoids us looking inconsistent.




                  Dec 4, 2021              Wednesday (Melanie Ensign), Press Department Lead
                                           FYI — heard from Maxie that she's talking to BH on Monday. Sounds like they're only
                                           going to remove him from training & the board, but we should know more after their
                                           conversation.



                                           My professional opinion is they'll be forced to follow DC's lead by public pressure if they
                                           don't enforce a permanent ban right away. But that's they're call.




                  Dec 5, 2021     (        Jeff Moss, Organizer
                                           • Darington
                                           Can you provide some text about the DEF CON Group we had to put on notice? To
                                           show that we also have to discipline our DCGs




                  Dec 6, 2021              Marc Cjunky
                                  t 3F Q: is it worth releasing our update well ahead of time to BH? Maybe we can persuade
                                           them to lean in the direction of taking more action that way?




                  Dec 6, 2021              Darington, media director
                                           |'m not certain the DCG issue fits in as well here. It's not related to the con proper and it
                                           takes an additional layer of explanation. The most boiled down version would be
                                           something like:


                                           "We've also taken the rare action to disband a DEF CON Group in the USA for Code of
                                           Conduct violations by the group's primary Point of Contact."




                  Dec 7, 2021              Jeff Moss, Organizer
                                      & @ Darington Yeah, something like that I think is plenty good. It would be included in
                                           the "in-between cons” transparency update like we plan to include Chris and the COVID
                                           numbers in. To give some balance and show that we also nuke DCGs for violations as
                                           well.


                                                   +1




                  Dec 8, 2021              Jeff Moss, Organizer
                                       x   My attempt to simplify • Darington text for Chris:


                                           DEF CON doesn't include names or details of Code of Conduct violations in the

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                   Case 2:23-cv-01932-BAT          Document 101
                            Gp’i Jeff Moss, Organizer
                  Dec 8, 2021                                                           Filed 03/14/25           Page 297 of 388
                                         My attempt to simplify • Darington text for Chris:

                                         DEF CON doesn't include names or details of Code of Conduct violations in the
                                         Transparency Report, One exception to this rule is transgressions perpetrated by people
                                         with leadership roles at the DEF CON Conference.


                                         We received multiple CoC violation reports by a DEF CON Village leader, Chris Hadnagy
                                         of the SE Village, After meeting with the accusers and the accused, we have decided the
                                         behavior merits a ban from DEF CON.




                                         Still not totally happy with this but it is getting closer. I've also updated the above draft.




                  Dec 9, 2021            Jeff Moss, Organizer
                                         Our base transparency report is live, just leaving this follow up.


                                         DEF CON ® Hacking Conference - Trans parency Re port




                  Dec 9, 2021            Wednesday (Melanie Ensign), Press Department Lead
                                    -j’' Suggested revision:


                                         DEF CON typically doesn't include individual's names in the Transparency Report. One
                                         exception to this is when someone in a DEF CON Conference leadership role violates
                                         our Code of Conduct. Because they are in positions of power, they are accountable to
                                         the entire community.


                                         We received multiple reports of CoC violations by a DEF CON Village leader, Chris
                                         Hadnagy of the SE Village. After meeting with the accusers and the accused, we decided
                                         Chris' behavior merits a permanent ban from the DEF CON conference.




                  Dec 9, 2021            Marc Cjunky
                                  I & I like this version. One niggle. Do we want to use the word "accusers". I know its
                                         factually correct, but would it be better to say something more neutral like "all
                                         concerned parties" so it sounds less like he was persecuted?




                  Dec 9. 2021            Wednesday (Melanie Ensign), Press Department Lead
                                         How about, "after conversations with the reporting parties & Chris, we're confident the
                                         behavior merits....''?




                  Dec 9, 2021            Darington, media director
                                         i like 'reporting parties' better than 'all concerned', fwiw.


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                   Case 2:23-cv-01932-BAT                       Document 101            Filed 03/14/25        Page 298 of 388
                                         Darington, media director
                                 0
                  Dec 9, 2021

                                         i like 'reporting parties' better than 'all concerned', fwiw.




                  Dec 9, 2021            Marc Cjunky
                                         Looks good to me!




                  Dec 10, 2021    ipS    Jeff Moss, Organizer
                                         Draft 2021 12 10


                                          We began sharing an annual transparency report during closing ceremonies at DEF
                                         CON 25. It started as a summary of incidents we were aware of that happened during
                                         the convention and we hoped other conferences would start the practice as well. Today,
                                         we're expanding those efforts with our first post-con update to cover the time in
                                         between conventions.


                                         There are things we won't know until after the end of a convention, such as reports of
                                         COVID-19 related issues that are discovered as people return home. Some people may
                                         not feel comfortable reporting CoC violations right away, and ongoing CoC violation
                                         investigations take time to complete.


                                         This update includes a summary of incidents after closing ceremonies at DEF CON 29.


                                          - In the weeks immediately following the conference we identified or had reported to
                                         us a total of 3 cases of COVID-19. None of these required hospitalization. This is not a
                                         comprehensive measurement of all attendees, only those cases we're aware of.


                                         DEF CON doesn't include names or details of Code of Conduct violations in the
                                         Transparency Report. One exception to this rule is violations perpetrated by people with
                                         leadership roles at the DEF CON Conference.


                                         - We received multiple CoC violation reports by a DEF CON Village leader, Chris
                                         Hadnagy of the SE Village. After conversations with the reporting parties & Chris, we're
                                         confident the behavior merits a ban from DEF CON.


                                         - We have taken the rare action to disband a DEF CON Group in the USA for Code of
                                         Conduct violations by the group's primary Point of Contact." <- Should we name the
                                         contact?




                  Dec 10,2021     CfT    Jeff Moss, Organizer
                                         The reason I ask about naming the DCG contact is we just wrote about why we are
                                         naming someone above. If we don't name a DCG point of contact we should explain
                                         why it is different.




                  Dec 10,2021            Wednesday (Melanie Ensign), Press Department Lead
                                         Can we put the DCG update after the COVID numbers so that it doesn't need a name?

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                                         why it is different.
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                  Dec 10, 2021           Wednesday (Melanie Ensign), Press Department Lead
                                         Can we put the DCG update after the COVID numbers so that it doesn't need a name?




                  Dec 10, 2021           Jeff Moss, Organizer
                                 W ;     O Darington What do you and the DCG team think? We have named groups in the
                                         past, should we name the group and / or the point of contact?




                  Dec 10. 2021           Darington, media director
                                         It's my inclination not to name the POC - i don't mind naming the group. I'd rather not
                                         reignite the mostly unhelpful conversation around the recent event because it takes
                                         more explaining than Lucknow and social media is a bad room for nuance. Bringing the
                                         POC's name into it just makes that reopening more likely.


                                         I will ask the DCG board for their input.


                                         Do we have an update on the meeting with BH?




                  Dec 11,2021    JsSh Marc Cjunky
                                  f jF   Suggest you add "we have ALSO" to the DCG section to clearly separate it from the
                                         Chris ban section. Otherwise they bleed into each other.




                  Dec 11, 2021           Marc Cjunky
                                  f # Or Wednesday's suggestion achieves the same.



                  Dec 14, 2021           Wednesday (Melanie Ensign), Press Department Lead
                                         Any reason we can't post the update before Friday? I'd like to avoid the misperception
                                         that we're trying to bury this by posting during the holidays.




                  Dec 14, 2021           Jeff Moss, Organizer
                                         We still need to talk with Chris so he can't say we didn't.


                                         How do you want to plan that call? I'd like at least someone else on the call with me so
                                         it doesn't turn into a he said / he said situation.




                  Dec 14, 2021           Jeff Moss, Organizer
                                         O Darington Let me know about naming the group, that might be good enough to not
                                         look like we are singling out Chris by name.




                  Dec 15, 2021           Darington, media director
                                         | think naming the group will be ok.




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                   Case 2:23-cv-01932-BAT                      Document 101               Filed 03/14/25       Page 300 of 388
                  Dec 15,2021            Darington, media director
                                 A0F I think naming the group will be ok.



                  Dec 15, 2021           Grifter, Contests & Events Lead
                                         Naming the group will be enough because people will just look up the point of contact
                                         in the way back machine. Just a thought.




                  Dec 18,2021            Jeff Moss, Organizer
                                         I sent a DM to Chris three days ago asking to set up a time to talk with him, no response
                                         yet. I'll see if I can find his mobile number.


                                         In the meantime @ Darington can you lock in the DCG text you are happy with?



                  Edited Dec             Darington, media director
                  20, 2021
                                         We received multiple reports of intimidation and retaliation by a DEF CON Village
                                         leader, Chris Hadnagy of the SE Village. After conversations with the reporting parties 8t
                                         Chris, we're confident the behavior violates our CoC and the severity of the
                                         transgressions merits a ban from DEF CON.


                                         We have also taken the rare action to disband DCG414. Code of Conduct violations by
                                         the group's primary Point of Contact and subsequent mishandling of the event left us
                                         without confidence in the group's leadership.


                                         Something more like that, maybe?




                  Dec 20, 2021           Marc Cjunky
                                  * dfr I'd change to "We have also" for the second paragraph so it's clear the two things aren't
                                         linked.




                  Dec 20, 2021           Darington, media director
                                 e       fair point, editing. :)




                  Dec 21,2021     (Jyy   Jeff Moss, Organizer
                                 AriX I got a hold of Chris on Signal, he is upset we want to talk now after BH and us avoided
                                         him.


                                         He says his COO Ryan is back on Jan 3rd so I suggested we schedule a call for the week
                                         of the 4th.


                                         • S3



                  Jan 13                 Wednesday (Melanie Ensign), Press Department Lead

                                          & Jeff — have we connected with Chris yet? Concerns are now circulating among the
                                         reporting individuals that we're not taking this seriously & that the risk they took in
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                    Case 2:23-cv-01932-BAT                                     Document 101                                 Filed 03/14/25                              Page 301 of 388
                  Jan 13                 Wednesday (Melanie Ensign), Press Department Lead
                                 ‘       $Jeff                have we connected with Chris yet? Concerns are now circulating among the
                                         reporting individuals that we're not taking this seriously & that the risk they took in
                                         coming forward isn't worth it.




                  Jan 13                 Jeff Moss, Organizer
                                         Let me get everyone caught up on my Twitter DMs with Chris. You can see he is going
                                         to want to know who is causing him and every little detail of what are CoC violations so
                                         he can argue them.


                                         We need to do a call and decide how we will answer him, he is available work hours EST,
                                         not being very flexible.




                  Jan 1 3                Jeff Moss, Organizer

                                                                                                  < Messages       Chrlatoph&r Hadna-gy                  < Messages     Christopher Hadnegy
                                           < Messages    Christopher Hadnagy                                                                         a
                                                   Jeff, what do we need to discuss? You               We just warn io talk to you before we               I'm trying 10 get a litre that works for
                                                   guys got told an accusation bye group               decide on whsit to do about 1he CoC                 yon EST during working hours and
                                                   of disgruntled e* emptoyees and wia                 violations that were reported to us.                works for us In all our time zones.
                                                   person w+ia we had to kick cut Of SEV.
                                                                                                                                  ICUlilZ. 23 40
                                                   I've worked with DC for almost 1 6- years,                                                                                               I2fl/Z?,00£*

                                                   memored countless women ©id men.
                                                   ran a village -with 2«ro oam, violence or
                                                   problems, run a nonprofit for free that
                                                                                                            Cft. Well lei's pick a time that works
                                                                                                                                                         7$        reiafialfcn? So let ir ie gel this sir aigtn, I
                                                                                                                                                                   can come Io you and accuso anyone I
                                                   f losers crimes against children, and                    B*.it business hours wouki be best for                 want in the community if snythlnfl, no
                                                   never had an accusalion Ke this.                         Ryan and I                                             matter how horr ific and you will look into
                                                   Instead of defending me or trying to find                                                                       it and keep me anonymous while doing
                                                   out of this 'was true was told to make n                                                                        so?
                                                                                                            Also can list what viatations were
                                                   go away. I'm ikk sure what we need io
                                                   dismiss. If she: hrwi any Icgil ckiimr. why              reported? And by whom?
                                                                                                                                                                   Ates not sura how i would retaliate, but
                                                   not go to police or a lawyer why would                                                                          ok. leTisrsingtc havebothoimy
                                                                                                            in/UZi. 73:32
                                                   she gc to BH and DC? Because all she                                                                            COO's there, srice these accusations
                                                   wanted to do was hurt the Same way                                                                              have hurt the HF nrd SECOM and the
                                                   she cAc when she stole from secom and            We won't share the names o? those that
                                                                                                                                                                   "anonymous’’ parson has stolen and
                                                                                                    have requested anonymity to prevent
                                                   left.                                                                                                           urnm iiifrd illegal activity against bolh.
                                                                                                    retaliation.

                                                   I will ask. Ryan but thet's kinds leto, w?                                                                      So we can meet anytime
                                                                                                                                                                                  a       f 'em llarn to
                                                                                                    I'm trying Io gel a Hire that works lor
                                                   are ret angry. Just disappointed. And                                                                           6pm EST. What lime
                                                                                                                                                                                 11   zone are you In?
                                                   we are really busy. We have detatfed to
                                                                                                    you EST during working hours sod
                                                   bring SEV to .nnolhnr cnnforonco this            works ter us in all our time zones.                            1211 wi, oeca

                                                   year. So I'm not sure 'Afliat else to                                                      _

                                                   discuss. I didn't warn to do this in writing                                                             I'm ii Sifigqoarfr, K's Cd 5 her e now so I
                                                   after devoting     many years to dsf Wn.                                                                 gotta crosh, We can't hav« this
                                                   But It seems we |ust -worn be able to                     O IMG_2532.PNG                                 ccnversation ttiroush Twitter DMs, too
                                                   make the lime work- Between family,                                                                      much lost in the rnetSum.
                                                   travel, work arid time zcries it seems lit
                                                                                           ike
                                                                                                                                                                                            1JJ1/22 0D.1T
                                                   it's impossible

                                                   :i I..-.
                                                                                                                                                                   '     ' IMG_2533.PNG
                                                    0IMG_2531.PNG




                  Jan 14                 Wednesday (Melanie Ensign), Press Department Lead
                                         Nice guy.



                                         Is there an alternative in case scheduling a call proves impossible? Could we consider an
                                         official letter or notification? I know that's not ideal, but I also doubt Chris would want
                                         to make it public if it stated we have half a dozen reports & which behaviors we
                                         consider coc violations. A few sentences should be sufficient, eg:


                                         - unfortunately we've been unable to schedule a call with you
                                           we received multiple reports from several people
                                           while all the reports were disturbing, the behavior you admitted to (describe) alone is
                                         a serious violation of our coc and you will not be welcomed back at DC as a volunteer or
                                         attendee.


                                         The shorter it is, the less content he has to cherry-pick.

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                                           - while all the reports were disturbing, the behavior you admitted to (describe) alone is


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                                           a serious violation of our coc and you will not be welcomed back at DC as a volunteer or             Filed 03/14/25                          Page 302 of 388
                                           attendee.


                                           The shorter it is, the less content he has to cherry-pick.


                                           All that said, this is a communications strategy & I'd run it by a lawyer first.




                  Jan 17          i- irt   Jeff Moss, Organizer
                                           Chris is sending me something in writing, he asked for my best email address. Ill let
                                           everyone know what it is.




                  Jan 18                   Jeff Moss, Organizer
                                           Here it is, please discuss -rjjrGrifter O Marc                                                             Wednesday ©Darington




                                           With your time zone difference it seems like meeting is going to be very difficult. I was
                                           able to get a meeting with Steve, Steve and Sarah from Black Hat, and I assume these
                                           ridiculous accusations are the same.


                                           So I can answer for each here and then if we need to talk we can try to get a time that
                                           works. The next few weeks I have some training classes that will make 4 out of 5 days
                                           really hard for a few weeks.


                                           Accusation 1 : There is a written email where I discriminated against a black person, at
                                           Black Hat, not def con. This is 1 00% false and ridiculous. You have known me for over
                                           1 5 years and in all that time I have never ever been accused of racism. We have had
                                           people of every gender, ethnicity, race and religion at SEV and at my BH classes. My BH
                                           classes are generally filled with more nonwhite folks than white folks. When I asked if
                                           this supposed email was produced, of course it was not.


                                           Accusation 2: 1 discriminated against a trans person at Black Hat and DEF CON. This is
                                           also not true. But Jeff you are aware of the situation they are referencing and it was over
                                           8 years ago. When the rules of SECTF used to say "Must be male or female of the
                                           human race" and someone took offense to it. It was quickly fixed. I apologized publicly
                                           for being calloused, and I invited the one person was offended personally by me as my
                                           guest to DEF CON. We hugged it out and it has NEVER been brought up again, in 8
                                           freaking years.


                                           Accusation 3: I discriminated against a blind person at BLACK HAT. This is also false. We
                                           had a blind person who was very angry at a class in the UK, I did not have my book
                                           translated to braile. He asked if I would and I got the cost and it was thousands of
                                           dollars so I told him if he would like it he could pay for it and I would allow it. He came
                                           to the class, sat through all 5 days, did all the homework, passed the class and then
                                           wrote a scathing review how much he didn't get out of it since he was blind. We
                                           refunded 100% of his money and he went on his way. This was over 6 years ago and has
                                           nothing to do with BH or DC.


                                           Accusation 4: At a BH class, not DC, I said that an employee only got thejob she had
                                            i a rx 4-^i I'-’I f-s k   n n I-'U zv   i i+ i-Fi 1 1   ”lT L'-’I Ir~ i I*- ‘“’I rt r-fc   4“ 1*1   L-h-l- Im   Ik <*1   w i zy ir 4-f-fc   I a (l“i /“h   nrl,-\ 4-l-fc 1 4-   Izn

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                                         wrote a scathing review how much he didn't get out of it since he was blind. We

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                                refunded 100% of his           101
                                                     money and he       Filed
                                                                  went on       03/14/25
                                                                          his way. This was overPage
                                                                                                6 years 303  of has
                                                                                                        ago and 388
                                         nothing to do with BH or DC.


                                         Accusation 4: At a BH ciass, not DC, I said that an employee only got thejob she had
                                         due to her being beautiful. This is an outright lie. Maxie is the one who made that joke,
                                         Ryan, can attest to this because we spoke to her after class and I said that the
                                         community was sensitive and asked to fix her statement, which she did the next day.


                                         Here is the bottom line. Maxie doesn't work here because she stole from us, lied about
                                         her dad dying, took 3 months paid leave and then stole content from SECOM and ILF.
                                         Upon doing so we locked her work computer and made sure any contracts she tried to
                                         take from us were squashed. She then reached out to Cat Murdock who quit 3 years
                                         ago and immediately tried to sell some of our services as her own, then went to work
                                         for a competitor and then went to work for our client. We never sued either of them.


                                         They reached out to Stephanie Carruthers. Who won a black badge at my contest, then
                                         overnight became a competitor and then became a hater because we had to remove JC
                                         (her husband) from the competition. He called and broke our code of ethics and
                                         threated to fire someone acting as the boss. We called her back, told her it was a prank,
                                         apologized and then removed him from stage. To get back at us for the embarrassment
                                         he took a young man under his wing and trained him to do the same thing the next
                                         year. When we found out we banned him and his entourage from SEV forever.


                                         Stephanie then decided to write a competitive SE class which somehow got into BH and
                                         she tried to duplicate our homework idea but had students committing fraud, we
                                         reported her to BH and unlike all these people we did NOT do so anonymously.


                                         Since then they have been a path to try and take me down. Maxie as ringleader is now
                                         having backing from Cat and Stephanie, but I truly doubt there is 15 others. Maybe 4-5.


                                         If you want 3rd party verification of this, this group has reached out to a number of
                                         people - Patrick Laverty from Layer8 and asked him to side with them to take me down.
                                         Also Alethe Denis, and they offered her a spot on a tv show in exchange for taking me
                                         out.



                                         So if you want to investigate code of conduct violations you should be strongly looking
                                         at that group. Lying, fabricating stories and trying to create a coup for what?


                                         We are not angry, we are disappointed. And we will make it easy on you. We are going
                                         to leave DEF CON and take SEVillage to another conference this year. It truly saddens
                                         me that knowing me for 1 5 years+ you guys couldn't see through this. Funny all these
                                         accusations are years old but they only come up 1 month after Maxie is fired?


                                         For those years I ran a village that was ethical and moral. I had no porn, no cursing and
                                         you yourself even said that we were one village that rarely needed goons. I helped start
                                         DEF CON KIDS, and had the first kids event at def con, was the first and only contest to
                                         get a Black Badge in my first year, and helped start over 12 careers - all with little to no
                                         support or help,


                                         These accusations are ludicris. Again, I am not upset, just really sad it is going the way it

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                                         DEF CON KIDS, and had the first kids event at def con, was the first and only contest to
                   Case 2:23-cv-01932-BAT
                                get a Black Badge inDocument
                                                     my first year, 101      Filed
                                                                    and helped start 03/14/25
                                                                                     over 12 careers -Page
                                                                                                       all with304     of no
                                                                                                                little to 388
                                         support or help.


                                         These accusations are ludicris. Again, I am not upset, just really sad it is going the way it
                                         is.



                                         I hope you are well and healthy. I would truly avoid giving whatever name you will call
                                         this village to Stephanie, trust me Jeff. She is terrible, unethical and a liar. You, of course
                                         have to make the decisions in the end but I hope as far back as we go you will trust me
                                         to help you pick a successor.




                  Jan 18                 Marc Cjunky
                                  i      My first though is this is classic DARVO:


                                         "DARV0 refers to a reaction perpetrators of wrong doing, particularly sexual offenders,
                                         may display in response to being held accountable fortheir behavior, DARVO stands for
                                         "Deny, Attack, and Reverse Victim and Offender." The perpetrator or offender may Deny
                                         the behavior, Attack the individual doing the confronting, and Reverse the roles of
                                         Victim and Offender such that the perpetrator assumes the victim role and turns the
                                         true victim — or the whistle blower — into an alleged offender. This occurs, for instance,
                                         when an actually guilty perpetrator assumes the role of "falsely accused" and attacks the
                                         accuser's credibility and blames the accuser of being the perpetrator of a false
                                         accusation."



                                         Its also exactly what I thought he might do regardless - I mean he's made a career out
                                         of teaching people to deceive and gaslight. I would return some of his same accusations
                                         back to him? Where are his reports of conduct violation or abuse? If he was victimised
                                         or the subject of criminal activity, where are his police reports. He's narrative is mirroring
                                         the weaknesses in whatever was presented to him. Whats also clear is "X person got
                                         angry so I showed why it wasn't my problem" rather than "someone with a disability/
                                         felt uncomfortable / needed support, so I made accommodations to help them to the
                                         best of my ability. Its all offensive defense.


                                         The fact that he is cutting and running is also telling. He's offering a "peaceful" exit so
                                         that this goes no further. IMHO we should make some show of reaching out to other
                                         parties especially ones who can be seen as impartial. However I see nothing given what
                                         Grifter said, what the numerous witnesses said to change our course of action.


                                         Its important though that we are seen to take the high road because he WIILL use it
                                         against us and use it to support the crusade narrative he's clearly building. A narrative
                                         which sadly will only victimise further and divide the community.




                  Jan 18                 Marc Cjunky
                                  * dP   Tl;dr The DARVO tactics and behaviour are not unexpected. We should act but while
                                         acting, continue to build the evidence to strengthen this for the victims sake.


                                         Whats Blackhats position now he has found time to talk to them? Can we unify and take
                                         coordinated action?

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Confidential                                                                                                                               DEFCCN00000022
                                  '      Tl;dr The DARVO tactics and behaviour are not unexpected. We should act but while

                    Case 2:23-cv-01932-BAT
                                 acting, continue to Document       101to strengthen
                                                     build the evidence      Filed 03/14/25           Page
                                                                                     this for the victims sake.305 of 388


                                         Whats Blackhats position now he has found time to talk to them? Can we unify and take
                                         coordinated action?




                  Jan 18         JrA Darington, media director
                                 WSsF Am I correct that these are mostly justifications for accusations we haven't made?

                                              +1




                  Jan 18                 Jeff Moss, Organizer
                                         .^Grifter You talked with him the most, what's new in his email?




                  Jan 20                 Wednesday (Melanie Ensign), Press Department Lead
                                         I have the same question. In order for us to honestly say he knows why he was banned,
                                         we need to tell him. He doesn't need to agree with us, but what he's listed here is really
                                         about BH, not DC coc violations.




                  Jan 20          SCwn Grifter, Contests & Events Lead
                                         I think it's best to still deliver him a formal communication outlying why he's being
                                         asked to step away from DEF CON. This is a "you can't fire me, I quit" tactic. That's fine,
                                         but we need to make it clear that DEF CON took a stand against toxic behavior, met
                                         with 15+ accusers, heard their stories, and acted.


                                         I don't see anything new in this e-mail other than the same justifications he was making
                                         from the start. To CJ's point, we have had no evidence provided to us of wrongdoing
                                         perpetrated against him. To my knowledge he's no longer harassing Maxie though he
                                         still points to her as the main aggressor. I wasn't familiar with DARVO, but this sounds
                                         like exactly that, and he unfortunately may learn nothing from this.




                  Jan 20                 Wednesday (Melanie Ensign), Press Department Lead
                                         I suggest being as specific as possible about what we considered toxic behavior without
                                         implicated the individuals who reported it. If we're vague, I have no doubt he will
                                         publish it with a woe is me context. The more specific we can be, the less likely he'll
                                         want that document to see the light of day but we'll have it if we need it legally.




                  Jan 21                 Jeff Moss, Organizer
                                         I'm thinking of a draft that tries to accomplish everything we want.


                                         It would be helpful if people could contribute bulletpoints of what we want to include or
                                         not include. For example:


                                         - Do not mention specificis.
                                         - Include a statement about how Villages are held to a higher standard because they
                                         represent DEF CON

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                                         not include. For example:

                   Case 2:23-cv-01932-BAT                         Document 101                  Filed 03/14/25   Page 306 of 388
                                         - Do not mention specificis.
                                         - Include a statement about how Villages are held to a higher standard because they
                                         represent DEF CON

                                         - Don't name names

                                         -Assume it will be public so link to our CoC
                                         - Etc.



                                         I'll start writing bits and pieces but would love for everyone to also write bits and pieces
                                         I could incorporate.




                  Jan 24                 Jeff Moss, Organizer
                                 C/” Here are my half finished thoughts. I could really use some help in formulating a clear
                                         direction. It is easy to just keep writing and writing, but that won't help us.




                                         The DEF CON Code of Conduct exists to explain what behaviors are unacceptable for
                                         attendees, organizers and Goons.


                                         As a Village organizer at DEF CON you and your village are held to a high standard of
                                         conduct. You are representing not just yourself and those of your village but the larger
                                         community who you attract. Organizers act as an example of the kind of behavior that is
                                         acceptable. Because of this we consider activities outside of the convention space when
                                         deciding what kind of people we want to associate with, support, and promote.


                                         Based on your email from January xxx 2022 and combined with the voice conversations
                                         you had with Grifter it provides us enough information to come to a conclusion on how
                                         to handle the CoC violation reports we have received.




                                         Half finished thoughts, need help.


                                         [Do we start to enumerate everything from Maxie and others? Or?


                                         We received an initial CoC violation report about harassment and retaliatory behavior
                                         by you towards a previous employee. The report sounded very unprofessional and when
                                         Grifter asked you about it you admitted to the behaviors but had excuses why they
                                         deserved what you did to them. You describe those who have come forward as a "group
                                         of losers that have no proof and a vendetta.” We have seen supporting materials that
                                         contradict what you have said and written. You are welcome to supply your own
                                         r i in   ft f rv.r-1   Yintnfr   bu i+   -F-ar k'aun
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                                         by you towards a previous employee. The report sounded very unprofessional and when

                   Case 2:23-cv-01932-BAT          Document
                                Grifter asked you about           101 to the
                                                        it you admitted   Filed  03/14/25
                                                                             behaviors           Pagewhy
                                                                                       but had excuses 307  of 388
                                                                                                         they
                                         deserved what you did to them. You describe those who have come forward as a "group
                                         of losers that have no proof and a vendetta." We have seen supporting materials that
                                         contradict what you have said and written. You are welcome to supply your own
                                         supporting documents, but so far have not.


                                         - You gathered enough details about an ex -employee's personal laptop that you
                                         contacted Apple and claimed she had stolen it and asked them to lock it It took her
                                         days to unlock it by showing her sales receipt to Apple. In your email you claim the
                                         laptop belongs to you, but on the phone admitted to Grifter that it did not.




                                         Your letter to us, providing your justifications for


                                         At no point in your conversation or letter have you


                                           Accusing Grifter of being a


                                         We have not looked into the Black Hat specific accusations, we have focused on the
                                         ones where you have admitted to Grifter your actions or where the C


                                          and in the course of investigating discovered


                                         That led to five other people coming forward with their stories, and then 1 1 and then
                                         15. We believe there are more such stories out there, we just haven't heard them yet.




                  Jan 25                 Grifter, Contests & Events Lead
                                         The only issue I see with it is that it mentions me more than it mentions the people who
                                         actually accused him so it makes it look like I'm the one who accused him and that I'm
                                         the one driving this forward. I was just the guy that Maxie reached out to because she
                                         knew I could talk to the people who could make a difference.


                                         I think it's fair to say "You confirmed to Grifter that you had done the things you were
                                         being accused of but gave justifications for each of them."


                                         I don't think it needs to have my name in there 5 times so far. Haha. When I read this
                                         even I think I'm the one going after him and am the reason he's being asked to leave
                                         DEF CON. We had a meeting with 1 5 people who told stories about the horrible things
                                         he has said and done to them, at work, at Black Hat, and at DEF CON. That should be
                                         enough.




                  Jan 25          CS     Jeff Moss, Organizer
                                   ft        Grifter I got you down to four mentions! We are not mentioning peoples names so I
                                         am pretty limited. Any advise in how to deal with that? It's a draft and I need help
                                         drafting, please suggest language or changes.


                                         Here is the current version:


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Confidential                                                                                                                        DEFCCN00000025
                                                     i got you uowri   to lour   rnenuuns:   vve are riot mentioning peoples names so   i


                                am pretty limited. Any advise in how to deal with that? It's a draft and I need help
                   Case 2:23-cv-01932-BAT           Document 101 Filed 03/14/25 Page 308 of 388
                                         drafting, please suggest language or changes.


                                         Here is the current version:




                                         The DEF CON Code of Conduct exists to explain what behaviors are unacceptable for
                                         attendees, organizers and Goons.


                                         As a Village organizer at DEF CON you and your village are held to a high standard of
                                         conduct. You are representing not just yourself and those of your village but the larger
                                         community who you attract. Organizers act as an example of the kind of behavior that is
                                         acceptable. Because of this we consider activities outside of the convention space when
                                         deciding what kind of people we want to associate with, support, and promote.


                                         Based on your email from January xxx 2022 and combined with the voice conversations
                                         you had with Grifter it provides us enough information to come to a conclusion on how
                                         to handle the CoC violation reports we have received: We are not inviting you and the
                                         SE Village back to DEF CON. We surmise you guessed this was going to happen and was
                                         why in your letter to us decided not to return with the SE Village this year.


                                         We received an initial CoC violation report about harassing and retaliatory behavior by
                                         you towards a previous female employee. The report described several behaviors that
                                         are unprofessional inappropriate, and on-going. When Grifter asked you to stop the
                                         behavior you said you would, but just days later you continued by gathering enough
                                         details about the personal laptop she used while working for you and then contacted
                                         Apple and claimed she had stolen it, getting Apple to remotely lock it It took her days
                                         to unlock it by showing Apple her sales receipt. When Grifter asked you to explain
                                         yourself you admitted to the behaviors but had excuses why they deserved what you
                                         did to them.


                                         In the past at DEF CON you called Grifter a child molester in front of your SE Village staff
                                         because the SE Village space was going to be used for a party in the evening and you
                                         didn't like it. So it was not much of a surprise that soon after the first CoC violation
                                         report we were aware of other issues, at one point on a conference call with 15 people
                                         with stories to tell.


                                         You describe those who have come forward as a "group of losers that have no proof
                                         and a vendetta." We have seen supporting materials that contradict what you have said
                                         and written. You are welcome to supply your own supporting documents, but so far
                                         have not.




                                         Half finished thoughts, need help.


                                         [Do we start to enumerate everything from Maxie and others? Or?


                                         - In your email you claim the laptop belongs to you, but on the phone admitted to
                                         Grifter that it did not.



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Confidential                                                                                                                                DEFCCN00000026
                                         [Do we start to enumerate everything from Maxie and others? Or?
                   Case 2:23-cv-01932-BAT                     Document 101              Filed 03/14/25        Page 309 of 388
                                         - In your email you claim the laptop belongs to you, but on the phone admitted to
                                         Grifter that it did not.




                                         Your letter to us, providing your justifications for


                                         At no point in your conversation or letter have you


                                           Accusing Grifter of being a


                                         We have not looked into the Black Hat specific accusations, we have focused on the
                                         ones where you have admitted to Grifter your actions or where the C




                  tan 25                 Wednesday (Melanie Ensign), Press Department Lead
                                         I'll spend time on this today. Thanks for getting things started!




                  Feb 3                  Wednesday (Melanie Ensign), Press Department Lead
                                         Here's a suggested revision -- of note, I've removed Grifter's name to prevent targeted
                                         pile-ons, or the perception that Grifter made this decision alone. I also removed the
                                         date of his letter as a motivator for our decision, as we had made our decision prior to
                                         receiving that correspondence & I don't want the reporting individuals to misinterpret
                                         that.




                                         As a Village organizer at DEF CON you and your village are accountable to our Code of
                                         Conduct, and we expect organizers to act as an example of acceptable behavior in the
                                         community. Because of this, we consider activities outside of the convention space
                                         when deciding who we want to associate with, support, and promote.


                                         Your email correspondence combined with voice conversations held with members of
                                         our team, provides us enough information to confirm several CoC violation reports we
                                         have received. Subsequently, we are not inviting you or the SE Village back to DEF CON.
                                         Based on our communications with you, we suspect this does not come as a surprise
                                         and that this situation factored into your decision to leave DEF CON before we can
                                         inform the broader community.


                                         You've describe those coming forward as a "group of losers that have no proof and a
                                         vendetta." Yet, we have seen supporting materials that contradict this statement.


                                         The initial CoC violation report we received detailed harassing and retaliatory behavior,
                                         which you confirmed to our team when confronted about the allegations. In our due
                                         diligence to investigate these claims, we spoke with more than a dozen individuals with
                                         corroborating examples that demonstrate a repeated pattern of behavior.


                                         To be clear, we have not looked into allegations reported to other conferences. Our
                                         decision is based strictly on our own Code of Conduct and the violations reported

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                                             diligence to investigate these claims, we spoke with more than a dozen individuals with
                   Case 2:23-cv-01932-BAT         Document
                                corroborating examples          101 a Filed
                                                       that demonstrate        03/14/25
                                                                        repeated               Page 310 of 388
                                                                                 pattern of behavior.


                                             To be clear, we have not looked into allegations reported to other conferences. Our
                                             decision is based strictly on our own Code of Conduct and the violations reported
                                             directly to DEF CON.




                  Feb 4                      Jeff Moss, Organizer

                                             I like it ^Wednesday thank you for simplifying it and preventing me from going down
                                             rabbit holes.


                                             One observation is by removing specific examples of bad behavior Chris risks very little
                                             by sharing our letter. I know we were alternating between this approach and being
                                             specific and factual with enough allegations that Chris would not want to make the
                                             letter public. I'm OK either way, curious on why the more general approach? It does hint
                                             at more first should people dig and doesn't give him much to gram on legally so that is
                                             all good.


                                             I should catch you up on a call I had with BH and their experience in talking with Chris
                                             and his COO and someone from this charity. Basically they micro refuted every possible
                                             allegation while never acknowledging any possible responsibility for the situation. The
                                             only answer why so many people are hating on Chris is because of the on-stage issue a
                                             contestant and his wife had (he talks about this in his letter) and it is their vengeance
                                             coordinating this vast attack against him.


                                             I caught them up on how Chris already backed out of DEF CON, and how we are still
                                             sending him something to explain why.


                                             He missed the deadline to submit training to BH, turning in late, and because of that
                                             and the ongoing CoC issues looks like they will drop his training and remove him from
                                             the advisory board. I'll see what their timing looks like after we send Chris our letter.




                  Feb 4                      Wednesday (Melanie Ensign), Press Department Lead
                                        II      Jeff — I was concerned that in the earlier draft, we only talk about the specific
                                             allegations from 1 individual, which singles her out in a way that could cause more
                                             retaliation. If we can include details from some of the other folks we talked to, then I
                                             think we could more safely accomplish our goal.


                                             For example, "we received and confirmed reports of repeated harassment and
                                             retaliation against former employees, and abusive behavior towards volunteers in the
                                             SE Village.”


                                             What do you think?




                  Feb 4           Dry        Jeff Moss, Organizer
                                             There is one thing we could try.


                                             In Chris's email he says he he shut down her work laptop. Maxie says it is her personal
                                             laptop and has receipts to prove it.
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Confidential                                                                                                                             DEFCCN00000028
                  Feb 4           C®     Jeff Moss, Organizer
                   Case 2:23-cv-01932-BAT                    Document 101              Filed 03/14/25           Page 311 of 388
                                         There is one thing we could try.


                                         In Chris's email he says he he shut down her work laptop, Maxie says it is her personal
                                         laptop and has receipts to prove it.


                                         I could ask Chris for receipts to show it was a company asset, and if he can not then it is
                                         a blow to the credibility of everything he may be saying.


                                         We could get a copy first from Maxie and if she shares it then we ask Chris and see what
                                         happens?




                  Edited Feb 4           Wednesday (Melanie Ensign), Press Department Lead
                                         Does either answer violate our coc? I suggest we focus on the allegations that clearly
                                         violate our policy to avoid the perception that we're deviating from the norm or making
                                         exceptions.


                                              Agree.




                  Feb 4                  Jeff Moss, Organizer
                                 ^.7     If Chris is lying about that then we can point to his answers being unreliable.


                                         By asking Chris he would know we are on to him, not sure if that makes him go after us
                                         less or more?




                  Feb 4                  Wednesday (Melanie Ensign), Press Department Lead
                                         I think it's worth having in our back pocket if/when we need it, especially if this gets
                                         ugly, but it doesn't change the outcome of our decision, thus I think it's a
                                         confusing/distracting element to include in this particular correspondence.


                                              +1




                  Feb 5                  Jeff Moss, Organizer
                                      T Ok, makes sense.



                                         TjfrGrifter Can you ask Maxie for her proof it's her laptop so we have it ready?


                                         Everyone else $ Darington ^Marc ® Wednesday any suggested edits? If not I'll get
                                         it ready to email him.




                  Feb 5                  Wednesday (Melanie Ensign), Press Department Lead
                                         Nothing more from me unless others want further discussion.




                  Feb 6                  Marc Cjunky
                                  1      Looks good to me. I like the fact its clear concise and doesn't put undue pressure on
                                         anv of the victims. It also doesn't ciive him easv footholds to challenne.
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Confidential                                                                                                                           DEFCCN00000029
                                            Nothing more from me unless others want further discussion.

                   Case 2:23-cv-01932-BAT                        Document 101               Filed 03/14/25            Page 312 of 388
                  Feb 6                     Marc Cjunky
                                  I & Looks good to me. I like the fact its clear concise and doesn't put undue pressure on
                                            any of the victims. It also doesn't give him easy footholds to challenge.




                  Feb 6                     Grifter, Contests & Events Lead
                                            Same here. I think it looks good.




                  Feb 6                     Darington, media director
                                            It's solid. If I had any adjustment to suggest it would be putting the info from the last
                                            paragraph into the first paragraph. We take events outside of the convention space into
                                            account, but we are not responding to any allegations made at other conventions.


                                            Other than that organizational note, I think it makes the statement that's needed and
                                            doesn't leave unnecessary attack surface. Chef's kiss.




                  Feb 6           Lfp       Jeff Moss, Organizer
                                 Vz         Ok so now a procedural question:


                                            I email Chris this, and I'll share it confidently with Black Hat so they know what we have
                                            done. Then what?


                                            I was planning to:
                                            - Remove SEV from Basecamp
                                            - Remove SEV from Discord


                                            But do we update our transparency report? This is our communication to Chris, do we
                                            make one that is public?




                  Feb 6                 Jk Wednesday (Melanie Ensign), Press Department Lead
                                        '   I would do everything as simultaneously as possible. We drafted language for the
                                            transparency report update above in this thread.


                                                 Agreed.




                  Feb 6                     Jeff Moss, Organizer
                                            With how it has gone are we still good with that transparency language everyone?


                                            Sorry for keep asking for everyone's input but once I do this we can't undo anything.




                  Feb 7          JR* Marc Cjunky
                                  i # To save everyone scrolling this is the CoC language we landed on for Chris and DCG414:


                                            "We received multiple reports of intimidation and retaliation by a DEF CON Village
                                            IpArlpr Chri<; HaHnanv nf th(=i ^F X/illanp Afrpr rnnvpr<;atinn<; with thp rpnnrtinn naririp<; R1
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Confidential                                                                                                                                    DEFCCN00000030
                  Feb 7    JnSk Marc Cjunky
                   Case 2:23-cv-01932-BAT                    Document 101            Filed 03/14/25          Page 313 of 388
                                  MF To save everyone scrolling this is the CoC language we landed on for Chris and DCG414:


                                         "We received multiple reports of intimidation and retaliation by a DEF CON Village
                                         leader, Chris Hadnagy of the SE Village. After conversations with the reporting parties &
                                         Chris, we're confident the behavior violates our CoC and the severity of the
                                         transgressions merits a ban from DEF CON.


                                         We have also taken the rare action to disband DCG414. Code of Conduct violations by
                                         the group's primary Point of Contact and subsequent mishandling of the event left us
                                         without confidence in the group's leadership."


                                         From my perspective its fine and lines up with everything else.


                                              Agreed




                  Feb 9                  Jeff Moss, Organizer
                                         I've been going over my messages with Chris and looks like I didn't remember his actual
                                         quotes.



                                         Here are what we have to choose from to include in the letter:


                                         "Yah I guess try and think who you believe. Someone you know for 1 5+ years and a
                                         proven track record that has run a successful village forthat long, or a bunch of
                                         disgruntled ex employees with a penchant for drama and a lack of ethics."


                                         "Sorry you got duped and couldn't see your way through it."


                                         "Ask these ridiculous liars for one shred of proof, I can give you hundreds of people and
                                         20+ years of proof."


                                         What should we use? I suggest:


                                         You've told us to “Ask these ridiculous liars for one shred of proof." We have, and
                                         now have supporting materials that contradict what you have written to us in your
                                         statement.




                  Feb 9                  Wednesday (Melanie Ensign), Press Department Lead
                                         SGTM




                  Feb 9                  Marc Cjunky

                                  l.y Looks fine to me but we don't need ro get any further into a back and forth as it makes
                                         us sound defensive. All he really need to know is:


                                         “We conducted a thorough review of all the witnesses and evidence. After that review
                                         we were left with no doubt that the accusations were both substantial and factual. This
                                         leaves us no choice but to    "


 URL

 https://3. basecamp.com/3566641/buckets/29534797/messages/5378926654

 Timestamp

 Tue Oct 11 2022 12:39:22 GMT-0500 (Central Daylight Time)




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                   Case 2:23-cv-01932-BAT                     Document 101             Filed 03/14/25            Page 314 of 388
                                         "We conducted a thorough review of all the witnesses and evidence. After that review
                                         we were left with no doubt that the accusations were both substantial and factual. This
                                         leaves us no choice but to      "


                                         For example.




                  Feb 9                  Jeff Moss, Organizer
                                         Do you suggest dropping the paragraph to stay focused?




                  Feb 9                  Marc Cjunky
                                         I don't think its a massive need, but personally I like to keep these clinical and factual.

                                         Replying to him validates him. Something neutral that says we performed thorough due
                                         diligence avoids answering him while neutralising any accusations we just listened to
                                         hearsay.




                  Feb 9                  Jeff Moss, Organizer


                                         Here is where we are:


                                         This is what I will email to Chris:


                                         As a Village organizer at DEF CON you and your village are accountable to our Code of
                                         Conduct, and we expect organizers to act as an example of acceptable behavior in the
                                         community. Because of this, we consider activities outside of the convention space
                                         when deciding who we want to associate with, support, and promote.


                                         To be clear, we have not looked into allegations reported to other conferences. Our
                                         decision is based strictly on our own Code of Conduct and the violations reported
                                         directly to DEF CON.


                                         Your email correspondence combined with voice conversations held with members of
                                         our team, provides us enough information to confirm several CoC violation reports we
                                         have received. Subsequently, we are not inviting you or the SE Village back to DEF CON.
                                         Based on our communications with you, we suspect this does not come as a surprise
                                         and that this situation factored into your decision to leave DEF CON before we can
                                         inform the broader community.


                                         The initial CoC violation report we received detailed harassing and retaliatory behavior,
                                         which you confirmed to ourteam when confronted about the allegations. In our due
                                         diligence to investigate these claims, we spoke with more than a dozen individuals with
                                         corroborating examples that demonstrate a repeated pattern of behavior.


                                         Jeff Moss
                                         DEF CON




                                         Here is what we will post in the Code of Conduct update: NOTE MY EDITS AND PLEASE
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                                         Jeff Moss
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                                DEFCON                       Document 101              Filed 03/14/25           Page 315 of 388



                                         Here is what we will post in the Code of Conduct update: NOTE MY EDITS AND PLEASE
                                         COMMENT IF YOU ARE OK > Darington >Grifter O Marc < Wednesday


                                         "We received multiple CoC violation reports by a DEF CON Village leader, Chris Hadnagy
                                         of the SE Village. After conversations with the reporting parties and Chris, we are
                                         confident the severity of the transgressions merits a ban from DEF CON.


                                         We have also taken the rare action to disband the DEF CON Group DCG414. Code of
                                         Conduct violations by the group's primary Point of Contact and subsequent
                                         mishandling of the event left us without confidence in the group's leadership."




                                         Here is what I will post to the department leaders so they have a heads up:




                  Feb 9                  Wednesday (Melanie Ensign), Press Department Lead
                                             Jeff — Below is suggested language to share with dept leads when you publish the
                                         transparency report update. It is intentionally brief & devoid of details in case it's shared
                                         beyond the original distribution.


                                         Today, we published an update to our transparency report based on reports we received
                                         after closing ceremonies in August. Of note, former SE Village lead Chris Hadnagy
                                         received a permanent ban from DEF CON for confirmed Code of Conduct violations. To
                                         protect all of the individuals who took significant personal risk to report this behavior,
                                         we are not publishing further information.


                                         We hope you will also respect their privacy by not fueling rumors or speculation.
                                         Anything you say can be attributed to someone associated with DEF CON & we don't
                                         want to discourage anyone from reporting violations to us in the future.




                  Feb 9           CS     Jeff Moss, Organizer
                                         How is this?




                                         Announcement Heads Up:


                                         Today we published an update to our transparency report based on reports we received
                                         after closing ceremonies in August. Of note, former SE Village lead Chris Hadnagy
                                         received a permanent ban from DEF CON for confirmed Code of Conduct violations. To
                                         protect all of the individuals who took significant personal risk to report this behavior
                                         we are not publishing further information - they are not our stories to share.



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                                          after closing ceremonies in August. Of note, former SE Village lead Chris Hadnagy
                   Case 2:23-cv-01932-BAT         Document
                                received a permanent            101
                                                     ban from DEF       Filed
                                                                  CON for       03/14/25
                                                                          confirmed           Pageviolations.
                                                                                    Code of Conduct 316 of To 388
                                          protect all of the individuals who took significant personal risk to report this behavior
                                          we are not publishing further information - they are not our stories to share.


                                          We hope you will also respect their privacy by not fueling rumors or speculation.
                                          Anything you or your department Goons say can be attributed to someone associated
                                          with DEF CON. We don't want to discourage anyone from reporting violations in the
                                          future because we were speculating about it online.


                                          If you or your team are asked for a comment please just point whoever is asking to the
                                          transparency report or to press@defcon.org ( £* Wednesday )


                                          Thank you!
                                          Jeff




                  Feb 9                   Darington, media director
                                          I think both are ready to go.




                  Feb 9           Orc     Jeff Moss, Organizer
                                          OK, here we go everyone         Darington ijf Grifter Q Marc ® Wednesday


                                          The Transparency Report has been posted:
                                          https://defcon.ora/html/links/dc-trans parency.html


                                          Department Leads notified


                                          Email Sent to Chris


                                          SEV archived and Chris removed from our Creators Base Camp project.




                  Feb 10                  Jeff Moss, Organizer
                                          The online crazy is starting with speculation around if it was sexual in nature. Should we
                                          add something to the transparency report to reign that in, like "a not-sexual in nature
                                          CoC violation™ or go to the bullying and harassment?


                                          I worry about making any additional statements.


                                          Chris tweeted that he has a huge announcement coming in the next couple days so that
                                          sounds like legal action.




                  Feb 10                   Wednesday (Melanie Ensign), Press Department Lead
                                        Si I suggest waiting a bit. If Chris wants to clear the record about his violations, he's

                                          welcome to do so. We have said nothing to imply it was sexual in nature. The coc
                                          covers a lot of different possibilities.


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                  Feb 10                 Wednesday (Melanie Ensign), Press Department Lead
                   Case 2:23-cv-01932-BAT                       Document 101           Filed 03/14/25            Page 317 of 388
                                         I suggest waiting a bit. If Chris wants to clear the record about his violations, he's
                                         welcome to do so. We have said nothing to imply it was sexual in nature. The coc
                                         covers a lot of different possibilities.


                                          ew a Agree


                  Feb 10          £3     Jeff Moss, Organizer
                                         Good point. If Chris wants to say something to clarify it, he could say it wasn't sexual
                                         and we wouldn't contradict him.




                  Feb 10                 Darington, media director
                                         I have some trepidation about adding to the statement as well. I don't like people

                                         speculating about the violation, but I have some concern that being too specific just
                                         increases the attack surface for his inevitable clap back. There probably isn't a
                                         frictionless way through this.




                  Feb 10                 Jeff Moss, Organizer
                                 A™ I agree. Chris can make statements as to the nature.

                                         I have to sleep so can everyone here watch over it and I've asked Mel to be in charge
                                         while I'm out of it.


                                         I'll be up in 6 hours and after school drop off will be ready.




                  Feb 10                 Wednesday (Melanie Ensign), Press Department Lead
                                         Brief & boring update: News of the ban is spreading through the community & the
                                         reaction is predominantly supportive of DEF CON's decision. Some victims stories are
                                         vaguely making their way to the community either directly or through trusted proxies,
                                         but not many details at this point. I've also seen a few comments from people thinking
                                         they deserve to know all the nitty gritty details of someone else's experience, but
                                         nothing worth entertaining.


                                         I know a lot of journalists have seen this DC's update posted in some privacy
                                         chats/forums that I'm in, but none of them have asked DEF CON about it & I'm not
                                         expecting any press coverage at this time.


                                         I will let you know if I see or hear anything that changes my current recommendations
                                         of staying calm & quiet.


                                         Feel free to flag any concerns or insights that I might be missing.




                  Feb 10                 Wednesday (Melanie Ensign), Press Department Lead
                                         Spoke too soon — we just received an inquiry from a staff writer at Motherboard (not
                                         one of the sernritv renorters who attends DPI askinn for more details I am not nninn tn
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Confidential                                                                                                                        DEFCCN00000035
                                          Feel free to flag any concerns or insights that I might be missing.
                   Case 2:23-cv-01932-BAT                     Document 101                    Filed 03/14/25        Page 318 of 388

                  Feb 10                  Wednesday (Melanie Ensign), Press Department Lead
                                          Spoke too soon — we just received an inquiry from a staff writer at Motherboard (not
                                          one of the security reporters who attends DC) asking for more details. I am not going to
                                          respond.




                  Feb 10                  Darington, media director
                                          Thanks for the update. I'm pleasantly surprised by the strong support so far.




                  Feb 10                  Grifter, Contests & Events Lead
                                          Lots of DEF CON support, so that's great. However, there's so much speculation that I
                                          hope it doesn't muddy things up.


                                          I will say there are a lot of "I'm not surprised" or "I could see that coming" type
                                          comments. I think more stories are going to come out of this.




                  Feb 10                  Marc Cjunky
                                          Had someone come forward with an incident from Derbycon. Explained its outside our
                                          remit but that Inwas sorry it happened and hoped this brought them some closure.




                  Feb 10                  Marc Cjunky
                                  f y Also a few folks who referred people to the SE village or to the contest wondering if this
                                          was going to blow back on them. I explained this was about one person's behavior that
                                          were investigated before action was taken. Expect a few of these - either out of genuine
                                          concern or fishing for details.




                  Feb 10         gSw Marc Cjunky
                                  *       Btw while most of what he did wasn't overtly sexual in nature. Sending people into

                                          ad ult/li ngerie stores with a mission objective of stalking members of the opposite sex to
                                          ask them intimate questions most certainly was.


                                               Gross




                  Feb 10                  Dar'ngt°n’ media director
                                          GrrCon's Twitter account DMed for information - I pointed them to press@defcon.


                                               Thx!




                  Feb 10                  Jeff Moss, Organizer
                                      x   I'm just awake starting to get functional but we did get another story about Derby:




                                                                            01:08                         i!!

                                                                            Messages   Geoffrey Vaughan         a
 URL

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Confidential                                                                                                                        DEFCCN00000036
                  Feb 1U                 jeTT moss, organizer

                           & I'm just awake starting
                   Case 2:23-cv-01932-BAT            to get functional
                                                 Document       101 but Filed
                                                                        we did 03/14/25
                                                                               get another story about 319
                                                                                               Page    Derby:of 388



                                                                        01:08


                                                                      Messages          Geoffrey Vaughan                   cb

                                                                        Could you share with us the conference
                                                                        or any details you had heard?




                                                                                My boss sent a letter to cterbycon on my
                                                                                behalf about this individual pulling a
                                                                                switch -blade out in the middle of a
                                                                                Social Engineering OSINT training and
                                                                                threatening that he would "slap me in
                                                                                the balls with it". This was the year
                                                                                before the last derbycon when alt issues
                                                                                broke out about them pushing back
                                                                                against at CoCand ended up closing up
                                                                                shop. My issue is very specific and self
                                                                                identifying and I was not comfortable
                                                                                speaki ng publ icly about it after the
                                                                                response from the conference. I have
                                                                                notes from lhe entire 2 day course, that
                                                                                was full of inappropriate and I rankly
                                                                                disgusting sexual comments about
                                                                                explicit fetish sex acts.

                                                                                21m



                                                                      Thank you for sharing that with us. We
                                                                      had heard of the public Derby stuff but
                                                                                                                          &
                                                                      not that. It's too bad it took so long for
                                                                      someone to be braue enough to create a
                                                                      report. Now all these stories are
                                                                      bubbling up and I wish we would have
                                                                      known sooner.

                                                                                                                14m




                                                                                unfortunately I was at a point in my

                                                                    © (O) (?*)         Thank, you again, the notes are     o


                                                                IMG_2712.PNG           808 KB     View full-size         Download




                                                                        01:08 V


                                                                      Messages          Geoffrey Vaughan                   a
                                                                                opportunities and this incident occurred
                                                                                after a recent career change.


                                                                                Here are lhe summary notes of my
                                                                                experience.


                                                                                Day 1 of the class:
                                                                                  The instructor promised to keep the
                                                                                class ''PG-13" however,
                                                                                • Morning Activity included a tangential
                                                                                story describing in detail an extremely
                                                                                shocking porn called "Hot Wheels."
                                                                                • Hot Wheels became a recurring joke
                                                                                throughout lhe class
                                                                                 Throughout the day the instructor
                                                                                became fixated on 70's porn and its
                                                                                music was played throughout the two
                                                                                days

                                                                                Day 2
                                                                                 The instructor told a story about
                                                                                getting slapped in the balls, twice. He
                                                                                then directed the students to tweets
                                                                                and photos about it which led to the rest
                                                                                of the day including ball-slapping
                                                                                references.
                                                                                • After one of lhe students made a witty
                                                                                comment the instructor pulled out his
                                                                                switchblade knife and pointed it at the
                                                                                student saying "one of you is getting
                                                                                ball slapped with this."
                                                                                • This seemed to be a joke, but
                                                                                obviously threatening a student with an
                                                                                open switch blade is not even close to
                                                                                being appropriate.



                                                                    ®        ®         Thank you again, the notes are      Q


                                                                IMG 2713. PNG          654 KB     View full-size         Download
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Confidential                                                                                                                        DEFCCN00000037
                                                                                 • This seemed to be a joke, bitt
                                                                                 obviously threatening a student with an

                   Case 2:23-cv-01932-BAT                     Document 101                       Filed 03/14/25
                                                                                 open switch blade is not even close to
                                                                                 being appropriate.
                                                                                                                                    Page 320 of 388
                                                                     @       ®        Thank you again, the notes are       Qi



                                                                 IMG_2713.PNG         654 KB      View full-size         Download




                                                                         01:08                                  :!!

                                                                     C Messages        Geoffrey Vaughan                    cb
                                                                                 men directed me students to tweets

                                                                                 and photos about it which led to the rest
                                                                                 of the day including ball-slapping
                                                                                 references.
                                                                                   After one of the students made a witty
                                                                                 comment the instructor pulled out his
                                                                                 switchblade knife and pointed it at the
                                                                                 Student saying "one of you is getting
                                                                                 ball slapped with this."
                                                                                  This seemed to be a joke, but
                                                                                 obviously threatening a student with an
                                                                                 open switch blade is not even close to
                                                                                 being appropriate.


                                                                                 Here are some other quotes from the
                                                                                 instructor that were offensive and
                                                                                 inappropriate:
                                                                                   "Boobs have super powers" in
                                                                                 reference to women in social
                                                                                 engineering

                                                                                  Frequent references- to ball ste-e
                                                                                 « "We're all gonna hack naked"
                                                                                 • “Let’s all take a group nap and spoon, I
                                                                                 get to be middle spoon"
                                                                                   Frequent 70‘s porn references and
                                                                                 insistence on playing 70's porn music
                                                                                 throughout our work periods


                                                                                 Thank you for taking action where
                                                                                 others were not willing to.


                                                                                 I am sickened by the thought of what so
                                                                                 many others may have also gone
                                                                                 through.




                                                                     ® (p) (c*|       Thank you again, the notes are       o


                                                                 IMG_2714.PNG         644 KB      View full-size         Download




                  Edited Feb 10          Wednesday (Melanie Ensign), Press Department Lead
                                         A lot of people know about DEF CON's past mistakes be we're the biggest, but I will
                                         never go to Derby after the stories I've heard & the way the organizers seemingly
                                         encourage this behavior on social media. I'm glad we made our decision public so that
                                         other cons might rethink their position.


                                         One of the things I've been thinking about today as I read all the comments, is just how
                                         long it took for us to become aware of Chris' behavior because we, as a group, weren't
                                         trusted enough to be clued in to the concerns already circulating through whisper
                                         networks for several years. I hope today's announcement helps encourage more people
                                         to report abusive behavior to DEF CON, knowing we will take them seriously & action
                                         on their concerns.


                                         I've also been reading a lot of comments from other people in positions of power in the
                                         community who claim to have known about this behavior, yet never reported it to
                                         anyone ever. How many victims could have been spared the pain & hurt if other people
                                         who knew just spoke up? I have no tolerance for these assholes.



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                                          I've also been reading a lot of comments from other people in positions of power in the

                   Case 2:23-cv-01932-BAT        Document
                                community who claim            101aboutFiled
                                                    to have known             03/14/25
                                                                       this behavior, yet neverPage   321
                                                                                               reported it toof 388
                                          anyone ever. How many victims could have been spared the pain & hurt if other people
                                          who knew just spoke up? I have no tolerance for these assholes.




                  Feb 10                  Marc Cjunky
                                                Jeff look like that makes two then because the person who reached out is female.
                                          Wonder how many stories are going to surface now.




                  Feb 10                  Jeff Moss, Organizer
                                 '4.^'    Black Hat just told me he is off their review board and no longer training with them. I
                                          don't think that is public yet.




                  Feb 10          CS      Jeff Moss, Organizer
                                          Can people please capture any messages or anything that point to other abuses or
                                          issues? Chris has threatened lawyers and if it goes that way I'd like a pile of other issues
                                          that have come to light


                                                 Roger




                  Feb 10                  Darington, media director

                                 0        does Chris know he's out of Black Hat?




                  Feb 10          i-y'i   Jeff Moss, Organizer
                                          Yes




                  Feb 10                  Jeff ^oss' Organizer

                                                                             11:06 *


                                                                            Detail                   Detail                      *

                                                                                     Deviant Ollam
                                                                                     @deviantollam


                                                                        In the past, some conference organizers had
                                                                        raised the curious eyebrow at me, confused as
                                                                        to why I preferred my appearances and work to
                                                                        not be affiliated with the Innocent Lives
                                                                        Foundation.


                                                                        I suspect those con organizers will not be so
                                                                        puzzled after today.


                                                                        -I             u                             do          ©
                                                                                        11 Feb 2022 at 02 4® via Fenix 2


                                                                                               tl4       U2        Q 100


                                                                                  Deviant Ollam ©deviantollam         1 1/2/22. 02: SO
                                                                                  (To be fair, 1 should point out that the vast
                                                                                  majority of them have not given me
                                                                                  pushback.


                                                                                  They have- privately listened, accepted that I
                                                                                  had significant knowledge of things, they
                                                                                  were responsive, and showed trust in me and
                                                                                  in other voices who were not in the raom.)


                                                                            r .   Noah/Noia The Queer An... <o r ? 22, (13
                                                                                  (gideviantoliam what happened?


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Confidential                                                                                                                             DEFCCN00000039
                                                                                      majority of them have not given me

                                                                                      pushback.

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                                                                                      They have privately listened, accepted that I      Page 322 of 388
                                                                                      had significant knowledge of things, they
                                                                                      were responsive, and shewed trust ini me and
                                                                                      in other voices who were not in the room,)


                                                                                      Noah/Nola The Queer An...        i1   22, c 3 26
                                                                                     ©deviantoliam what happened?



                                                                                      Mark Bulla ©markbulla
                                                                                * @devtantollam Googling, but I don't see
                                                                                •          ©            0=0.



                                                                         IMG_2719.PNG         894 KB     View full-size       Download




                  Feb 10                 Wednesday (Melanie Ensign), Press Department Lead
                                         No additional press inquiries today.




                  Feb 10                 Jeff Moss, Organizer
                                 4 7 Isawashort piece by https://techtaret.com/



                  Feb 10          CiR    Jeff Moss, Organizer
                                     v” We forgot to remove the SEV from Discord, so we just completed that.


                                         Chris banned from our Discord, all the other SEV members were removed from the
                                         "village" role but otherwise not impacted. SEV on discord is now waiting to be
                                         repurposed by whatever the community comes up with as a replacement.




                  Feb 11          (ppi   Jeff Moss, Organizer
                                         We await a cease and desist from Chris, let's see what it says.




                  Feb 1 1                Wednesday (Melanie Ensign), Press Department Lead
                                                          Darington
                                         FYI htt ps://twitter.com/en gineered sass/status/1491 9446766304501 82?s=21


                                         I don't think this is a big deal, but something we didn't think about before.




                  Feb 1 1                Marc Cjunky

                                           jBl   Chris Hadnagy <ehri$.h@inn&centlivesfoundattdn.crg>
                                                 Fri 2/1 1/2022




                                                 I am writing lo address a situation regarding my involvement with DEF CON. I have been advised that I
                                                 have been banned from DEF CON due to a violation of their code of conduct
                                                 (hllps://defcon.org/html/links/dc-code-of-conduct.hlml). The problem is someone has made accusations
                                                 about me, but DEF CON has not (old me what they are or presented any evidence to support (hem

                                                 Lei me say this directly: whalever these accusations are, I believe they are falsa. I'm proud of my
                                                 organization, and I have always been oommilted lo creating an open, accepting environment for our learn
                                                 members.

                                                 DEF CON's code of conduct addresses harassment and discrimination, and I can say with 100% certainty
                                                 lhal no one has ever come lo me with accusations of harassment or discrimination - not a single person -
                                                 since I founded the company in 2008. I'm proud of that record.

                                                 We value nnr Innn-stanrlinn relatinnshin with OFF CON and are nnnlinuinn tn communicate with their
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Confidential                                                                                                                                                DEFCCN00000040
                                                Let me say this directly: whatever these accusations are, I believe they are false. I'm proud of my

                    Case 2:23-cv-01932-BAT            Document 101 Filed 03/14/25 Page 323 of 388
                                     organization, and I have always been committed to creating an open, accepting environment for our team
                                     members.

                                                DEF CON's code of conduct addresses harassment and discrimination, and I can say with 100% certainty
                                                that no one has ever come to me with accusations of harassment or discrimination - not a single person -
                                                since I founded the company in 2008. I'm proud of that record.

                                                We value our long-standing relationship with DEF CON and are continuing to communicate with their
                                                leadership with the hope of reaching an agreement. This is a hurtful situation, but I thank you for your
                                                support and will keep you updated as this moves forward.


                                                                          IMG_5189.JPG    1 55 KB     View full-size   Download




                  Feb 11                 Marc Cjunky
                                         Thats what he blasted to the whole ILF list.




                  Feb 11                 Marc Cjunky
                                         Now on twitter. He's going full DARVO. He's the victim, this came out of the blue with
                                         no communication from DEFCON. In other groups he's also saying its due to false
                                         allegations from an ex employee who stole data.



                                                                    10:21 57                                               LTE (BD


                                                              < Back                           Tweet


                                                                          Christopher Hadnagy
                                                                                                                                       >
                                                                          ©human hacker


                                                              Obviously many of you have questions - as do I
                                                              and my team. The problem is someone has made
                                                              accusations about me, but DEF CON has NOT me
                                                              told what they are or presented any evidence to
                                                              support them. DEF CON’s code of conduct
                                                              addresses harassment and discrimination,... 1/3
                                                              9:47 PM - 1 1 Feb 22 via Twitter Web App

                                                              17 likes      1 retweet


                                                              Reply                           Retweet                             More


                                                                         iainrad@lamr8d                                             25m
                                                                         In Reply to (--pumanhacker
                                                                      One would hope such that these allegations are false


                                                              V       mantisek@mantisek                                             18m
                                                                         In Reply to ©humanhacker
                                                                         Does this have anything to do with the ‘sexy hand
                                                                      sanitizer' badge?



                                                                          IMG_5190.PNG     371 KB     View full-size   Download




                  Feb 1 1                Wednesday (Melanie Ensign), Press Department Lead
                                         He knows much of this is untrue, but I suggest we avoid going tit or tat with him unless
                                         he pushes us to court. We don't need to debate it publicly or provide any more
                                         correspondence with him privately that he can twist to suit his interest.



 URL

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                  Feb 11                 Wednesday (Melanie Ensign), Press Department Lead
                   Case 2:23-cv-01932-BAT        Document
                                He knows much of this             101
                                                      is untrue, but       Filed
                                                                     I suggest     03/14/25
                                                                               we avoid going tit orPage
                                                                                                    tat with324  of 388
                                                                                                             him unless
                                         he pushes us to court. We don't need to debate it publicly or provide any more
                                         correspondence with him privately that he can twist to suit his interest.




                  Feb 11                 Marc Cjunky



                                              < Back                                Detail


                                                         Trev
                                                                                                                               >
                                                         @TrevorGiffen



                                              My name is Trevor.


                                              I have a moral obligation to speak up, since not all
                                              victims can, and I will not stand to watch a
                                              professional peer lie to you.


                                              I have personally seen a case of @HumanHacker
                                              abusing someone, while he was fully informed.
                                              There are multiple victims, he knows.
                                              10:41 PM - 1 1 Feb 22 via Twitter Web App


                                              Reply                                Retweet                               More

                                                                  IMG_5191 .PNG   403 KB   View full-size   Download




                  Feb 11                 Darington, media director
                                         As far as I'm concerned, this isn't a twitter poll. DEF CON has no compelling interest in
                                         inviting the internet to litigate the ban, or to harass the accusers.


                                         It's especially useless to trade blows with him if he's going to argue in bad faith. He has
                                         been contacted. He does know what he's accused of. He does know there are multiple
                                         accusers, not one disgruntled employee. He further has been let go by Black Hat in even
                                         more explicit terms than ours. He's presenting himself as a blindsided victim of secret
                                         accusers, so engaging him is a waste of everyone's time.


                                         We met with the accusers. We found them credible. The accused acknowledged several
                                         of the incidents. We acted in exactly the manner our CoC requires, and the stakeholders
                                         in the action are aware of our reasoning. It's honestly only because of our long
                                         relationship that we took as long as we did to make a statement.




 URL

 https://3. basecamp.com/3566641/buckets/29534797/messages/5378926654

 Timestamp

 Tue Oct 11 2022 12:39:22 GMT-0500 (Central Daylight Time)




Confidential                                                                                                                           DEFCONOOOOOQ42
                                         III   LI   IC   CJL-LIL2I I   UIC   dvVCUI ~   <7 I   UUI   I   U    LJ I I I I   I y .   I L   J   I I L.' I I CF J LI y    k/IIIJ   UCLUUJC          VUI   .Vi ly




                                         relationship that we took as long as we did to make a statement.
                    Case 2:23-cv-01932-BAT                                      Document 101                                             Filed 03/14/25                                    Page 325 of 388




                  Feb 11          iTy    Jeff Moss, Organizer
                                         @ Marc too bad Trevor has a locked account, doesn't really help us unless we get to a
                                         deposition phase.


                                         We should think about saying something simple and review our options:


                                         - Don't respond and let him drive the narrative
                                         - Release our email to him?
                                         - Release details from his email to us where he reveals his knowledge of complaints?
                                         - something else?




                  Feb 1 1         iTS    Jeff Moss, Organizer
                                   ft © Darington Thats almost a perfect statement to make if we were to do so.
                                 *4/0



                  Feb 11                 Jeff Moss, Organizer
                                         Sorry for all the messages, just getting up to speed if what happened over night.


                                         We could ask i#Grifterto say something short like "Dude I to you for hours several
                                         times” or whatever is accurate. It wouldn't come from the DEF CON account but would
                                         show some push back.




                  Feb 11                 Grifter, Contests & Events Lead
                                         Oh, I wanted to do that, believe me. But it's not my place. If we have any next move it's
                                         a screenshot of his communication to DEF CON so everyone knows that he is lying to
                                         them.




                  Feb 11                 Jeff Moss, Organizer
                                 4 •-    What do you make of his "we are
                                         Talking with DEF CON leadership"?




                  Feb 11          CS     Jeff Moss, Organizer
                                         fyi Looks like Panadero just rage quit over DEF CON not providing enough details, and


                                         if it didn't happen at con it isn't our problem. I've removed him from BC projects.




                  Feb 11                 Darington, media director

                                                    6:55                                                     6:55                                                    ¥ l          6-55


                                                                   Reader Q                    OJ        Every complaint I've seen in the last                                  you there. 4/

                                                                                                         48 hours has been some variation of
                                               ’4^’           aIwareJake                                                                                                        But in this particular case, it’s not
                                                                                                         “birt I don't know specifics, how do I
                                                                                                         know this is fair?"                                                    some rando getting cancelled. It's
                                               Transparency reports at
                                                                                                                                                                                the person who founded and runs
                                               conferences were never intended to                        If this is your concern, YOU ARE
                                                                                                                                                                                the biggest village at the
                                               be transcripts for "the community"                        NOT THE INTENDED BENEFICIARY
                                                                                                                                                                                conference. Their CTF winner is

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 Tue Oct 11 2022 12:39:22 GMT-0500 (Central Daylight Time)




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                    Case 2:23-cv-01932-BAT                  Reader D   Document 101                       Filed 03/14/25
                                                                                                                      you there. Page
                                                                                    Every complaint I've seen in the last        4/   326 of 388
                                                  J ©MalwareJake                    48 hours has been some variation of
                                                                                    "but I don't know specifics, how do I    But in this particular case, it’s not
                                                                                    know this is fair?"                      some rando getting cancelled. It's
                                            Transparency reports at
                                                                                                                             the person who founded and runs
                                            conferences were never intended to      If this is your concern, YOU A 'RE
                                                                                                                             the biggest village at the
                                            be transcripts for “the community"      NOT THE INTENDED BENEFICIARY
                                                                                                                             conference. Their CTF winner is
                                            to draw their own conclusions about     OF THE REPORT. The report is
                                                                                                                             awarded a black badge every year.
                                            an event.                               intended to show that complaints
                                                                                    are not ignored. 3/                      Do you REALLY think organizers
                                            Their purpose is to provide
                                                                                                                             didn't do their due diligence?
                                            accountability so the con can't just
                                                                                    I’ve also seen whining about "but if I   SERIOUSLY? 5/
                                            ignore abuse reports. This has
                                                                                    don't know what happened, how do
                                            definitely happened at some cons,
                                                                                    I avoid a similar fate?" The answer is   I applaud ©defcon for both taking
                                            V
                                                                                    simple my friends:                       action AND protecting victim
                                                                                                                             details. Let’s not pretend that
                                                                                    Don’t be an asshat. Period.
                                            The reports also help outsiders                                                  revealing details won't lead to
                                            evaluate whether they want to           If you're worried how close to a         unmasking victims - and whose
                                            attend a given con by understanding     “permanent ban" line you are. the
                                                                                                                             interests exactly does that serve?
                                            the frequency (and sometimes            conference probably doesn't want
                                                                                                                             Take the report at face value or
                                            types) of issues experienced            you there. 4/
                                                                                                                             don't, but nobody owes you an
                                            historically. If you want to claim a
                                                                                                                             explanation. /FIN
                                            transparency report is deficient,       But in this particular case, it's not
                                            explain why (in that context). 2/       some rando getting cancelled. It's
                                                                                    the person who founded and runs
                                                                                                                                           x     R   .Aa



                                                        Q     °:°      «        H             Q                          S             Q                   *       s



                                                        ' IMG_7412.PNG                       '    IMG_7413.PNG                        y IMG_7414.PNG




                  Feb 1 1                Darington, media director
                                         Has Chris reached out to you? I read his comment as a stall tactic, but it's a weird one.




                  Feb 12          tjjp   Jeff Moss, Organizer
                                   A     No reach out that I know of. Just saying they are sending over a cease and desist from
                                         his lawyers.




                  Feb 12          1T7    Jeff Moss, Organizer
                                         Two thoughts:


                                         - We have our legal team spinning up and should be ready end of Monday. If they send
                                         us a C&D would we mention that? What I'm getting at is if this is a dual battle, legal and
                                         social, let's think through our moves. Obviously we will follow legal advice but not sure
                                         staying silent forever is viable long term. We will know more once we read his
                                         complaint.


                                         - If Chris starts to fund raise for a lawsuit against us do we have a response or do we
                                         start our own defense fund?




                  Feb 12                 Darington, media director
                                         I would defer to the attorneys about what legal actions we should make public. I
                                         imagine it depends a bit on exactly what he wants us to cease or desist.


                                         If it's talking about him, fine. We don't have a reason to talk about him beyond what
                                         we've already made public.


                                         We can start working on a minimal clarifying statement for some future point, but my
                                         sense is that doing that in advance of knowing the nature of his complaint is
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 Timestamp

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Confidential                                                                                                                                                           DEFCCN00000044
                                If it's talking about him, fine. We don't have a reason to talk about him beyond what
                   Case 2:23-cv-01932-BAT             Document 101 Filed 03/14/25 Page 327 of 388
                                         we've already made public.


                                         We can start working on a minimal clarifying statement for some future point, but my
                                         sense is that doing that in advance of knowing the nature of his complaint is
                                         negotiating against ourselves.


                                              Agree          +1 C.‘



                  Feb 12          i-p;   Jeff Moss, Organizer
                                         Here is his email:


                                            Jeff,
                                            The decision to exclude me from this year's DEF CON conference is absurd, insulting
                                            and wrong. I am a committed member of this community and have been for nearly
                                            two decades. Baseless, unfounded accusations have been made against me without a
                                            single shred of evidence - not a single shred. What's worse, I was never given the
                                            opportunity to defend myself.


                                            Here's what I can say: these accusations are absolutely false. I'm proud of our
                                            company and am committed to creating an open, accepting environment for our
                                            team members. No one has ever been accused of harassment or discrimination - not
                                            me, not a single person - since I founded it in 2008. I'm proud of that record.


                                            We value our long-standing relationship with DEF CON and would like to continue
                                            our partnership. This is a hurtful situation, but I am hopeful that we can continue to
                                            work together. I look forward to having a conversation with you and directly
                                            addressing any questions you may have.




                                            Christopher Hadnagy




                  Edited Feb 12
                                  Jrjt Darington, media director
                                         |t's more conciliatory than I was expecting. I don't know why he's sticking to the story

                                         about being blindsided, but it's a better posture than threats.


                                         I also don't know what shreds of evidence he's looking for beyond a dozen or so
                                         members of our community reporting that he mistreated them. We're not arraigning
                                         him, we're kicking him out of a party we throw.


                                         And lastly, I don't know how he can say they accusations are categorically false when
                                         he's already acknowledged some. Hard to tell exactly where his head's at.




                  Feb 12                 Marc Cjunky
                                             Jeff trevor's account wasn't locked when I posted those. He also posted another case
 URL

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Confidential                                                                                                                         DEFCCN00000045
                   Case 2:23-cv-01932-BAT                        Document 101                   Filed 03/14/25              Page 328 of 388

                  Feb 12         jpP* Marc Cjunky
                                  ’ Jf           Jeff trevor's account wasn’t locked when I posted those. He also posted another case
                                         of harassment against a blind trainee. Ill post the screenshot below.


                                         I'm fairly confident he would be cooperative for the right reasons, he just doesn't want
                                         to engage in the dama back and forth.



                                                            < TrevorGiffen                Detail




                                                                       Trev
                                                                                                                               >
                                                                       ©TrevorGiffen


                                                            Finally, I was asked to share these two links,
                                                            without context:


                                                            1 . Iinkedin.com/pulse/water-my...


                                                            2 . shafpatel . word press .com/20 1 5/05/2 1 /he I . . .


                                                            I wish good luck and good health to anyone
                                                            affected by him.


                                                            This will be my final statement on the matter, I will
                                                            not be replying to anyone.
                                                            1 0:44 PM - 1 1 Feb 22 via Twitter Web App

                                                            47 likes    7 retweets


                                                            Reply                        Retweet                            More

                                                                        IMG_5193.PNG   507 KB   View full-size   Download




                  Feb 12         jpSh M a rc Cju n ky
                                  f If    ,Q Darington its surprising to me too. He seems to be navigating the path of a wholly
                                         innocent victim. Which is probably his least defensible option given all that went on.


                                         I wonder if he was backed into a corner or something? Its a far cry from the defiant
                                         "they deserved it" attitude he gave to -i# Grift er.


                                                 Jeff for now personally I would continue staying out of it. Public opinion has most
                                         definitely turned against him. The obviously transparent lies he's told aren't sticking.
                                         What we really need is more advocates to stand up and say something instead. Trevor's
                                         statement last night did the most damage out of any single statement.


                                         Maybe one of the respected community members who knew / had heard something
                                         like Deviant?


                                         A ...

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 Timestamp

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Confidential                                                                                                                             DEFCCN00000046
                                         statement last night did the most damage out of any single statement.
                   Case 2:23-cv-01932-BAT                     Document 101              Filed 03/14/25           Page 329 of 388
                                         Maybe one of the respected community members who knew / had heard something
                                         like Deviant?


                                         Anything we say risks dragging us into the back and forth or damaging the position we
                                         are being congratulated for.




                  Feb 12                 Jeff Moss, Organizer
                                         The Black Hat removal Deviant pointed out hasn't seemed to catch on much yet, but it
                                         is another front in his battle that could flare up. I'm not sure what his angle is.


                                         One email he is saying the lawyers are sending over a C&D and the next is this wanting
                                         to sort it out.



                                         I'll wait a couple days and see if a C&D shows up while we get our legal team up to
                                         speed on all these exchanges. They were briefed when we were planning, but now that
                                         we have gone live and stuff is happening I want to make sure before we make any big
                                         moves that they can provide us advice.




                  Feb 12                 Wednesday (Melanie Ensign), Press Department Lead
                                         Completely agree with the suggestion to stay out of it for now. There's no reason to
                                         even respond to Chris at this point, IMO. Everything he's doing right now is
                                         performative with no indication of remorse or concern for others. It's a good idea to get
                                         the lawyers ready, but from a PR perspective, there's no reason for us to change course
                                         atm. It's only been 2 days &the community is stepping up more than we expected.
                                         Remember, our goal is not to establish peace with Chris, it's to protect the community,
                                         including his victims, & we can do that best by not engaging.


                                              Agree




                  Feb 12                 Wednesday (Melanie Ensign), Press Department Lead
                                         Here's another example of Chris bullying
                                         someone: htt ps ://twitter.com /i nfosecsher pa/status/1 4922828457793 98664 ?s= 21




                  Feb 12          i-S    Jeff Moss, Organizer
                                         Based on what I have heard I expect some are talking to reporters, once (if?) those
                                         stories are told things might heat up again.




                  Feb 12                 Wednesday (Melanie Ensign), Press Department Lead
                                         Very possible. Let's see who (if any) reporters come to us for comment & we'll
                                         determine whether we need to say anything else at that time. If victims are speaking to
                                         media, I don't want DEF CON to take over the focus. As we've said all along, these are
                                         not our stories to tell.


                                         Additionally, not participating in press coverage provides additional protection against
                                         claims that we're proactively going after anyone.
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 Timestamp

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Confidential                                                                                                                        DEFCCN00000047
                                         media, I don't want DEF CON to take over the focus. As we've said all along, these are
                   Case 2:23-cv-01932-BAT            Document 101
                                not our stories to tell.
                                                                                                    Filed 03/14/25                             Page 330 of 388

                                         Additionally, not participating in press coverage provides additional protection against
                                         claims that we're proactively going after anyone.




                  Feb 12                 Marc Cjunky
                                         Honestly im proud of the community response. Other than a few trolls most get it and
                                         more importantly they get why we did it this way.


                                              Agree




                  Feb 12                 Marc Cjunky
                                         Looks like someone has put up a twitter account to call him out. Each of the tweets so
                                         far is a challenge against his statements.


                                         http://twitter.com/TwitFit5/status/149253033650866176Q




                  Feb 13                 Marc Cjunky
                                         On a related tangent, there have been a lot of folks decrying the transparency report for
                                         "not being transparent enough". I disagree with them, I think it achieves what it is
                                         supposed to.


                                         That said, once this all cools down and legally we think we are on safe ground, I think
                                         there may be an opportunity for a blogpost walking people through the CoC and
                                         actions we take or have taken (without specifics obviously].



                                                                  <i ©inarcwragers               Detail

                                                                        Rob*** Graham @ErrataRob
                                                                        A tot of people have read "The Trial" by Kafka, don't like
                                                                        Star Chambers, and worry about the Orwellian
                                                                        doublethink of an opaque “transparency report'. One can
                                                                        believe the guy probably deserved it and still think the
                                                                        process sucks.

                                                                         Scarab esC-tft-4 8
                                                                         It’s wild to me that people are questioning oefcon's deci&xxi.
                                                                         The dude was a major staple of lhe Defcon scene. It would
                                                                         have taken some pretty strong accusations and probably a
                                                                         tSecent amount of evidence to ban him. It was bot a tightly
                                                                         made decision.



                                                                        Rob®1* Graham ©EnwRpb                                             1h

                                                                   53   Anarchists end up reinventing governance — badly,
                                                                        repeating the same mistakes of all despotic governance
                                                                        throughout history. What starts as a noble purpose
                                                                        devolves into cliques and arbitrary/pre judicial
                                                                        punishments.


                                                                        Rob*1 Graham ©ErrataRob                                           1h

                                                                   53   The Code of Conduct is vague, is joking about my
                                                                        ’dongle" or “forking a repo" considered harassing
                                                                        somebody offended by such jokes? There's a chilling
                                                                        effect on behavior because people don’t know.


                                                                        Robe‘t Graham ©ErrataRob
                                                                   53   I. too, think DEF CON probably has some pretty clear
                                                                        reasons that, if known, most everyone would agree with.

                                                                        But they aren't know, And that's a problem.



                                                                         Rob6'1 Graham
                                                                   3     @ErrataRob
                                                                                                                                          >



                                                                  The world is full of jerks that a conference like DEF
                                                                  CON would not want. There's definitely too few
                                                                  bans rather than too many. It's just that non
                                                                  transparent process will eventually mete out
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Confidential                                                                                                                                                DEFCCN00000048
                                                                           But they aren't know. And that's a problem.



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                                                                CJ Robel101
                                                                         Graham Filed 03/14/25>                                     Page 331 of 388
                                                                   « 2ZI    @ErrataRob


                                                                  The world is full of jerks that a conference like DEF
                                                                  CON would not want. There's definitely too few
                                                                  bans rather than too many. It's just that non
                                                                  transparent process will eventually mete out
                                                                  punishment based not on guilt but politics.
                                                                  7:04 AM - 13 Feb 22 via Twitter Web App


                                                                 IMG_5195.PNG           1.11 MB      View full-size      Download




                  Feb 13          to^    Jeff Moss, Organizer
                                         Hopefully if stories are told through reporters we will have less explaining to do.




                  Feb 13          iTp    Jeff Moss, Organizer
                                         I was thinking, are there links to some resources around abuse and education we could
                                         include on the transparency report or elsewhere? It feels like the people who know a bit
                                         about abuse are doing a lot of explaining, it would be good to point to some expert
                                         well respected guides or explainers.




                  Feb 13                 Marc Cj unity
                                  ly Theres quite a few. We can also seek advice from peers who work in the field to help
                                         curate the list. Katelyn Bowden for example. Happy to kick that of and report back to
                                         you.




                  Feb 13          CS     Jeff Moss, Organizer
                                         Yes please. Then we can build a mini FAQ for the Transparency Report that can help
                                         explain why we do what we do.


                                           Why do you not publicly identify those who file a CoC complaint?


                                           Why do you not give every detail to the person accused of violating the CoC?


                                         - Why is it wrong to expect people to publicly relive their experiences to "be
                                         transparent"?



                                           How do you perform an investigation if there is bad faith by a party?


                                         Things like that which will be useful now and for future incidents.


                                                Will d°'




                  Feb 13          ton    Jeff Moss. Organizer
                                 *4^ © Wednesday

                                                       < Messages                   Shaun Nichols                                       -t



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Confidential                                                                                                                                     DEFCCN00000049
                                         9 Wednesday
                   Case 2:23-cv-01932-BAT                          Document 101                Filed 03/14/25              Page 332 of 388
                                                    < Messages                   Shaun Nichols                                 t




                                                                       Hey, I've been trying to reach you via
                                                                       email regarding the Hadnagy stuff. Is it
                                                                       not getting through or no comment?
                                                                       Can go off the record if need be.

                                                                       4h




                                                                  Oh sorry just not checking mail much,
                                                                  weekend with the family.


                                                                       IMG_2810.PNG   288 KB   View full-size   Download




                                         Looks like he writes for @ Searchsecurity




                  Edited Feb 13          Jeff Moss, Organizer
                                         0 Marc Can you reach out to them and see if they would file a report?




                                                      < Messages                 Hacker Women




                                                             4
                                                                        Hello! While I'm (@ivydigital /
                                                             »!
                                                                        @ivydigitalstorm) looking at this, one
                                                                        count of sexual assault at DEFCON 25
                                                                        by Joel Klein against a female member
                                                                        of the Hacker Women team was
                                                                        reported to me and Sophia Fadli in 2016.
 URL

 https://3. basecamp.com/3566641/buckets/29534797/messages/5378926654

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Confidential                                                                                                                            DEFCCN00000050
                                                                            t-ieuoi vvnne i m (iswyaigirai /
                                                             s'

                   Case 2:23-cv-01932-BAT                             @i vydigitalstorm)
                                                                   Document   101 Filed  looking at this, onePage 333 of 388
                                                                                             03/14/25
                                                                            count of sexual assault at DEFCON 25
                                                                            by Joel Klein against a female member
                                                                            of the Hacker Women team was
                                                                            reported to me and Sophia Fadli in 2016.
                                                                            That happened at DEFCON. Thanks for
                                                                            your time.

                                                                            2h



                                                                           IMG_2811.PNG   368 KB   View full-size   Download



                                         They seem to be a bit odd in their sentence structure and way they phrase things:




                                                                                            Mentions



                                                                  Q Search Mentions




                                                                            Hacker Women ©HackerWo... Tq 13/2/22, 1 8:31
                                                                  $ «! ®    Yes, @humanhacker is one statistic, the one
                                                                            in question; however: In a world of shifting
                                                                            goalposts it is critical to be able to validate
                                                                            the integrity of the reporting mechanism
                                                                            despite the changes.


                                                                            The reporting mechanism here is @defcon,
                                                                            the reporting party is: [insert code]



                                                                    4       Hacker Women ©HackerWo... Cq 13/2/22, 17:59
                                                                  $ ti * At @defcon this comes to question DCs
                                                                            ability to provide transparency, or, therefore
                                                                            prove how @humanhacker violated Code/
                                                                            Policies of the #defcon CoC according to
                                                                            each report of violation that was received.



                                                                    $       Hacker Women ©HackerWo... Cq 13/2/22, 17:51
                                                                  4 (! & For Folks looking - Per this @defcon
                                                                            Transparency Report: defcon.org/html/links/
                                                                            de-...


                                                                           1MG_2812.PNG   737 KB   View full-size   Download




                                              Insert code?




                  Feb 13                 Wednesday (Melanie Ensign), Press Department Lead
                                             Jeff — Shaun hasn't sent anything to press®. His article implies he's been reaching
                                         out to your email directly.
                                         https://www.techtaret.com/searchsecurity/news/25251 3274/DEF-CON-bans-social-
                                         eng ineering-ex pert-Chris-Hadnagy


                                         Any response at this point could fuel another update/headline from him, so I'd just
                                         ignore it for now, but I am monitoring his comments on Twitter.



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Confidential                                                                                                                       DEFCCN00000051
                                          eng ineering-ex pert-Chris-Hadnagy
                   Case 2:23-cv-01932-BAT                        Document 101         Filed 03/14/25           Page 334 of 388
                                          Any response at this point could fuel another update/headline from him, so I'd just
                                          ignore it for now, but I am monitoring his comments on Twitter.




                  Feb 13                  Jeff Moss, Organizer
                                 McT OK when if he responds to me I'll point him to press@defcon



                  Feb 13                  Wednesday (Melanie Ensign), Press Department Lead
                                          ^3 Marc I wouldn't suggest Katelyn. She's also a common character in the whisper
                                          network of grifters & abusers (including police reports). There are many others to
                                          choose from.




                  Feb 13                  Wednesday (Melanie Ensign), Press Department Lead
                                          $ Jeff O Marc — what a lot of folks are missing since we obviously can’t say this, is
                                          that we were less detailed with Chris' behavior because several of the reports were
                                          specifically about retaliatory behavior & he know he has both the ability & pattern of
                                          behavior to do even more harm to the reporting individuals. He knows what he did, but
                                          he doesn't know the names of everyone who reported it (some of who were victims &
                                          others were witnesses). This could be a good point to make in the FAQ.




                  Feb 13              \ Wednesday (Melanie Ensign), Press Department Lead

                                      *   @ Marc I would suggest a mix of experts from our community, survivor advocates, &
                                          former/current LE. This way we're including some of our own, but also signally the value
                                          of outside perspectives. Too often our community assumes we're flying by the seat of
                                          our pants, which they perceive as justification to pretend they have equal qualifications
                                          to judge.


                                          I'm happy to share any of my contacts I have if you want.


                                              Completely agree




                  Feb 13                  Jeff Moss, Organizer
                                 4 7 Are there some good guides from national abuse support groups? Sort of like how we
                                          work with Kick The Darkness to help with our on-site hotline?




                  Feb 13                  Wednesday (Melanie Ensign), Press Department Lead
                                          Checking




                  Feb 18                  Jeff Moss, Organizer

                                          I haven't heard any more from Chris, all is quiet. Anyone hearing anything?



                  Feb 18                  Wednesday (Melanie Ensign), Press Department Lead
                                          Nothing on my end for the past few days.


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                                         I haven't heard any more from Chris, all is quiet. Anyone hearing anything?

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                  Feb 18                 Wednesday (Melanie Ensign), Press Department Lead
                                         Nothing on my end for the past few days.




                  Feb 25                 Jeff Moss, Organizer
                                         Is anyone i^Grifter t>Marc ©Wednesday talking with Alethe? She is saying incorrect
                                         stuff based on sekret DEF CON sources.



                                                                                 11:3a*


                                                                            <                                             DJ



                                                                                Okay so. I checked. And this s
                                                                                mabsh.


                                                                                (^feviimolliiH^DAkacki
                                                                                i^RegGBftnkw @duc gdclcon
                                                                                TlKwsTfl I'd tiwo, I htrrt heard from
                                                                                credible socrcos that invest.gatocs

                                                                                C&InnDcenlOtg hlnO been asked 10
                                                                                investtoatcyDSiNT the ooci*)
                                                                                iihumanhacker suspects of being a

                                                                                C0rty>4«wit. THtS IS STALKING AND
                                                                                HARASSMENT OF VICTIMS

                                                                                     BiiXtiHcrntlryiBijTO#
                                                                                6    r-irrw.r.jn




                                                                                They aren't. And that's from an an
                                                                                ortrenx-ty creciiiln sctxce


                                                                                rve decided it's kmc Id put distance
                                                                                between me and them but I'm tiling
                                                                                so sicwty and quietly.


                                                                                Ther lack ot retpense damages me
                                                                                and my rcputntori and sreo I can't
                                                                                rtMimmce a response they arc reaiy
                                                                                tea.tnsj me no t much choice.


                                                                                1 was also tokl by a source inside DC
                                                                                that Jeff was Hie only person who got
                                                                                afl the vict*5n stMenwnts are! Jeff
                                                                                made this deciskxi and wrote the
                                                                                announccmeril himself after Chris

                                                                                s*d htt was Eea.sng DC and would not
                                                                                fMumi this year following the
                                                                                aflegaticns. And 1 hat's kke nothing
                                                                                you hoard from rro hahaha bul that's
                                                                                ib® iruch as best l understand it. Jell
                                                                                ts solely rc-SDcnstbfc fw the dccisbn
                                                                                pmsontod « dohwn-5 gnd it hApppn?
                                                                                alter C hriB sai d Iw would vokrncarJy
                                                                                leave DC and take SEV clsevrtiere.

                                                                                That's vrhat f'w boon sitting on for
                                                                                weeks so massive friWIDA there. But
                                                                                Tm frustrated co an sides of this shit
                                                                                show. Frustrated 4s an
                                                                                understatement



                                                                            83 On                    w*                       ®
                                                                            o 'A                      «       a           O


                                                                  IMG.2880JPG • 274 KB • View full-size                           Download




                  Feb 25                 Marc Cjunky
                                 £       Nope, also tbh doesn't sound like anyone in this small group based on the
                                         inconsistencies - like you writing the statement, only you hearing the statements etc.




                  Feb 25          !-j*   Jeff Moss, Organizer
                                         Yeah, it's kinda weird like why inject herself with wrong info?




                  Feb 25                 Marc Cjunky
                                  & Seems like someone is claiming to be "super sekret inner circle" and is making shit up to
                                         prove it.




                  Feb 25          iTp    Jeff Moss, Organizer
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                  Feb 25                 Marc Ljunky


                   Case 2:23-cv-01932-BAT                    Document 101             Filed 03/14/25          Page 336 of 388
                                         Seems like someone is claiming to be "super sekret inner circle" and is making shit up to
                                         prove it.




                  Feb 25                 Jeff Moss, Organizer
                                         We got another email from Chris, waiting for legal feedback. Needless to say he
                                         acknowledges no responsibility.




                  Feb 25                 Wednesday (Melanie Ensign), Press Department Lead
                                         I haven't said anything & highly doubt she's talking to anyone with actual knowledge of
                                         this group. Whoever is talking to her (if anyone) must know this is untrue since
                                         everyone who actually knows (us here) would never put this all on Jeff. Jeez.


                                         In fact, the way it's spun to say that the decision was made only after Chris decided to
                                         leave makes me think she's talking to Chris himself or one of his close supporters.




                  Feb 25                 Wednesday (Melanie Ensign), Press Department Lead
                                         Perhaps these lies are what Shane is telling people in these 1x1 calls?


                                         https://twitter.eom/reqgblinker/status/1496879197020901 377?s=21




                  Feb 25          iTS    Jeff Moss, Organizer
                                         Please note: No one should talk to or respond to Chris, he is seeking to get us to make
                                         admissions he could use in a lawsuit.




                  Feb 25                 Jeff Moss, Organizer
                                         Chris has posted publicly


                                         https://www.social-engineer.org /generai-blog/chris-hadnagys-official-statement/


                                         I'm not sure if he is trying to box us into responding or not.




                  Feb 25          i’j    Jeff Moss, Organizer




                                                     I'm sure you already saw, but just in
                                                     case: https://twitter.com/
                                                     humanhacker/status/
                                                     1497402381256077314?s=21                             12m©



                                                                     Is he delusional? What's your take?
                                                                                                              5m ©C@


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Confidential                                                                                                                        DEFCCN00000054
                   Case 2:23-cv-01932-BAT                    Document 101                 Filed 03/14/25              Page 337 of 388
                                                                   Is he delusional? What's your take?
                                                                                                                      5m ©<S2>


                                                      He is not delusional, he is attempting
                                                      to mastermind this situation. He
                                                      believes that he can undermine your
                                                      credibility by denying any evidence.
                                                                                                               4m ©


                                                      It's insidious and he knows exactly
                                                      what he's doing, he's playing the
                                                      victim and employing DARVO.                           3m ©


                                                                  IMG_2B87.PNG   463 KB   View full-size   Download




                  Edited Feb 26          Darington, media director
                                         Frustrating. Admitting he has communicated with you while claiming he never 'talked'
                                         to you is some s-tier hairsplitting. So is pretending that talking to Grifter at length
                                         doesn't count as talking to DEF CON.


                                         But this isn't a court filing. We don't owe him an adversarial trial and a vigorous defense.
                                         You can 'talk' to him if you want, but he has no valid reason to think we'd reinstate him
                                         if he offers a good enough excuse, He wants something to pick apart. He wants the
                                         chance to claim the complainants deserved it, or can't be trusted. We are not obligated
                                         to indulge him.




                  Feb 25                 Wednesday (Melanie Ensign), Press Department Lead
                                         I think he's simply trying to get something out there that he can point his business
                                         contacts to while most folks are thoroughly distracted, on a Friday, while everyone is
                                         focused on Ukraine.


                                         Our #1 objective is still to protect his victims & other reporting parties. Nothing he says
                                         changes that & commenting would only make out objective harder.


                                         From a DEF CON PR perspective, even with the lies & spin of words in his post, I'm not
                                         concerned that this will have any lasting or negative impact on the organization's
                                         reputation with the communities we care about.


                                              Truth




                  Feb 25                 Grifter, Contests & Events Lead
                                         Alethe seems pretty off base there. She's smart, so someone fed her the wrong info and
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Confidential                                                                                                                           DEFCCN00000055
                                              Truth

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                  Feb 25                 Grifter, Contests & Events Lead
                                         Alethe seems pretty off base there. She's smart, so someone fed her the wrong info and
                                         she's upset. But someone fed Panadero the wrong info and he got upset too. There are
                                         people who think they know what's going on and those people are talking, but it
                                         doesn't sound like any of us. There's just too many errors.


                                         I can say that people are starting to wonder why DEF CON is being so quiet. We are
                                         losing some public support because of the silence. I've seen several things on group
                                         chats or Discords. I'm of the opinion that we HAVE to say something. Anything. The
                                         silence allows him to control the narrative and he is playing chess. He is lying without
                                         challenge and it's working.


                                         Is it frowned upon to make a post that says "We are aware of the statements being
                                         made by Mr Hadnagy, however due to the overwhelming evidence against him we
                                         stand by our decision. We remain silent not because we believe we're making a mistake,
                                         but to protect the parties involved. We're confident in our decision and we're confident
                                         as time progresses we will be shown to have stood on the side of what was good and
                                         right. That being said, Mr Hadnagy has indicated he is seeking legal action against DEF
                                         CON and so unfortunately we can't comment further at this time. Thank you all for your
                                         support."



                                         It still doesn't address some of the details, which I think we should actually do, but it
                                         does get the point across that we're not silent out of fear or regret.


                                         I'd love to go further and say "As clarification has been requested, the allegations
                                         brought against Mr Hadnagy are of a bullying and general harassment nature, they took
                                         place at DEF CON, and outside of DEF CON. But please understand our Code of Conduct
                                         extends beyond 4 days in Las Vegas. We do not condone bullying, harassment, or
                                         intimidation, even if they were limited to the other 361 days of the year. DEF CON
                                         doesn't end when we leave the conference, for many of us it's part of who we are and
                                         we will stand up for our values regardless of when and where those values are
                                         threatened."


                                         Just my $0.02.




                  Feb 25                 Grifter, Contests & Events Lead
                                         I'll also throw something else out there. He desperately wants to talk to Jeff. I think we
                                         should give him the opportunity to have the call he initially refused to take due to time
                                         zone issues. Give him another shot to talk to us. To say his piece and hear what we have
                                         to say. I'm willing to be on that call. Then the "They refuse to talk to me." has to stop.


                                         Also, he hasn't mentioned anything about being removed from the Black Hat Review
                                         Board and no longer training this summer. Black Hat did have a call with him and
                                         decided to cut ties. So he heard their side and I'm sure they heard his but they still
                                         stepped away. There's no mention of that anywhere.




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                                         Board and no longer training this summer. Black Hat did have a call with him and
                   Case 2:23-cv-01932-BAT            Document 101 Filed 03/14/25 Page 339 of 388
                                decided to cut ties. So he heard their side and I'm sure they heard his but they still
                                         stepped away. There's no mention of that anywhere.




                  Feb 26                 Jeff Moss, Organizer
                                     x   I like the idea of your reiteration and acknowledgment statement.


                                          If we did clarify we could add something like "as of today there have been no sexual
                                         allegations we are aware of."


                                         I wonder if victims will see his post and respond? Or if articles get written? In either or
                                         both scenarios does reiterating hurt? ^Wednesday



                  Feb 26                 Jeff Moss, Organizer
                                         M o re fe ed back:




                                                                      — you've taken action and will not
                                                                      reverse it.


                                                                      — He is gaslighting you.


                                                                      — Giving a statement will lead to more
                                                                      short term noise and, frankly speaking,
                                                                      chaos for both sides (DC and Chris —
                                                                      none of us—-"the victims''—have been
                                                                      outed yet).


                                                                      The long term probable outcome of
                                                                      doing nothing on your side will likely
                                                                      lead to speculation and ultimately a
                                                                      dent in your (DC's) reputation, as the
                                                                      collective ire and imagination of the
                                                                      internet is truly, astoundingly corrupt.
                                                                      Your silence this week will be what
                                                                      ILF's was last week — a breeding
                                                                      ground for speculation.


                                                                      I would seek to make a statement with
                                                                      BH.


                                                                      Your silence allows him to control the
                                                                      narrative and he is capitalizing on that
                                                                      — I think his confidence is rebuilding.
                                                                      He's rewriting history in his head again
                                                                      and pushing it forward as fact.            Now


                                                                  IMG_2891 .PNG     673 KB   View full-size   Download




                  Edited Feb 26          Wednesday (Melanie Ensign), Press Department Lead
                                         It's my professional opinion that another formal statement adds fuel to the fire here &
                                         sets an unhealthy precedent of getting bullied into crossing our own boundaries. Our
                                         discomfort at some of the comments & speculation is shortterm & most of the
                                         community has already accepted our decision & moved on.


                                         Giving Chris (& his lawyers) more words to dissect & twist apart doesn't help us or his
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                                         sets an unhealthy precedent of getting bullied into crossing our own boundaries. Our
                   Case 2:23-cv-01932-BAT                                       Document 101                                          Filed 03/14/25                                           Page 340 of 388
                                         discomfort at some of the comments & speculation is shortterm & most of the
                                         community has already accepted our decision & moved on.


                                         Giving Chris (& his lawyers) more words to dissect 81 twist apart doesn't help us or his
                                         victims. The reason BH isn't getting mentioned in anything is because they're mot
                                         saying anything. We knew making our decision public would raise eyebrows, but we did
                                         it to protect others.


                                         That said, if we simply cannot live with a minority of the community believing they
                                         deserve more details, I suggest we wait until next week to see if the weekend changes
                                         anything. Then, if we must, I can engage with the reporter from TechTarget who
                                         expressed interest early on — he was willing to talk on background, so we can get some
                                         important points clarified without direct quotes.


                                         If we go this route (which I’m only recommending over issuing another statement, my
                                         best advice is to sit tight), here's what I suggest we emphasize with the reporter:


                                         - we received more than a dozen independent reports about Chris' behavior
                                         - DEF CON did not receive any reports of a sexual nature, but of harassing and abusive
                                         behavior
                                         - many of the reports include also instances of retaliatory behavior from Chris so we are
                                         not sharing any details that would help identify them by Chris or his team
                                         - DEF CON's leadership team made this decision together, unanimously
                                         - Chris has talked to other members of this team where he confirmed enough of the
                                         reported behavior to warrant a ban
                                         - he was informed of our decision late last year so we are surprised that he's acting
                                         surprised now
                                         - our #1 objective is to protect his victims & we're willing to take heat for that




                  Feb 26                 Marc Cjunky

                                  Wf Im not sure about the wisdom of this either. To provide more details now erodes the
                                         position we took amd could backfire. "If they were happy to share details now, why not
                                         earlier".


                                         We have never provided "further justification" and I don't think we should start now.


                                         Also Chris is deliberately leaving a vacuum IMHO. That doesn't mean we have to fill it
                                         and give him more words to twist. Instead if we do anything we should consider
                                         alternatives.


                                         For example can we persuade some of the victims to use their voice? Its their story, they
                                         are the only ones with a right to tell it. For example of there was a piece written with
                                         stories from some of the training class victims and some of the harassment victims that
                                         would end further discussion.


                                         Another option is to write a blog about how we handle these situations. How the fact
                                         are weighed, what the process looks like and the threshold we have to reach in order to
                                         make different levels of decision. This would boost transparency without back peddling
                                         on not revealing more details.
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                   Case 2:23-cv-01932-BAT                    Document 101                Filed 03/14/25             Page 341 of 388
                                         Another option is to write a blog about how we handle these situations. How the fact
                                         are weighed, what the process looks like and the threshold we have to reach in order to
                                         make different levels of decision. This would boost transparency without back peddling
                                         on not revealing more details.




                  Feb 26                 Marc Cjunky
                                  * y Also ^Wednesday I would not say "we didn't receive reports of a sexual nature". We
                                         technically did. Sending people to harass shoppers with intimate questions in lingerie
                                         stores as a "training mission", harassing people about sexual preferences and intimate
                                         information all fall into the umbrella of sexual harassment in my books.


                                              Fair




                  Feb 26         jpSSh Marc Cjunky
                                  i 3F Thinking out loud, do we have a friendly reporter who we know would handle this
                                         sensitively? If so, prepping them and giving them transparency could be a good way to
                                         achieve both. Although I still think a blog on our process is needed both for this and
                                         any future incidents. It was a fair call-out from many of our supporters that anonymous
                                         metrics are weak when the process itself is opaque.




                  Feb 26                 Wednesday (Melanie Ensign), Press Department Lead
                                         Transparency on the process makes sense — my concern is the timing. If we publish a
                                         blog post now, it will be seen as a response to Chris' statement. I'd suggest waiting until
                                         closer to DC30 so we can publish as a preparatory action based on several years of
                                         experience with the transparency report versus a reaction to any specific individual.


                                          Aa

                  Feb 26         jpSh Marc Cjunky
                                  WF Or if we do decide to support a journalist we can use that to provide details and then
                                         following up with a blog post would feel natural and unconnected to Chris's
                                         comments?




                  Feb 26                 Wednesday (Melanie Ensign), Press Department Lead
                                         Not if we do it now. The current context is still Chris & even for a trusted journalist, the
                                         situation with Chris is what makes it a story they can sell to an editor. I can't see a
                                         reporter caring about our process unless there's adequate conflict.


                                              Fair




                  Feb 26                 Jeff Moss, Organizer
                                         This thread on twitter: Doesn't seem to have gotten much attention yet but Bart seems
                                         accurate in everything he said.


                                                                           mantisek ©mantisek   0} 26/2/22, 05128

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Confidential                                                                                                                            DEFCCN00000059
                  Feb 26    f-S Jeff Moss, Organizer
                   Case 2:23-cv-01932-BAT         Document 101                                Filed 03/14/25               Page 342 of 388
                                         This thread on twitter: Doesn't seem to have gotten much attention yet but Bart seems
                                         accurate in everything he said.


                                                                           mantisek ’©mantisek           26/2/22, 05:28
                                                                  <V ’     ©humanhacker @defcon
                                                                           ©thedarktangent I ask the rest of you
                                                                           who write words dripping with venom. If I
                                                                           don't know, and he doesn't know, then
                                                                           you don’t know, so why are you so sure
                                                                           that your conclusion is the right one? Is
                                                                           assumption enough to damn with?


                                                                           Bart Stump tatheStum...       26/2/22, 05:32
                                                                  o ©mantisek ©humanhacker ©defcon
                                                                           ©thedarktangent He DOES know... He
                                                                           has ADMITTED and explained why his
                                                                           actions are acceptable. He is lying still.


                                                                           mantisek ©mantisek         <6 26/2/22, 05:32
                                                                  <, -     @theStump3r ©humanhacker ©defcon
                                                                           ©thedarktangent What were his actions?


                                                                           Bart Stump ©theStum...        26/2/22, 05:42

                                                                  u ©mantisek ©humanhacker ©defcon
                                                                           ©thedarktangent Harrasment is his main
                                                                           offense. But he also doesn't like
                                                                           competition and seems to think he is the
                                                                           only person who knows anything about
                                                                           social engineering. So he then likes to
                                                                           sue people or threaten to, if they don't
                                                                           cooperate and will scare them into not
                                                                           saying anything.


                                                                           mantisek ©mantisek         dp 26/2/22, 05:46
                                                                           ©theStump3r ©humanhacker ©defcon

                                                                 IMG_2892.PNG       1.27 MB   View fu ll-size   Download




                                                                jg_       mantisek ©mantisek              26/2/22, 05:46
                                                                      >   @theStump3r ©humanhacker ©defcon
                                                                          ©thedarktangent Any examples of this
                                                                          harassment?


                                                                          As far as the litigation thing, I have heard
                                                                          this from others, but it's always 'I know
                                                                          someone who knows someone', which
                                                                          makes it hard to distill it from a repeated
                                                                          rumor. Do you have anything closer to
                                                                          the source?


                                                                          Bart Stump ©theStum .           26/2/22, 05:48
                                                                o ©mantisek ©humanhacker ©defcon
                                                                          ©thedarktangent I know what has
                                                                          happened but that is definitely not my
                                                                          place to put those who reported it on
                                                                          blast. What I will say is Chris has had
                                                                          multiple conversations with def con
                                                                          leadership and when asked if he has
                                                                          done kyz he responds "yes, but here is
                                                                          why."


                                                                          Bart Stump ©theStum... Qs 26/2/22, 05:49
                                                                u ©mantisek ©humanhacker ©defcon
                                                                          ©thedarktangent The bigger issue is that
                                                                          he is very aware of the issues and has
                                                                          talked about them many times and
                                                                          refused to stop because he tries to
                                                                          validate what he is doing.
 URL

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Confidential                                                                                                                            DEFCCN00000060
                                                                 £ ft   Bart Stump @theStum... ft? 26/2/22, 05:49
                   Case 2:23-cv-01932-BAT                      Document 101©humanhacker
                                                                    ©mantisek Filed 03/14/25
                                                                                        @defcon                             Page 343 of 388
                                                                        ©thedarktangent The bigger issue is that
                                                                        he is very aware of the issues and has
                                                                        talked about them many times and
                                                                        refused to stop because he tries to
                                                                        validate what he is doing.

                                                                  IMG_2893.PNG     1 .05 MB • View full-size   Download




                                                                         mantisek @rnantisek           ft 26/2/
                                                                         @theStump3r @humanhacker ©defcon
                                                                         ©thedarktangent I still don't know what
                                                                         you mean. You don't need to name
                                                                         names, in fact, don't, but what are you
                                                                         saying he is repeatedly doing that
                                                                         DEFCON has asked him to stop and he
                                                                         won't?



                                                                 4      | Bart Stump
                                                                           @theStump3r


                                                                 ©mantisek ©humanhacker ©defcon
                                                                 @thedarktangent Harrasing people. Being
                                                                 confronted about that harrasment and
                                                                 admitting he is doing it but won’t stop
                                                                 because he doesn't see it as an issue.


                                                                  <6          Q             V                          ©
                                                                        26 Feb 2022 al 05:53 via Twitter far Android


                                                                                       no       uo


                                                                         mantisek ©mantisek            ft? 26/2/22, 05 58
                                                                         @theStump3r @ humanhacker ©defcon
                                                                         ©thedarktangent And how severe is the
                                                                         harassment? Are we talking like, insults,
                                                                         or pestering? Twitter throws this word
                                                                         around a lot.

                                                                  IMG_2894.PNG     1 .02 MB   View full-size   Download




                                                             Bart Stump @theStum... Cq 26/2/22, 06’06
                                               u @mantisek @hu manhacker @defcon
                                                             @thedarktangent Severe enough there
                                                             could be legal ramifications. Trying to get
                                                             opportunities taken away and also
                                                             harrassing people in their inner circle.
                                                             This is not just Twitter use of the word,
                                                             but I know what you mean.


                                               jjlf          mantisek @mantisek
                                                      -v     @theStump3r @humanhacker @defcon
                                                             @thedarktangent Okay, thank you. That
 URL

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Confidential                                                                                                                             DEFCCN00000061
                   Case 2:23-cv-01932-BAT mantisek
                                           Document@mantisek
                                                   101 Filed 03/14/25   Page 06:07
                                                                 Q? 26/2/22, 344 of 388
                                                                @theStump3r @humanhacker @defcon
                                                                @thedarktangent Okay, thank you. That
                                                                was the straight answer I was looking for.
                                                                     IMG_2895.PNG          569 KB     View full-size   Download




                  Feb 26                 Grifter, Contests & Events Lead
                                  *3^ I think expecting the victims to come forward with their stories is off the mark. They
                                         came to DEF CON because they were scared and wanted us to give them a sense that
                                         they did have leverage, backing, and someone that would stand for them. They are
                                         looking at us to be their voice and we're being silent. We may be doing the "right thing"
                                         from a legal or PR. standpoint. But staying silent isn't doing the right thing by them. I
                                         have now gotten several messages from victims asking when/if we'll respond and saying
                                         they hope we will. They do want to speak, they do want to be heard, but they're scared.
                                         They don't have the weight DEF CON has. Chris can crush them, but he can't crush DEF
                                         CON.



                                         He's playing a game here. Publicly asking us to speak while privately threatening with
                                         lawyers to silence us. This is what he has done to these victims and now he's doing it to
                                         us. I can't be the only one that sees that.




                  Feb 26                 Marc Cjunky                                                                                            • ••




                                             He's playing a game here. Publicly asking us to speak while privately threatening with
                                             lawyers to silence us. This is what he has done to these victims and now he's doing it
                                            to us. I can't be the only one that sees that.


                                         I completely agree. This has his MO written all over it.


                                         However I think our position is more complicated than just speaking up for the victims.
                                         He is almost certainly also hoping that we will defend our position so he can twist those
                                         words. The more we allow him to put us on the defensive, the more we give him.


                                         I don't like not responding any more than you do. I just don't see any upside. Those that
                                         are defending him won't be swayed by a few more anonymous facts amd the moment
                                         we go into details we identify victims.


                                         I also agree that we shouldn't put any pressure on the victims to come forward. Thats
                                         why I was hypothesising about a “me too" style article with a friendly journalist.
                                         However ^Wednesday has shown where the risks are there.


                                         Im open to other ideas personally. I hate biting my tongue in the face of this.




                  Feb 26                 Wednesday (Melanie Ensign), Press Department Lead
                                         I'm not sure why we're so uncomfortable with people who don't respect victim privacy
                                         saying shitty things about us. This is the very behavior we're trying to eradicate. Doing
                                         + l>tri ririlnf +hinn ir   In. -a rrl P? i i n.r'fLm-FrM'+'atvIr* Lm i+             1/ir?"i   f"hrir
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 https://3. basecamp.com/3566641/buckets/29534797/messages/5378926654

 Timestamp

 Tue Oct 11 2022 12:39:22 GMT-0500 (Central Daylight Time)




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                  Feb 26                 Wednesday (Melanie Ensign), Press Department Lead
                                         I'm not sure why we're so uncomfortable with people who don't respect victim privacy
                                         saying shitty things about us. This is the very behavior we're trying to eradicate. Doing
                                         the right thing is often hard & uncomfortable, but months ago we anticipated Chris
                                         would make this into a shit show & we still came to the same conclusion & approach
                                         because of the individuals who came forward. I truly don't think this is something that
                                         will hurt DEF CON long term, in fact, I think our resolve makes vulnerable people feel
                                         safer & the comments we've seen in support of our position are a 1 80 pivot from what
                                         people said about us after we banned CC.


                                         However, I do agree with the need previously mentioned for some community
                                         education down the road on our process &the basics of protecting victims.. ..maybe in a
                                         month or two. Something like, "there have been questions in the past about how all this
                                         works & as we look to DC30, let's be clear about what everyone can expect..." & include
                                         info about how we investigate 8t make the call as a team, & a few links to external
                                         resources from advocacy groups (I'm working on gathering those now).


                                         I will also note that at this particular moment in time, official statements from US
                                         organizations about anything other than the deadly situation in Ukraine are coming
                                         across publicly as tone deaf & insensitive.




                  Feb 26          CiR    Jeff Moss, Organizer
                                         I just spent time with our lawyer and the feeling is we still stay quiet. From a legal

                                         standpoint he has nothing and we can only aid him as he tries to get us to make
                                         unnecessary admissions.


                                         We could do a statement that we stand by our original post (basically nothing new in it
                                         for us to get drawn into) but the benefit from that may not be worth the extra news
                                         churn.


                                         We have not gotten any legal communication from him yet, just his demands to "cease
                                         and desist" and to stop slandering him. Both of those make no sense from a legal
                                         standpoint so he would have to cook up something else. We don't want to give him any
                                         ideas.




                  Feb 26          CS     Jeff Moss, Organizer
                                         For the records, a thing from 2015
                                         https://shafpatel.wordpress.com/201 5/05/21 /hello-world/




                  Feb 26          Sje, Grifter, Contests & Events Lead
                                         I'm sorry, but this is not just for people who are on Hadnagy's side. People are starting
                                         to say that this looks bad on DEF CON for staying silent and for not being clear in the
                                         transparency reports. These are well known people in the community. DEF CON Goons,
                                         Speakers, Contest and Village Organizers, and long time attendees. I don't know how
                                         much everyone is surrounded by the chatter, but l‘m deep in it and the messages are
                                         that our silence is bad. We are not talking about laying out the specific allegations.
 URL

 https://3. basecamp.com/3566641/buckets/29534797/messages/5378926654

 Timestamp

 Tue Oct 11 2022 12:39:22 GMT-0500 (Central Daylight Time)




Confidential                                                                                                                         DEFCCN00000063
                                         to say that this looks bad on DEF CON for staying silent and for not being clear in the
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                                         transparency reports. These are well known people in the community. DEF CON Goons,
                                         Speakers, Contest and Village Organizers, and long time attendees. I don't know how
                                         much everyone is surrounded by the chatter, but I'm deep in it and the messages are
                                         that our silence is bad. We are not talking about laying out the specific allegations,
                                         we're talking about standing by our statement and choice.


                                         Our continued silence will only communicate to future victims that DEF CON will hear
                                         them, may even act, but they won't back them up while their attacker continues to deny
                                         any wrongdoing.


                                         I will once again state, we should release this statement:


                                         "We are aware of the statements being made by Mr Hadnagy, however due to the
                                         overwhelming evidence against him we stand by our decision. We remain silent not
                                         because we believe we're making a mistake, but to protect the parties involved. We're
                                         confident in our decision and we're confident as time progresses we will be shown to
                                         have stood on the side of what was good and right.


                                         As clarification has been requested, the allegations brought against Mr Hadnagy are of
                                         a bullying and general harassment nature, they took place at DEF CON, and outside of
                                         DEF CON. But please understand our Code of Conduct extends beyond 4 days in Las
                                         Vegas. We do not condone bullying, harassment, or intimidation, even if they were
                                         limited to the other 361 days of the year. DEF CON doesn't end when we leave the
                                         conference, for many of us it's part of who we are and we will stand up for our values
                                         regardless of when and where those values are threatened.


                                         That being said, Mr Hadnagy has indicated he is seeking legal action against DEF CON
                                         and so unfortunately we can't comment further at this time. Thank you all for your
                                         support."



                                         I have been involved in this more than I wanted to be. I've been there since the first call
                                         and these people are still contacting me asking us to act.


                                         I've been asked to remain silent and I'll do so, but I've never disagreed with DEF CON
                                         more,




                  Feb 26                 Jeff Moss, Organizer
                                     x   I'll noodle on an editto your statement. I think if we have to release something it should

                                         also mention that protecting victims is goal #1.


                                         Chris wants something he can debate with us. Black Hat took the cowards way out by
                                         not mentioning their actions - he needs victims to remain silent so he can control the
                                         story.



                                         He wants something to grapple with and our silence is driving him crazy at the same
                                         time protecting us legally. Anything we say can't give him anything to use beyond what
                                         we have now.


                                         So that leaves is with:
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Confidential                                                                                                                           DEFCCN00000064
                                         He wants something to grapple with and our silence is driving him crazy at the same
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                                         time protecting us legally. Anything we say can't give him anything to use beyond what
                                         we have now.


                                         So that leaves is with:
                                         - a Grifter style restatement
                                         - a statement about our process
                                         - statements about abuse and abuse resources that once people read they can pick up
                                         on why we are behaving the way we are, protecting victims and not asking them to
                                         relive the abuse.
                                         - 7




                  Feb 26                 Grifter, Contests & Events Lead
                                         A statement about abuse and abuse resources should be done, but doesn't address the
                                         matter at hand. That should be tabled for now.


                                         The statement I drafted doesn't give him anything to pick apart beyond "But you still
                                         won't talk to me!" But we address that in the final line about the fact that he has
                                         threatened legal action.


                                         It also addresses our silence by saying "We remain silent not because we believe we're
                                         making a mistake, but to protect the parties involved." It shows who we side with and
                                         that we stand with and for them.


                                         It also addresses his claims that this is none of DEF CON's business because it happened
                                         outside of DEF CON. It sends a message to all abusers that their actions matter every
                                         day. Regardless of time and location.




                  Feb 26                 Jeff Moss, Organizer




                                         Draft Noodle on a possible statement if we need one:
                                          4F Grifter @ Darington         Marc    Wednesday - Thoughts?




                                         We are aware of the statements being made by Mr. Hadnagy. Our#1 priority is the
                                         protection of those brave enough to report abuse that violates our CoC. The quantity
                                         and quality of evidence against him, combined with his own admissions to us, mean we
                                         stand by our decision.


                                         We expect the organizers of events at DEF CON to act as an example of acceptable
                                         behavior to others in the community. Because of this we consider activities outside of
                                         the convention space when deciding who we want to associate with, support, and
                                         promote.



                                         [Thank you to everyone in understanding...] ?
                                         [Links to resources] ?


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Confidential                                                                                                                      DEFCCN00000065
                                         li ic   ivci iliwi i     vvneii   ucliui   ly   vvi   vvc   waui.   lu   win i,     giii_j




                                promote.
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                                         [Thank you to everyone in understanding...] ?
                                         [Links to resources] ?




                  Feb 26
                                  '^2^ Grifter, Contests & Events Lead
                                         I think that actually gives him something to argue. He'll say he never got a chance to
                                         talk to us and never admitted anything.


                                         The way the "We consider outside actions" statement is worded he will say "See! I never
                                         did anything at DEF CON! I told you! And if that's true then other things I'm saying are
                                         likely true as well!"


                                         Also, it lacks feeling. Too robotic. His statement tugs on heartstrings. Concern for
                                         employees. Concern for his family. If we don't respond in a similar manner we will lose.


                                         My statement is designed to evoke emotion in the reader. We're dealing with a
                                         practiced Social Engineer here, and we need to respond accordingly.




                  Feb 26                 Jeff Moss, Organizer
                                         Possible statement Draft #2 - A bit more aggressive and less robot.


                                         Feedback please £$) Darington i^Grifter @Marc ^Wednesday



                                         We are aware of the statements being made by Mr. Hadnagy to try and control the
                                         narrative around our decision to ban him and remove the SE Village.


                                         Let me be clear. Our #1 priority is the safety of our community and this includes
                                         protecting anyone who comes forward with reports of behavior that violates our Code
                                         of Conduct. We expect the organizers of events at DEF CON to act as an example of
                                         acceptable behavior to others in the community and because of this we consider
                                         activities both inside and outside of DEF CON when deciding who we want to associate
                                         with, support, and promote. Credible reports of bullying, harassment, intimidation, and
                                         DARVO gaslighting from multiple parties triggered his ban. [Do we articulate these
                                         and possibly have a debate?]


                                         We remain silent on specifics not because we believe we're making a mistake, but to
                                         protect the parties involved. Their stories are not ours to tell and we stand by our
                                         decision. Our legal team is ready to defend it.




                  Edited Feb 26          Wednesday (Melanie Ensign), Press Department Lead
                                         If we must, below is my suggested revision. But it's still my professional opinion as a
                                         reputation management expert that we not make another statement at this time.


                                         "Our #1 priority is to protect the more than a dozen brave individuals who reported
                                         multiple violations of our CoC by Mr. Hadnagy. Due to the quantity and quality of
                                         evidence demonstrating a pattern of abusive behavior, including his own admissions,

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                                              reputation management expert that we not make another statement at this time.
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                                              "Our #1 priority is to protect the more than a dozen brave individuals who reported
                                              multiple violations of our CoC by Mr. Hadnagy. Due to the quantity and quality of
                                              evidence demonstrating a pattern of abusive behavior, including his own admissions,
                                              we stand by our decision and our legal team is prepared to defend it,"




                                    Comments are closed on this message.




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                                                   Add/remove people...




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                                    Since comments are closed, you won't receive notifications.


                                      Subscribe me




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                         Exhibit 28
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                               Neil Wyler ®                              3        Qo

                                            6 Jan 2022


                           Hey man are you free tomorrow or
                           Monday to do a joint call with myself
                           and Hadnagy (+someone else on his
                           side)? We could add a third. I want to
                           get the conversation over with him and
                           you are the only one who has the
                           complete history so you'll know if he is
                           changing his story                            04:22 c©


                    I'm free tomorrow after 2:30pm MT.
                                                               06:58



                             th Who else from our side? Melanie?
                            CJ?                                          06:59 C0


                    Zant and Melanie would be my first
                    thought. But if it's Me, You, CJ, Zant,
                    and Melanie, is he gonna feel like we're
                    hanging up on him?

                    Ganging      07:00



                           Yeah and Zant hasn't participated in
                           any of the calls, so he would be at zero
                           starting point.

                                He will have his COO or something
                                with him.                                07:0'>


Confidential                                                                           DEFCCN00000346
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                        (k*.   Neil Wyler ®                             J        %
                                                                        u/-u i


                                           6 Jan 2022

                    Was he not on the first call? 07:01


                                                 I think he was actually.

                           I'm thinking about people that will have
                           to deal with the aftermath of him going
                           crazy online and that's not Zant
                                                                        07:04 C0



                    Truedat 07:04


                                           7 Jan 2022



                               Bummer today fell apart. How does
                               your Monday look?                        09:25


                    Right now I'm open on Monday except
                    for 2-3pm MST. If you get me a time
                    quick I can block it out on my calendar
                    so no one tries to book me.                     10:37


                           I'll be back in Singapore then so my
                           times will be early or late your time and
                           I'll have to coordinate with Chris EST.
                           What works best for you?                     14:28 c©


                                           8 Jan 2022



                    Later in the day then        05:34


Confidential                                                                         DEFCCN00000347
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                               Neil Wyler ®                             0

                                           11 Jan 2022
                   Any plan? 06:4i


                          Not yet, I'm going to jump on base
                          camp in a bit and update everyone. He
                          wants to do the call during office hours
                          EST if possible and wants to know who
                          made the complaints and what they
                          are specifically                              09:27


                                          20 Jan 2022



                             Hey can you please comment on the
                             Hadnagy email on base camp?
                                                                        09:59 C®


                                          21 Jan 2022



                   I'll take a look 05:34


                              Thanks. I'd love to respond with our
                              statement to him, if you have any
                              points you want included.


                              Do you know what BH is doing?
                                                                        06:49 C0



                   I haven't talked to them about it in
                   weeks. I'll follow up with them.            09:12


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                                Neil Wyler ®                            03
                                                                    14/14


                                           8 Feb 2022

                             How crazy do you think Chris will go?

                           Yeah, for sure. They need to outlive us.
                                                                         14:15 C0



                    Probably not as crazy as he would've
                    in October. He's had time to sit on this
                    and he's already played the "You can't
                    fire me, I quit" card. He's still going to
                    launch a counter campaign, and it'll be
                    well done. He is a social engineer after
                    all. He knows how to play people.

                    When we select the new Village leads
                    he'll have stuff to say.

                    When DEF CON happens he'll have
                    things to say.

                    He's not going to take it lightly and he
                    seems to have a problem letting things
                    go. But overall it just has to be done.
                    It's sad. I like Chris. He's a pain in the
                    ass as an organizer, but most of my
                    interactions with him have been
                    positive, with a few exceptions. But
                    that zoom call. ..damn.

                    There's no doubt he has done the
                    things he's accused of. He doesn't
                    even try to deny them.

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                                Neil Wyler ®                            3

                  even try to deny +l
                         7       7 8 Feb 2022
                  He just feels justified in his actions for
                  a variety of reasons. And honestly,
                  that's the saddest part. I'd there's no
                  remorse, change isn't possible. So he
                  won't change.

                  If*   14:20



                             And not even a " I did that but I
                             apologized'' or "that was both our
                             faults" nope. Always 100% the other
                             person.                                    14:20 C0




                  Right. No ownership. None. No room
                  for improvement or growth. It wasn't
                  me, it was them. Period.

                  We're doing the right thing, even if it's
                  hard, and even if we don't really want
                  to.                                               14:21


                          Yeah that was the clincher for me. I've
                          got women DMing me saying good job
                          thanks for standing up for us, he
                          harassed me too. - Women not on our
                          radar so it has to be pretty wide.
                                                                         14:22 C0


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               <      £      Neil Wyler ®                                J
                                                                        14:23
                                          8 Feb 2022

                          I'll make that edit D suggested then
                          get it all ready to go. After I verify the
                          laptop receipt we will be ready.

                               Hey do you know Leslie Carheart?
                                                                           14:28 C©



                   It's good to be thorough, but he told
                   me it wasn't his laptop and it was her
                   personal laptop but that she used it for
                   work and if we thought he was just
                   going to let her walk around with his
                   companies information on it then he
                   was in the wrong industry because it
                   meant that you and I didn't actually
                   support security.                                    14:2s


                          Ah, ok. Still I'd like to have something
                          we're we say "we saw the receipt of
                          ownership but you told us in writing
                          you owned it. That casts everything
                          you say as untrustworthy " or
                          something like that. More for twitter
                          than for us to decide.                           14:30 <;©


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                                                                        DJ
                         w Neil Wyler ®
                                            12 Feb 2022


                              Panadero went on a big rant and quit
                              def con (again?) over the Hadnagy
                              decision. Was he coming back for 30,
                              or should I remove him from all the
                              base camp projects? Can you talk to
                              him?                                       10:19 (70


                             I removed him from BC for now unless
                             something changes.                          10:22 c©


                     He's coming back to Goon, just not as
                     a 2nd.

                     I didn't see him go off. Where was
                     that?                                  10:37


                                                 He just quit apparently

                               About how we handled the Hadnagy
                               violations

                                        Nikita saw it on some socials
                                        someplace.

                                               303 mailing list 10:39C©


                     Oh, well there's nothing we can do
                     there. He doesn't know the whole
                     story, and I'm not talking. It's not my
                     place.                                    10:40

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                        *       Neil Wyler ®                            3       %
                                                                         11:24 C©
                                           12 Feb 2022

                    Someone noticed he is gone from the
                    Black Hat Review Board page. So that
                    should be interesting.                         11:25


                                   Ah! I'll check the twitters. 11;27 <?©


                    Ah. It was Deviant.

                    https://twitter.com/deviantollam/
                    status/14923135361140Q8064?s=21
                                                                 11:28



                                          25 Feb 2022


                    Hadnagy texted me. He wants to make
                    sure you read the email he sent to you
                    and I and asked you to please
                    respond. I told him I would pass on the
                    message.


                    He is still denying any wrongdoing

                    Then when I pressed him on things he
                    said that they didn't happen at Defcon
                    so it shouldn't matter to Defcon.               10:47


                             When did he send the email? 10:47 c©


                    Probably 8 hours or so ago. Let me
                    look.

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                              Neil Wyler ®                              3
                  10 hours 10:48
                                          25 Feb 2022


                               Ok I'll check and send it to lawyers.
                                                                         10:48 CO



                  jm@defcon.org           10:48



                             Ok thanks. Try not to get into a
                             conversation with him that he could
                             mis characterize                            10;52 cq


                  Too late. I did. But I chose my words
                  carefully.

                  I told him I wished we could clarify
                  things to say they weren't sexual in
                  nature but that we can't post details of
                  the claims because it exposes the
                  victims.

                  He tried to deny any wrongdoing
                  repeatedly

                  I pointed out details of the
                  conversations we had and said "Do
                  you remember that conversation?"

                  So he couldn't back completely out of
                  responsibility

Confidential                                                                        DEFCCN00000354
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                        IKk     Neil Wyler ®                              0
                    responsibility
                                            25 Feb 2022
                    He ended up agreeing but said we
                    were wrong because we shouldn't
                    have been involved what happened
                    outside of Defcon

                    I also pointed out that none of this had
                    to happen. That all he had to do was
                    stop the behavior and he chose not to.

                    He got upset at that.

                    Again because it was about things that
                    weren't any of defcons business.                  10:57


                               I've had conversations with our legal
                              team and we should really not
                              communicate since he invoked legal

                                        I'll what this email says.        10:57 C0


                    Roger that.     10:57



                              Well need to to talk to our legal team
                              and go through the conversation.
                              Please write down what you
                              remember.                                   10:57 co



                    I'm not going to ignore him. But I'll
                    keep my mouth shut in public and
                    won't discuss details with him.              10:58

Confidential                                                                          DEFCCN00000355
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                                                                  all itc f-ElL
                         16:48                                          LIL   Vki




                   <      f Neil Wyler ®                            0
                       won't discuss details with him.         10:58
                                           25 Feb 2022

                                          Then we can see what they
                                          recommend                      10:58 c©


                       Roger that.

                       I know I've said it before but I still think
                       we should update the transparency
                       report to say it wasn't anything sexual
                       in nature and that it was bullying and
                       harassment of a non-sexual nature.

                       Because all of the rumor mill stuff is
                       making it seem like it was sexual.
                       Which if he points to that and says
                       Defcon wasn't clear, might actually
                       give him a leg to stand on in terms of
                       defamation.

                       Or that he was only targeting women.
                                                                 11:01



                             It's tricky because what if a sexual
                            allegation comes out? I've heard about
                            a lot of touchy touchy                       11:01c©


                       I haven't heard any of that. 11:01


                                  He can say it wasn't sexual at any
                                  time.


Confidential                                                                          DEFCCN00000356
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                        Ar;     Neil Wyler ®                            3     %
                                 time.
                                          25 Feb 2022

                               I heard some of those stories from
                               Deviant who has some extra insight.
                                                                        11:02 C0



                    He's claiming he doesn't know what
                    ANY of the allegations are and that
                    you refuse to tell him.

                    He's also upset that when he said he
                    wasn't coming back to Defcon that
                    you didn't just drop it.

                    He did say that 11:03


                           Which is a lie, in that you spoke to him
                           about it and Black Hat did as well. It's
                           hard when you can't have a good faith
                           conversation                                 n:03C®


                    That you could've just gone your
                    separate ways

                    Agreed.

                    I told him that 11:03


                                            Yeah he wanted to dodge
                                            responsibility              n:03C®


                    I said that I talked to him extensively

Confidential                                                                        DEFCCN00000357
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                             Neil Wyler ®                               J


                I said that I talke 25 Feb 2022 ansively

                That he volunteered things

                So he knows what type of allegations
                these are

                But he is set on wanting to hear it from
                you.


                I told him you have him several
                opportunities to meet and discuss but
                that he didn't like the times and said
                don't worry about it. I quit.

                Gave*      11:05



                            Once he invoked legal threats we
                            stopped talking and are awaiting his
                            legal communication.                           n:05C©


                He claimed you only gave him one
                time and it was at 5am

                I know that's not true

                I asked him if he threatened legal
                action and he said no                        ii:06


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                                  Neil Wyler ®                          3

                                           25 Feb 2022
                            Whatever. He wanted to only
                            communicate during east coast
                            business east hours. But at that point
                            it didn't matter much because of all
                            the other information we gathered.
                            Then his email sealed the deal. 11:07


                     I feel you

                     He isn't being honest 11:07


                             I'll go back to the email where he
                             mentioned his lawyer and wanted our
                             info.                                      11:07 CQ


                     It's hard to have a conversation with
                     someone who isn't being honest

                     But I will die on the hill that we should
                     clarify the statement on the
                     transparency report.

                     I see and respect your reasons. It I do
                     see his side as well.

                     But*   11:08



                            At any time he can make a statement.
                            If we start making adjustments and he
                            keeps saying he has done nothing it
                            looks out of balance. But I'll read his

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                                Neil Wyler ®                            3
                             il-UO



                                           25 Feb 2022
                            At any time he can make a statement.
                            If we start making adjustments and he
                            keeps saying he has done nothing it
                            looks out of balance. But I'll read his
                            email and we can decide a response.
                                                                         11:10 £0



                     Sounds good, brother. I've got your
                     back whatever you decide.                  11:11


                                                 I appreciate it!        n:i2C©



                            Hadnagy's daughter deleted her social
                           profile the moment it hit.                    11:13


                     That's rough       11:13



                             Yeah. Deviant was in Maxie's class he
                             Chris screwed her laptop.                   11:14 €0



                     He really really thinks that he's in the
                     right there.                                11:14


                            So crazy. Never once has he said "you
                            know I should apologize for that" or "I
                            could see how we both contributed to
                            a bad outcome" but it's always him                   v
                            100% not at fault.                           11:15


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                                 Neil Wyler CD                        OJ
                           know I she J                 e for that         or   I
                           could see                     contributed to
                           a bad outcome" but it's always him
                           100% not at fault.                          11:15


                    Absolutely. He is 100% in the right
                    here. He truly believes he is.

                    No introspection.      11:17



                           Or he knows he needs a big lie
                            because to admit anything is to admit
                           Stall.                                      11:17 CO


                    That's fair. It may be part of a broader
                    strategy.

                    Or even admitting fault to yourself may
                    be too much.                                  11;17


                           And people that have worked with him
                           have told me he is trying to SE his way
                           out of it, that he used to ask "Why is
                           everyone e always complaining about
                           me?"                                        11:17(32)

                    Tis a mystery!         11:18



                             Totally. That's why it's hard to have a
                             good faith conversation with him.                  v
                                                                       11:19^



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                      C       Neil Wyler ®                               0
                                                                           Tiny

                                          25 Feb 2022

                  I wouldn't let him wiggle out though.
                 And then he said "But that's in my
                  business or my life. It's not Defcon's
                  business."

                 That's the final defense

                  It didn't happen at Defcon so we
                 should ignore it

                 Which isn't the whole truth either

                 There are several instances that
                  happened at Defcon                       11:21



                         Yeah, and we explained in our letter
                         that he is representing the con with his
                         behavior so we have to take it into
                         consideration                                     11:22 C®



                 Agreed

                  If you're a complete bastard outside of
                 the con but only nice for four days out
                 of the year, we're still going to factor in
                 the other 361.                                         11:23



                                                                          Totally.

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                              Neil Wyler ®                               03
                                                                          Totally.
                                          25 Feb 2022

                               After reading this I think we could
                               maybe negotiate a joint statement
                               where we clarify in return for him
                               taking responsibility. That's a legal
                               discussion but curious if would
                               consider it.                                11:26 c©


                 An interesting proposal               11:26


                           Yeah we can't make things better for
                           him with him not taking any
                           responsibility                                  11:27(33



                 I think that's fair 11;27


                                          26 Feb 2022


                         Let me know when you send the email
                         over, initial legal response is that the
                         more you talk to Chris because of your
                         involvement in both BH and DC
                         increases the risk of a business
                         interference lawsuit. I'm waiting on a
                         more complete review once we get
                         your conversation notes.                          02:10 G@


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               <      <       Neil Wyler ®                               0

                                                                          Totally.
                                          25 Feb 2022

                               After reading this I think we could
                               maybe negotiate a joint statement
                               where we clarify in return for him
                               taking responsibility. That's a legal
                               discussion but curious if would
                               consider it.                                n:26C©


                   An interesting proposal             11:26



                           Yeah we can't make things better for
                           him with him not taking any
                           responsibility                                  11:27 C©



                   I think that's fair 11:27


                                          26 Feb 2022


                         Let me know when you send the email
                         over, initial legal response is that the
                         more you talk to Chris because of your
                         involvement in both BH and DC
                         increases the risk of a business
                         interference lawsuit. I'm waiting on a
                         more complete review once we get
                         your conversation notes.                          02:io c©


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                               Neil Wyler ®                              DJ     %
                           yuui   uui ivcioauui i   iiuico.
                                                                          02:10 C®
                                          26 Feb 2022

                              He is trying to get admissions out of
                              you he can use for damages and
                              provide him free discovery for a
                              potential antitrust claim.

                           Please stop talking to him, he is an
                           adverse party trying to get admissions.
                                                                         03:28 CO



                   You got it.

                   Thanks for the additional context. I
                   appreciate it.                              04:00



                              Cool beans. Sorry for the scary tone.
                                                                         04:02 C®



                    Haha. No worries, man.             04:04



                    https://twitter.com/humanhacker/
                   status/1497402381256077314?s=21

                    He made a public statement q2:29


                    DEF CON is losing some public
                   support because of the silence. I've
                   seen several things on group chats or
                    Discords. People do not like the
                   silence.                                         12:35



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                        A
                        w
                                Neil Wyler ®                            3      %
                    snence.                                       12:35
                                           26 Feb 2022

                                        Yeah he is trying to box us in.

                                  We will have to decide what to do.
                                                                        12:37 C®



                    Is it frowned upon to make a post that
                    says "We are aware of the statements
                    being made by Mr Hadnagy but due to
                    the overwhelming evidence against
                    him we stand by our decision. Mr
                    Hadnagy has indicated he is seeking
                    legal action against DEF CON and so
                    unfortunately we can't comment
                    further at this time."                         12:37



                             I'm sure you already saw, but just in
                             case: https://twitter.com/
                             humanhacker/status/
                             1497402381256077314?s-21             12m 0



                                        Is he delusional? What's your take?
                                                                        5m 0 C0



                             He is not delusional, he is attempting
                             to mastermind this situation. He
                             believes that he can undermine your
                             credibility by denying any evidence.
                                                                  4m 0


                             It's insidious and he knows exactly
                             what he's doing, he's playing the
                             victim and employing DARVO. 3m©


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                         At     Neil Wyler ®                            03
                              victim and emnlnvinn DARVO.      3m 0
                                           26 Feb 2022

                               Yeah something like that. Tomorrow
                               we have a legal call.                    12:38 c©


                     You have to say "something" He's
                     controlling the narrative and making it
                     look like he has no idea what's
                     happening. And claims he can only
                     recall things from 2015 and 2017. Not
                     September.

                     I look forward to seeing something

                     Keep me posted

                     He also makes his posts late on Friday
                     nights. This is twice now. Not a
                     coincidence.                                  12:40



                              I wonder how much it poses of those
                              he has abused?                            12:44 C0


                     How do you mean? 12:44


                                   But yeah let's move this to BC so
                                  everyone can participate. 12:44


                     Roger that 12:44


                            If they see him lying again they will c xz
                            pissed.                                     12:44 C0

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     < & Neil Wyler ®                                                        0

           Roger that 12:4/ 26 Feb 2022


                  If they see him lying again they will get
                  pissed.                                                       12:44 €0


                     Can you repeat your concerns on BC
                     please?                                                    12:56 c©


           Doing that now. 12:57

                                           *
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                                Neil Wyler ®                             3

                                          18 Aug 2022


                              "It's come to my attention that Chris
                              Hadnagy has filed a defamation
                              lawsuit against Jeff Moss and DEF
                              CON Communications Inc regarding
                              his ban from the conference. We
                              intend to report on the lawsuit in The
                              Verge tomorrow (as well as the
                              broader context of the ban), and I'd
                              like to give Mr Moss and/or other DEF
                              CON representatives the chance to
                              comment.


                              Specifically, in the suit Mr Hadnagy
                              alleges that code of conduct violations
                              he was accused of were falsified, in
                              order to replace him as the organizer
                              of the SEVillage."                     6m q


                                                                   Heads up!

                                   HI post something to Dept leads.
                                                                         06:08 CO



                    Where'd that come from?              06:09



                               Wednesday is going to reach out to
                               SECV and Victims.

                                   From a Verge reporter. Chris has
                                   leaked it.                            06:09 co


                    That was a mistake          06:09



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                         % • Neil Wyler ®
         I     I   IWl   VVU1J   Ud   llll^lUI\kz   Ub-Uy




                                             18 Aug 2022

                                 Yeah tomorrow and the rest of the
                                 week will be crazy.                                06:10 C©



        Weeee                06:10



                                                                                     It's out

                                 https://twitter.com/SteveD3/status/
                                 1560025494594224133                                06:25 C©



        Fuckin hell

        He really wanted this public?

        Ugh

        He will not come out looking good
        here                                                          06:28




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                 K       Neil Wyler ®                                        03

                                         5 Oct 2022


                        Can you comment on the Grifter
                        statement thread? Want to work on
                        that while figuring out a release
                        strategy                                               O8:13 c©



        Yes! I'll do that tonight. Thanks for the
        poke.                                                            08:16




                                         6 Oct 2022




                                                                           A
                                                                            08^59 C@




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                        w Neil Wyler ®                                   J

                                            26 Jan 2023
                                                              Just saw this:

                                 https://www.techtaret.com/
                                 searchsecurity/news/252529227/
                                 Judge-dismisses-Chris-Hadnagy-
                                 lawsuit-aqainst-DEF-CON                 14:47


                    Let me look         14:47



                              Looks like Chris is saying a bunch of
                              stuff about you without naming you.

                                          It's a couple days old         14:48 C©



                    Yeah. He's not telling the truth again.
                                                                 14:50



                                          He can't help himself          14:50 C0



                    Yeah. He lied several times in that.
                                                              14:51



                           AFAIK we were not asked for comment
                                                                         14:51 C0



                    Neither was I

                    But it says they couldn't corroborate
                    the information so they removed my
                    name.


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                      € ? Neil Wyler ®                                       0

                                             31 Jan 2023

                                07:14 -f                                   ::!! lte ()>
                                                    6 Messages
                            < Back         Media Inquiry regardi...


                               Found in DEF CON DT Inbox



                                        Robert Wright                            Friday
                               RW
                                        To: Jeff Moss >



                              No worries, Jeff. I'll make sure contact the
                              press address in the future. I appreciate the
                              response and will update the article with
                              your comment.



                              In the meantime, can you clarify what role, if
                              any, Neil Wyler played in this matter? Was he
                              acting on behalf of Def Con or, as Hadnagy
                              claimed, merely contacting him as a friend?


                             Got this from the reporter on Friday,
                             I'm guessing he will be updating his
                             story, not sure if he made contact.
                                                                               07:16 C0



                  Did you respond to that yet?                   07:51



                                                                                     No

                          Not sure what to say so I'm ignoring it
                          for the moment.                                      08:14 C0


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                        •      Neil Wyler ®                              0       %
                            Tor tne moment.                              08:14 C©
                                          31 Jan 2023

                    I think it's fair to say that I went to
                    Chris as a friend but also, by his own
                    choice of words, a mediator. It's
                    because we were friends that I was
                    cleared to speak to him. By both you
                    and the Steve's.

                    It's possible to be both.          08:14



                             My initial reaction was to say they are
                             not mutually exclusive.                     08:14


                    Exactly

                    He asks me to give messages to you.
                    He tells me to tell you to read the
                    emails he sent. He calls me a mediator
                    several times.                                   08:15



                            Grifter has been with DEF CON for xx
                            years, Black Hat for xx years, and been
                            friends with Chris for xx years.             08:15


                    22 years, 21 years, 15 years

                    And those are just years Gooning and
                    as part of staff.

                    Not including years as an attendee.

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                               Neil Wyler ®                             O)

                    Not including ye'31 Jan 2023 endee.

                    It's fair to say I've been around a
                    minute.                               O8:16
                                                             4?

                           When the code of conduct violat was
                            reported he reached out on behalf of
                           def con to investigate what was going
                           on and try to get Chris to stop his
                            behavior.

                              He had all the relationships to
                              understand the context of what was
                              going on.


                              Something like that.

                                        But man our lawyers read his
                                        comments on the article.

                           And it is like Chris just handed us three
                           crates of ammunition                         08:18


                    I would say, "as a friend, but also as
                    someone who has a close and
                    longstanding relationship with myself
                    and DEF CON as an organization. He
                    was a natural mediator."

                    Yeah. I'm sure the lawyers are like "He
                    just admitted X, Y, and Z!                     08:19

Confidential                                                                        DEFCCN00000375
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                                  Neil Wyler ®                                      3
                                  —   —   —   -   -J       —   —

                    J   ~ ’   —                                                UO- It?



                                                       31 Jan 2023

                              I'd stick to basic tacts even. Like "The
                              person who made the initial report
                              reached out to Grover because they
                              knew he had longstanding
                              connections to BH and DC. They also
                              knew he had a relationship with Chris
                              and were OK with that.


                              Grifter contacted DC and BH about the
                              complaint and DC asked him to
                              investigate." Or like that.


                              That's all true and people can
                              conclude what they want about what
                              hat you were wearing. What we want
                              them to focus on is his behavior not
                              his word games.                                       08:22 G0



                              Let me
                              Get opinion from Melanie if we should
                              respond or not                                        08:26 C0


                    That works for me 08:27


                                  Her feeling is not to reply and give it
                                  more oxygen.                                      08:43 C0




                     But if you ignore his question then you
                     lend credence to his narrative that you

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                               Neil Wyler ®                             0
                                                                        UO-H-O MVS'



                                          31 Jan 2023

                   But if you ignore his question then you
                   lend credence to his narrative that you
                  don't respond.

                  Just a thought.         08:44



                            If it doesn't help us or the victims but
                            only helps TechTarget get clicks I'm
                            not sure why we would.

                             If we were going to respond it would
                             be after it becomes a thing on social
                             media or we want to put out our own
                            statement

                          By Chris saying all those half truths on
                          the record he really screwed himself.
                                                                        08:47 €0



                   I'm saying a response of "These things
                  are not mutually exclusive.
                   Unfortunately I can't say more than
                  that at this time." means that he
                  doesn't post "DEF CON did not
                  respond to additional questions."

                   But it's all good.

                   I'm just thinking about optics

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                       A      Neil Wyler ®                                       3

                                          31 Jan 2023




                  Or just send him this gif...

                  Hahaha       08:49



                                                                 Check this out:
                                                 < Back     Media Inquiry regardi...



                                                  <dtanqent(S>defcon.orq >
                                                  Sent: Thursday, January 26, 2023 4:54 AM
                                                  To: Wright, Robert
                                                  <rwriqht@techtarqet.com>
                                                  Subject: RE: Media Inquiry regarding Chris
                                                  Hadnagy


                                                  Robert,


                                                  Sorry it took so long to reply, I just saw this
                                                  now. I understand the article has already run,
                                                  but if he sues us again I'm guessing it might
                                                  end up in the news again.


                                                  FYI: If you compare what Chris has said here
                                                  with what his previous public statements
                                                  were you will discover all kinds of
                                                  contradictions.


                                                  In the future please use the
                                                  press(g)defcon.orq address for time sensitive
                                                  issues.


                                                  Thank you,


                                                  isff




Confidential                                                                                        DEFCCN00000378
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                               Neil Wyler ®                                  D>
                                               Media inquiry regarai...

                                             31 Jan 2023
                                   Found iii l>i_i   u   ihmux



                                          Robert Wright                           Friday
                                   RW
                                          To: Jeff Moss >



                                  No worries, Jeff. I'll make sure contact the
                                  press address in the future. I appreciate the
                                  response and will update the article with
                                  your comment.



                                  In the meantime, can you clarify what role, if
                                  any, Neil Wyler played in this matter? Was he
                                  acting on behalf of Def Con or, as Hadnagy
                                  claimed, merely contacting him as a friend?




                          I never meant that to be a comment,
                          just giving him an FYI in case he wants
                          to dig further. But he clearly
                          Wants to stir the pot and added it as a
                          comment. So not feeling like trusting
                          him.                                               08:53 CO



                   Roger that      08:54



                                              7 Mar 2023



                          Hey got some time to chat this week
                          (your evenings)? I need your advice on
                          DEF CON Training. I think I'll need
                          someone new to run it and I'm looking
                          for suggestions.                                    11:25 CO


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             Neil Wyler ®


                            11 Aug 2023


                  Heads up Chris is suing us again
                                                                   03:49 C©



What impeccable timing.

That's really petty.

We're gonna have a fun weekend
anyway.                                            05:06




        Totally. I'll catch you up when we meet
                                                                    05:21 C©



Sounds great. Miss your face. See you
SOOn.                                                         05:25




                                                                        DEFCON00000380
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                Neil Wyler ®                             0


                            Wed, Apr 3


              Hey man. I wanted to give you an
              update on Chris Hadnagy’s lawsuit
              against DEF CON. Do you have
              availability for a short call in the next
              couple of weeks?                           16:14


    Of course. Or I'll be in Singapore next
    Friday and we can talk about it over
    dinner.                                         16:15


             OK, cool. It would be god to do it with
            the lawyers so maybe before you
            travel?                                      16:51


    Ok, how about this Friday? 16:51


           I think that could work, it would have to
           be around 5pm pacific if that is good?
                                                         16:52 C0



    That should be fine         16:52



                Ok cool, I'll try and schedule it now.
                                                         16:52 C0



    Thanks 16;52


                                                                     DEFCON00000381
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          4k;     Neil Wyler ®                            0

                             Wed, Apr 24


             Hey man are you free this Friday your
             time for a call with our legal team? I'll
             be in Vegas so can do any time during
             business hours just let me know when
             you are up.                                  17:58 c@




      I can do 11 PT if that works for you.
                                              22:09



                             Thu, Apr 25



                                   OK checking! 09:23 c©


                              Fri, Apr 26


                        We are good for tomorrow 11am!
                                                          05:21 CO



      Do you have a dial in? Or we could use
      my work WebEx?                                  05:22


             I'll get a dial in from them and Signal it
             tO YOU                                       05:33 CO

      Word      05:33



                             Sat, Apr 27



      Any update? We doin' this? 01:33


                                                                      DEFCON00000382
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               Neil Wyler ®                              0

                            Wed, Jul 31

            Tomorrow is my deposition and Chris
            will be there. Let's see if your
            prediction that he can't keep it under
            control the whole time is true 08;02 c®


   We're gonna find out!!

   Let me know, I'll be thinking about it.
                                                 08:02




                  ORDER_Denying...hida.                  SNP_.pdf
            PDF
                  194 KB


           If you want some good reading this
           happened. It's public but no one has
           noticed yet.                                   08:03 c©


   Ooooo 08:04


          This never happens and it's really rare
          the Judge would spend so much time
          e on it. Plus the bombshell in there the
          Judge added on their own.                       08-05 C®



   Finally got to sit down and read it.
   That's wild. So thorough!                  12:48


                                                                     DEFCQN00000383
